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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



CENTER FOR BIOLOGICAL DIVERSITY;
DEFENDERS OF WILDLIFE; ANIMAL LEGAL
DEFENSE FUND,

                            Plaintiffs,
                                                    Civil Action No. 1:19-cv-00408 (TNM)
       v.

MARK ESPER, in his official capacity as Secretary
of Defense, et al.,
                           Defendants.


RIO GRANDE INTERNATIONAL STUDY
CENTER, et al.,

                            Plaintiffs,

       v.                                           Civil Action No. 1:19-cv-00720 (TNM)

MARK ESPER, in his official capacity as Secretary
of Defense, et al.,

                            Defendants.



DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT AND OPPOSITION
        TO PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       The Department of Defense’s (DoD) construction of barriers along the southern border of

the United States pursuant to 10 U.S.C. § 284 and 10 U.S.C. § 2808 is lawful. The Secretary of

Defense’s decision in fiscal year 2019 to authorize six border barrier projects pursuant to § 284

and 11 projects pursuant to § 2808 was consistent with the requirements of those statutes, as

confirmed by the detailed administrative record supporting the Secretary’s decisions. In funding

the § 284 projects, the Secretary also complied with the requirements of § 8005 of the DoD

Appropriations Act, Pub. L. No. 115-245, governing the internal transfer of DoD funds. Further,

the Secretary’s decision to authorize § 284 and § 2808 construction did not violate § 739 of the

Consolidated Appropriations Act, 2019, Pub. L. No. 116-6 (CAA).

       Plaintiffs (RGISC and CBD)1 contend that DoD acted in excess of the statutory authority

provided by these four statutes. Plaintiffs’ motions for summary judgment assert a cause of

action under the Administrative Procedure Act (APA) for a violation of § 739 and an implied

equitable ultra vires cause of action for violations of § 284, § 2808, and § 8005. Plaintiffs,

however, lack standing to challenge the construction of several border barrier projects at issue.

CBD purports to challenge ten § 2808 projects, but has not submitted evidence to support that

assertion. CBD’s declarations assert cognizable injuries traceable to only two § 2808 projects

and are otherwise silent about the remaining § 2808 projects. RGISC challenges construction of

border barriers located in the Rio Grande Valley Sector of Texas, but DoD is not using § 284 or

§ 2808 funds for those projects and RGISC thus cannot establish either a traceable or redressable

injury. Additionally, RGISC cannot challenge construction of a § 284 project authorized by




1
 The remaining plaintiffs in RGISC and the plaintiffs in CBD will be referred to herein as
“RGISC” and “CBD,” respectively, or collectively in both cases as “Plaintiffs.”


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DoD in fiscal year 2020 that was not raised in their complaint and is the subject of a completely

separate agency action that is not at issue in this case.

       As to the merits, Plaintiffs lack a cause of action under the APA to assert a violation of

§ 739 because they do not fall within the statute’s zone of interests and § 739 does not have an

integral relationship with other provisions of the CAA that would arguably protect Plaintiffs’

environmental interests. In any event, Plaintiffs’ claim fails because § 739 does not prohibit

DoD from utilizing its own appropriated funds and statutory authority for border barrier

construction. Plaintiffs misinterpret § 739, which prohibits increasing funds for a “program,

project, or activity” in an agency budget account, by ignoring the appropriations context where

that term of art appears. Contrary to Plaintiffs’ argument, DoD’s use of its own appropriated

funds for § 284 and § 2808 projects is not adding funds to a budget account within the

Department of Homeland Security (DHS).

       Plaintiffs’ implied equitable ultra vires claims also fail at the outset because they cannot

satisfy the zone-of-interests requirement for § 284, § 2808, and § 8005. The Court previously

concluded that Plaintiffs did not fall within the zone of interests of these statues for purposes of

their APA claims, and Plaintiffs should not be permitted to evade that limitation simply by

pleading a redundant equitable cause of action. As the Supreme Court recently emphasized, “[i]t

would be anomalous to impute a judicially implied cause of action beyond the bounds Congress

has delineated for a comparable express cause of action.” Hernandez v. Mesa, 140 S. Ct. 335,

747 (2020) (internal quotation omitted).

       Even if Plaintiffs could bring an equitable ultra vires cause of action, they have not

established that DoD violated the statutes at issue, let alone act acted patently in excess of its

statutory authority, a higher standard that is required for such implied claims. RGISC does not




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dispute that DoD satisfied the requirements for § 284 border barrier construction, and there is no

textual or historical basis for its argument that § 284 contains an implied limit on the scope or

scale of the support DoD may provide under the statute. For its part, CBD does not challenge the

use of § 284, but instead contests DoD’s internal transfer of funds pursuant to § 8005 for the

§ 284 projects. Section 8005 authorizes the Secretary to transfer funds between internal DoD

accounts for higher priority military requirements that are unforeseen and have not been denied

by Congress. DoD correctly determined that these elements were satisfied, and Congress’s later

decision to appropriate funds to DHS for that agency’s border barrier funding account did not

alter DoD’s authority to transfer appropriated funds for the specific counter-drug projects at issue

here. Indeed, when asked by Members of Congress whether the transfers complied with § 8005,

the Government Accountability Office (GAO) agreed with DoD.

       The Court should also reject Plaintiffs’ various challenges to DoD’s § 2808 border barrier

military construction. The Court previously held that Plaintiffs cannot challenge the President’s

decision to declare a national emergency along the southern border because it is a nonjusticiable

political question. Contrary to RGISC’s argument, that conclusion was not limited to Plaintiffs’

claims under the National Emergencies Act and applies equally to RGISC’s § 2808 claim.

Further, all of the § 2808 projects constitute “military construction” undertaken “with respect to

a military installation.” See 10 U.S.C. § 2801. Congress defined these terms broadly and the

border barrier projects here fall squarely within those statutory definitions. As to the final

element of § 2808, the Court has previously decided that it will limit its review to whether the

projects support the use of the armed forces, as opposed to whether the projects are “necessary.”

The Secretary’s military judgment with respect to the allocation of resources to support the

armed forces is subject to review under a highly deferential standard given the long line of




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authority requiring judicial deference to military judgments. Here, the Secretary of Defense

properly determined that the projects support the use of the armed forces in connection with the

national emergency because the projects will, among other things, enhance the ability of military

forces to support DHS more effectively and efficiently.

       For these reasons, as explained below, the Court should deny Plaintiffs’ motions for

summary judgment, grant Defendants’ motion for summary judgment, and enter final judgment

for Defendants on all claims related to the funding and construction of the § 284 and § 2808

border barrier projects.

                                         BACKGROUND

       The Court previously summarized the factual background of these cases in its

consolidated memorandum opinion granting in part Defendants’ motions to dismiss. See

Memorandum Opinion at 3–10 (RGISC ECF No. 76; CBD ECF No. 54). Defendants’ motions to

dismiss also set forth the history of DoD’s support for DHS’s efforts to secure the southern

border, the President’s February 15, 2019 national emergency proclamation, and the various

statutory authorities that Defendants’ reply upon for border barrier construction. See RGISC,

ECF No. 34 at 4–18; CBD, ECF No. 22 at 4–20. Defendants refer the Court to those prior

background sections for a more detailed history and focus here on the factual issues relevant to

the claims remaining in these cases.

               A.      10 U.S.C. § 284

       Section 284 authorizes DoD to “provide support for the counterdrug activities . . . of any

other department or agency,” if “such support is requested.” 10 U.S.C. § 284(a). This support

explicitly includes the “[c]onstruction of roads and fences and installation of lighting to block

drug smuggling corridors across international boundaries of the United States.” Id. § 284(b)(7).

       On February 25, 2019, in accordance with the requirements of § 284, DHS requested


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DoD’s assistance to construct 11 border barrier projects located on Federal land in drug-

smuggling corridors along the southern border. See Administrative Record (AR) at 15–24.

DHS’s request sought the replacement of existing vehicle barricades or dilapidated pedestrian

fencing with new pedestrian fencing, the construction and improvement of existing patrol roads,

and the installation of lighting. See id.

       The then-Acting Secretary of Defense approved seven projects, in two phases, pursuant

to § 284. First, in March 2019, the Acting Secretary authorized DoD to support three projects:

Yuma 1 & 2 in Arizona and El Paso 1 in New Mexico. See AR at 1–8.2 Second, in May 2019,

the Acting Secretary approved four projects in California (El Centro 1) and Arizona (Tucson 1,

2, 3). See AR 137–44. A summary of each fiscal year 2019 § 284 project is below:

        Name               Location           Total Miles          Type of Project
       El Paso 1     Luna and Doña Ana            46         Replace vehicle barrier
                     Counties, NM
        Yuma 1       Yuma County, AZ                5        Replace pedestrian fencing
      El Centro 1    Imperial County, CA            15       Replace vehicle barrier

       Tucson 1      Pima County, AZ                38       Replace vehicle barrier
       Tucson 2      Cochise County, AZ             5        Replace pedestrian fencing
       Tucson 3      Cochise County, AZ             20       Replace vehicle barrier

       CBD challenges all six projects, see CBD Mot. at 10–13, whereas RGISC challenges

only El Centro 1, see RGISC Mot. at 19.3




2
  The Army Corps of Engineers subsequently decided not to fund or construct Yuma 2 pursuant
to § 284. See Second Declaration of Kenneth Rapuano ¶ 4 (RGISC, ECF No. 34-4; CBD, ECF
No. 25-1). That project was subsequently funded pursuant to 10 U.S.C. § 2808, as explained
below.
3
 RGISC also challenges a project authorized by the Secretary of Defense in fiscal year 2020 (El
Centro A), but as explained below that claim is not properly before the Court in this case.


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       The Acting Secretary concluded that DHS identified each project location as a drug-

smuggling corridor in accordance with § 284(b)(7). See AR at 7, 143. The United States Border

Patrol collectively had more than 4,000 separate drug-related events between border crossings in

the El Paso, El Centro, Tucson, and Yuma Sectors in fiscal year 2018, through which it seized

over 155,000 pounds of marijuana, over 640 pounds of cocaine, over 285 pounds of heroin, over

4,300 pounds of methamphetamine, and over 17 pounds of fentanyl. See id. at 15–24.

       The replacement of existing pedestrian fencing and vehicle barriers in these areas is

necessary because the older designs are easily breached and have been damaged to such an

extent that they are ineffective. See id. Further, transnational criminal organizations and drug

cartels have adapted their tactics to evade the existing barriers. See id. DHS thus requires new

barrier infrastructure to impede and deny illegal narcotics smuggling. See id.

       To fund the § 284 projects, the Acting Secretary authorized the transfer of $2.5 billion to

the Drug Interdiction and Counter-Drug Activities, Defense, appropriation, pursuant to DoD’s

general transfer authority under § 8005 of the DoD Appropriations Act, 2019, Pub. L. No. 115-

245, div. A, 132 Stat. 2981, 2999 (Sept. 28, 2018), and § 1001 of the John S. McCain National

Defense Authorization Act for Fiscal Year 2019 (NDAA), Pub. L. No. 115-232, § 1001, 132

Stat. 1636, 1945 (Aug. 13, 2018), and DoD’s special transfer authority under § 9002 of the FY19

DoD Appropriations Act and § 1512 of the FY19 NDAA. See AR at 1–5, 10–11, 34–37, 137–

141, 146–56.4 These provisions collectively authorized DoD to transfer up to $6 billion between

DoD appropriations in fiscal year 2019 provided “[t]hat such authority to transfer may not be


4
  The transferred funds were drawn from military personnel accounts and other DoD program
funds that were “excess or early to current programmatic needs” due to certain factors, including
contract savings, unexpected strength reduction, elimination of mission requirements, and lower-
than-expected funding requirements for a new DoD retirement program. See AR at 5, 10, 35–37,
140, 146–56.



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used unless for higher priority items, based on unforeseen military requirements than those for

which originally appropriated and in no case where the item for which funds are requested has

been denied by the Congress.” Pub. L. 115-245, div. A, § 8005.5 The Acting Secretary

concluded the transfers met these statutory requirements. See AR at 5, 10–11, 138–41, 146–47.

               B.      10 U.S.C. § 2808

       The President’s National Emergency Proclamation made available to the Secretary of

Defense the military construction authority provided by 10 U.S.C. § 2808. See Presidential

Proclamation on Declaring a Nat’l Emergency Concerning the S. Border of the United States, 84

Fed. Reg. 4949 (Feb. 15, 2019). Section 2808(a) provides:

          In the event of a declaration of war or the declaration by the President of a
          national emergency in accordance with the National Emergencies Act (50
          U.S.C. 1601 et seq.) that requires use of the armed forces, the Secretary of
          Defense, without regard to any other provision of law, may undertake
          military construction projects, and may authorize the Secretaries of the
          military departments to undertake military construction projects, not
          otherwise authorized by law that are necessary to support such use of the
          armed forces. Such projects may be undertaken only within the total amount
          of funds that have been appropriated for military construction, including
          funds appropriated for family housing, that have not been obligated.

       The term “military construction” as used in § 2808 “includes any construction,

development, conversion, or extension of any kind carried out with respect to a military

installation, whether to satisfy temporary or permanent requirements, or any acquisition of land . .

. .” 10 U.S.C. § 2801(a). Congress defined the term “military installation” to mean “a base, camp,

post, station, yard, center, or other activity under the jurisdiction of the Secretary of a military

department or, in the case of an activity in a foreign country, under the operational control of the

Secretary of a military department or the Secretary of Defense, without regard to the duration of


5
  Because § 1001, § 1512, and § 9002 incorporate § 8005 by reference or are subject to the
same substantive requirements as § 8005, this motion refers to these requirements collectively by
reference to § 8005. See Sierra Club v. Trump, 929 F.3d 670, 682 n.7 (9th Cir. 2019).


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operational control.” Id. § 2801(c)(4).

       On September 3, 2019, pursuant to § 2808, the Secretary of Defense determined that 11

border barrier projects along the international border with Mexico are military construction

projects necessary to support the use of the armed forces in connection with the President’s

declaration of a national emergency. See AR at 185–217; see also id. at 195 (list and locations of

projects). A summary of the § 2808 projects is below:


     Name                Location             Total                 Type of Project
                                              Miles
    Yuma 2        Barry M. Goldwater           2        Replace primary pedestrian fencing
                  Range (AZ)
  Yuma 10/27      Barry M. Goldwater           31       New secondary pedestrian fencing
                  Range (AZ)
    Yuma 3        Yuma County, AZ              31       Replace vehicle barriers with new
                                                        pedestrian fencing
  San Diego 4     San Diego County, CA         3.5      New primary and secondary pedestrian
                                                        fencing

    Yuma 6        Imperial County, CA           3       New primary and secondary pedestrian
                  and Yuma County, AZ                   fencing

   El Paso 2      Hidalgo and Luna             23       Replace vehicle barriers with new
                  Counties, NM                          pedestrian fencing

   El Paso 8      Hidalgo County, NM           12       Replace vehicle barriers with new
                                                        primary pedestrian fencing, and new
                                                        secondary pedestrian fencing

 San Diego 11     San Diego County, CA          3       New secondary pedestrian fencing

  El Centro 9     Imperial County, CA          12       New secondary pedestrian fencing

    Laredo 7      Webb and Maverick            52       New primary pedestrian fencing
                  Counties, TX
  El Centro 5     Imperial County, CA           1       New secondary pedestrian fencing


       CBD challenges 10 of the 11 projects, see CBD MSJ at 10–13, and RGISC challenge

only Laredo 7 and San Diego 4, see RGISC MSJ at 9.



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        Based on analysis from the Chairman of the Joint Chiefs of Staff, among others, the

Secretary concluded the projects will deter illegal entry, increase the vanishing time of those

illegally crossing the border (i.e., the time that passes before a subject who illegally crosses the

border can no longer be identified), and channel migrants to ports of entry. AR at 193. Further,

the projects will support the use of the armed forces by reducing demand for DoD personnel and

assets at the locations where the barriers are to be constructed, allowing for redeployment of DoD

personnel and assets to other high-traffic areas on the border without barriers. Id. Consequently,

the barriers serve as force multipliers enhancing military capabilities and allowing DoD to provide

support to DHS more efficiently and effectively. See id.

        To fund these projects, the Secretary approved the use of up to $3.6 billion in unobligated

military construction funds. See id. at 266–273. This funding was divided evenly between

deferred military construction located outside and inside the United States. See id. at 266; see also

id. at 271–73 (list of all deferred projects).6

        The Secretary identified four different types of land on which the barrier projects would be

built and, as necessary, authorized the Secretary of the Army to take steps to acquire and add that

land to the Army’s real property inventory, either as a new military installation or as part of an

existing military installation. See id. at 187, 190, 193–94, 214–15. First, two projects will be

built on the Barry M. Goldwater Range, an existing military installation in Arizona. See id. at

187. Second, several projects will be located in whole or in part on Federal land not subject to

the Federal Property and Administrative Services Act (Property Act), 40 U.S.C. § 101 et. seq.,

and that can be transferred under the Federal Land Policy and Management Act (FLPMA), 43



6
  On April 27, 2020, the Secretary of Defense authorized adjustments to the funding sources for
the § 2808 projects. See Notice of Changes in Funding for Border Barrier Projects Undertaken
Pursuant to 10 U.S.C. § 2808 in Fiscal Year 2019 (RGISC ECF No. 83; CBD ECF No. 62).


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U.S.C. §§ 1701 et seq. See Declaration of Brigadier General Glenn Goddard ¶ 10 (RGISC ECF

No. 49-3; CBD ECF No. 37-3). The Secretary authorized and directed the Secretary of the Army

to request that the Department of the Interior (DoI) transfer to the Army Federal lands subject to

the FLPMA required for the projects. See AR at 193–94, 214–15. On September 18, 2019, DoI

announced transfers of the public lands for five projects in this category. See Public Land Order

Nos. 7883–87, 84 Fed. Reg. 50063–65 (Sept. 24, 2019).7 Third, for Federal land governed by

the Property Act, the Secretary of Defense directed the Secretary of Army to request that the

relevant Federal land holding agency, through the General Services Administration (GSA),

transfer administrative jurisdiction over lands in the project areas to the Army expeditiously and

without charge. See AR at 187, 189, 193–94, 214–15. Fourth, with respect to any non-Federal

land, the United States intends to acquire that land through negotiated purchases or

condemnation. See id. at 187; Goddard Decl. ¶¶ 9, 10.c. On October 8, 2019, the Secretary of

the Army assigned all land necessary for the § 2808 projects to the U.S. Army Garrison Fort

Bliss, Texas, making those lands part of the Fort Bliss military installation, upon transfer of

administrative jurisdiction to the Army. See General Order No. 2019-36, Assignment of

Southwest Border Sites (Exhibit 2); see also Second Declaration of Alex Beehler ¶ 11 (Exhibit

3) (explaining decision to designate project locations as part of Fort Bliss).

               C.      The Court’s Order Granting in Part Defendants’ Motions to Dismiss

       On April 2, 2020, the Court issued a consolidated Memorandum Opinion granting in part

and denying in part Defendants’ motions to dismiss. In RGISC, the Court dismissed two

Plaintiffs for lack of organizational standing (Labor Council for Latin American Advancement

and GreenLatinos), but concluded six Plaintiffs plausibly alleged standing to survive the low bar


7
 On June 24, 2019, DoI transferred additional land to the Army for the San Diego 4 project. See
Public Land Order 7895 (Exhibit 1).


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at the motion to dismiss stage. See id. at 12–15. The remaining Plaintiffs are Dr. Ramiro R.

Ramirez, Mr. Joseph Hein, and Ms. Elsa Hull, landowners in southern Texas; the

Carrizo/Comecrudo Nation of Texas (Carrizo/Comecrudo), an association of indigenous people;

and two nonprofit advocacy groups: Rio Grande International Study Center (RGISC) and

California Wilderness Coalition (CalWild). Defendants did not challenge standing for any

Plaintiffs in CBD in the motion to dismiss.

       On the merits, the Court concluded that Plaintiffs’ challenge to the President’s national

emergency declaration presented a nonjusticiable political question and dismissed the President

from the case. See Mem. Op. at 17–25. The Court also dismissed Plaintiffs’ claims under the

National Environmental Policy Act on the basis of waivers issued by the Secretary of Homeland

Security. See id. at 26–28.

       The Court dismissed most of Plaintiffs’ claims brought pursuant to the APA, concluding

that Plaintiffs’ environmental, recreational, and property interests fell outside the zone of

interests protected by § 284, § 2808, § 8005 and 31 U.S.C. § 9705 (the Treasury Forfeiture Fund

statute). See id. at 32–38, 40–45. The Court, however, held that Plaintiffs had stated a claim

under the APA’s cause of action for a violation of § 739 of the CAA (but not § 230) and

arguably fell within the zone of interests of certain provisions of the CAA that were integrally

related to § 739. See id. at 38–40.

       The Court also concluded that Plaintiffs could assert ultra vires claims based on a non-

statutory implied equitable cause of action. See id. at 45–48. The Court expressed “doubt[] that

Plaintiffs can bring an equitable claim when a statutory cause of action is available[,]” but

concluded that Plaintiffs had presented “colorable” equitable claims to survive a motion to

dismiss. Id. at 48. Further, the Court held that plaintiffs asserting equitable ultra vires claims do




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not need to comply with the zone-of-interests test, relying on dicta in Haitian Refugee Center v.

Gracey, 809 F.2d 794 (D.C. Cir. 1987). See id. at 48–49. Addressing the merits of Plaintiffs’

ultra vires allegations, the Court concluded that Plaintiffs had stated claims that Defendants

exceeded the statutory authority provided by § 284, § 2808, and § 8005, but dismissed RGISC’s

claim alleging a violation of § 9705. See id. at 49–54.

         Lastly, the Court dismissed Plaintiffs’ constitutional claims on the basis of Dalton v.

Specter, 511 U.S. 462 (1994), concluding that Plaintiffs raise only statutory claims. See id. at

54–58.

         In sum, the only remaining claims in this case are (1) an APA cause of action asserting a

violation of § 739 of the CAA; and (2) an equitable ultra vires cause of action alleging violations

of § 284, § 8005, and § 2808. As explained further below, the Court should grant summary

judgment to Defendants on all remaining claims.8

                                       LEGAL STANDARD

         Federal Rule of Civil Procedure 56(a) provides that a party may move for summary

judgment on some or all of the claims or defenses presented in a case. Summary judgment is



8
  On June 26, 2020, the same day this motion was due, a divided panel of Ninth Circuit issued
two lengthy opinions in related cases addressing the Government’s merits appeal regarding the
§ 284 projects. See Sierra Club v. Trump, No. 19-16102 (9th Cir.) (Exhibit 4); California v.
Trump, No. 19-16299 (9th Cir.) (Exhibit 5). The panel majority concluded that the plaintiffs
have a constitutional cause of action under the Appropriations Clause and an equitable ultra vires
cause of action to challenge the § 8005 transfers. With respect to the zone-of-interests test, the
majority concluded it did not apply to ultra vires claims and if the test applied at all, the
Appropriations Clause defines the relevant zone of interests. For the APA claims brought by the
States, the majority held the States fell within § 8005’s zone of interests. On the merits, the
majority concluded § 8005 did not authorize the transfer of funds. Judge Collins dissented. He
concluded the plaintiffs lack a cause of action to challenge § 8005 because they fall outside the
statute’s zone of interests. Further, Judge Collins concluded that the § 8005 transfers were
lawful. In light of the length of the opinions (nearly 200 pages) and the limited time to review
them before submitting this filing, Defendants reserve the right to address the Ninth Circuit’s
decision more fulling in Defendants’ reply, as appropriate.


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appropriate when, viewing the evidence and drawing all reasonable inferences in favor of the

nonmoving party, “there is no genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S.

317, 321 (1986).

                                             ARGUMENT

        I.      Plaintiffs Lack Standing to Challenge Certain § 284 and § 2808 Projects.

                A.      CBD Plaintiffs

        “An association has standing to sue under Article III of the Constitution of the United

States only if (1) at least one of its members would have standing to sue in his own right; (2) the

interest it seeks to protect is germane to its purpose; and (3) neither the claim asserted nor the

relief requested requires the member to participate in the lawsuit.” Am. Trucking Ass’ns, Inc. v.

Fed. Motor Carrier Safety Admin., 724 F.3d 243, 247 (D.C. Cir. 2013) (internal quotation marks

omitted). To establish standing for an individual member, “a plaintiff must show (1) it has

suffered an ‘injury in fact’ that is (a) concrete and particularized and (b) actual or imminent, not

conjectural or hypothetical; (2) the injury is fairly traceable to the challenged action of the

defendant; and (3) it is likely, as opposed to merely speculative, that the injury will be redressed

by a favorable decision.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167,

180-81 (2000). At the summary judgment stage, the plaintiff bears the burden of establishing

standing as “set forth by affidavit or other evidence [of] specific facts.” Lujan v. Defenders of

Wildlife, 504 U.S. 555, 561 (1992) (internal quotation marks omitted).

        In cases involving allegations of environmental harm, the Supreme Court has recognized

that injuries to the “recreational or the mere esthetic interests of the plaintiff . . . will suffice” for

standing. Summers v. Earth Island Inst., 555 U.S. 488, 494 (2009); see Sierra Club v. Jewell,




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764 F.3d 1, 5 (D.C. Cir. 2014) (“This court has similarly understood that injury in fact can be

found when a defendant adversely affects a plaintiff’s enjoyment of flora or fauna.”). CBD

challenges the construction of all six § 284 projects, see CBD Mot. at 10–13, and it has

submitted sworn declarations from its members stating that they recreate near the § 284 projects

and explaining how construction of each § 284 project will harm their recreational and aesthetic

interests. See First Declaration of Laiken Jordahl ¶¶ 7, 16–18 (El Paso 1); Declaration of Isaac

Russell ¶¶ 5–7 (Yuma 1); Declaration of Ileene Anderson ¶¶ 10–17 (El Centro 1); First Jordhal

Decl. ¶¶ 7, 11–14, 20–21 (Tucson 1, 3); Declaration of Taylor McKinnon ¶¶ 8–12 (Tucson 2).

These declarations establish the requisite injury for recreational and aesthetic standing under the

law of this Circuit, and Defendants do not contest that CBD has satisfied the other elements for

associational standing. Accordingly, Defendants concede that CBD has standing to challenge the

§ 284 projects.9

       By contrast, CBD has not presented sufficient evidence to establish standing for all of the

§ 2808 projects they purportedly challenge. CBD’s motion states that it challenges construction

of 10 of the 11 § 2808 projects and cites 14 declarations in support of that assertion. See CBD

Mot. at 10–13.10 But only two of these declarations discuss the § 2808 projects. See Declaration

of Jill Holslin; Second Declaration of Laiken Jordahl. Further, these two declarations are limited

to alleging injuries traceable to only two § 2808 projects. See Holsin Decl. (San Diego 4);

Second Jordahl Decl. (Yuma 10/27). Defendants concede that CBD has standing to challenge


9
 Because CBD itself has standing to challenge construction of the § 284 projects, there is no
need for the Court to separately address the standing allegations by the other plaintiffs in the
case, Animal Legal Defense Fund (see Declaration of Elizabeth Walsh) and Defenders of
Wildlife (see Declaration of Bryan Bird), who challenge a subset of the § 284 projects. See Ry.
Labor Execs.’ Ass’n v. United States, 987 F.2d 806, 810 (D.C. Cir. 1993).
10
  There is no indication in CBD’s motion that they challenge construction of Yuma 2, which is
one of the projects located on the Goldwater Range.


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these two projects, but CBD’s remaining declarations do not contain any allegations about the

other § 2808 projects. Nor could they, because the declarations were executed in May 2019,

more than three months before the Secretary of Defense made his decision to authorize the

§ 2808 projects in September 2019. See AR at 185–90. CBD has known the locations and

parameters of the § 2808 projects for nine months, see CBD ECF No. 37, and could have

developed declarations explaining how each § 2808 project harms their members’ interests in the

project areas. Lujan, 504 U.S. at 565–66 (“a plaintiff claiming injury from environmental

damage must use the area affected by the challenged activity and not an area roughly in the

vicinity of it”). However, CBD has simply re-submitted the same declarations it filed with its

opposition to Defendants’ motion to dismiss, none of which even mention the § 2808 projects,

let alone explain how those projects harm CBD’s members’ recreational and aesthetic interests.

This approach is plainly insufficient to carry CBD’s burden to establish standing at this stage for

the § 2808 projects other than San Diego 4 and Yuma 10/27. See Lujan, 504 U.S. at 564

(evidence that a plaintiff “ ‘had visited’ the areas of the projects before the projects commenced

proves nothing”); Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 889 (1990) (evidence that a

member “uses unspecified portions of an immense tract of territory, on some portions of which

[an] activity has occurred or probably will occur” is insufficient under Article III); Summers, 555

U.S. at 495 (holding that an affidavit stating that a plaintiff had “visited many national forests

and plans to visit several unnamed national forests in the future” is insufficient to establish

standing absent an allegation that “any particular timber sale or other project” alleged to be

unlawful will impede a “specific and concrete plan of [plaintiff’s] to enjoy the national forests”).

       The Supreme Court has emphasized that “standing is not dispensed in gross,” Gill v.

Whitford, 138 S. Ct. 1916, 1934 (2018), and the fact CBD has standing to challenge two § 2808




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projects does not mean that it has standing to challenge the remaining projects located elsewhere

along the border. Although a project-by-project requirement for standing may be

“understandably frustrating to an organization such as [CBD], which has as its objective across-

the-board protection of [the] Nation’s wildlife . . . ,” such an approach “is the traditional, and

remains the normal, mode of operation of the courts.” Nat’l Wildlife Fed’n, 497 U.S. at 894; see

Nat’l Wildlife Fed’n v. U.S. Army Corps of Engineers, 170 F. Supp. 3d 6, 13–14 (D.D.C. 2016)

(finding no standing where plaintiffs’ members presented no evidence that their “river activities

take place along a portion of the shoreline about to be altered by an erosion prevention

structure”).

               B.      RGISC Plaintiffs

       The remaining plaintiffs in the RGISC case challenge only a small subset of the § 284 and

§ 2808 projects. Plaintiffs RGISC, Hull, Hein, and Carrizo/Comercrudo challenge the

construction of Laredo 7, a § 2808 project. See RGISC Mot. at 15–18, 20-22, 24. CalWild

challenges three projects: El Centro 1, a fiscal year 2019 § 284 project; El Cento A, a fiscal year

2020 § 284 project; and San Diego 4, a § 2808 project. See id. at 18-20. Plaintiffs Ramirez and

Carrizo/Comercrudo generally challenge a project they describe as “95-miles of border wall

construction” in Texas’s Rio Grande Valley, and specifically a barrier project planned near the

Jackson Ranch Church and Cemetery and Eli Jackson Cemetery. See id. at 22-26.

       1.      RGISC Has Standing With Respect to Only Three Barrier Projects.

       RGISC and CalWild have submitted sworn declarations from a member of each

organization stating that they recreate near Laredo 7, El Centro 1, and San Diego 4 and

explaining how construction of each of these projects will harm their recreational and aesthetic

interests. See Declaration of Virginia Palacios ¶¶ 4, 10, 14-15, 18 (Laredo 7); Declaration of




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David Hogan ¶¶ 3, 7-9 (El Centro 10), 10-12 (San Diego 4). Defendants do not dispute that

these declarations demonstrate injury for recreational and aesthetic standing, and they do not

contest that RGISC and CalWild have satisfied the other elements to establish associational

standing. Accordingly, Defendants concede that RGISC and CalWild have standing to challenge

Laredo 7, El Centro 1, and San Diego 4.11

       2.      Claims Related to “El Centro A” Are Not Properly Before the Court.

       CalWild also seeks to challenge the construction of El Centro A, but this claim—raised

for the first time in RGISC’s summary judgment motion—is not properly before the Court.

Unlike the fiscal year 2019 projects at issue in this case, El Centro A is one of 31 project

segments being constructed and funded in fiscal year 2020 pursuant to § 284. The project was

approved by the Secretary of Defense on February 7, 2020, and is being paid for with funds

transferred pursuant to DoD’s general transfer authority under § 8005 of the DoD Appropriations

Act, 2020 (a component of the FY20 CAA), see Pub. L. No. 116-93, 133 Stat 2317, div. A;

§ 1001 of the National Defense Authorization Act for Fiscal Year 2020 (FY20 NDAA), see Pub.

L. No. 116-92, 133 Stat. 1198, Title X; and DoD’s special transfer authority under § 9002 of the

FY20 DoD Appropriations Act and § 1520A of the FY20 NDAA. See RGISC ECF No. 73.

DoD’s decision to undertake border barrier projects in fiscal year 2020 is beyond the scope of

RGISC’s First Amended Complaint, which consists of allegations related solely to actions taken

by Defendants in fiscal year 2019 that RGISC claims, among other things, violate the fiscal year

2019 CAA. See Am. Compl. ¶¶ 88-96, RGISC ECF No. 28 (detailing agency actions taken from



11
  Because RGISC itself has standing to challenge the construction of Laredo 7, the Court does
not need to separately analyze the standing claims of Plaintiffs Hull (see Declaration of Elsa
Hull), Hein (see Declaration of Joseph Hein), and Carrizo/Comecrudo (see Declaration of Juan
Mancias), who also challenge the construction of this project. See Ry. Labor Execs.’ Ass’n, 987
F.2d at 810.


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February to May 2019 related to border barrier projects); see id. ¶ 137 (“The statutes the

President relies on, 10 U.S.C. §§ 284, 2808 . . . , do not authorize wall construction outside of the

limits set by Congress in the Consolidated Appropriations Act of 2019.”). And because they

were not challenged in the Amended Complaint, DoD’s fiscal year 2020 decisions are likewise

not part of the administrative record that Defendants certified in this case. See generally Cert.

Index of Admin. Rec., RGISC ECF No. 82.

       “It is well established that a party may not amend its complaint or broaden its claims

through summary judgment briefing.” Cigar Ass’n of Am. v. FDA, 315 F. Supp. 3d 143, 174

(D.D.C. 2018) (citation omitted); see, e.g., Quick v. Dep’t of Commerce, 775 F. Supp. 2d 174,

183 (D.D.C. 2011) (“[I]t is axiomatic that a party cannot amend its complaint merely by injecting

new claims in the course of briefing a dispositive motion.”). But that is exactly what RGISC

seeks to do here, because the Amended Complaint unquestionably does not contain a challenge

to any fiscal year 2020 border barrier projects and RGISC never sought to further amend its

complaint. Nor can RGISC frame its claims as a broader challenge to Defendants’ use of certain

authorities to build border barriers. The Supreme Court has rejected attempts to bring

programmatic-type challenges “for wholesale correction under the APA, simply because one

[agency action] that is ripe for review adversely affects one of [plaintiff’s] members.” National

Wildlife Fed’n, 497 U.S. at 894. As explained above, a project-by-project “approach . . . is the

traditional, and . . . normal, mode of operation” for the Court to resolve RGISC’s claims.12 Id.




12
   By way of example, CBD filed a new lawsuit raising challenges to DoD’s fiscal year 2020
border barrier funding decisions. See Center for Biological Diversity v. Esper, Case No. 20-cv-
1230-TNM (D.D.C.). Similarly, in related litigation pending in the Northern District of
California, the plaintiffs raised claims challenging fiscal year 2020 border barrier projects by
initiating new, separate actions. See Sierra Club v. Trump, 20-cv-1494-HSG (N.D. Cal.);
California v. Trump, 20-cv-1563-HSG (N.D. Cal.).


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       This Court should thus deny RGISC’s motion as to El Centro A because it seeks relief

beyond the scope of the Amended Complaint.

        3. RGISC Lacks Standing to Challenge Barrier Projects in the Rio Grande Valley.

       RGISC has failed to demonstrate standing for its claims related to border barrier

construction in the Rio Grande Valley Sector of Texas. The alleged injury caused by these

projects is neither traceable to the agency actions challenged in this case, nor redressable by the

relief that RGISC requests. See Friends of the Earth, Inc., 528 U.S. at 180-81 (Article III

standing requires injury that is, inter alia, “fairly traceable to the challenged action of the

defendant” and “likely, as opposed to merely speculative, [to] be redressed by a favorable

decision.”).

       As explained by Loren Flossman, the Acquisition Program Manager for the U.S.

Customs and Border Protection’s (CBP) Wall Program Management Office, the barrier project

planned near the Jackson Ranch Church and Cemetery and Eli Jackson Cemetery in Hidalgo

County, Texas, “will be constructed using only CBP’s Fiscal Year 2019 appropriation (Public

Law No. 116-6, § 230) and the [Treasury Forfeiture Fund (TFF)].” Declaration of Loren

Flossman (June 24, 2020) ¶ 6 (Exhibit 6). Indeed, Mr. Flossman confirms that the entire “border

wall system that CBP will construct in the Rio Grande Valley” is being “funded exclusively by

three sources: (1) CBP’s Fiscal Year 2018 appropriation (Public Law No. 115-141, § 230); (2)

CBP’s Fiscal Year 2019 appropriation (Public Law No. 116-6, § 230); and [(3)] the [TFF].”13 Id.



13
  RGISC incorrectly asserts that CBP is constructing 95 miles of border barrier in the Rio
Grande Valley. See RGISC Mot. at 23. RGISC’s assertion is based on a June 27, 2019 letter
that sought public input on the construction of barriers in this sector. See id. (citing Ex. 15). The
mileage totals in CBP’s consultation letters, however, do not represent the final number of miles
that will actually be built. See Declaration of Loren Flossman (Aug. 27, 2019) ¶ 5, RGISC ECF
No. 47-2 (noting that the consultation letter describes “approximate, estimated mileage” for
planned projects and that actual mileage would depend on available funding). After considering


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¶ 5 (emphasis added). “No other sources of funding or authority, including those authorities

challenged in this action (10 U.S.C. § 284 and 10 U.S.C. § 2808), will be used to construct

border wall system in the Rio Grande Valley,” id., including the planned project at the

cemeteries, id. ¶ 6.14 Indeed, the administrative record shows that DHS never requested or

recommended that DoD undertake border barrier construction in the Rio Grande Valley pursuant

to 10 U.S.C. § 284 or 10 U.S.C. § 2808, and that the Secretary of Defense has not approved any

such construction under these authorities. See AR 7–8, 15–24, 143–44, 193–195, 234–241; see

also Flossman Decl. ¶ 7 (6/24/20).

       Because Defendants are not acting pursuant to the statutory authorities in dispute, RGISC

has not established the traceability prong of Article III’s standing requirement. See Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 412 (2013) (holding the plaintiffs failed to establish

traceability where they could not show the government acted under the specific statutory

authority being challenged); Wright, Miller & Cooper, Fed. Practice & Procedure, § 3531.4 (2d

ed. 1984) (“The very notion of injury implies a causal connection to the challenged activity; an

injury caused by other events is irrelevant” to standing). For the same reason, RGISC also has

not demonstrated that the requested relief—an injunction preventing Defendants from using

funds under § 284 and § 2808 to build border barriers—will redress the alleged harms caused by




all potential barrier projects and assessing all of the available funding, CBP will execute 110
miles of barrier construction in the Rio Grande Valley. See Flossman Decl. (6/24/20) ¶ 9
(describing construction of approximately 25 miles of levee and pedestrian barrier in Hidalgo
and Starr Counties using funding from the 2018 CAA); see id. ¶ 10 (describing construction of
approximately 85 miles of levee and pedestrian barrier in Hidalgo, Starr, and Cameron Counties
using funding from both the 2019 CAA and the TFF).
14
  As noted above, RGISC’s Amended Complaint challenged Defendants’ use of TFF funds (31
U.S.C. § 9705) to undertake border barrier construction; however, the Court dismissed this claim
for failure to state a claim. See Mem. Op. at 54.


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barrier construction in the Rio Grande Valley. Even if this Court were to enter such relief, it

would have no effect on CBP moving forward with Rio Grande Valley barrier projects because

those projects are not being funded by the sources of authority that are at issue in this case. Fla.

Audubon Soc’y v. Bentsen, 94 F.3d 658, 663-64 (D.C. Cir. 1996) (“Redressability examines

whether the relief sought, assuming that the court chooses to grant it, will likely alleviate the

particularized injury alleged by the plaintiff.”).

        Even though Defendants have consistently and repeatedly affirmed that none of the on-

going or planned barrier projects in the Rio Grande Valley will be undertaken pursuant to § 284

or § 2808,15 RGISC speculates that CBP cannot complete construction of the barrier system,

including the project near the cemeteries, without use of these challenged authorities. RGISC

Mot. at 24-26. The crux of its argument is that construction costs will significantly exceed the

amount of money currently available to CBP to fund the Rio Grande Valley border system due to

alleged cost overruns and additional costs incurred to paint the barriers. Id. RGISC’s claim,

however, is premised on irrelevant, unfounded, and mischaracterized facts.

        To support its claim, RGISC erroneously relies on an October 15, 2019 letter to the

Secretary of Defense from several United States Senators, which references that the U.S. Army

Corps of Engineers is preparing for a potential 10% cost overrun for barrier construction. Id. at

25. The reference in this letter “has nothing to do the CBP-funded barrier projects in Rio Grande

Valley,” but rather “concerns border barrier construction by [DoD] pursuant to 10 U.S.C. § 284

and 10 U.S.C. § 2808.” Flossman Decl. (6/24/20) ¶ 8. That much is clear from the text of the




15
  See Second Declaration of Loren Flossman (Apr. 1, 2019) ¶ 8, RGISC ECF No. 34-1;
Declaration of Loren Flossman (May 31, 2019), ¶ 8, RGISC ECF No. 34-6; Flossman Decl.
(8/27/19) ¶ 6; Flossman Decl. (6/24/20) ¶¶ 5-6.



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letter itself, which discusses DoD’s transfer of certain funds to support DoD’s border barrier

construction. See RGISC Mot., Ex. 18.16 The alleged overrun estimate thus has no bearing on

the cost of construction in the Rio Grande Valley—all of which is being funded by CBP

appropriations and the TFF.

       Equally unconvincing is RGISC’s reliance on unsourced allegations in media reports

related to the costs of painting border barriers. Id. at 24. According to RGISC, CBP intends to

paint border barriers in the Rio Grande Valley at a cost of several hundred-million dollars, for

which CBP’s current funding does not account, thus requiring CBP to use disputed authorities to

cover the increased costs. Id. at 24, 25. This series of logical leaps is baseless. Mr. Flossman

confirms that “CBP will not rely on . . . [§ 284 or § 2808] to cover the cost of painting or epoxy

coating the planned border barriers in the Rio Grande Valley.” Flossman Decl. (6/24/20) ¶ 8. In

fact, the funds available to CBP that have currently been obligated include “the cost to apply an

epoxy coating to approximately 65 miles of barrier to extend its lifecycle.” Id. ¶ 10. CBP will

epoxy coat additional miles of barrier “only if” funding is available from CBP’s Fiscal Year

2018 and 2019 appropriations or the TFF “once the construction is complete.” Id.; see id. ¶ 9.

       RGISC also mischaracterizes a prior declaration submitted by Mr. Flossman in January

2020 to support the proposition that Defendants are experiencing unexpected cost overruns with

Rio Grande Valley projects. See RGISC Mot. at 24-25. Not only did Mr. Flossman not make

such a statement, but the proper quotation of his declaration actually undermines RGISC’s



16
   The focus of the letter is on DoD’s decision to use $129 million in excess counter-narcotics
funds for § 284 construction. Defendants notified the Court and parties about that development
in September 2019, explaining that DoD is making available $129 million of expiring fiscal year
2019 funds from the counter-narcotics account to address any unanticipated, within-scope
contract costs associated with DoD’s fiscal year 2019 counter-narcotics projects. See Notice
Regarding Funding of Border Barrier Projects Pursuant to 10 U.S.C. § 284 in Fiscal Year 2020,
RGISC ECF No. 59. Nothing in the letter or Defendants’ notice relates to CBP-funded projects.


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speculative claim that CBP has insufficient funding. What Mr. Flossman explained was that

CBP had allocated $216 million of TFF funds to use for, among other things, “change

management, i.e., covering increased project costs due to unforeseen site conditions and other

contingencies.” Declaration of Loren Flossman (Jan. 8, 2020) ¶ 7(b), RGISC ECF No. 68-1. In

other words, CBP has prepared for and already set aside money to cover cost overruns from the

funds available to it.

        Although the Court found that similar allegations met the low bar for demonstrating

standing at the motion-to-dismiss stage, “that finding does not obviate the court’s responsibility

to ensure that the plaintiff can actually prove those allegations when one or both parties seek

summary judgment.” Mem. Op. at 14 (citations omitted) (emphasis in original). Far from the

proof required by Article III, RGISC’s conjecture and speculation that § 284 and § 2808 funds

will be used for construction in the Rio Grande Valley is wholly insufficient at this stage.

Winpisinger v. Watson, 628 F.2d 133, 139 (D.C. Cir. 1980) (no standing exists where the court

“would have to accept a number of very speculative inferences and assumptions in any endeavor

to connect [the] alleged injury with [the challenged conduct]”).

        In fact, Defendants have demonstrated that, “[c]ontrary to plaintiffs’ assertion, the 110

miles of border wall system that CBP will construct in the Rio Grande Valley is fully funded.”

Flossman Decl. (6/24/20) ¶ 8 (emphasis added). As Mr. Flossman explains, from the sources of

funding available to CBP (fiscal years 2018 and 2019 appropriations and the TFF), CBP has

$2.356 billion to construct a border wall system in the Rio Grande Valley. See id. ¶¶ 9–10. All

110 miles of barrier are currently under contract, and approximately $2 billion has been

obligated. See id. The remaining $350 million will be used for “risk mitigation (including

increased costs due to unforeseen site conditions or real estate), border wall system elements,




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real estate and environmental support and project management.” Id. ¶ 9, see id. ¶ 10. Thus, CBP

has not only fully funded the planned barrier projects in the Rio Grande Valley, it still has

approximately $350 million in reserve should unexpected costs arise. And even “if actual

construction of project costs exceed CBP’s available funding for [these] projects,” the agency

official responsible for overseeing barrier construction has affirmed—for the fourth time in this

litigation—that “[i]n no event will CBP rely on [§ 284 or § 2808] to fund construction” in the

Rio Grande Valley. Id. ¶ 11.

       II.     The CAA Does Not Preclude DoD From Using its Appropriated Funds
               Pursuant to Its Own Statutory Grants of Authority.

               A.      Section 230 of the CAA Does Not Prohibit DoD’s Use of § 284 and
                       § 2808.

       The Court should reject Plaintiffs’ argument that the CAA prevents DoD from funding

border barrier construction pursuant to § 284 and § 2808. See RGISC Mot. at 26–30; CBD Mot.

at 13–20. As an initial matter, RGISC continues to assert that Congress’s appropriation of

$1.375 billion to DHS in § 230 of the CAA for border barrier construction in the Rio Grande

Valley Sector implicitly precludes DoD from relying on its own separate statutory authority and

appropriations for border barrier construction in other areas. See RGISC Mot. at 27. The Court

previously held that Plaintiffs’ failed to state a claim for a violation of § 230 and RGISC does not

offer any new arguments to alter that conclusion. See Mem. Op. at 41–45. Congress’s

appropriation of funds to an account within DHS’s budget does not explicitly or impliedly

override DoD’s existing statutory authority under § 2808 and § 284 to construct barriers using its




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own appropriated funds.17 See Defs.’Mot. to Dismiss at 59–61 (RGISC ECF No. 34); Defs’

Reply in Support of Mot. to Dismiss at 28–30 (RGISC ECF No. 47).

               B.      Plaintiffs Do Not Fall Within the Zone of Interests of § 739 of the
                       CAA.

       Plaintiffs’ reliance on § 739 of the Financial Services and General Government

Appropriations Act, 2019 (a component of the CAA), fares no better. That provision states:

           None of the funds made available in this or any other appropriations Act
           may be used to increase, eliminate, or reduce funding for a program,
           project, or activity as proposed in the President’s budget request for a fiscal
           year until such proposed change is subsequently enacted in an appropriation
           Act, or unless such change is made pursuant to the reprogramming or
           transfer provisions of this or any other appropriations Act.

Pub. L. No. 116-6, div. D, § 739, 133 Stat. at 197.

       Because Plaintiffs assert their § 739 claim as an APA cause of action, Plaintiffs must fall

within “the zone of interests to be protected or regulated” by § 739. Match-E-Be-Nash-She-Wish

Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 224 (2012). Plaintiffs cannot satisfy this

standard. There is no question that § 739, standing alone, does not protect or regulate Plaintiffs’

environmental, recreational, and aesthetic interests in the land where § 284 and § 2808 barrier

construction will occur. Section 739 is intended to regulate the back-and-forth relationship

between agencies and Congress regarding federal spending. That provision’s boilerplate

language, which has been included in appropriations statutes since 2014, see e.g., Consolidated

Appropriations Act, 2014, Pub. L. No. 113-76, div. E, § 743, in no way suggests that Congress

intended to allow suits to enforce the attenuated interests these particular Plaintiffs assert here.




17
  RGISC also briefly argues that DoD’s use of § 284 and § 2808 violates the Appropriations
Clause. See RGISC Mot. at 26. As noted above, the Court dismissed Plaintiffs’ constitutional
claims. See Mem. Op. at 54–58.


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       At the motion to dismiss stage, the Court concluded that Plaintiffs fell within the zone of

interests of § 739 because it “bears an integral relationship” to §§ 231 and 232 of the DHS

Appropriations Act (a separate component of the CAA) and these provisions arguably align with

Plaintiffs’ conservational interests. See Mem. Op. at 38–40 (quoting Indian River Cty. v. U.S.

DOT, 945 F.3d 515, 530 (D.C. Cir. 2019)). Sections 231 and 232 place limitations on the use of

funds for barrier construction in five specified areas of the border and require DHS to consult

with local officials before beginning construction funded by DHS’s fiscal year 2019

appropriations in certain locations. See Pub. L. No. 116-6, div. A, §§ 231–32.

       Defendants respectfully request that the Court reconsider at the summary judgment stage

its prior conclusion that § 739 is integrally related to §§ 231 and 232, such that Plaintiffs fall

within the zone of interests of § 739. The “[t]he relevant statute” for zone-of-interests purposes

“is the statute whose violation is the gravamen of the complaint.” National Wildlife Fed’n, 497

U.S. at 886. Here, that statute is § 739, not § 231 or § 232. The Supreme Court has recognized a

narrow exception to the “relevant statute” requirement where the statute forming the basis of the

plaintiff’s claim bears an “integral relationship” with a closely-related provision. Air Courier

Conference of Am. v. American Postal Workers Union, 498 U.S. 517, 528–30 (1991). But that

narrow exception, which the Supreme Court has recognized only once, has no application here.

       In Clarke v. Securities Industry Association, 479 U.S. 388, 401 (1987), the Supreme

Court examined the National Bank Act and concluded that the provision of law that plaintiffs

“claimed had been misinterpreted” by the agency (12 U.S.C. § 36) was “a limited exception” to

an otherwise general statutory requirement in that same act (12 U.S.C. § 81). Id. Consequently,

the Supreme Court held that the “zone-of-interests test was to be applied not merely in light of

the” statute that formed the basis of the plaintiffs’ claim (§ 36), but also on the basis of the




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provision that established the general rule (§ 81), “to which § 36 was an exception.” Air Courier

Conference, 498 U.S. at 529.

       The relationship between § 739 and §§ 231 and 232 is far more attenuated than the

situation in Clarke. The statutes here do not create the type of interrelated general rule and

exception relationship that the Supreme Court found critical in Clarke. Further, it is not enough

that § 739 and §§ 231 and 232 are both within the CAA, an omnibus legislative vehicle that

totals over 400 pages and consists of seven separate appropriations acts. See Pub. L. No. 116-6,

§ 3 (defining “act” to refer to each separate appropriations act). The Supreme Court rejected a

similar argument in Air Courier Conference, 498 U.S. at 529–30, concluding that the inclusion

of separate provisions in a lengthy statute (the Postal Reorganization Act) is not enough to

satisfy the integral relationship test, even where the statutes addressed the same subject matter.

“[T]o accept this level of generality in defining the ‘relevant statute’ could deprive the zone-of-

interests test of virtually all meaning.” Id. at 530; see Fed’n for Am. Immigration Reform, Inc. v.

Reno, 93 F.3d 897, 903 (D.C. Cir. 1996).

       Indeed, this case involves an even weaker relationship than Air Courier Conference,

where the Supreme Court held that postal employees could not bring suit for violations of a

postal statute regulating the delivery of international mail by reference to the zone of interests

protected by the “labor-management provisions” for postal workers in the same statute. See 498

U.S. at 529–30. Here, there is no unifying substantive or procedural relationship between § 739

and §§ 231 and 232. Moreover, nothing in the text or structure of § 739 suggests that it has any

connection to the consultation and conservational interests protected by §§ 231 and 232.

Although the Court stated that § 739 “bears an integral relationship” to §§ 231 and 232 because

“it preserves the integrity of each appropriation in the CAA[,]” Mem. Op. at 40, that approach




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defines the inquiry at a level of generality that is inconsistent with the narrow way the Supreme

Court analyzed whether the statues were interrelated in Clarke and Air Courier Conference. Just

as in Air Courier Conference, Plaintiffs cannot “leapfrog from their asserted protection” for

environmental interests under §§ 231 and 232 to assert a cause of action for a violation of the

funding limitations in § 739. Id. at 530.

       This conclusion is consistent with the D.C. Circuit’s decisions applying the integral

relationship exception. In the cases where the D.C Circuit has recognized an integral

relationship the statutory provisions at issue were far more directly related and intertwined than

the provisions at issue here. See Nat’l Petrochemical & Refiners Ass’n v. E.P.A., 287 F.3d 1130,

1146–48 (D.C. Cir. 2002) (holding that a truck manufacturer fell within the zone of interests to

challenge EPA’s emissions credit program established pursuant to the Clean Air Act’s general

authority to regulate pollutants because of the “integral relationship” between that provision and

the Clean Air Act’s penalty provisions); Amalgamated Transit Union v. Skinner, 894 F.2d 1362,

1366 (D.C. Cir. 1990) (concluding that an employees’ union could challenge a regulation

requiring drug testing for certain local transit employees issued under the Urban Mass

Transportation Act because of the integral relationship between the authority for the regulation

and the “congressional solicitude throughout the statutory scheme for preserving employees’

collective bargaining rights at the local level”).18 By contrast, this case is far more analogous to

the cases in which the D.C. Circuit concluded that no such integral relationship exists. See, e.g.,




18
  Indian River County did not apply the “integral relationship” test because the Court of Appeals
concluded that the plaintiffs fell within the zone of interests of the statute they asserted was
violated (26 U.S.C. § 142). See 945 F.3d at 528–30 (explaining that although the district court
analyzed “whether § 147(f) bears an integral relationship with § 142, the provision upon which
Indian River County sues,” there was no need “to tarry further over the District Court’s decision
because we hold that Appellant is within the zone-of-interests of 26 U.S.C. § 142(m)”).


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Grocery Mfrs. Ass’n v. E.P.A., 693 F.3d 169, 179 (D.C. Cir. 2012) (concluding that plaintiffs

asserting a violation of the Clean Air Act could not satisfy the zone of interests requirement by

reference to the interests protected by the Energy Independence and Security Act (EISA) because

the statutes were not “integrally related” even though both statutes “have fuel as their subject

matter” and the EISA “may have incentivized” a party to apply for a Clean Air Act waiver);

Reno, 93 F.3d at 903 (D.C. Cir. 1996) (holding that distinct provisions of the INA did not have

the “integral relationship” required to be considered together for the purpose of zone-of-interests

analysis).

               C.      Border Barrier Construction Pursuant to § 284 and § 2808 Does Not
                       Violate § 739 of the CAA.

       Even assuming Plaintiffs could assert a claim under § 739 on the merits, Plaintiffs

argument rests on a faulty premise: that barrier construction undertaken pursuant to separate

funding and statutory authority under § 284 and § 2808 is somehow adding funds to DHS’s

appropriation in the CAA. See RGISC Mot. at 26–30; CBD Mot. at 13–20. It is not. Any funds

utilized for border barrier construction pursuant to § 284 and § 2808 will be used for the purpose

for which they were appropriated—counter-drug support and military construction—not to

increase funding of DHS’s appropriation in the CAA. As discussed above, similar boilerplate

language has been included in appropriations statutes since 2014 and there is nothing in § 739 to

suggest that it could be read to implicitly repeal the longstanding and specific authority provided

in § 284 or § 2808.

       There is no violation of § 739 because DoD is not adding additional money to a

“program, project, or activity” within one of DHS’s budget accounts, as that term of art is

understood in the appropriations context. See FDA v. Brown & Williamson Tobacco Corp., 529

U.S. 120, 133 (2000) (“It is a fundamental canon of statutory construction that the words of a



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statute must be read in their context.”) (internal quotations omitted). The GAO has defined

“program, project, or activity” as an “element within a budget account.” U.S. Gov’t

Accountability Off., GAO-05-734SP, A Glossary of Terms Used in the Federal Budget Process

80 (2005); see 31 U.S.C. § 1112 (requiring GAO to publish standard budget terms).19 Contrary

to Plaintiffs’ argument, see RGISC Mot. at 28–29; CBD Mot. at 15–16, the term “program,

project, or activity” as used in § 739 refers to a particular item funded in an agency’s budget

account as set forth in an appropriations act, not the “border wall” generally. See McDermott

Int’l, Inc. v. Wilander, 498 U.S. 337, 342 (1991) (explaining that when Congress uses a “term of

art,” Congress is assumed to have “intended [the term] to have its established meaning” in that

context).

       In appropriating funds, Congress specifies appropriations to particular budget accounts

within an agency. See, e.g., CAA, div. A, tit. II. An agency’s total budget is divided into several

different appropriations accounts—i.e., DHS’s budget includes its “U.S. Customs and Border

Protection–Procurement, Construction and Improvements” account, or “U.S. Immigration and

Nationality Service–Operations and Support.” See id. Under those accounts, an agency may

fund numerous programs, projects, and activities. See generally U.S. Customs and Border Prot.,

DHS, Budget Overview, Fiscal Year 2019, Congressional Justification, https://go.usa.gov/xd7Hj;

see id. at 338 (describing the “Border Security Assets and Infrastructure” program, projects, and

activities within DHS’s U.S. Customs and Border Protection’s Procurement, Construction, and

Improvements account).



19
  See also 2 U.S.C. § 906(k)(2) (defining “programs, projects, and activities” for purposes of
budget sequestration by reference to “a budget account . . . as delineated in the appropriation Act
or accompanying report for the relevant fiscal year covering that account”); United States v.
Burgess, 1987 WL 39092, at *17 n.16 (N.D. Ill. Dec. 1, 1987) (defining the term by reference to
the “most specific level of budget items” listed in an appropriations act and committee reports).


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       The CAA, like other appropriations statutes, uses the term “programs, projects, and

activities” in this specific manner: to refer to elements within an agency’s budget accounts. See,

e.g., CAA, div. A, § 101, (directing DHS Chief Financial Officer to submit to the appropriations

committees reports “that include[] total obligations of the Department for that month . . . at the

appropriation and program, project, and activity levels”); see also H.R. Rep. No. 116-9, at 503

(2019) (“remind[ing]” DHS, in the Conference Report accompanying the CAA, that DHS should

“follow GAO’s definition of ‘program, project, or activity’ as detailed in the GAO’s A Glossary

of Terms Used in the Federal Budget Process”). CBD even concedes that Defendants’ definition

of “program, project, or activity” is “the meaning that Congress routinely applies to the phrase.”

CBD Mot. at 16.

       None of the § 284 or § 2808 projects that DoD is undertaking increases funding for an

element within any budget account that belongs to DHS (or any other agency). Rather, DoD is

using funds previously appropriated by Congress to DoD pursuant to longstanding statutory

authority. See AR at 35–37, 148–56, 271–73. The fact that appropriations to different agencies

can be used for similar purposes does not transform a valid use of one source of appropriated

funds into an improper expenditure. See Mem. Op. at 44 (stating that “no one alleges that the

Government is using general appropriations to inflate the specific appropriation to Rio Grande

Valley Sector barrier construction” and concluding that “the Government is using general

appropriations to fund a different, though similar, subject”) (emphasis in original). Under

Plaintiffs’ reading, the term “program, project, or activity” would entirely eliminate the

possibility that two agencies could spend their own respective appropriated funds on similar, but

entirely separate, activities that each was statutorily authorized to undertake. Without a clear

statement from Congress, § 739 cannot be read so broadly. The fact that § 284 and § 2808




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provide DoD with independent authority to construct border barriers does not somehow

transform DoD’s use of those authorities into an excess infusion of money to an entirely separate

DHS appropriation account. Accordingly, the use of funds at issue here complies with § 739,

and Plaintiffs have not established a violation of the CAA.20

       In the alternative, CBD argues that it prevails even if the term “program, project, or

activity” is understood to refer to a specific element within an agency’s budget account. See

CBD Mot. at 16–17. CBD contends that under this definition the specific budget account for

purposes of the § 739 analysis is the “U.S. Customs and Border Protection–Procurement,

Construction and Improvements” account that appropriates funds “for the construction of

fencing, including levee pedestrian fencing, in the Rio Grande Valley Sector.” See Pub. L. No.

116-6, div. A, § 230. But even accepting that framing, DoD’s use of § 284 and § 2808 funds is

not adding additional funds to this account. None of the challenged § 284 and § 2808 projects at

issue are in the Rio Grande Valley Sector, and DoD is not transferring its own appropriated

funds to DHS to increase the funding levels in its account.

       III.    Plaintiffs Cannot Evade The Zone-Of-Interest Requirement By Asserting an
               Implied Equitable Cause of Action.

       The Court should dismiss Plaintiffs’ implied equitable cause of action alleging violations

of § 284, § 8005, and § 2808 because Plaintiffs do not fall within the zone of interests protected

by these statutes. Defendants acknowledge the Court previously concluded that Plaintiffs need

not satisfy the zone-of-interests test to assert equitable ultra vires claims, see Mem. Op. at 48–



20
  For these reasons, the Court should not follow the analysis of § 739 in State of Washington v.
Trump, 2020 WL 949934 at *9 (W.D. Wash. Feb. 27, 2020), and El Paso Cty. v. Trump, 408 F.
Supp. 3d 840, 859–60 (W.D. Tex. 2019). Those courts erred in concluding that the “border
wall” generally is a “program, project, or activity” and did not address Defendants’ arguments
that the term has a specific meaning within the budget context.



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49, but Defendants respectfully request the Court reconsider this decision at the summary

judgment stage. See Defs.’ Supp. Briefs Addressing Zone of Interests (CBD ECF Nos. 46, 51;

RGISC ECF Nos. 67, 71)

       In granting in part Defendants’ motion to dismiss, the Court concluded that Plaintiffs’

APA claims asserting violations of § 284, § 8005, and § 2808 failed because Plaintiffs’ could not

satisfy the zone-of-interests requirement. See Mem. Op. at 32–41. The fact that Plaintiffs cannot

satisfy the APA’s zone-of-interests requirement forecloses any attempt to invoke an equitable

cause of action to evade the limits Congress has imposed in the APA. See Sierra Club v. Trump,

929 F.3d 670, 712 (9th Cir. 2019) (N.R. Smith, J., dissenting) (plaintiffs cannot assert “an

equitable claim to bypass the APA’s limitations”).

       The argument that an implied equitable ultra vires cause of action need not comply with

the zone-of-interest test was presented and rejected by the Supreme Court in Trump v. Sierra

Club, 140 S. Ct. 1 (2019). The Supreme Court granted the government’s motion for a stay

pending appeal, concluding the government had made a sufficient showing that the plaintiffs fell

outside the zone-of-interests of the statute they sought to enforce through an implied equitable

action. Id. at 1. (“Among the reasons [for the stay] is that the Government has made a sufficient

showing at this stage that the plaintiffs have no cause of action to obtain review of the Acting

Secretary’s compliance with Section 8005.”). In reaching this conclusion, the Supreme Court

logically had to reject the plaintiffs’ argument that the zone of interests test does not apply to

such equitable claims. See Trump v. Sierra Club, No. 19A60 (S. Ct.), Respondents’ Opposition

to Application for Stay at 27–31 (arguing that “Plaintiffs have an ultra vires cause of action, and

therefore need not satisfy a zone-of-interests test”).




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       The “judge-made remedy” of equitable relief to enjoin executive action does not permit

Plaintiffs to sidestep “express and implied statutory limitations” on judicial review of

nonconstitutional claims, such as under the APA. Armstrong v. Exceptional Child Ctr., Inc., 135

S. Ct. 1378, 1384-1385 (2015). “Courts of equity can no more disregard those limitations than

may “courts of law.” Id. (citation and internal quotations omitted). Indeed, Armstrong itself

held that a federal statute “implicitly preclude[d] private enforcement” actions “in equity” based

on the text and structure of the statute. Id. at 1384–85 (an implied cause of action in equity is

available only in “some circumstances” that present “a proper case”). Likewise here, Plaintiffs

cannot invoke an equitable cause of action to assert a broader claim that would not be available

under the express cause of action in the APA. See Mem Op. at 48 (“The Court doubts that

Plaintiffs can bring an equitable claim when a statutory cause of action is available to it.”).

       This conclusion is reinforced by the Supreme Court’s recent decision in Hernandez v.

Mesa, 140 S. Ct. 735 (2020), which declined to extend the implied cause of action in Bivens v.

Six Unknown Fed. Narcotics Agents, 403 U.S. 388 (1971), to create a constitutional damages

remedy for a cross-border shooting. In reaching that conclusion, the Supreme Court stated that it

“frequently look[s] to analogous statutes for guidance on the appropriate boundaries of judge-

made causes of action.” Hernandez, 140 S. Ct. at 747. To determine the scope of Bivens, the

Supreme Court relied on the limitations in 42 U.S.C. § 1983, the statute providing for a damages

remedy for constitutional violations under the color of state law, that restricted the remedy only

to citizens or persons subject to United States jurisdiction. Id. (finding § 1983’s statutory

limitation “especially significant”). The Supreme Court concluded that “[i]t would be

‘anomalous to impute a judicially implied cause of action beyond the bounds Congress has




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delineated for a comparable express cause of action.’” Id. (quoting Blue Chip Stamps v. Manor

Drug Stores, 421 U.S. 723, 736 (1975)).

        That same rationale applies equally to this case, as it would defy both law and logic to

conclude that Plaintiffs who are not within the zone of interests to enforce the limitations in

§ 284, § 8005, and § 2808 under the express APA cause of action can nonetheless sue to enforce

those same limitations under an implied cause of action. The Supreme Court has consistently

rejected similar attempts to expand the scope of implied equitable actions beyond the limits of

related statutory cause of actions. See Miles v. Apex Marine Corp., 498 U.S. 19, 32 (1990) (“It

would be inconsistent with our place in the constitutional scheme were we to sanction more

expansive remedies in a judicially created cause of action . . . than Congress has allowed”); FCC

v. ITT World Commc’ns, Inc., 466 U.S. 463, 468 (1984) (holding that “[l]itigants may not evade”

a provision that vests the courts of appeals with exclusive jurisdiction by requesting a district

court to enjoin agency “action as ultra vires”); Block v. North Dakota, 461 U.S. 273, 284–85

(1983) (holding that plaintiffs could not “avoid the [Quiet Title Act’s] statute of limitations and

other restrictions by the device of an officer’s suit); Bush v. Lucas, 462 U.S. 367, 388 (1983)

(declining to create an implied cause of action where Congress had created a comprehensive

remedial system for civil service employees even though that system did not “provide complete

relief for the plaintiff”).

        Allowing Plaintiffs’ equitable claim to proceed in these circumstances would eviscerate

the APA’s limits on judicial review. As Judge Smith explained, the “failure to channel

Plaintiffs’ claims through the APA’s framework for challenging agency action will inevitably

lead to peculiar results.” Sierra Club, 929 F.3d at 717 (N.R. Smith, J., dissenting); see

Thompson v. N. Am. Stainless, LP, 562 U.S. 170, 176–78 (2011) (warning of “absurd




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consequences” if persons with Article III injuries that are “unrelated” to the interests protected

by the statute could bring suit). There would be no reason for any plaintiff to rely on the APA to

challenge agency action if an implied equitable action is always available without having to

comply with limitations Congress has imposed through the APA. Sierra Club, 929 F.3d at 717

(N.R. Smith, J., dissenting). Such a regime would “distort decades of administrative law

practice.” Id.

        A leading treatise supports this view, noting that the availability of an implied equitable

action “raises the question of why anyone would bother to use more limited causes of action

created by special statutory review proceedings and the APA.” 33 Charles A. Wright & Arthur

R. Miller, Federal Practice and Procedure § 8307 (3d ed. April 2020 Update). For that reason,

“an equitable remedy via nonstatutory review ought not be available” where, as here, Plaintiffs

seek to expand the Court’s equitable jurisdiction beyond the bounds of the APA. Id. This

conclusion is consistent with the longstanding “doctrine of equity jurisprudence that courts of

equity should not act . . . when the moving party has an adequate remedy at law.” Younger v.

Harris, 401 U.S. 37, 43 (1971); see Am. Rd. & Transp. Builders Ass’n v. EPA., No. 12-5244,

2013 WL 599474, at *1 (D.C. Cir. Jan. 28, 2013) (relying on this principle to summarily affirm a

district court order “declining to exercise its general equity jurisdiction” where a statutory cause

of action existed under the Clean Air Act); see also Grupo Mexicano de Desarrollo S.A. v.

Alliance Bond Fund, Inc., 527 U.S. 308, 322 (1999) (equity jurisdiction is limited by “traditional

equitable relief”).

        In declining to dismiss Plaintiffs’ equitable cause of action at the motion to dismiss stage,

the Court relied principally on dicta from Haitian Refugee Center v. Gracey, 809 F.2d 794, 811

n.14 (D.C. Cir. 1987). See Mem. Op. at 48–49. Defendants have previously explained why the




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footnote in that decision does not provide Plaintiffs with an exemption from the zone-of-interest

requirement when asserting a non-statutory equitable cause of action. See RGISC ECF No. 67 at

5–6, ECF No. 71 at 5; CBD ECF No. 46 at 5–6, ECF No. 51 at 5. Further, the non-binding dicta

in Haitian Refugee Center is in tension with the far more recent decisions from the Supreme

Court, including Sierra Club, Armstrong and Hernandez, limiting the scope of implied equitable

claims, if not outright rejecting them. There is no dispute that the zone-of-interests test applies to

APA claims, independent statutory cause of actions (e.g., Lanham Act), and equitable

constitutional claims. See RGISC ECF No. 67 at 2–3 (citing cases); CBD ECF No. 46 at 2–3.

Because the zone of interests’ “roots lie in the common-law[,]” there is no principled basis on

which to create an exception for the type of equitable statutory claims that Plaintiffs assert here.

Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 130 & n.5 (2014).

       Further, the Court should not imply an equitable cause of action to give Plaintiffs a

second bite at the apple to re-assert their failed APA claims without having to comply with the

zone-of-interests requirement. Other courts confronted with the same type of overlapping claims

asserting identical statutory violations under both equitable and express statutory causes of action

have dismissed the equitable claims, and this Court should do the same here. See Puerto Rico v.

United States, 490 F.3d 50, 59–60 (1st Cir. 2007) (holding that Puerto Rico must assert claims

under the APA even though “nonstatutory review might have allowed Puerto Rico to obtain a

more favorable standard of review and to circumvent certain of the APA’s procedural

requirements”); Neb. Legislative Bd. v. Slater, 245 F.3d 656, 659 (8th Cir. 2001) (holding

nonstatutory review unavailable where the plaintiff could have sought judicial review under a

statutory grant of jurisdiction to the court of appeals “but failed to do so in a timely fashion”);

California Sportfishing Prot. All. v. United States Bureau of Reclamation, 2015 WL 6167521, at




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*10–11 (E.D. Cal. Oct. 20, 2015) (declining to review a federal agency’s compliance with water

quality standards under non-statutory ultra vires cause of action where plaintiffs’ APA claim

failed for lack of final agency action); Jafarzadeh v. Duke, 270 F. Supp. 3d 296, 312 (D.D.C.

2017) (holding that “because plaintiffs are able to assert the same claim through the APA, they

cannot obtain relief under the Mandamus Act or through the Court’s inherent power to review

ultra vires agency action”).

       IV.     Plaintiffs’ Implied Equitable Ultra Vires Claims Fail on the Merits.

               A.      Ultra Vires Review is Narrow and Limited.

       Even assuming Plaintiffs could proceed with an implied equitable ultra vires claim, the

scope of the Court’s review is limited. “The basic premise behind nonstatutory review is that,

even after the passage of the APA, some residuum of power remains with the district court to

review agency action that is ultra vires.” R.I. Dep’t of Envtl. Mgmt. v. United States, 304 F.3d

31, 41 (1st Cir. 2002). However, it is “a doctrine of last resort,” Schroer v. Billington, 525 F.

Supp. 2d 58, 65 (D.D.C. 2007), and the equivalent of “a Hail Mary pass—and in court as in

football, the attempt rarely succeeds.” Nyunt v. Chairman, Broad. Bd. of Governors, 589 F.3d

445, 449 (D.C. Cir. 2009).21




21
   Plaintiffs focus their argument on the line of cases in the D.C. Circuit allowing equitable ultra
vires review to proceed notwithstanding the potential availability of an alternative statutory cause
of action. See CBD Mot. at 20–22; RGISC Mot. at 12–13 (citing Chamber of Commerce v.
Reich, 74 F.3d 1322 (D.C. Cir. 1996); Aid Ass’n for Lutherans v. U.S. Postal Service, 321 F.3d
1166 (D.C. Cir. 2003)). But the question in this case is not whether the APA, standing alone,
implicitly repealed equitable ultra vires review that existed before passage of the APA—
Defendants acknowledge the D.C. Circuit has concluded otherwise. See, e.g., Dart v. United
States, 848 F.2d 217, 224 (D.C. Cir. 1988). Rather, the issue the Court must address is what is
the scope and contour of Plaintiffs’ implied equitable claims. As explained herein, Plaintiffs’
equitable claims must satisfy the zone-of-interests requirement and are subject to a heightened
standard of review.


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       Ultra vires review of agency action is available when an agency’s error is “patently a

misconstruction of the Act,” or “when the agency has disregarded a specific and unambiguous

statutory directive,” or “when the agency has violated some specific command of a statute.”

Griffith v. Fed. Labor Relations Auth., 842 F.2d 487, 493 (D.C. Cir. 1988) (internal citations and

quotations omitted). “Garden-variety errors of law or fact are not enough.” Id.

       This standard derives from the limited equitable review that the Supreme Court

recognized in Leedom v. Kyne, 358 U.S. 184 (1958). As the Supreme Court has explained, Kyne

was “characterized by extraordinary circumstances” because it involved action by the National

Labor Relations Board that was “‘in excess of its delegated powers and contrary to a specific

[statutory] prohibition.’” Boire v. Greyhound Corp., 376 U.S. 473, 480 (1964) (quoting Kyne,

358 U.S. at 188). Indeed, the NLRB in Kyne conceded that it had acted in excess of its authority

and caused injury to the plaintiffs’ statutory collective bargaining rights. Id. at 480 (citing Kyne,

358 U.S. at 187). The Supreme Court has since emphasized that Kyne should be confined to the

“narrow limits” and “painstakingly delineated procedural boundaries” of that particular case. Id.

at 481. The Court of Appeals has similarly stated that the “invocation of Leedom jurisdiction” is

“extraordinary” and “extremely limited in scope.” Ass’n of Civilian Technicians v. FLRA, 283

F.3d 339, 344 (D.C. Cir. 2002); see Nat'l Air Traffic Controllers Ass'n AFL-CIO v. Fed. Serv.

Impasses Panel, 437 F.3d 1256, 1263 (D.C. Cir. 2006) (“This point cannot be overstated”).

       In addressing Defendants’ motions to dismiss, the Court concluded that Defendants had

not carried their burden to establish that this “heightened scrutiny” applies to Plaintiffs’ ultra

vires claims in light of Plaintiffs’ argument that the standard applies only “[w]hen plaintiffs bring

ultra vires claims where Congress has precluded review.” See Mem. Op. at 46–47. But two

D.C. Circuit cases outside of the preclusion context illustrate that the heightened standard of




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review applies to equitable ultra vires claims even where Congress has not precluded other forms

of statutory review.

       First, in Trudeau v. FTC, 456 F.3d 178 (D.C. Cir 2006), the Court of Appeals confronted

the same type of overlapping APA and implied equitable ultra vires claims that Plaintiffs present

in this case. Id. at 188 (asserting separate causes of action that the FTC exceeded its statutory

authority in issuing a press release critical of the plaintiff). Like the Court here, the Court of

Appeals concluded that the plaintiff’s APA claim for agency action in excess of statutory

authority should be dismissed on threshold grounds, finding that the press release at issue was

not “final agency action.” See id. at 189. The Court of Appeals next addressed the plaintiffs’

implied ultra vires claim and the FTC’s argument that the heightened standard of review should

apply. See id. at 189–90. Importantly, the Court of Appeals stated: “There certainly is no

question that nonstatutory review ‘is intended to be extremely limited in scope,’ Griffith, 842

F.2d at 493, and hence represents a more difficult path for Trudeau than would review under the

APA (assuming final agency action) for acts ‘in excess of statutory . . . authority,” 5 U.S.C. §

706(2)(C).” Id. at 190. The Court of Appeals reiterated this distinction between APA and ultra

vires review standards later in the opinion: “the cause of action provided by the APA offers

Trudeau the more inclusive (covering both his [statutory] and constitutional claims) and more

expansive (as compared to the narrow scope of nonstatutory review) vehicle for asserting his

claims.” Id.

       Second, in American Clinical Lab. Association v. Azar, 931 F.3d 1195 (D.C. Cir. 2019),

the Court of Appeals favorably cited Trudeau’s standard for ultra vires review in a non-

preclusion context. Id. at 1208. Although the Government argued that judicial review of the

plaintiff’s claim was precluded, the Court of Appeals concluded otherwise, holding that the




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statute at issue “does not bar judicial review of the Secretary’s rule” and instructed the district

court to consider the plaintiff’s APA challenge. Id. Even though APA review was not

precluded, the Court of Appeals nonetheless proceeded to consider the plaintiff’s implied ultra

vires claim under the heightened standard of review. Id. at 1208–09. The Court of Appeals

stated that ultra vires review has an “extremely limited scope” and the plaintiff “must show a

patent violation of agency authority.” Id. at 1208 (quoting Trudeau and Indep. Cosmetic Mfrs. &

Distribs., Inc. v. U.S. Dep’t of Health, Educ. & Welfare, 574 F.2d 553, 555 (D.C. Cir. 1978)).

Applying that standard, the Court of Appeals found that the agency “did not clearly step so far

outside the scope of” its statutory authority “as to have acted ultra vires.” Id. (“Appellant’s

objection to the Secretary’s efforts, even if meritorious, does not establish that the Secretary

acted ultra vires.”).

        Trudeau and Azar thus establish that the heightened standard for equitable ultra vires

review applies in this case.22 As explained below, Plaintiffs have not established an “obvious” or

“apparent” violation of § 8005, § 284, or § 2808, Fla. Health Scis. Ctr., Inc. v. Sec’y of Health &

Human Servs., 830 F.3d 515, 522 (D.C. Cir. 2016), as opposed to a mere “dispute over statutory

interpretation.” Dart, 848 F.2d at 231.23

                B.      DoD’s Transfer of Funds Pursuant to § 8005 is Lawful.

        Section 8005 authorizes the Secretary of Defense to transfer funds among DoD’s internal

budget accounts to accommodate higher priorities that were unforeseen and not specifically



22
  CBD appears to concede this point and states that it “must show that the challenged action is
‘patently in excess of the agency’s authority.’” CBD Mot. at 8 (quoting Qwest Corp. v. FCC,
482 F.3d 471, 476 (D.C. Cir. 2007) (“we can’t say that the Commission’s action here falls into
the outer darkness of a “patent” violation”)).
23
   Even if the Court were to review Plaintiffs’ ultra vires claims under a de novo non-deferential
standard of review, Defendants’ would still prevail for the reasons set forth below.


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denied during the budgeting process. See Pub. L. 115-245, div. A, § 8005. The Secretary of

Defense correctly concluded that the requirements of § 8005 were satisfied in directing the

transfer of funds at issue here. The Secretary concluded that the transfers to provide DHS

counter-drug support in constructing border barriers were for a “higher priority item” than the

purposes for which the funds were originally appropriated, because the transferred funds were

“excess or early to current programmatic needs.” See AR at 2, 3, 5, 10–11, 35–37, 140, 146–56;

see supra note 4. The Secretary further found that § 284 projects were “unforeseen” because

DoD’s need to provide support for the projects was not known at the time of DoD’s fiscal year

2019 budget request. Id. at 2, 5, 10–11, 138–40, 146–47. DoD’s budget was finalized in

September 2018, see DoD Appropriations Act, Pub. L. No. 115-245, but DHS did not submit its

request for DoD’s assistance under § 284 until February 2019, see AR at 15, five months later.

The Secretary also concluded that the item for which the funds were transferred—barrier

construction under § 284 in the specific project areas requested by DHS—had not “been denied

by Congress.” Id. at 2, 5, 11, 139–40, 146–47.

       The Secretary’s decision is consistent with the views of the GAO, the independent

legislative agency charged with overseeing Executive Branch spending on behalf of Congress.

In response to a request from several Members of Congress, the GAO concluded that DoD acted

consistently with § 8005 in transferring and using its “fiscal year 2019 appropriations for the

purpose of constructing fences at the southern border of the United States” to support DHS’s

drug-interdiction efforts. See GAO Opinion B-330862, 2019 WL 4200949 (Sept. 5, 2019). The

GAO found that DoD’s transfer was for an “unforeseen military requirement” under § 8005

because DHS’s § 284 request “was unforeseen at the time of [DoD’s] budget request and

appropriations,” and DoD’s “authority to support DHS by constructing fences at the southern




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border under section 284 only materialized when DHS requested DOD’s assistance on February

15, 2019, and DoD accepted that request.” Id. at *6. The GAO also concluded that the item had

not been “denied by Congress” because DoD had not requested funds to support DHS, “so there

was nothing for Congress to deny with respect to DOD.” Id. at *8–9 (noting that GAO had

“reached similar conclusions in prior opinions”). The GAO’s conclusion reflects the “expert”

view of an independent arm of Congress on fiscal issues that the Court should “prudently

consider.” Delta Data Sys. Corp. v. Webster, 744 F.2d 197, 201 (D.C. Cir. 1984) (Scalia, J.).

       CBD’s contrary arguments are incorrect. See CBD Mot. at 2, 23–26. CBD argues that

DoD violated § 8005 because the “item” to be funded by the transfer is “Congress’s specific

border wall appropriation” to DHS in the CAA and that appropriation “denied” funding for any

additional border barriers. See id. at 2, 23–24. But CBD ignores the fact that Court previously

concluded that the appropriation to DHS in the § 230 of the CAA does not prohibit DoD from

relying on its own separate statutory authority and appropriated funds. See supra at 24–25. The

GAO reached the same conclusion, finding that Congress’s appropriations to DHS for border

barrier funding do not constitute a “denial” of appropriations to DoD for its counter-drug

activities under § 284. See GAO Opinion B-330862, 2019 WL 4200949 at *8–9. Accordingly,

there is no basis to conclude that in passing the CAA Congress “denied” DoD the authority to

utilize § 8005 to transfer funds for the § 284 border barrier projects at issue here.

       Indeed, the phrase “item for which funds are requested” most naturally refers to an item

within DoD’s own budget, as § 8005 does not permit anyone other than DoD to “request” that

funds be transferred. That is confirmed by the first clause of § 8005, which disallows transfers

“unless for higher priority items.” Id. (emphasis added). To the extent DoD is using § 8005 to

transfer money “for” a “higher priority item,” the referenced “item” must be a specific project or




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program of DoD’s—after all, § 8005 permits DoD to transfer funds only between internal DoD

accounts.

       Further, § 8005’s reference to an “item for which funds are requested” cannot be

understood at the level of generality used by CBD to refer to border wall construction generally

See CBD Mot. at 23–24. Section 8005 is a provision in DoD’s annual appropriations statute, and

must be understood in that context. Home Depot U.S.A. v. Jackson, 139 S. Ct. 1743, 1748

(2019) (explaining that the “words of the statute must be read in their context and with a view to

their place in the overall statutory scheme.”) (citation omitted). During the budgeting process,

DoD requests funding from Congress for particular items, which may be as varied as personnel

expenses, weapons systems, activities, or other programs, and Congress appropriates funds in

light of those requests. See, e.g., H.R. Rep. No. 115-952, at 452 (noting the House-, Senate-, and

conference-committee determinations regarding DoD’s requests for items to be funded by the

appropriation for “Drug Interdiction and Counter-Drug Activities, Defense”). Section 8005

reflects Congress’s understanding that, after this process between Congress and DoD is

complete, DoD must nevertheless have “financial flexibility during a given year” to respond to

changing circumstances after its budget has been finalized. See H.R. Rep. No. 93-662, at 17.

       Congress first imposed limitations on DoD’s transfer authority for “denied” “items” in

1974, to ensure that DoD would not transfer funds for items in its budget that “ha[d] been

specifically deleted in the legislative process” between DoD and Congress, or “for projects or

items which are of a lower priority from programs of higher priority which have been funded.”

H.R. Rep. No. 93-662, at 16 (emphasis added). Understood in this context, the term “item for

which funds are requested” in § 8005 means a particular item for which DoD may request




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funding during a given fiscal year because it requires additional funding beyond the amount (if

any) Congress appropriated to DoD for the fiscal year for that item.

       Thus, contrary to CBD’s argument, the “item” § 8005 refers to cannot be DHS’s border

barrier appropriation or a generic “border wall,” untethered to any particular DoD authority or

spending program. It can only be an “item” for which DoD could request funding during the

process of negotiating the defense budget. Here, the relevant “item for which funds are

requested” is DoD’s counter-narcotics support to DHS under § 284 pursuant to DHS’s fiscal year

2019 request for support. That “item” was not “denied by the Congress.” At no point in the

budgeting process did Congress deny a DoD funding request for border-barrier construction

under DoD’s counter-narcotics support line.

       CBD points to the fact that Congress specifically appropriated funds to DoD for border

fencing between 1997 and 2009, and could have appropriated such funds again in 2019. See

CBD Mot. at 25–26. But the mere fact that Congress took no action to add funding in 2019 for

an item that DoD never requested in its budget submissions is not a denial of that item. As

explained above, the key inquiry for § 8005 is whether DoD specifically requested funds to

support the § 284 projects at issue and whether Congress denied that request. Here, “the

President’s Budget for Fiscal Year 2019 did not request any amounts for DOD with respect to

construction of fences at the southern border, so there was nothing for Congress to deny with

respect to DOD.” See GAO Opinion B-330862, 2019 WL 4200949 at *8. The GAO has also

recognized that Congress’s decision to reduce the amount of funding specifically requested by an

agency “is not tantamount to a denial of the item by Congress.” See id. at 8–9 (citing prior GAO

opinions). Thus, a fortiori, the mere absence of appropriated funds for a specific item is not a




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denial where the agency did not request funds for that item and it was not “specifically deleted”

during the budgeting process. H.R. Rep. No. 93-662, at 16.24

               C.      DoD’s Border Barrier Construction Pursuant to § 284 is Lawful.

       DoD’s construction of the six fiscal year 2019 border barrier projects falls squarely

within its counter-drug support authority under § 284. RGISC does not dispute that the projects

at issue were approved in accordance with § 284’s procedural requirements, id. § 284(a),

(a)(1)(A), and encompass the type of fences, roads, and lighting permitted by the statute, id.

§ 284(b)(7). RGISC likewise does not dispute that the projects at issue are being constructed in

“drug smuggling corridors” along the U.S.-Mexico border. Id.

       Instead, RGISC contends that DoD has exceeded the level of support that it may provide

under § 284. See RGISC Mot. at 37–39. But the text and history of § 284 contradict RGISC’s

claim that Congress impliedly limited DoD’s support authority under the statute. No monetary

restriction appears in the types of support permitted under § 284(b). See 10 U.S.C. § 284(b). To

the contrary, the statute broadly approves “[c]onstruction of roads and fences and installation of

lighting to block drug smuggling corridors across international boundaries of the United States”

without regard to the size, scale, or budget of the project. Id. § 284(b)(7). It would be entirely

arbitrary for the Court to create an unspecified monetary limit on DoD’s § 284(b)(7) authority out

of whole cloth, as nothing in the statute even arguably defines any upper limit.

       RGISC points to the requirement under Section 284(h) that the Secretary must give




24
  CBD contends that the GAO opinion is flawed because it described the “item” at issue as
“fences at four sectors at the southern border.” See CBD Mot. at 24. But that reference in the
GAO opinion is simply a more detailed description of the § 284 projects, which are located in the
El Paso, El Centro, Tucson, and Yuma border patrol sectors. The GAO correctly recognized that
the “item” for § 8005 purposes is the specific § 284 projects requested by DHS and not, as CBD
contends, border barrier funding generally.


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Congress 15 days’ written notice before engaging in “small scale construction,” which the statute

defines as construction “not to exceed $750,000.” Id. § 284(h)(1)(B), (i)(3). That notice

requirement does not expressly prohibit larger construction, and it also provides no basis to infer

that Congress intended to limit the support authorized under § 284(b)(7) to “small scale

construction.”25 Contrary to RGISC’s suggestion, there is nothing inherently implausible about

Congress choosing to require notice for some, but not all, projects that DoD could construct

under § 284. Congress could reasonably have concluded, for example, that it would be unlikely

to be made independently aware of small-scale construction projects, rendering a notice

requirement uniquely necessary in that context. If Congress wanted to limit all § 284

construction to “small scale construction,” it could have and “presumably would have done so

expressly.” Russello v. United States, 464 U.S. 16, 23 (1983). “The short answer is that

Congress did not write the statute that way.” Id.

       RGISC’s argument also cannot be reconciled with § 284’s history. Since Congress first

provided § 284’s support authority, DoD has repeatedly used that authority, with Congress’s

explicit approval, to complete large-scale fencing projects along the southern border in support

of DHS’s counter-drug activities. For example, under authority of the first counter-drug

activities support appropriation, DoD built a 14-mile fence in a drug smuggling corridor along

the San Diego-Tijuana border—a project Congress described as “precisely the kind of federal-

local cooperative effort the Congress had in mind” in enacting such authority. H.R. Rep. No.

103-200, at 330-31 (1993). As of 2006, Congress reported with approval that, since 1990,

DoD’s use of its authority to support counterdrug activities through “construction and



25
  The predecessor statute to § 284 also did not contain any limitation on the level of support
DoD could provide for border barrier construction. See National Defense Authorization Act for
Fiscal Year 1991, Pub. L. No. 101-510, § 1004, 104 Stat. 1485 (1991).


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rehabilitation” along the southern border “resulted in 7.6 miles of double-layer fencing, 59 miles

of single fencing, and 169.5 miles of road.” H.R. Rep. No. 109-452, at 368 (2006). And in

determining appropriations for these construction activities, Congress recommended that DoD

spend millions of dollars on specific border projects with regular annual increases. See, e.g., id.

at 369 (recommending a $10 million increase in DoD’s budget for fence and road construction

on the southern border); see also H.R. Rep. 110-652 at 420 (2008) (recommending $5 million

increase); H.R. Rep. 110-146 at 385–86 (2007) (recommending $8 million increase). Far from

being an elephant hidden in a mouse hole, see RGISC Mot. at 39, Congress has approved of

DoD’s prior barrier construction under § 284 in amounts substantially greater than the $750,000

limit RGISC seeks to infer from the congressional notification requirement. See 10 U.S.C. §

284(h)(1)(B), (i)(3).

       Nor is there any merit to RGISC’s argument that DoD’s use of § 284 overrides

Congress’s decisions about border barrier funding. See RGISC Mot. at 38. The entire purpose

of § 284 is to permit DoD to use its own appropriated funds to support DHS through the

construction of barriers to block drug-smuggling corridors. RGISC’s interpretation of § 284

would render the entire provision a nullity, as DoD would be prohibited from providing such

authorized support under § 284 in any year in which Congress appropriates funds to DHS

specifically for border fence construction. See Citizens Bank of Maryland v. Strumpf, 516 U.S.

16, 20 (1995) (avoiding construction that rendered statute meaningless). There is no evidence

Congress intended that result, and the long history of Congress’s support for § 284 construction

refutes RGISC’s position.

       For similar reasons, the Court should reject RGISC’s argument that DoD’s § 284 support

is constrained by Congress’s appropriations to DHS in the CAA. See RGISC Mot. at 39. This




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argument is simply a re-packaged version of the same § 230 claim that the Court previously

rejected. See Mem. Op. at 41–45. There is no basis to conclude that the CAA, a statute

appropriating funds to DHS, impliedly prohibits DoD from relying on its own previous

appropriations and independent counter-narcotics support authority under § 284. RGISC relies

on the Supreme Court’s statement in Food & Drug Administration v. Brown & Williamson

Tobacco Corporation, 529 U.S. 120, 133, (2000), that “the meaning of one statute may be

affected by other Acts, particularly where Congress has spoken subsequently and more

specifically to the topic at hand.” See RGISC Mot. at 39. But that canon of statutory

construction for evaluating Chevron deference challenges has no application here because

Congress has not directly spoken to whether the funding to DHS in the CAA precludes use of §

284 authority. The CAA does not address § 284 support at all, let alone “specifically address the

topic at hand.” Brown & Williamson Tobacco Corp.,529 U.S. at 143.

       RGISC also continues to rely on Nevada v. Department of Energy, 400 F.3d 9 (D.C. Cir.

2005), but the Court previously explained that the general-specific appropriation principle

discussed in that case does not apply here where separate appropriations are being used “to

finance similar, but distinct, projects” authorized by separate statutory authorities. See Mem. Op.

at 42–44. RGISC suggests CBP’s website showing a map of ongoing construction of various

projects under the heading “border wall system” warrants a different conclusion, see RGISC

Mot. at 40, but a website cannot change the fact that each of the projects is funded by legally

distinct appropriations and authorities, thus the “general-specific” canon has no application here.

       The Court should also reject RGISC’s claim that support under § 284 is subject to the

reimbursement requirement provided in 10 U.S.C. § 277. See id. at 41. Section 277 provides,

with certain exceptions, that the Secretary of Defense shall “require a civilian law enforcement




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agency to which support is provided under this chapter to reimburse [DoD] for that support” “to

the extent otherwise required by section 1535 of title 31 (popularly known as the ‘Economy

Act’).” 10 U.S.C. § 277(a). Section 284(g), however, expressly exempts support for counter-

drug activities from this reimbursement requirement by providing that counter-drug support is

“not subject to the other requirements of this chapter.” See 10 U.S.C. § 284(g)(1). Section 284

and § 277 are both part of 10 U.S.C., Chapter 15. Accordingly, § 277 has no application here.

               C.     DoD’s Border Barrier Construction Pursuant to § 2808 is Lawful.

       1.      Section 2808’s Requirement that the President Declare a National
               Emergency that Requires Use of the Armed Forces is Non-Justiciable.

       Section 2808’s military construction authority is made available to DoD upon “a

declaration by the President of a national emergency in accordance with the National

Emergencies Act (50 U.S.C. 1601 et seq.) that requires use of the armed forces[.]” 10 U.S.C.

§ 2808(a). The Court previously concluded that the President’s decision to declare a national

emergency at the southern border is a nonjusticiable political question. See Mem. Op. 17–24.

RGISC contends, however, that the Court’s decision did not “dispose of the question whether the

situation at the border ‘requires the use of the armed forces.’” See RGISC Mot. at 31. To the

contrary, the Court’s decision made clear that the statutory requirement in § 2808 that the

President determine that the national emergency “require[s] use of the armed forces” is—like the

declaration of a national emergency itself—a nonjusticiable political question. See Mem. Op. at

22 n.10 (“The Court will therefore not review any portion of the President’s emergency

declaration, including his determination that the emergency ‘requires the use of the armed

forces.’”). Defendants previously explained at length why the “use of the armed forces”

requirement in § 2808 is nonjusticiable (see RGISC ECF No. 34 at 50–53; ECF No. 47 at 26–28),




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and RGISC’s motion merely repeats the same arguments that the Court previously rejected at the

motion to dismiss stage. Compare RGISC Mot. at 31–33 with RGISC ECF No. 39 at 58–60.

       2.      The § 2808 Border Barriers Are Military Construction Projects.

       Section 2808(a) authorizes the Secretary of Defense to “undertake military construction

projects,” and there is no dispute here that the planned border barriers constitute “construction”

being undertaken by DoD. Accordingly, the projects fall within the definition of “military

construction” so long as they are undertaken “with respect to a military installation.” 10 U.S.C.

§ 2801(a).

       The locations of the planned border barrier projects fall within the broad definition of

“military installation,” which includes “a base, camp, post, station, yard, center, or other activity

under the jurisdiction of the Secretary of a military department[.]” Id. § 2801(c)(4). Two of the

projects will be built on the Goldwater Range, which is an Air Force and Marine Corps bombing

range,26 and the other nine will be built on land assigned to Fort Bliss, an Army base. See supra

at 9. Neither CBD nor RGISC disputes that the projects on the Goldwater Range are with

respect to a military installation. Instead, Plaintiffs focus on the remaining projects, but each of

their arguments lacks merit. See RGISC Mot. at 33–35; CBD Mot. at 26–30.

       There is no requirement that § 2808 projects must be built on pre-existing military

installations. See CBD Mot. at 27–28. DoD has authority to obtain administrative jurisdiction

over the requisite project land and add it to an existing military installation in accordance with

DoD’s regulations governing property acquisition. See DoD Instruction 4165.14, Real Property

Inventory and Forecasting; DoD Instruction 4165.71, Real Property Acquisition. DoD may

acquire land necessary for § 2808 projects, given that § 2808 expressly authorizes “military


26
  See National Defense Authorization Act for Fiscal Year 2000, Pub. L. 106-65, Title XXX,
§ 3031, 113 Stat. 512 (explaining purpose of the land withdrawal for the Goldwater Range).


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construction,” including “any acquisition of land . . . .” 10 U.S.C. § 2801(a) (emphasis added).

Section 2808 further authorizes the Secretary of Defense to undertake military construction

projects (including land acquisitions) “without regard to any other provision of law.” This broad

language—a variant of a non obstante or “notwithstanding” clause—sweeps aside all statutory

and regulatory provisions that might otherwise constrain the authority provided by § 2808,

including with respect to land acquisition. See Am. Fed’n of Gov’t Emps., Local 3295 v. Fed.

Labor Relations Auth., 46 F.3d 73, 76 (D.C. Cir. 1995) (similar clause provides “a sweeping

dispensation from all legal constraints,” and “indicate[s] that Congress intended agencies to

enjoy unfettered discretion.”) (internal quotation omitted).

       There is no evidence to suggest that, during a time of war or national emergency,

Congress intended § 2808 construction to be limited only within the four corners of pre-existing

installations. Such an interpretation would conflict with the plain text of the statue and defeat the

entire purpose of § 2808, which is to provide DoD with flexibility to engage in military

construction during emergency situations. See H.R. Rep. No. 97-44, at 72 (1981). Moreover, §

2808 requires that DoD notify Congress when § 2808 projects are authorized and the notice must

“includ[e] the cost of any real estate action pertaining to those construction projects.” 10 U.S.C.

§ 2808(b). That notification requirement thus reflects Congress’s expectation that DoD would be

expending funds on land acquisition for § 2808 projects, as the statute plainly provides.

       CBD relies on 23 U.S.C. § 210 as support for its position, see CBD Mot. at 27–28, but

that statute is a provision of the federal highway code that authorizes the Secretary of Defense to

acquire land and construct “defense access roads” to enable entry and exit from various military

facilities. Section 210 says nothing about § 2808 at all and cannot be read to implicitly limit

§ 2808 emergency military construction solely to existing facilities.




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       CBD also argues that because DoD has not completed the land acquisition process for

certain § 2808 projects, DoD may not expend § 2808 funds on projects that are not within DoD’s

jurisdiction at this time. See CBD Mot. at 29. But that argument is contrary to the text of

§ 2801, which authorizes DoD to undertake “all military construction work” that is “necessary to

produce a complete and useable facility or a complete and usable improvement to an existing

facility.” 10 U.S.C. § 2801(b); see also § 2801(c) (“‘facility’ means a building, structure, or

other improvement to real property.”). Pre-construction activities such as land acquisition and

project planning easily fall within the scope of this provision as activities that are necessary to

build a complete facility.

       In addition to the land acquisition authority in § 2808, for land currently controlled by

other federal agencies, Congress has authorized land transfers between federal agencies. The

FLPMA authorizes the Secretary of the Interior to make “withdrawals” of land, 43 U.S.C.

§ 1714(a), including the “transfer[ of] jurisdiction over an area of Federal land . . . from one

department, bureau or agency to another department, bureau or agency,” id. § 1702(j). Further,

the Property Act, 40 U.S.C. §§ 101 et seq., authorizes GSA to transfer excess real property

between agencies. See id. § 521. For any non-federal land, the federal government’s power of

eminent domain has long been used to acquire property for military installations. See, e.g.,

United States v. 32.42 Acres of Land, More or Less, Located in San Diego Cty., Cal., 683 F.3d

1030, 1038 (9th Cir. 2012); Cameron Development Company v. United States 145 F.2d 209,

209–10 (5th Cir. 1944).

       As explained above, the Secretary of Defense has directed the Secretary of the Army to

acquire administrative jurisdiction of real property from other Federal agencies and acquire the

non-Federal real property necessary to undertake the § 2808 projects. See supra at 9–10. And the




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Secretary of the Army has determined that the sites designated for the § 2808 border barrier

military construction projects will be part of the Fort Bliss military installation upon transfer of

administrative jurisdiction of those sites to the Department of the Army. See id. at 10. There is

thus no merit to Plaintiffs’ argument that the projects are not “military construction.” RGISC Mot.

at 33; CBD Mot. at 28. All of the challenged projects will be undertaken “with respect to” Fort

Bliss, which is unquestionably a military installation, i.e., a “base, camp, post, station, yard,

center[.]” See 10 U.S.C. § 2801(c)(4).

       Section 2808 does not limit the type of base or other installation that qualifies for military

construction purposes. Nor does it require that any base or land assigned to a base have been under

military jurisdiction for any length of time. And longstanding military practice confirms that many

military installations include noncontiguous property, including geographically distant sites, that

DoD has determined to subject to centralized administrative control and jurisdiction. See Second

Beehler Decl. ¶¶ 8–10 (listing examples). Further, Army regulations specifically contemplate the

assignment of lands “under the control of the Department of the Army, at which functions of the

Department of the Army are carried on” as “subinstallation[s],” which are “attached to installations

for command and administrative purposes, although they are located separately.” 32 C.F.R. §

552.31(c) (emphasis added).

       In addition, the project locations satisfy the definition of a military installation because

they are an “other activity under the jurisdiction of the Secretary of a military department.” 10

U.S.C. § 2801(c)(4). This broad residual category covers the wide range of locations and types of

property that the military might need to use to conduct operations. Its meaning likewise includes

any land under military jurisdiction and subject to the military’s operational control. See 32 C.F.R.

552.31(b) (“[T]he term ‘installation’ will include installations, subinstallations, and separate




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locations housing an activity.” (emphasis added)). This conclusion is underscored by the Supreme

Court’s recognition that federal law treats the term “military installation” as “synonymous with

the exercise of military jurisdiction.” United States v. Apel, 571 U.S. 359, 368 (2014) (citing

§ 2801(c)(4)) (emphasis in original).

        Plaintiffs rely primarily on the decisions by two other district courts in related cases

challenging § 2808 construction. See CBD Mot. at 28–29; RGISC Mot. at 33–34 (citing Sierra

Club v. Trump, 379 F. Supp. 3d 883, 920–21 (N.D. Cal. 2019); State of Washington v. Trump,

2020 WL 949934, at *11–12 (W.D. Wash. Feb. 27, 2020)). But those courts erred in concluding

that the term “other activity” in § 2801 should be construed as referring to “discrete and traditional

military locations” similar to “a base, camp, post, station, yard, [and] center.” Sierra Club, 379 F.

Supp. at 921; see Washington, 2020 WL 949934 at 12. There is no basis in the statute to conclude

that a project is “with respect to a military installation” only if it occurs at a place where the military

has already been conducting unspecified activities for a lengthy (but unspecified) period of time

or that the project have a connection to the military mission of a prior installation. These tacked-

on conditions find no support in the statutory text.

        Moreover, the word “activity” is a fundamentally different term than the other places listed

in the statute (e.g., base, camp, post). It refers to the actions under the jurisdiction of DoD rather

than specific types of facilities. Accordingly, it makes little sense to confine the meaning of

“activity” by reference to those other terms in the statute. If Congress had wished to limit the

“other activity” residual category solely to facilities similar to those listed in the statute, it could

have done so, as it has in another statute that defines the term more narrowly in a different context.

See Pub. L. No. 114-287, § 3, 130 Stat. 1463 (2016) (defining military installation as “any fort,

camp, post, naval training station, airfield proving ground, military supply depot, military school,




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or any similar facility of the Department of Defense.”).

       Contrary to Plaintiffs’ argument, see RGISC Mot. at 34; CBD Mot. at 28, it does not

provide DoD with unlimited authority to conclude that the nine projects at issue here fall within

the definition of military construction. To be sure, the point of § 2808 is to provide DoD with

appropriate flexibility to engage in emergency military construction and Congress did not limit the

type of projects that could be built, recognizing “it is impossible to provide in advance for all

conceivable emergency situations,” H.R. Rep. No. 97-44, at 72. But the record here also

demonstrates that DoD complies with a host of statutory and regulatory requirements to acquire

land and bring it under the jurisdiction of a military installation. See AR at 187–90, 193–94, 214–

15; Second Beehler Decl. ¶¶ 3–7. And DoD can undertake military construction under § 2808

only in the event of a declaration of war or national emergency that requires use of the armed

forces, and even then only if the Secretary concludes that such construction is necessary to support

the use of the armed forces. Further, DoD must notify “the appropriate committees of Congress

of the decision and of the estimated cost” of any such project before beginning military

construction. 10 U.S.C. § 2808(b). These requirements impose meaningful restraints, and § 2808

does not provide DoD with boundless domestic construction authority.

       3.      The § 2808 Border Barriers Support the Use of the Armed Forces.

       Section 2808 also requires that the military construction projects must be “necessary to

support such use of the armed forces.” 10 U.S.C. § 2808(a). The Court previously concluded that

there are no judicially manageable standard for reviewing whether the border barrier construction

projects are “necessary” to support the armed forces. See Mem. Op. at 30–31. Consequently, the

Court stated that it “will not review whether the Secretary erred in determining, under § 2808, that

the border barrier construction was ‘necessary.’” Id. at 31. The Court further held that this ruling




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applied to both review of Plaintiffs’ APA and ultra vires causes of action. See id. at 50 n.17.27 In

light of the Court’s prior decision, the only remaining question is whether “construction supports

the use of the armed forces.” Id. at 31. That requirement is satisfied here and RGISC’s contrary

arguments lack merit. See RGISC Mot. at 35–37.

       As a threshold matter, the Secretary of Defense’s determination that the border barrier

projects support the use of the armed forces is entitled to substantial deference from this Court.

See, e.g., Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (military officials are owed

“great deference” by courts faced with requests to enjoin military action); Goldman v. Weinberger,

475 U.S. 503, 507 (1986) (courts must “give great deference to the professional judgment of

military authorities concerning the relative importance of a particular military interest.”); Rostker

v. Goldberg, 453 U.S. 57, 66 (1981) (Courts must give “a healthy deference to legislative and

executive judgments in the area of military affairs.”). Indeed, the Supreme Court has traditionally

been reluctant to intervene in the conduct of military affairs. See, e.g., Winter, 555 U.S. at 24–27;

North Dakota v. United States, 495 U.S. 423, 443 (1990); Dep’t of Navy v. Egan, 484 U.S. 518,

530 (1988); Chappell v. Wallace, 462 U.S. 296, 300 (1983); Gilligan v. Morgan, 413 U.S. 1, 10

(1973); Orloff v. Willoughby, 345 U.S. 83, 93–94 (1953). This reluctance rests on separation-of-

powers concerns as well as the principle that judges “are not given the task of running the Army,”

Orloff, 345 U.S. at 93, and are “ill-equipped” to determine the impact of judicial intrusion on

military decision making, Chappell, 462 U.S. at 305. For these reasons, the Supreme Court has

instructed courts to defer to “[t]he complex, subtle, and professional decisions as to the



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  RGISC contends that the “committed to agency discretion” doctrine does not apply to
equitable ultra vires claims, see RGISC Mot. at 35 n.26, but that doctrine has a long common
law history and courts applied it even before it was statutorily codified in the APA. See Kenneth
Culp Davis, Administrative Law §§ 28:1, 5, 15 (1984) (summarizing pre-APA law on
unreviewable agency action).


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composition, training, equipping, and control of a military force.” Gilligan, 413 U.S. at 10; see

Mem. Op. at 30 (“the Defense Secretary undoubtedly has significant discretion under this statute”).

       Applying this highly deferential standard of review, the administrative record supports the

Secretary’s military judgment that the projects support the use of the armed forces in connection

with the national emergency at the southern border. See AR at 185–94; 226–54; 281–321. In

reaching this decision, the Secretary undertook a thorough and deliberate process of study and

review that are the hallmark of judicial deference to military decisions. See, e.g., Goldman, 475

U.S. at 508–09; Rostker, 453 U.S. at 71–72. The Secretary requested and received information

from DHS concerning which border barrier projects DHS considers to be most effective in

improving the effectiveness and efficiency of DoD personnel supporting CBP at the southern

border. See AR at 234–41, 275. DHS explained that the proposed border barrier construction

would fundamentally change the dynamic at the border, would give a distinct and enduring

advantage to the Border Patrol as a force multiplier, and would provide agents with capabilities to

respond more quickly to illicit activities. Id. at 240–41. As such, the projects would improve the

effectiveness and efficiency of DoD personnel by allowing them to shift away from providing

support to frequent, low risk border incursions and instead concentrate on monitoring, tracking,

and responding to a smaller, more focused set of higher risk activities at the border. Id. By serving

as a force multiplier for DHS, the projects will reduce reliance by DHS on DoD for force

protection, surveillance support, engineering support, and air support, and thus allow DoD to

concentrate its efforts on a smaller, more focused area. Id.

       In addition, the Secretary received two separate reports from the Chairman of the Joint

Chiefs of Staff providing his views on whether and how border barrier projects would support the

use of the armed forces deployed to the border to support DHS. The Chairman provided a




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preliminary assessment in February 2019. See AR at 303–08. That assessment concluded, among

other things, that constructing physical barriers in areas where military personnel are deployed

could allow those forces to be re-prioritized to other missions in support of DHS, thereby enabling

a more efficient use of DoD personnel.          See id. at 306–08.      After receiving the DHS

recommendation, the Secretary requested that the Chairman provide an updated and expanded

report assessing a variety of factors analyzing how border barriers could support the use of the

armed forces. See id. at 281–82.

       The Chairman’s final report, based on consultations with multiple DoD and DHS

components, identified four key factors upon which to assess whether the projects were necessary

to support the use of the armed forces at the southern border: 1) prioritization by DHS of the

projects; 2) current migrant flows measured by apprehensions per month; 3) current troop

dispositions and support missions by CBP sector; and 4) the type of land upon which the proposed

projects were to be undertaken. See id. at 245–46. The Chairman then conducted a detailed

analysis of these factors for each border patrol sector where proposed construction would take

place. See id. at 247–54. The Chairman analyzed, among other things, the type of proposed border

barrier construction; the location and mileage of each project; the number of DoD personnel

deployed to each sector and the support activities they provide to DHS; and the impact the barriers

are expected to have on denying illegal entry, channeling migrants to ports of entry, and increasing

vanishing times along the southern border. See id. For example, the Chairman concluded that

barriers will reduce the areas where migrants can cross easily, thereby reducing the need for DoD

personnel to operate mobile surveillance cameras as well as conduct monitoring and detection

operations between ports of entry. See id. at 252–54. In the end, the Chairman developed a

prioritized list of border barrier projects and concluded that the projects are necessary to support




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the use of the armed forces because they support those forces by enabling more efficient use of

DoD personnel, and may ultimately reduce the demand for military support over time. Id. at 248.

       Relying on the Chairman’s analysis and advice, as well as input from the U.S. Army Corps

of Engineers, DHS, and DoI, the Secretary of Defense determined that the border barrier projects

discussed above are necessary to support the use of the armed forces in connection with the

national emergency. See AR at 185–94; 226–32. The Secretary concluded that the border barrier

projects will deter illegal entry, increase the vanishing time of those illegally crossing the border,

and channel migrants to ports of entry. See AR at 193–94. Thus, he determined, the projects will

reduce the demand for DoD personnel and assets at the locations where the barriers are constructed

and allow the redeployment of DoD personnel and assets to other high-traffic areas on the border

without barriers. See id. Given the extensive record supporting the Secretary’s decision, the Court

should defer to his military judgment that the barriers support the use of military forces at the

border. See, e.g., Gilligan, 413 U.S. at 10.

       Contrary to RGISC’s argument, see RGISC Mot. at 36–27, the record explains in detail

how the projects support military personnel, separate and apart from any benefit the projects also

provide to DHS. Nothing in the text, structure, or history of § 2808 supports RGISC’s argument

that, even when the Secretary has concluded that that the projects support the use of the armed

forces, the projects cannot be built because they also benefit a civilian agency.

                                          CONCLUSION

       For the foregoing reasons, the Court should grant Defendants’ motion for summary
judgment and deny Plaintiffs’ motions for summary judgment. A proposed order is attached.




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DATE: June 26, 2020               Respectfully submitted,


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                  SECOND DECLARATION OF ALEX A. BEEHLER


I, Alex A. Beehler, pursuant to 28 U.S.C. § 1746, hereby declare as follows:


1. I am the Assistant Secretary of the Army (Installations, Energy and Environment).
   Among other duties, which are generally reflected in General Orders No. 2019-01 ,
   "Assignment of Functions and Responsibilities Within Headquarters, Department of
   the Army," lam responsible for developing and overseeing policies and programs
   that include military construction, management of real property and installations, real
   estate contracting, environmental compliance and conservation, and oversight of all
   execution functions performed by the U.S. Army Corps of Engineers related to the
   Army's military construction, real property, real estate, and environmental programs.

2. This declaration is based on my own personal knowledge and information made
   available to me in the course of my official duties.

              Process for Designating Real Property as a Military Installation

3. A military installation is defined at 10 U.S.C. § 2801(c)(4) as "a base, camp, post,
   station, yard, center, or other activity under the jurisdiction of the Secretary of a
   military department or, in the case of an activity in a foreign country, under the
   operational control of the Secretary of a military department or the Secretary of
   Defense, without regard to the duration of operational control."

4. The process of real property becoming part of a military installation begins with
   identifying the military requirement for real property, followed by the legal and
   administrative actions necessary to bring that real property "under the jurisdiction of
   the Secretary of a military department," in accordance with 1O·U.S.C. § 2801.

   a. For property already owned by the United States, the steps and mechanisms for
      bringing real property under the jurisdiction of the Secretary of a Military
      Department depend on whether the property is subject to the Federal Land Policy
      Management Act of 1976 (FLPMA), 43 U.S.C. § 1714, or subject to the Federal
      Property and Administrative Services Act of 1949 (Property Act), 40 U.S.C. §§
      101 et seq.

      1.   For land available for transfer under the FLPMA, the Military Department
           submits a withdrawal application to the Department of the Interior in
           accordance with.43 U.S.C. § 157 or 43 C.F.R. Subpart 2310. The Department
           of the Interior then acts on this application by withdrawing the land from other
           forms of use under the public land laws and transfers administrative
           jurisdiction to the requesting Military Department by publication of a Public
           Land Order in the Federal Register.



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     11.   For land governed by the Property Act, the transfer of custody and
           accountability among agencies occurs by the General Services Administration
           (GSA) executing a letter effectuating transfer pursuant to 40 U.S.C. § 521 and
           in accordance with the Federal Management Regulation, 41 C.F.R.
           Subchapter C.

   b. For property not already owned by the United States, the process for bringing real
     . property under the jurisdiction of the Secretary of a Military Department begins
       by obtaining ownership over the real property in the name of the United States.

      1.   Because " [n]o military department may acquire real property not owned by
           the United States unless the acquisition is expressly authorized by law," the
           Military Department must first identify the land acquisition authority. 10
           U.S.C. § 2664; see IO U.S.C. § 2802(a) ("The Secretary of Defense and the
           Secretaries of the military departments may carry out such military
           construction projects, land acquisitions, and defense access road projects .. .
           as are authorized by law."). In this case, 10 U.S.C. § 2808 provides the
           requisite legal authorization because it authorizes military construction, and
           the definition of "military construction" in § 2808 includes "any acquisition of
           land." 10 U.S.C. § 2801(a).

     11.   Real property not owned by the United States may be acquired by a Military
           Department in the name of the United States through purchase, donation,
           exchange, or condemnation.

    m.     Once the Military Department acquires the real property, the Military
           Department has administrative jurisdiction and real property accountability on
           behalf of the U.S . Government.

5. In order to manage and account for real property under its jurisdiction consistent with
   Chapter 159 of Title 10 U.S. Code and DoD Directive 4165 .06, Real Property, the
   Military Department may either designate the property as a new military installation
   or assign the property to an existing military installation.

6. Under Army procedures established by General Orders No. 2019-01 , Assignment of
   Functions and Responsibilities Within Headquarters, Department of the Army, such
   organizational designations relating to installations are directed by General Orders
   signed by the Secretary of the Army and registered in the DoD official real property
   database ofrecord as required by DoD policy.

7. In this instance, the Army assigned the real property brought under the jurisdiction of
   the Secretary for these military construction projects to Fort Bliss, Texas, through
   General Orders 2019-36, October 8, 2019, signed by the Secretary of the Army.




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                   Geographically Separate Sites of a Military Installation

8. There is no legal, regulatory, or policy requirement for geographically separate sites
   to be assigned to a "nearby" military installation. Nor is there any legal, regulatory,
   or policy requirement for all the sites or lands that comprise a given military
   installation to be located in the same State or within a certain distance of other sites
   associated with the military installation. In the Secretary of Defense' s September 3,
   2019, memorandum to the Secretary of the Army, the Secretary of Defense directed
   the Department of the Army to "add such land to the Department of the Army's real
   property inventory, either as a new installation or as part of an existing military
   installation," wit)lout conditions on the location of the existing installation to which
   the land could be added.

9. The Department of the Army, on behalf of the United States, owns and uses many
   parcels of land that are not contiguous to other portions of a military installation and
   that are not considered separate military installations. The same is true for other
   Military Departments. Such locations are referred to as "sites." DoD Instruction
   4165.14, Real Property Inventory (RPI) and Forecasting, defines a site as a "physical
   (geographic) location that is, or was owned by, leased to, or otherwise possessed by a
   DoD Component on behalf of the United States. Each site (except for leased) is
   assigned to a single installation." A site may exist as "land only, where there are no
   facilities present," "facility or facilities only, where the underlying land is neither
   owned nor controlled by the government," or "land and the facilities thereon."

10. Each such site is assigned to a military installation for real property accountability
    purposes and is considered part of that installation, even if located remotely from the
    Army Garrison. The Garrison is the Army organizational unit that is responsible for
    installation management across the installation sites. See Army Regulation 405-70,
    Utilization of Real Property. Sites can be in States other than the one in which the
    Army Garrison unit is located, and the distance between various sites can vary
    significantly. For example, Fort Campbell is located in both Kentucky and Tennessee;
    the Green River Test Complex site in Utah is part of White Sands Missile Range in
    New Mexico; the Special Forces site in Key West, Florida, is part of Fort Bragg,
    North Carolina; six different Navy Outlying Landing Field sites in Alabama are part
    of Naval Air Station Whiting Field, Florida; a new National Geospatial Intelligence
    Agency West Campus being constructed in Missouri is part of Scott Air Force Base,
    Illinois; the Pentagon Reservation includes the Pentagon building and Mark Center in
    Virginia as well as the Raven Rock Complex in Maryland and Pennsylvania; and
    among other Army examples, Fort Carson, Fort Belvoir, Fort Bliss, Joint Base Lewis
    McChord, Fort Benning, Fort Greely, and Fort Detrick all include various
    geographically separate sites.

         Decision to Designate Section 2808 Project Locations as Part of Fort Bliss

11 . Fort Bliss is the largest, most capable Active Army installation in the vicinity of the
     southern border. Fort Bliss has a sizable existing installation management office with


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   experience addressing various land management issues and experience working with
   the U.S. Army Corps of Engineers on military construction projects. The Department
   of the Army also determined that it is more efficient for command of all the real
   property associated with the projects undertaken pursuant to Section 2808 to be
   vested in one Army installation, given the similar nature and scope of all such Section
   2808 projects. In addition, Fort Bliss has an existing support relationship with the
   U.S . Border Patrol, which maintains a regional office on the installation.


                                            ***
I hereby declare under penalty of perjury that the foregoing is true and correct.




Executed on November 25, 2019




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                  EXHIBIT 4
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                           FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          SIERRA CLUB; SOUTHERN BORDER              Nos. 19-16102
          COMMUNITIES COALITION,                         19-16300
                         Plaintiffs-Appellees,
                                                       D.C. No.
                           v.                       4:19-cv-00892-
                                                         HSG
          DONALD J. TRUMP, in his official
          capacity as President of the United
          States; MARK T. ESPER, in his               OPINION
          official capacity as Secretary of the
          Defense; CHAD F. WOLF, in his
          official capacity as Acting Secretary
          of Homeland Security; STEVEN
          TERNER MNUCHIN, in his official
          capacity as Secretary of the
          Department of the Treasury,
                        Defendants-Appellants.


                Appeal from the United States District Court
                  for the Northern District of California
              Haywood S. Gilliam, Jr., District Judge, Presiding

                 Argued and Submitted November 12, 2019
                         San Francisco, California

                             Filed June 26, 2020
                                                                                     (2 of 86)
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          Before: Sidney R. Thomas, Chief Judge, and Kim McLane
               Wardlaw and Daniel P. Collins, Circuit Judges.

                         Opinion by Chief Judge Thomas;
                            Dissent by Judge Collins


                                    SUMMARY*


                                   Appropriations

             The panel affirmed the district court’s judgment in an
         action brought by the Sierra Club and the Southern Border
         Communities Coalition (collectively the “Sierra Club”)
         challenging the Department of Defense’s budgetary transfers
         to fund construction of a wall on the southern border of the
         United States in California, New Mexico, and Arizona.

            At issue is whether Section 8005 and Section 9002 of the
         Department of Defense Appropriations Act of 2019 (“Section
         8005”) authorized the budgetary transfers to fund
         construction of the wall.

             The panel held that the Sierra Club had Article III
         standing to pursue its claims. Specifically, the panel held that
         Sierra Club’s thousands of members live near and frequently
         visit areas along the U.S.-Mexico border for hiking,
         birdwatching, photography, and other professional, scientific,
         recreational, and aesthetic activities; and construction of a
         border wall and related infrastructure will acutely injure these

             *
              This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         interests because the Department of Homeland Security is
         proceeding with border wall construction without ensuring
         compliance with any federal or state environmental
         regulations designed to protect these interests. Additionally,
         the interests of Sierra Club’s members in the lawsuit are
         germane to the organization’s purpose. Similarly, the panel
         held that the Southern Border Communities Coalition alleged
         facts that support that it had standing to sue on behalf of itself
         and its member organizations. The panel further held that
         Sierra Club’s injuries were fairly traceable to the Section
         8005 transfers. In addition, the panel held that the injury to
         Sierra Club members and Southern Border Communities
         Coalition was likely to be redressed by a favorable judicial
         decision.

             In companion appeal State of California v. Trump, Nos.
         19-16299 and 19-16336, slip op. (9th Cir. June 26, 2020)
         (published concurrently), the panel held that Section 8005 did
         not authorize the transfers of funds at issue here. The panel
         reaffirmed this holding here.

             The panel held that the Executive Branch lacked
         independent constitutional authority to authorize the transfer
         of funds. The panel noted that the Appropriations Clause of
         the U.S. Constitution exclusively grants the power of the
         purse to Congress. The panel held that the transfer of funds
         violated the Appropriations Clause, and, therefore, was
         unlawful.

             The panel held that the Sierra Club was a proper party to
         challenge the Section 8005 transfers, and concluded that
         Sierra Club had both a constitutional and an ultra vires cause
         of action. First, the panel held that where plaintiffs, like
         Sierra Club, establish that they satisfy the requirements of
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         Article III standing, they may invoke separation of powers
         constraints, like the Appropriations Clause, to challenge
         agency spending in excess of its delegated authority. Because
         the federal defendants not only exceeded their delegated
         authority, but also violated an express constitutional
         prohibition designed to protect individual liberties, the panel
         held that Sierra Club had a constitutional cause of action.
         Second, the panel held that the Sierra Club had an equitable
         ultra vires cause of action to challenge the Department of
         Defense’s transfer of funds. Where it is alleged that the
         Department of Defense has exceeded the statutory authority
         delegated by Section 8005, plaintiffs like Sierra Club can
         challenge this agency action.

             The panel rejected the federal defendants’ additional
         arguments. First, the federal defendants asserted that Sierra
         Club’s challenge must be construed as an Administrative
         Procedure Act (“APA”) claim, rather than as a constitutional
         or ultra vivres cause of action. The panel held that the APA
         is not to be construed as an exclusive remedy, and the APA
         does not displace all constitutional and equitable causes of
         action. Second, the federal defendants asserted that the zone
         of interests test must apply to any challenge brought by
         Sierra Club, and that Section 8005 prescribes the relevant
         zone of interests. The panel held that Sierra Club fell within
         the Appropriations Clause’s zone of interests.            The
         unconstitutional transfer of funds here infringed upon
         Sierra Club’s members’ liberty interests, harming their
         environmental, aesthetic, and recreational interests. The
         panel concluded that the Sierra Club had a cause of action to
         challenge the transfers.

              Finally, the panel held that the district court did not abuse
         its discretion in granting Sierra Club a permanent injunction
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         enjoining the federal defendants from spending the funds at
         issue. First, the panel agreed with the district court that Sierra
         Club would suffer irreparable harm to its recreational and
         aesthetic interests absent injunction. Second, the panel
         agreed with the district court that the balance of equities and
         the public interest favored injunctive relief. The panel held
         that the Supreme Court’s decision in Winter v. NRDC, Inc.,
         555 U.S. 7 (2008), did not require the panel to vacate the
         injunction.

             Judge Collins dissented. He agreed that at least the Sierra
         Club established Article III standing, but in his view the
         organizations lacked any cause of action to challenge the
         transfers. Even assuming that they had a cause of action
         Judge Collins would conclude that the transfers were lawful.
         Accordingly, he would reverse the district court’s partial
         summary judgment for the organizations and remand for an
         entry of partial summary judgment in favor of the defendants.
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                                                                                       (9 of 86)
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                                       OPINION

         THOMAS, Chief Judge:

             We consider in this appeal challenges by the Sierra Club
         and the Southern Border Communities Coalition (“SBCC”)1
         to the Department of Defense’s budgetary transfers to fund
         construction of the wall on the southern border of the United
         States in California, New Mexico, and Arizona. Specifically,
         we consider whether Section 8005 and Section 9002 of the
         Department of Defense Appropriations Act of 2019, Pub. L.
         No. 115-245, 132 Stat. 2981 (2018) (“Section 8005”)2
         authorized the budgetary transfers. In a companion appeal,
         State of California, et al. v. Trump et al., Nos. 19-16299 and
         19-16336, we considered similar challenges filed by a
         collective group of States. However, because Sierra Club
         asserts different legal theories, and this case, when presented,
         was in a different procedural posture, we treat this appeal
         separately. We conclude that the transfers were not
         authorized, and that plaintiffs have a cause of action. We
         affirm the judgment of the district court.




             1
               We refer throughout this opinion to Sierra Club and SBCC together
         as “Sierra Club,” unless otherwise noted.
              2
                For simplicity, because the transfer authorities are both subject to
         Section 8005’s substantive requirements, this opinion refers to these
         authorities collectively as Section 8005, as did the district court and the
         motions panel. Our holding in this case therefore extends to both the
         transfer of funds pursuant to Section 8005 and Section 9002.
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                                               I

             We recounted the essential underlying facts in the
          companion case. However, we briefly outline them here for
          convenience of reference.

             The President has long supported the construction of a
          border wall on the southern border between the United States
          and Mexico. Since the President took office in 2017,
          however, Congress has repeatedly declined to provide the
          amount of funding requested by the President.

              The debate over border wall funding came to a head in
          December of 2018. During negotiations to pass an
          appropriations bill for the remainder of the fiscal year, the
          President announced that he would not sign any legislation
          that did not allocate substantial funds to border wall
          construction. On January 6, 2019, the White House requested
          $5.7 billion to fund the construction of approximately
          234 miles of new physical barrier.3 Budget negotiations
          concerning border wall funding reached an impasse,
          triggering the longest partial government shutdown in United
          States history.

              After 35 days, the government shutdown ended without
          an agreement to provide increased border wall funding in the
          amount requested by the President. On February 14, 2019,
          Congress passed the Consolidated Appropriations Act of
          2019 (“CAA”), which included the Department of Homeland
          Security Appropriations Act for Fiscal Year 2019, Pub. L.


               3
                Some form of a physical barrier already exists at the site of some of
          the construction projects. In those places, construction would reinforce or
          rebuild the existing portions.
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          No. 116-6, div. A, 133 Stat. 13 (2019). The CAA
          appropriated only $1.375 billion for border wall construction,
          specifying that the funding was for “the construction of
          primary pedestrian fencing . . . in the Rio Grande Valley
          Sector.” Id. § 230(a)(1). The President signed the CAA into
          law the following day.

              The President concurrently issued a proclamation under
          the National Emergencies Act, 50 U.S.C. §§ 1601–1651,
          “declar[ing] that a national emergency exists at the southern
          border of the United States.” Proclamation No. 9,844,
          84 Fed. Reg. 4949 (Feb. 15, 2019).4 An accompanying White
          House Fact Sheet explained that the President was “using his
          legal authority to take Executive action to secure additional
          resources” to build a border wall, and it specified that “the
          Administration [had] so far identified up to $8.1 billion that
          [would] be available to build the border wall once a national
          emergency [was] declared and additional funds [were]
          reprogrammed.” The Fact Sheet identified several funding
          sources, including $2.5 billion of Department of Defense
          (“DoD”) funds that could be transferred to provide support
          for counterdrug activities of other federal government
          agencies under 10 U.S.C. § 284 (“Section 284”).5 Executive


              4
                Subsequently, Congress adopted two joint resolutions terminating
          the President’s emergency declaration pursuant to its authority under 50
          U.S.C. § 1622(a)(1). The President vetoed each resolution, and Congress
          failed to override these vetoes.
              5
                Section 284 authorizes the Secretary of Defense to “provide support
          for the counterdrug activities . . . of any other department or agency of the
          Federal Government” if it receives a request from “the official who has
          responsibility for the counterdrug activities.” 10 U.S.C. §§ 284(a),
          284(a)(1)(A). The statute permits, among other things, support for
          “[c]onstruction of roads and fences and installation of lighting to block
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          Branch agencies began using the funds identified by the Fact
          Sheet to fund border wall construction. On February 25, the
          Department of Homeland Security (“DHS”) submitted to
          DoD a request for Section 284 assistance to block drug
          smuggling corridors. In particular, it requested that DoD
          fund “approximately 218 miles” of wall using this authority,
          comprised of numerous projects. On March 25, Acting
          Secretary of Defense Patrick Shanahan approved three border
          wall construction projects: Yuma Sector Projects 1 and 2 in
          Arizona and El Paso Sector Project 1 in New Mexico. On
          May 9, Shanahan approved four more border wall
          construction projects: El Centro Sector Project 1 in California
          and Tucson Sector Projects 1–3 in Arizona.

              At the time Shanahan authorized Section 284 support for
          these border wall construction projects, the counter-narcotics
          support account contained only $238,306,000 in unobligated
          funds, or less than one tenth of the $2.5 billion needed to
          complete those projects. To provide the support requested,
          Shanahan invoked the budgetary transfer authority found in
          Section 8005 of the 2019 DoD Appropriations Act to transfer
          funds from other DoD appropriations accounts into the
          Section 284 Drug Interdiction and Counter-Drug Activities-
          Defense appropriations account.

              For the first set of projects, Shanahan transferred
          $1 billion from Army personnel funds. For the second set of
          projects, Shanahan transferred $1.5 billion from “various
          excess appropriations,” which contained funds originally


          drug smuggling corridors across international boundaries of the United
          States.” Id. § 284(b)(7). DoD’s provision of support for other agencies
          pursuant to Section 284 does not require the declaration of a national
          emergency.
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          appropriated for purposes such as modification of in-service
          missiles and support for U.S. allies in Afghanistan.

             As authority for the transfers, DoD invoked Section 8005,
          which provides, in relevant part that:

                   Upon determination by the Secretary of
                   Defense that such action is necessary in the
                   national interest, he may, with the approval of
                   the Office of Management and Budget,
                   transfer not to exceed $4,000,000,000 of
                   working capital funds of the Department of
                   Defense or funds made available in this Act to
                   the Department of Defense for military
                   functions (except military construction)
                   between such appropriations or funds or any
                   subdivision thereof, to be merged with and to
                   be available for the same purposes, and for the
                   same time period, as the appropriation or fund
                   to which transferred.6

              Section 8005 also explicitly limits when its authority can
          be invoked: “Provided, That such authority to transfer may


              6
                 The other authority invoked by the Federal Defendants, Section
          9002 provides that: “Upon the determination of the Secretary of Defense
          that such action is necessary in the national interest, the Secretary may,
          with the approval of the Office of Management and Budget, transfer up to
          $2,000,000,000 between the appropriations or funds made available to the
          Department of Defense in this title: Provided, That the Secretary shall
          notify the Congress promptly of each transfer made pursuant to the
          authority in this section: Provided further, That the authority provided in
          this section is in addition to any other transfer authority available to the
          Department of Defense and is subject to the same terms and conditions as
          the authority provided in section 8005 of this Act.”
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          not be used unless for higher priority items, based on
          unforeseen military requirements, than those for which
          originally appropriated and in no case where the item for
          which funds are requested has been denied by the Congress.”

              Although Section 8005 does not require formal
          congressional approval of transfers, historically DoD had
          adhered to a “gentleman’s agreement,” by which it sought
          approval from the relevant congressional committees before
          transferring the funds. DoD deviated from this practice
          here—it did not request congressional approval before
          authorizing the transfer. Further, the House Committee on
          Armed Services and the House Committee on Appropriations
          both wrote letters to DoD formally disapproving of the
          reprogramming action after the fact. Moreover, with respect
          to the second transfer, Shanahan expressly directed that the
          transfer of funds was to occur “without regard to comity-
          based policies that require prior approval from congressional
          committees.”

              In the end, Section 8005 was invoked to transfer
          $2.5 billion of DoD funds appropriated for other purposes to
          fund border wall construction.

                                             II

             On February 19, 2019, Sierra Club filed a lawsuit
          challenging the Executive Branch’s funding of the border
          wall.7 Sierra Club pled theories of violation of the 2019


               7
                 California, New Mexico, and fourteen other states had filed a
          lawsuit the previous day challenging the same border wall funding. Both
          lawsuits named as defendants Donald J. Trump, President of the United
          States, Patrick M. Shanahan, former Acting Secretary of Defense, Kirstjen
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          CAA, violation of the constitutional separation of powers,
          violation of the Appropriations Clause, violation of the
          Presentment Clause, violation of the National Environmental
          Policy Act (“NEPA”), and ultra vires action.

              Sierra Club subsequently filed a motion requesting a
          preliminary injunction to enjoin the transfer of funds pursuant
          to Section 8005 to construct a border wall in Arizona’s Yuma
          Sector and New Mexico’s El Paso Sector. The district court
          held that Sierra Club had standing to assert its Section 8005
          claims, and granted the preliminary injunction motion. The
          Federal Defendants timely appealed the preliminary
          injunction order. Sierra Club subsequently sought a
          supplemental preliminary injunction to block additional
          construction planned in California’s El Centro Sector and
          Arizona’s Tucson Sector.

              Sierra Club also filed a motion requesting partial
          summary judgment, a declaratory judgment, and a permanent
          injunction to enjoin the transfer of funds pursuant to Section
          8005 to construct a border wall in Arizona’s Yuma and
          Tucson Sectors, California’s El Centro Sector, and New
          Mexico’s El Paso Sector. The Federal Defendants cross-
          moved for summary judgment and opposed Sierra Club’s
          motion. The district court granted Sierra Club’s motion for
          partial summary judgment and granted its request for a
          declaratory judgment and a permanent injunction. The
          Federal Defendants requested that the district court certify the
          judgment for appeal under Fed. R. Civ. P. 54(b). The district


          M. Nielsen, former Secretary of Homeland Security, and Steven Mnuchin,
          Acting Secretary of the Treasury in their official capacities, along with
          numerous other Executive Branch officials (collectively referenced as “the
          Federal Defendants”).
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          court considered the appropriate factors, made appropriate
          findings, and certified the order as final pursuant to Rule
          54(b). See Pakootas v. Teck Cominco Metals, Ltd., 905 F.3d
          565, 574–75 (9th Cir. 2018) (explaining when certification is
          appropriate under Rule 54). The Federal Defendants timely
          appealed the district court decision.

              The Federal Defendants initially filed a motion to stay the
          district court’s preliminary injunction, and in their later
          briefing on summary judgment, they requested that the
          district court stay any permanent injunction granted pending
          appeal. The district court denied both requests. The Federal
          Defendants filed an emergency motion for stay of the
          preliminary injunction pending appeal in this Court and
          subsequently sought a stay of the permanent injunction,
          relying on the same arguments. Sierra Club v. Trump,
          929 F.3d 670, 685 (9th Cir. 2019). An emergency motions
          panel of this Court considered whether to stay the injunction
          pending appeal, and held that a stay was not warranted. Id.
          at 677. The Federal Defendants then filed an application for
          a stay pending appeal with the Supreme Court. The Supreme
          Court granted the application, noting that “[a]mong the
          reasons is that the Government has made a sufficient showing
          at this stage that the plaintiffs have no cause of action to
          obtain review of the Acting Secretary’s compliance with
          Section 8005.” Trump v. Sierra Club, 140 S. Ct. 1 (2019)
          (mem.).

             We now consider the merits of the Federal Defendants’
          appeal of the district court’s grant of partial summary
          judgment, grant of a declaratory judgment, and grant of a
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          permanent injunction to Sierra Club.8 We review the
          existence of Article III standing de novo. See California v.
          U.S. Dep’t of Health & Human Servs., 941 F.3d 410, 420 (9th
          Cir. 2019). We review questions of statutory interpretation
          de novo. See United States v. Kelly, 874 F.3d 1037, 1046 (9th
          Cir. 2017).

                                             III

               Sierra Club has Article III standing to pursue its claims.
          To establish Article III standing, a plaintiff must have
          (1) suffered an injury in fact, (2) that is fairly traceable to the
          challenged conduct of the defendant, and (3) that is likely to
          be redressed by a favorable judicial decision. Lujan v. Defs.
          of Wildlife, 504 U.S. 555, 560–61 (1992).9 An organization
          has standing to sue on behalf of its members when “its
          members would otherwise have standing to sue in their own
          right,” and when “the interests it seeks to protect are germane
          to the organization’s purpose.” United Food and Commercial
          Workers Union Local 751 v. Brown Grp., Inc., 517 U.S. 544,
          553 (1996) (quoting Hunt v. Wash. State Apple Advert.

               8
                 We dismiss the Federal Defendants’ appeal of the district court’s
          grant of the preliminary injunction as moot. See Planned Parenthood
          Ariz. Inc. v. Betlach, 727 F.3d 960, 963 (9th Cir. 2013) (“The district
          court’s entry of final judgment and a permanent injunction moots
          Arizona’s appeal of the preliminary injunction.”); see also Planned
          Parenthood of Cent. & N. Ariz. v. Arizona, 718 F.2d 938, 949–50 (9th Cir.
          1983); SEC v. Mount Vernon Mem’l Park, 664 F.2d 1358, 1361–62 (9th
          Cir. 1982).
               9
                 The Federal Defendants do not challenge Sierra Club’s Article III
          standing in these appeals. However, “the court has an independent
          obligation to assure that standing exists, regardless of whether it is
          challenged by any of the parties.” Summers v. Earth Island Inst., 555 U.S.
          488, 499 (2009).
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          Comm’n, 434 U.S. 333, 343 (1977)).10 An organization has
          standing to sue on its own behalf when it suffers “both a
          diversion of its resources and a frustration of its mission.” La
          Asociacion de Trabajadores de Lake Forest v. City of Lake
          Forest, 624 F.3d 1083, 1088 (9th Cir. 2010) (quoting Fair
          Housing of Marin v. Combs, 285 F.3d 899, 905 (9th Cir.
          2002)). It must “show that it would have suffered some other
          injury if it had not diverted resources to counteracting the
          problem.” Id. At summary judgment, a plaintiff cannot rest
          on mere allegations, but “must set forth by affidavit or other
          evidence specific facts.” Clapper v. Amnesty Int’l. USA,
          568 U.S. 398, 412 (2013) (quotations and citation omitted).
          However, these specific facts “for purposes of the summary
          judgment motion will be taken to be true.” Lujan, 504 U.S.
          at 561.

              Here, Sierra Club and SBCC have alleged facts that
          support their standing to sue on behalf of their members.
          Sierra Club has alleged that the actions of the Federal
          Defendants will cause particularized and concrete injuries to
          its members, and SBCC has shown that it has suffered a
          concrete injury itself.

             Sierra Club has more than 400,000 members in
          California, over 9,700 of whom belong to its San Diego
          Chapter. Sierra Club’s Grand Canyon Chapter, which covers

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                  United Food and Commercial Workers held that those two
          requirements were based on constitutional demands, but held that the third
          prong of Hunt’s test for organizational standing, whether the claim or
          relief requested requires the participation of individual members in the
          lawsuit, was prudential only. Id. at 555. In any case, because the claim
          and relief requested here do not require the participation of Sierra Club or
          SBCC members, even this prudential consideration supports plaintiffs’
          standing here.
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          the State of Arizona, has more than 16,000 members. Sierra
          Club’s Rio Grande Chapter includes over 10,000 members in
          New Mexico and West Texas. These members visit border
          areas such as the Tijuana Estuary (California), the Otay
          Mountain Wilderness (California), the Jacumba Wilderness
          Area (California), the Sonoran Desert (Arizona), Cabeza
          Prieta National Wildlife Refuge (Arizona), and the Chihuahan
          Desert (New Mexico).

              Sierra Club’s thousands of members live near and
          frequently visit these areas along the U.S.-Mexico border for
          hiking, birdwatching, photography, and other professional,
          scientific, recreational, and aesthetic activities. They obtain
          recreational, professional, scientific, educational, and
          aesthetic benefits from their activities in these areas, and from
          the wildlife dependent upon the habitat in these areas. The
          construction of a border wall and related infrastructure will
          acutely injure these interests because DHS is proceeding with
          border wall construction without ensuring compliance with
          any federal or state environmental regulations designed to
          protect these interests.

              Sierra Club has adequately set forth facts and other
          evidence by declaration, which taken as true, support these
          allegations for the purpose of Article III standing.

              Sierra Club members Orson Bevins and Albert Del Val
          have alleged that they will be injured by construction of
          Yuma Project 1. Bevins avers that he visits the area several
          times per year and is concerned that the wall “would disrupt
          the desert views and inhibit [him] from fully appreciating
          [the] area,” and that the additional presence of U.S. Customs
          and Border Protection agents “would further diminish[] [his]
          enjoyment of these areas” and “deter[] [him] from further
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          exploring certain areas.” Del Val worries that “construction
          and maintenance of the border wall will limit or entirely cut
          off [his] access to [] fishing spots” along the border, where he
          has fished for more than 50 years.

              Sierra Club member Elizabeth Walsh has alleged that
          construction of El Paso Sector Project 1 would injure her
          because “[a]s part of [her] professional and academic work
          [she] routinely visit[s] and stud[ies]” the area where the
          project would be built to “supervise several ongoing and
          long-term biology studies in this area with graduate students
          on the aquatic diversity of ephemeral wetlands known locally
          as playas.” Among other things, she is worried that border
          wall construction would “negatively impact the scientific
          playa studies . . . because a wall could impede vital natural
          drainage patterns for the playas.”

              Sierra Club member Carmina Ramirez has alleged that
          she “will be harmed culturally and aesthetically” if El Centro
          Sector Project 1 is built because she has spent her entire life
          in the area surrounding the U.S.-Mexico Border, including
          the El Centro Sector, and she believes that border wall
          construction would “drastically impact [her] ability to enjoy
          the local natural environment,” because she would “see a high
          border wall instead of [the] beautiful landscape,” and
          “drastically impact [her] cultural identity by fragmenting
          [her] community.” Construction will make her “less likely to
          hike Mount Signal and enjoy outdoor recreational activities;
          and when [she does] undertake those activities, [her]
          enjoyment of them will be irreparably diminished.”

              Sierra Club member Ralph Hudson “recreat[es] in the
          wilderness areas along the U.S.-Mexico border” in the area
          referred to as the Tucson Sector and has done so for 20 years.
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          He uses the land “to hike, take photos, and explore the natural
          history.” He is “extremely concerned that Tucson Projects 1
          and 2 will greatly detract from [his] ability to enjoy hiking,
          camping, and photographing these landscapes.”

              Sierra Club member Margaret Case lives a few miles
          from the border, and she asserts that she will be injured by the
          construction of Tucson Sector Project 3. “With each increase
          and escalation in enforcement along the border, [her] and
          other border residents’ quality of life decreases” and “[t]he
          proposed wall will . . . extend an already unwanted eyesore in
          the middle of a landscape whose beauty [she] treasure[s],
          irrevocably harming [her] enjoyment of that landscape.”

               Additionally, the interests of Sierra Club’s members in
          this lawsuit are germane to the organization’s purpose. Sierra
          Club is a national organization “dedicated to exploring,
          enjoying, and protecting the wild places of the earth; to
          educating and enlisting humanity to protect and restore the
          quality of the natural and human environment; and to using
          all lawful means to carry out these objectives.” Sierra Club’s
          organizational purpose is at the heart of this lawsuit, and it
          easily satisfies this secondary requirement.

              SBCC has also alleged facts that support that it has
          standing to sue on behalf of itself and its member
          organizations. SBCC alleged that since the Federal
          Defendants proposed border wall construction, it has had to
          “mobilize[] its staff and its affiliates to monitor and respond
          to the diversion of funds and the construction caused by and
          accompanying the national emergency declaration.” These
          “activities have consumed the majority of SBCC staff’s time,
          thereby interfering with SBCC’s core advocacy regarding
          border militarization, Border Patrol law-enforcement
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          activities, and immigration reform,” but it has had no choice
          because it “must take these actions in furtherance of its
          mission to protect and improve the quality of life in border
          communities.”

              SBCC Director Vicki Gaubeca confirms these allegations.
          She has stated that a “border wall, as a physical structure and
          symbol, is contrary to the goals of SBCC and the needs of
          border communities.” She avers that the “emergency
          declaration and the threat and reality of construction have
          caused [SBCC] to reduce the time [it] spend[s] on [its] core
          projects, including public education about border policies,
          community engagement on local issues, and affirmative
          advocacy for Border Patrol accountability and immigration
          reform.” SBCC and its member organizations have instead
          “been forced to devote substantial time to analyze and
          respond to the declaration and the promise to build border
          walls across the southern border” “at a substantial monetary
          and opportunity cost.”

              These allegations are sufficient to establish that, if funds
          are transferred to the border wall construction projects, Sierra
          Club members and SBCC will each suffer injuries in fact.

              Sierra Club and SBCC have also shown that such injuries
          are “fairly traceable to the challenged action of the [Federal
          Defendants], and [are] not the result of the independent action
          of some third party not before the court.” Mendia v. Garcia,
          768 F.3d 1009, 1012 (9th Cir. 2014) (quoting Bennett v.
          Spear, 520 U.S. 154, 167 (1997)). It makes no difference that
          the border wall construction is the product of other statutory
          provisions, such as Section 284, in addition to Section 8005.
          “Causation may be found even if there are multiple links in
          the chain connecting the defendant’s unlawful conduct to the
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          plaintiff’s injury, and there’s no requirement that the
          defendant’s conduct comprise the last link in the chain.” Id.
          The Federal Defendants could not build the border wall
          projects challenged by Sierra Club without invoking Section
          8005’s transfer authority—without this authority, there was
          no money to build these portions of the border wall;
          therefore, construction is fairly traceable to the Section 8005
          transfers.

              The injury to Sierra Club members and SBCC is likely to
          be redressed by a favorable judicial decision. A judicial order
          prohibiting the Federal Defendants from spending the money
          transferred pursuant to Section 8005 would stop construction,
          thereby preventing the harm alleged by Plaintiffs. Thus,
          Sierra Club and SBCC have established that their members
          satisfy the demands of Article III standing to challenge the
          Federal Defendants’ actions.

                                        IV

               First, we consider whether Section 8005 or any
          constitutional provision authorized DoD to transfer the funds
          at issue. We hold they did not.

                                         A

               Section 8005 provides DoD with limited authority to
          transfer funds between different appropriations accounts, but
          it provides no such authority “unless for higher priority items,
          based on unforeseen military requirements, than those for
          which originally appropriated and in no case where the item
          for which funds are requested has been denied by the
          Congress.” In the opinion filed today in the companion case,
          State of California, et al. v. Trump, et al., Nos. 19-16299 and
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          19-16336, slip op. at 37 (9th Cir. filed June 26, 2020), we
          hold that Section 8005 did not authorize the transfer of funds
          at issue here because “the border wall was not an unforeseen
          military requirement,” and “funding for the wall had been
          denied by Congress.” We reaffirm this holding here and
          conclude that Section 8005 did not authorize the transfer of
          funds.

                                            B

               The “straightforward and explicit command” of the
          Appropriations Clause11 “means simply that no money can be
          paid out of the Treasury unless it has been appropriated by an
          act of Congress.” Office of Pers. Mgmt. v. Richmond,
          496 U.S. 414, 424 (1990) (quotation and citation omitted).
          The Clause is “a bulwark of the Constitution’s separation of
          powers.” U.S. Dep’t. Of Navy v. Fed. Labor Relations Auth.,
          665 F.3d 1339, 1347 (D.C. Cir. 2012); see also United States
          v. McIntosh, 833 F.3d 1163, 1174–75 (9th Cir. 2016). It
          “assure[s] that public funds will be spent according to the
          letter of the difficult judgments reached by Congress as to the
          common good and not according to the individual favor of
          Government agents.” Office of Pers. Mgmt., 496 U.S.
          at 427–28. Without it, “the executive would possess an
          unbounded power over the public purse of the nation; and
          might apply all its moneyed resources at his pleasure.” Id. at
          427 (quoting Joseph Story, 2 Commentaries on the
          Constitution of the United States § 1348 (3d ed. 1858)).

             Accordingly, “[t]he United States Constitution
          exclusively grants the power of the purse to Congress, not the

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                “No money shall be drawn from the Treasury, but in Consequence
          of Appropriations made by Law . . . .” U.S. Const. art. I, § 9, cl. 7.
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          President.” City and Cty. of San Francisco v. Trump,
          897 F.3d 1225, 1231 (9th Cir. 2018) (citing U.S. Const. art.
          I, § 9, cl. 7). “[W]hen it comes to spending, the President has
          none of ‘his own constitutional powers’ to ‘rely’ upon.” Id.
          at 1233–34 (quoting Youngstown Sheet & Tube Co. v.
          Sawyer, 343 U.S. 579, 637 (1952) (Jackson, J., concurring)).

              Here, the Executive Branch lacked independent
          constitutional authority to authorize the transfer of funds.
          These funds were appropriated for other purposes, and the
          transfer amounted to “drawing funds from the Treasury
          without authorization by statute and thus violating the
          Appropriations Clause.” McIntosh, 833 F.3d at 1175.

              Therefore, the transfer of funds here was unlawful.

                                          V

              All that is left for us to decide, then, is whether Sierra
          Club is a proper party to challenge the Section 8005 transfers.
          Sierra Club asserts that it has a number of viable causes of
          action—including a constitutional cause of action and an
          ultra vires cause of action—while the Federal Defendants
          assert that Sierra Club has none.

              The Supreme Court stay order suggests that Sierra Club
          may not be a proper challenger here. See Sierra Club, 140 S.
          Ct. at 1. We heed the words of the Court, and carefully
          analyze Sierra Club’s arguments. Having done so, we
          conclude that Sierra Club has both a constitutional and an
          ultra vires cause of action.

             In reaching this result, we realize that this is a rare case in
          which the “judiciary may . . . have to intervene in determining
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          where the authority lies as between the democratic forces in
          our scheme of government.” Youngstown, 343 U.S. at 597
          (1952) (Frankfurter, J. concurring). In doing so, we remain
          “wary and humble,” id., for “[i]t is not a pleasant judicial duty
          to find that the President has exceeded his powers,” id. at 614.
          But where, as here, “Congress could not more clearly and
          emphatically have withheld [the] authority,” id. at 602,
          exercised by DoD, “with full consciousness of what it was
          doing and in the light of much recent history,” id., and Sierra
          Club satisfies the rigors of Article III standing, our
          “obligation to hear and decide [this] case is virtually
          unflagging,” Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69,
          77 (2013) (quotations and citation omitted). “All we can do
          is, to exercise our best judgment, and conscientiously to
          perform our duty.” Cohens v. State of Virginia, 19 U.S. 264,
          404 (1821).

                                         A

             First, we consider whether Sierra Club has a
          constitutional cause of action to challenge the Federal
          Defendants’ transfer. We hold that it does.

              Certain provisions of the Constitution give rise to
          equitable causes of action. Such causes of action are most
          plainly available with respect to provisions conferring
          individual rights, such as the Establishment Clause or the
          Free Exercise Clause. See Trump v. Hawaii, 138 S. Ct. 2392,
          2416 (2018); Flast v. Cohen, 392 U.S. 83 (1968). But certain
          structural provisions give rise to causes of action as well. See
          Nat. Labor Relations. Bd. v. Noel Canning, 573 U.S. 513,
          556–57 (2014) (cause of action based on the Recess
          Appointments Clause); Bond v. United States, 564 U.S. 211,
          225–26 (2011) (cause of action based on structural principles
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          of federalism); Clinton v. City of New York, 524 U.S. 417,
          434–36 (1998) (cause of action based on the Presentment
          Clause); INS v. Chadha, 462 U.S. 919, 943–44 (1983) (cause
          of action based on the constitutional requirement of
          bicameralism and presentment); McIntosh, 833 F.3d
          at 1174–75 (cause of action based on the Appropriations
          Clause).

              In Bond, the Supreme Court articulated why certain
          structural constitutional provisions give rise to causes of
          action. The Court considered “whether a person indicted for
          violating a federal statute has standing to challenge its
          validity on the grounds that, by enacting it, Congress
          exceeded its powers under the Constitution, thus intruding
          upon the sovereignty and authority of the States.” 564 U.S.
          at 214. The Court held that “[j]ust as it is appropriate for an
          individual, in a proper case, to invoke separation-of-powers
          or checks-and-balances constraints, so too may a litigant, in
          a proper case, challenge a law as enacted in contravention of
          constitutional principles of federalism.” Id. at 223–24. It
          reasoned that the challenge was permissible because
          “structural principles secured by the separation of powers
          protect the individual as well,” and “[a]n individual has a
          direct interest in objecting to laws that upset the constitutional
          balance . . . when the enforcement of those laws causes injury
          that is concrete, particular, and redressable.” Id. at 222. In
          other words, an individual who otherwise meets the
          requirements of Article III standing may challenge
          government action that violates structural constitutional
          provisions intended to protect individual liberties.

             We have held that the Appropriations Clause contains
          such a cause of action. See McIntosh, 833 F.3d at 1173–74.
          In McIntosh, defendants moved to enjoin their prosecutions
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          for federal marijuana offenses on the grounds that a
          congressional appropriations rider prohibited the Department
          of Justice from spending federal funds on such prosecutions.
          Id. at 1168. We held that “[the Appropriations Clause]
          constitutes a separation-of-powers limitation that Appellants
          can invoke to challenge their prosecutions.” Id. at 1175. The
          opinion reasoned that so long as a litigant satisfies the Article
          III standing requirements, he or she can challenge
          Appropriations Clause violations because “[o]nce Congress,
          exercising its delegated powers, has decided the order of
          priorities in a given area, it is for . . . the courts to enforce
          them when enforcement is sought.” Id. at 1172 (quoting
          Tenn. Valley Auth. v. Hill, 437 U.S. 153, 194 (1978)). In
          McIntosh, we also reaffirmed the Supreme Court’s statement
          in Bond that “both federalism and separation-of-powers
          constraints in the Constitution serve to protect individual
          liberty, and a litigant in a proper case can invoke such
          constraints ‘[w]hen government acts in excess of its lawful
          powers.’” Id. at 1174 (quoting Bond, 564 U.S. at 222).12

              The cause of action available to the plaintiffs in McIntosh
          is available to Sierra Club here. Congress decided the order
          of priorities for border security. In doing so, it chose to
          allocate $1.375 billion to fund the construction of pedestrian


               12
                  The Federal Defendants incorrectly characterize McIntosh’s
          constitutional holding as dicta. The McIntosh Court discussed the
          availability of a constitutional cause of action, analogizing to Bond and
          Canning, and stating that “Appellants have standing to invoke separation-
          of-powers provisions of the Constitution to challenge their criminal
          convictions.” 833 F.3d at 1174. Because the Court “confront[ed] an issue
          germane to the eventual resolution of the case,” and “resolve[d] it after
          reasoned consideration in a published opinion,” McIntosh’s constitutional
          holding is “the law of the circuit.” Cetacean Cmty. v. Bush, 386 F.3d
          1169, 1173 (9th Cir. 2004) (quotations and citation omitted).
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          fencing in Texas. See 2019 CAA § 230(a)(1). It declined to
          provide additional funding for projects in other areas, and it
          declined to provide the full $5.7 billion sought by the
          President: it is for the courts to enforce Congress’s priorities,
          and we do so here. Where plaintiffs, like Sierra Club,
          establish that they satisfy the requirements of Article III
          standing, they may invoke separation-of-powers constraints,
          like the Appropriations Clause, to challenge agency spending
          in excess of its delegated authority.

              The Federal Defendants argue that Dalton v. Specter,
          511 U.S. 462 (1994) forecloses this result. They assert that
          Dalton’s proposition that not “every action by the President,
          or by another executive official, in excess of his statutory
          authority is ipso facto in violation of the Constitution,” means
          that when there is a claim that an Executive Branch official
          acted in excess of his statutory authority, there is no
          constitutional violation. Id. at 472. But Dalton does not hold
          that every action in excess of statutory authority is not a
          constitutional violation.13 Rather, Dalton suggests that some


              13
                  Notably, the plaintiffs in Dalton never alleged that the President
          violated the Constitution and sought review “exclusively under the
          [Administrative Procedure Act (“APA”)].” Id. at 471. Only the Court of
          Appeals “sought to determine whether non-APA review, based on either
          common law or constitutional principles, was available.” Id. The
          Supreme Court did not consider whether the President had violated a
          specific constitutional prohibition; instead, it took issue only with the
          Court of Appeals’ contention that “whenever the President acts in excess
          of his statutory authority, he also violates the constitutional separation-of-
          powers doctrine.” Id. The Supreme Court’s objection to this conclusion
          is unsurprising in the context of the Defense Base Closure and
          Realignment Act of 1990 at issue in Dalton. The Constitution divides
          authority with respect to the military between Congress and the President.
          Here, in contrast, the Constitution delegates exclusively to Congress the
          power of the purse.
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          actions in excess of statutory authority may be constitutional
          violations, while others may not. Specifically, Dalton
          suggests that a constitutional violation may occur when an
          officer violates an express prohibition of the Constitution. Id.
          (citing Bivens v. Six Unknown Named Agents of Fed. Bureau
          of Narcotics, 403 U.S. 388, 396–97 (1971) for the distinction
          between “actions contrary to [a] constitutional prohibition,”
          and those “merely said to be in excess of the authority
          delegated . . . by the Congress”). The Appropriations Clause
          contains such a constitutional prohibition, declaring that “[n]o
          Money shall be drawn from the Treasury, but in Consequence
          of Appropriations made by Law . . . .” U.S. Const. art.1, § 9,
          cl. 7. Under Dalton, then, violations of the Appropriations
          Clause may give rise to viable causes of action.

              Dalton’s discussion of Youngstown only underscores this
          point. The Court determined that Youngstown could not stand
          for the proposition “that an action taken by the President in
          excess of his statutory authority necessarily violates the
          Constitution” because in Youngstown “no statutory authority
          was claimed.” Dalton, 511 U.S. at 473 (emphasis added).
          The Court concluded only that “claims simply alleging that
          the President has exceeded his statutory authority are not
          ‘constitutional’ claims, subject to judicial review.” Id. Thus,
          Dalton and its discussion of Youngstown do not address
          situations in which the President exceeds his or her statutory
          authority, and in doing so, also violates a specific
          constitutional prohibition, as is the case here.

             Neither does Armstrong v. Exceptional Child Center, Inc.,
          575 U.S. 320 (2015), require an opposite result here. In
          Armstrong, the Supreme Court rejected the argument that the
          Supremacy Clause created a private right of action. Id.
          at 325–27.     But the Supremacy Clause is not the
                                                                               (31 of 86)
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          Appropriations Clause: while the Supremacy Clause “only
          declares a truth, which flows immediately and necessarily
          from the institution of a Federal Government,” id. at 325
          (citing The Federalist No. 33, p. 207 (J. Cooke ed. 1961)), the
          Appropriations Clause contains an explicit prohibition, which
          protects individual liberty, because “[a]ny exercise of a power
          granted by the Constitution to one of the other branches of
          Government is limited by a valid reservation of congressional
          control over funds in the Treasury,” McIntosh, 833 F.3d at
          1175. “The individual loses liberty in a real sense if [the
          appropriations power] is not subject to traditional
          constitutional constraints.” Clinton v. City of New York,
          524 U.S. at 451 (Kennedy, J., concurring). Thus, while it
          might be “strange” “to give a clause that makes federal law
          supreme a reading that limits Congress’s power to enforce
          that law,” Armstrong, 575 U.S. at 326, it is entirely sensible
          to give a clause that restricts the power of the federal
          government as a whole a reading that safeguards individual
          liberty.

              Therefore, because the Federal        Defendants not only
          exceeded their delegated authority,       but also violated an
          express constitutional prohibition        designed to protect
          individual liberties, we hold that         Sierra Club has a
          constitutional cause of action here.

                                          B

              Second, we consider whether Sierra Club has an equitable
          ultra vires cause of action to challenge the Federal
          Defendants’ transfer. We hold that it does.

             Whether Sierra Club can assert an equitable ultra vires
          cause of action turns on “whether the relief [it] request[s] . . .
                                                                             (32 of 86)
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          was traditionally accorded by courts of equity.” Grupo
          Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc.,
          527 U.S. 308, 319 (1999). Equitable actions to enjoin ultra
          vires official conduct do not depend upon the availability of
          a statutory cause of action; instead, they seek a “judge-made
          remedy” for injuries stemming from unauthorized
          government conduct, and they rest on the historic availability
          of equitable review. Armstrong, 575 U.S. at 327. “The
          substantive prerequisites for obtaining an equitable remedy
          . . . depend on traditional principles of equity jurisdiction.”
          Grupo Mexicano, 527 U.S. at 318–19 (quotations and citation
          omitted).

              The relief Sierra Club requests has been traditionally
          available. “The ability to sue to enjoin unconstitutional
          actions by state and federal officers is the creation of courts
          of equity, and reflects a long history of judicial review of
          illegal executive action, tracing back to England.”
          Armstrong, 575 U.S. at 327 (citing Jaffe & Henderson,
          Judicial Review and the Rule of Law: Historical Origins,
          72 L.Q. Rev. 345 (1956)); see also Harmon v. Brucker,
          355 U.S. 579, 581–82 (1958) (“Generally, judicial relief is
          available to one who has been injured by an act of a
          government official which is in excess of his express or
          implied powers.”). Such causes of action have been
          traditionally available in American courts: “[w]hen Congress
          limits its delegation of power, courts infer (unless the statute
          clearly directs otherwise) that Congress expects this
          limitation to be judicially enforced.” Dart v. United States,
          848 F.2d 217, 223 (D.C. Cir. 1988).

              The passage of the APA has not altered this presumption.
          “Prior to the APA’s enactment . . . courts had recognized the
          right of judicial review of agency actions that exceeded
                                                                             (33 of 86)
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          authority,” and “[n]othing in the subsequent enactment of the
          APA altered [that] doctrine of review,” to “repeal the review
          of ultra vires actions.” Id. at 224. “When an executive acts
          ultra vires, courts are normally available to reestablish the
          limits on his authority.” Id.

              That Sierra Club has a cause of action to enjoin the
          unconstitutional actions at issue here is best illustrated by
          Youngstown. There, Congress passed numerous statutes
          authorizing the President to take personal and real property
          under specific conditions. 343 U.S. at 585–86. During the
          Korean War, however, President Truman signed an executive
          order seizing most of the nation’s steel mills, even though the
          conditions of the statutes had not been satisfied as a matter of
          fact. Id. at 582, 586. It fell to the Supreme Court to
          determine whether the President had constitutional authority
          to seize the steel mills—it held he did not and affirmed the
          district court injunction. Id. at 588–589. The Court never
          questioned that it had the authority to provide the requested
          relief.

              Such is the case here. Section 8005 authorizes DoD to
          transfer funds under certain conditions; however, as explained
          previously, DoD failed to satisfy those conditions. Likewise,
          as explained previously, the Executive Branch lacks
          independent constitutional authority to fund border wall
          construction. If an equitable ultra vires action was available
          to the plaintiffs in Youngstown, it surely must be available to
          Sierra Club here.

              A number of D.C. Circuit cases reaffirm that review is
          ordinarily available when an agency exceeds its delegation of
          authority. In Chamber of Commerce of the United States v.
          Reich, the D.C. Circuit considered whether the Chamber of
                                                                                 (34 of 86)
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          Commerce had a cause of action to challenge an executive
          order barring the federal government from contracting with
          employers who hire permanent replacements during a lawful
          strike. 74 F.3d 1322, 1325–26 (D.C. Cir. 1996). The
          government argued that the Chamber of Commerce lacked a
          statutory cause of action and that APA review was not
          available because the challenge was directed at the
          President’s statutory authority to issue the executive order,
          and the President is not an agency within the meaning of the
          APA. See id. The court agreed that APA review was not
          available, but it held that non-statutory review remained
          available. See id. at 1327. The court held that “[i]f a plaintiff
          is unable to bring his case predicated on either a specific or a
          general statutory review provision, he may still be able to
          institute a non-statutory review action.” Id. The court
          reasoned in part that “[t]he responsibility of determining the
          limits of statutory grants of authority . . . is a judicial function
          entrusted to the courts by Congress by the statutes
          establishing courts and marking their jurisdiction.” Id.
          (quoting Stark v. Wickard, 321 U.S. 288, 310 (1944)).

              Likewise, in Dart v. United States, the D.C. Circuit
          considered whether the plaintiff could challenge the Secretary
          of Commerce’s decision to impose civil sanctions for a
          violation of the Export Administration Act (“EAA”). See
          848 F.2d at 219. The court held that even though the EAA
          expressly limited judicial review, the court retained the ability
          to review whether the Secretary exceeded the authority
          delegated by the statute. See id. at 223–34. It explained that
          “the presumption of judicial review is particularly strong
          where an agency is alleged to have acted beyond its
          authority.” Id. at 223. It ultimately concluded that the
          Secretary had done just that and invalidated the sanctions he
          imposed.
                                                                              (35 of 86)
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              These cases support our holding here that Sierra Club has
          an equitable ultra vires cause of action to challenge DoD’s
          transfer of funds. Where it is alleged that DoD has exceeded
          the statutory authority delegated by Section 8005, plaintiffs
          like Sierra Club can challenge this agency action.

              The Federal Defendants contend that an equitable cause
          of action is not available to Sierra Club here because
          equitable remedies are available only when they have been
          “traditionally available in the specific circumstances
          presented,” and that the remedies sought here have not been
          traditionally available in the specific circumstances presented
          by this case.

              The Federal Defendants cite Grupo Mexicano in support
          of this argument, but that case provides little support for their
          position. In Grupo Mexicano, the Court considered whether
          a district court had the power to issue a preliminary
          injunction to prevent the transfer of assets in which no lien or
          equitable interest was claimed. See 527 U.S. at 318. The
          Court concluded it did not. See id. at 333. It held that a
          district court cannot grant relief that “has never been
          available before—and especially (as here) a type of relief that
          has been specifically disclaimed by longstanding judicial
          precedent,” particularly when “there is absolutely nothing
          new about debtors’ trying to avoid paying their debts, or
          seeking to favor some creditors over others.” Id. at 322; see
          id. at 333.

              Here, however, the plaintiffs request a type of relief that
          is consistent with our longstanding precedent. Indeed, as
          explained above, the Supreme Court has actually granted
          injunctive relief in circumstances very similar to these. See,
          e.g., Youngstown, 343 U.S. at 589. Further, unlike attempts
                                                                            (36 of 86)
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          to avoid paying debts, instances of Executive Branch ultra
          vires action are, fortunately, relatively rare, and unlikely to
          occur in contexts likely to repeat themselves precisely. Thus,
          the justifications for limiting equitable relief in Grupo
          Mexicano are not present here, and courts are able to grant the
          relief sought by Sierra Club.

              We therefore hold that Sierra Club may assert an
          equitable ultra vires cause of action to challenge DoD’s
          transfer of funds.

                                        C

             The Federal Defendants raise a number of additional
          arguments. We address them here.

              First, the Federal Defendants assert that Sierra Club’s
          challenge must be construed as an APA claim, rather than as
          a constitutional or ultra vires cause of action. But neither of
          the two cases cited by the Federal Defendants compel this
          conclusion. The Federal Defendants cite Hoefler v. Babbitt,
          139 F.3d 726, 728 (9th Cir. 1998) for the proposition that
          “[t]he APA is the sole means for challenging the legality of
          federal agency action,” but there, we did not consider whether
          plaintiffs had a constitutional or ultra vires cause of action;
          rather, we considered whether the action was properly
          considered under the APA or the Quiet Title Act. See id.
          at 728–29. We ultimately held that the former was
          appropriate. See id. at 729. To extrapolate from a general
          statement made in this context, as the Federal Defendants do
          here, goes too far.

             Likewise, in Bennett v. Spear, 520 U.S. 154, 175 (1997),
          the Court did not consider whether plaintiffs had a
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          constitutional cause of action; rather, the Court considered
          whether the citizen-suit provision of the Endangered Species
          Act (“ESA”) provided an exclusive statutory remedy, or
          whether a cause of action was also available under the APA.
          The Court ultimately determined that “[n]othing in the ESA’s
          citizen-suit provision expressly precludes review under the
          APA, nor do we detect anything in the statutory scheme
          suggesting a purpose to do so.” Id. If anything, this case
          underscores that the APA is not to be construed as an
          exclusive remedy. Thus, the APA does not displace all
          constitutional and equitable causes of action.

              Second, the Federal Defendants assert that the zone of
          interests test must apply to any challenge brought by Sierra
          Club, and that Section 8005 prescribes the relevant zone of
          interests. We reject this argument.

              The zone of interests test limits which plaintiffs can
          invoke statutorily created causes of action. Although earlier
          cases, such as Association of Data Processing Services
          Organizations, Inc. v. Camp, 397 U.S. 150 (1970), suggested
          that the test applied to constitutional causes of action, the
          Supreme Court’s most recent zone of interests case, Lexmark
          International, Inc. v. Static Control Components, Inc.,
          572 U.S. 118 (2014), clarifies that the test applies only to
          statutory causes of action and causes of action under the
          APA. See id. at 129 (“[T]he modern ‘zone of interests’
          formulation originated . . . as a limitation on the cause of
          action for judicial review conferred by the [APA],” but “[w]e
          have since made clear, however, that it applies to all
          statutorily created causes of action.” (emphasis added)).

             Common sense supports this approach. As Judge Bork
          explained in Haitian Refugee Center v. Gracey,
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                    Appellants need not, however, show that their
                    interests fall within the zones of interests of
                    the constitutional and statutory powers
                    invoked by the President in order to establish
                    their standing to challenge the interdiction
                    program as ultra vires. Otherwise, a
                    meritorious litigant, injured by ultra vires
                    action, would seldom have standing to sue
                    since the litigant’s interest normally will not
                    fall within the zone of interests of the very
                    statutory or constitutional provision that he
                    claims does not authorize action concerning
                    that interest. For example, were a case like
                    Youngstown, to arise today, the steel mill
                    owners would not be required to show that
                    their interests fell within the zone of interests
                    of the President’s war powers in order to
                    establish their standing to challenge the
                    seizure of their mills as beyond the scope of
                    those powers.

          809 F.2d 794, 811 n.14 (D.C. Cir. 1987) (emphasis added).
          We agree with Judge Bork.14 It would make little sense to


               14
                 While the dissent asserts that we rely on the wrong portion of Judge
          Bork’s opinion, we disagree. Section 8005 cannot merely be read as a
          statutory provision limiting the authority conferred when it is
          simultaneously a statutory power invoked by the President. In any case,
          as explained below, the relevant limitation here is not the inapplicable
          statutory power invoked by the Executive—Section 8005—but instead the
          restriction on unlawful action—the Appropriations Clause. See also Ctr.
          for Biodiversity v. Trump, No. 1:19-cv-00408, 2020 WL 1643657 at *25
          (D.D.C. Apr. 2, 2020) (quoting the same language from Haitian Refugee
          Center and holding that plaintiffs “thus need not satisfy the zone of
          interests test for their ultra vires claims.”).
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          require Sierra Club to demonstrate that it falls within the zone
          of interests of Section 8005. Congress may not have
          contemplated the environmental advocacy group when it
          included Section 8005 in the defense budget, but
          nevertheless, Sierra Club has asserted a legally cognizable
          injury. The fact Congress did not have Sierra Club as a
          particular plaintiff in mind when it authorized Section 8005’s
          transfer authority does not make its injury less real, nor
          DoD’s action more lawful.

              If the zone of interests test applies at all, the
          Appropriations Clause of the Constitution defines the zone of
          interests because it is the “particular provision of law upon
          which [Sierra Club] relies” in seeking relief. Bennett,
          520 U.S. at 175–76. Section 8005 is relevant only because,
          to the extent it applies, it authorizes executive action that
          otherwise would be unconstitutional or ultra vires. That a
          statute is relevant does not transform a constitutional claim
          into a statutory one. Sierra Club’s cause of action stems from
          the Federal Defendants’ violation of the Appropriations
          Clause because it seeks to enforce the limits mandated by the
          clause.

              To the extent the zone of interests test ever applies to
          constitutional causes of action, it asks only whether a plaintiff
          is “arguably within the zone of interests to be protected . . . by
          the . . . constitutional guarantee in question.” Boston Stock
          Exch. v. State Tax Comm’n, 429 U.S. 318, 320 n.3 (1977)
          (quoting Data Processing, 397 U.S. at 153). This renders the
          test nearly superfluous: so long as a litigant is asserting an
          injury in fact to his or her constitutional rights, he has a cause
          of action. See ERWIN CHEMERINKSY, FEDERAL JURISDICTION
          112 (7th ed. 2016) (citing LAURENCE TRIBE, AMERICAN
          CONSTITUTIONAL LAW 446 (3d ed. 2000)).
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              Applying that generous formulation of the test here,
          Sierra Club falls within the Appropriations Clause’s zone of
          interests. Here, Sierra Club is an organization within the
          United States that is protected by the Constitution. The
          Appropriations Clause is a “bulwark of the Constitution’s
          separation of powers,” U.S. Dep’t. of Navy v. Fed. Labor
          Relations Auth., 665 F.3d 1339, 1347 (D.C. Cir. 2012), and
          the “separation of powers can serve to safeguard individual
          liberty,” McIntosh, 833 F.3d at 1174 (quoting Noel Canning,
          573 U.S. at 525). The unconstitutional transfer of funds here
          infringed upon Sierra Club’s members’ liberty interests,
          harming their environmental, aesthetic, and recreational
          interests. Thus, Sierra Club falls within the Clause’s zone of
          interests, and Sierra Club has a cause of action to challenge
          the transfers.

                                                VI

              Finally, we consider whether the district court abused its
          discretion in granting Sierra Club a permanent injunction
          enjoining the Federal Defendants from spending the funds at
          issue. We hold it did not, and we affirm the district court
          injunction.

              A permanent injunction is appropriate when: (1) a
          plaintiff will suffer an irreparable injury absent injunction,
          (2) remedies available at law are inadequate,15 (3) the balance
          of hardships between the parties supports an equitable
          remedy, and (4) the public interest would not be disserved.
          eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006).
          When the government is a party to the case, the court should
          consider the balance of hardships and public interests factors

               15
                    The parties do not contest this factor and so we do not address it.
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          together. See Drakes Bay Oyster Co. v. Jewell, 747 F.3d
          1073, 1092 (9th Cir. 2014). Although injunctive relief “does
          not follow from success on the merits as a matter of course,”
          Winter v. NRDC, Inc., 555 U.S. 7, 32 (2008), we review a
          district court’s decision to grant a permanent injunction for
          abuse of discretion, see eBay, 547 U.S. at 391.

              The district court did not abuse its discretion in weighing
          these factors and determining that injunctive relief was
          warranted. First, we agree with the district court that Sierra
          Club would suffer irreparable harm to its recreational and
          aesthetic interests absent injunction. An organization can
          demonstrate irreparable harm by showing that the challenged
          action will injure its members’ enjoyment of public lands.
          See All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135
          (9th Cir. 2011) (finding irreparable harm when the Forest
          Service’s proposed project would harm the Alliance’s
          members’ ability to “view, experience, and utilize” national
          forest areas in an undisturbed state). We conclude that Sierra
          Club sufficiently demonstrated that the Federal Defendants’
          proposed use of funds would harm its members ability to
          recreate and enjoy public lands along the border such that it
          will suffer irreparable harm absent injunction.

              The Federal Defendants’ arguments to the contrary are
          unpersuasive. The Federal Defendants submit that Sierra
          Club will not be irreparably harmed because its members
          have plenty of other space to enjoy. We have already rejected
          the essence of the Federal Defendants’ argument. See All. for
          the Wild Rockies, 632 F.3d at 1135 (concluding that the
          Forest Service’s argument that plaintiffs can “view,
          experience, and utilize other areas of the forest” “proves too
          much,” because its logical extension is that a “plaintiff can
          never suffer irreparable injury resulting from environmental
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          harm in a forest as long as there are other areas of the forest
          that are not harmed” (internal citations omitted)).

              Moreover, we agree with the district court that the balance
          of equities and the public interest favor injunctive relief here.
          The public has an important interest in “ensuring that statutes
          enacted by their representatives are not imperiled by
          executive fiat.” E. Bay Sanctuary Covenant v. Trump,
          932 F.3d 742, 779 (9th Cir. 2018) (quotations and citation
          omitted). By passing the CAA, Congress made a calculated
          choice to fund only one segment of border barrier. The
          public interest favors enforcing this decision. In contrast, the
          Federal Defendants cannot suffer harm “from an injunction
          that merely ends an unlawful practice.” Rodriguez v.
          Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013) (citing Zepeda
          v. INS, 753 F.2d 719, 727 (9th Cir. 1983) (“[T]he INS cannot
          reasonably assert that it is harmed in any legally cognizable
          sense by being enjoined from constitutional violations.”)).
          We agree with the district court that the Federal Defendants’
          position essentially “boils down to an argument that the Court
          should not enjoin conduct found to be unlawful because the
          ends justify the means.” No matter how great the collateral
          benefits of building a border wall may be, the transfer of
          funds for construction remains unlawful. The equitable
          maxim “he who comes in equity must come with clean
          hands” would be turned on its head if unlawful conduct by
          one party precluded a court from granting equitable relief to
          the opposing party. The district court properly concluded that
          the balance of equities and the public interest favor injunctive
          relief.

             The Federal Defendants’ additional arguments do not
          compel a different result. First, the Supreme Court’s decision
          in Winter does not require us to vacate the injunction. In
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          Winter, the Supreme Court reversed a preliminary injunction
          enjoining the Navy from using a particular type of sonar that
          was essential to its training exercises because it violated
          NEPA and a number of federal environmental laws. 555 U.S.
          at 16–17. Key distinctions between this case and Winter
          render it inapposite. There, plaintiffs’ “ultimate legal claim
          [was] that the Navy must prepare an [environmental impact
          statement], not that it must cease sonar training” because the
          use of the sonar had otherwise been sanctioned by law. Id.
          at 32. Having determined that the “continuation of the
          exercises . . . was ‘essential to national security,’” id. at 18,
          the President had used his statutory authority to “exempt from
          compliance those elements of the Federal agency activity that
          [were] found by the Federal court to be inconsistent with an
          approved State program,” 16 U.S.C. § 1456(c)(1)(B). In
          addition, the Council on Environmental Quality (“CEQ”) had
          authorized the Navy to implement alternative arrangements
          to NEPA compliance that would allow the Navy to conduct
          its training exercises under mitigation procedures, but it
          imposed additional notice, research, and reporting
          requirements. Winter, 555 U.S. at 18–19.

              By contrast, here, Sierra Club’s ultimate legal claim is
          that DoD cannot legally use Section 8005 to fund
          construction of the border wall, and moreover, that no such
          exemption applies. If anything, Section 8005 itself is a
          defense against the Executive Branch’s unconstitutional
          transfer of funds; however, as discussed previously, it offers
          no such legal cover here. Therefore, while the use of the
          sonar was not unlawful at the time the Supreme Court vacated
          the injunction in Winter, DoD’s transfer of funds here is.
          While the injunction here “merely ends an unlawful practice,”
          Rodriguez, 715 F.3d at 1145, the injunction in Winter
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          enjoined conduct that had been sanctioned by law, see
          Winter, 555 U.S. at 32.

              Moreover, the public interest at issue in Winter more
          clearly favored vacating the injunction. “Antisubmarine
          warfare [was] [] the Pacific Fleet’s top war-fighting priority.”
          Winter, 555 U.S. at 12. Accordingly, the use of MFA sonar
          during training missions was deemed “mission-critical,” id.
          at 14, because it is not only the “most effective technology,”
          id. at 13, but “the only proven method of identifying
          submerged diesel-electric submarines operating on battery
          power,” id. at 14. On the other side of the equation, “the
          most serious possible injury [to plaintiffs] would be harm to
          an unknown number of marine mammals.” Id. at 26. The
          Court reasonably concluded that the “balance of equities and
          consideration of the overall public interest . . . tip strongly in
          favor of the Navy.” Id.

              The balance of interests does not so starkly favor the
          Federal Defendants here. Although they allege that the
          injunction “frustrates the government’s ability to stop the
          flow of drugs across the border,” unlike the government in
          Winter, the Federal Defendants have failed to demonstrate
          that construction of the border wall would serve this purpose,
          or alternatively, that an injunction would inhibit this purpose.
          The Federal Defendants cite drug trafficking statistics, but
          fail to address how the construction of additional physical
          barriers would further the interdiction of drugs. The
          Executive Branch’s failure to show, in concrete terms, that
          the public interest favors a border wall is particularly
          significant given that Congress determined fencing to be a
          lower budgetary priority and the Department of Justice’s own
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          data points to a contrary conclusion.16 The district court
          properly accorded this interest little weight.17 Therefore, we
          hold that the district court did not abuse its discretion, and we
          affirm the grant of the permanent injunction.

                                               VII

              In sum, we affirm the district court. We conclude that
          Sierra Club and SBCC have Article III standing to file their


              16
                 According to the U.S. Department of Justice’s Drug Enforcement
          Administration’s 2018 National Drug Threat Assessment Report, the
          “most common method employed by [Mexican Transnational Criminal
          Organizations] involves transporting illicit drugs through U.S. [ports of
          entry] in passenger vehicles with concealed compartments or commingled
          with legitimate goods on tractor trailers.” 2018 National Drug Threat
          Assessment, U.S. Dep’t of Just. Drug Enforcement Admin. at 99 (2018).
          Opioids like heroin and fentanyl are most commonly smuggled across the
          southwest border into the U.S. through legal ports of entry. Id. at 19–20,
          33; see also Joe Ward & Anjali Singhvi, Trump Claims There is a Crisis
          at the Border. What’s the Reality?, NEW YORK TIMES (Jan. 11, 2019)
          (analyzing U.S. Customs and Border Patrol data and finding that “[m]ost
          drugs are seized at ports of entry, not along the open border”).
              17
                  We are likewise unconvinced by Defendants argument, citing
          Maryland v. King, 567 U.S. 1301 (2012), that “there is ‘irreparable harm’
          whenever a government cannot enforce its own laws.” The Ninth Circuit
          has recognized that there is “some authority” for the idea that “a state may
          suffer an abstract form of harm whenever one of its acts is enjoined,” but,
          “to the extent that is true . . . it is not dispositive of the balance of harms
          analysis.” Latta v. Otter, 771 F.3d 496, 500 (9th Cir. 2014) (quoting
          Indep. Living Ctr. of So. Cal., Inc. v. Maxwell-Jolly, 572 F.3d 644, 658
          (9th Cir. 2009), vacated and remanded on other grounds, 132 S. Ct. 1204
          (2012) (alterations adopted)); see also id. at 500 n.1 (noting that
          “[i]ndividual justices, in orders issued from chambers, have expressed the
          view that a state suffers irreparable injury when one of its laws is
          enjoined, [but] [n]o opinion for the Court adopts this view” (citations
          omitted)).
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          claims, that the Federal Defendants violated Section 8005 in
          transferring DoD appropriations to fund the El Paso, Yuma,
          El Centro, and Tucson Sectors of the proposed border wall,
          and that Sierra Club and SBCC have a constitutional cause of
          action under the Appropriations Clause and an ultra vires
          cause of action to challenge the Section 8005 transfers. We
          also decline to reverse the district court’s decision to impose
          a permanent injunction. Given our resolution of this case
          founded upon the violations of Section 8005, we need
          not—and do not—reach the merits of any other theory
          asserted by Sierra Club, nor reach any other issues presented
          by the parties.

               AFFIRMED.



          COLLINS, Circuit Judge, dissenting:

              This case involves similar claims to those presented in
          California v. Trump, Nos. 19-16299 & 19-16336, ___ F.3d
          ___ (9th Cir. 2020). In each case, a distinct group of
          plaintiffs brought suit challenging the Acting Secretary of
          Defense’s invocation of § 8005 and § 9002 of the Department
          of Defense Appropriations Act, 2019 (“DoD Appropriations
          Act”), Pub. L. No. 115-245, Div. A, 132 Stat. 2981, 2999,
          3042 (2018), to transfer $2.5 billion in funds that Congress
          had appropriated for other purposes into a different
          Department of Defense (“DoD”) appropriation that could
          then be used by DoD for construction of border fencing and
          accompanying roads and lighting. In California v. Trump, the
          relevant plaintiffs are the States of California and New
          Mexico, who challenged two such construction projects, and
          here the plaintiffs are the Sierra Club and the Southern Border
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          Communities Coalition (“SBCC”) (collectively, the
          “Organizations”), who challenge six projects. The district
          court granted declaratory relief to both sets of plaintiffs
          invalidating the transfers, but it granted permanent injunctive
          relief only to the Organizations. The majority concludes that
          the Organizations have Article III standing; that they have a
          cause of action to challenge the transfers under the
          Appropriations Clause of the Constitution as well as a cause
          of action under an equitable ultra vires theory; that the
          transfers were unlawful; and that the district court properly
          determined that the Organizations are entitled to declaratory
          and injunctive relief. I agree that at least the Sierra Club has
          established Article III standing, but in my view the
          Organizations lack any cause of action to challenge the
          transfers. And even assuming that they had a cause of action,
          I conclude that the transfers were lawful. Accordingly, I
          would reverse the district court’s partial judgment for the
          Organizations and remand for entry of partial summary
          judgment in favor of the Defendants. I respectfully dissent.1




              1
                 There is considerable overlap between the substantive issues
          presented in this case and in California v. Trump, and my disagreements
          with the majority in this case largely parallel my disagreements in the
          other case. But rather than simply cross-reference all of the discussion in
          my dissent in California v. Trump, I will follow the majority and will rely
          on cross-reference only when it does. The result is a fair amount of
          verbatim repetition between this dissent and my dissent in California v.
          Trump, but proceeding in this way avoids the awkwardness of directing
          the reader to a separate published opinion when that reader wants to see
          what my response is to a particular point made by the majority in its
          opinion in this case.
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                                        I

              The parties’ dispute over DoD’s funding transfers comes
          to us against the backdrop of a complex statutory framework
          and an equally complicated procedural history. Before
          turning to the merits, I will briefly review both that
          framework and that history.

                                        A

              Upon request from another federal department, the
          Secretary of Defense is authorized to “provide support for the
          counterdrug activities” of that department by undertaking the
          “[c]onstruction of roads and fences and installation of
          lighting to block drug smuggling corridors across
          international boundaries of the United States.” 10 U.S.C.
          § 284(a), (b)(7). On February 25, 2019, the Department of
          Homeland Security (“DHS”) made a formal request to DoD
          for such assistance. Noting that its counterdrug activities
          included the construction of border infrastructure, see Illegal
          Immigration Reform and Immigrant Responsibility Act of
          1996 (“IIRIRA”), Pub. L. No. 104-208, Div. C, § 102(a),
          110 Stat. 3009-546, 3009-554 (1996) (codified as amended as
          a note to 8 U.S.C. § 1103), DHS requested that “DoD,
          pursuant to its authority under 10 U.S.C. § 284(b)(7), assist
          with the construction of fences[,] roads, and lighting” in
          several specified “Project Areas” in order “to block drug-
          smuggling corridors across the international boundary
          between the United States and Mexico.”

             On March 25, 2019, the Acting Defense Secretary
          invoked § 284 and approved the provision of support for
          DHS’s “El Paso Sector Project 1” (which would involve DoD
          construction of border fencing, roads, and lighting in Luna
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          and Doña Ana Counties in New Mexico), as well as for, inter
          alia, DHS’s “Yuma Sector Project 1” (which would involve
          DoD construction of similar border infrastructure in Yuma
          County, Arizona). Thereafter, the Secretary of Homeland
          Security invoked his authority under § 102(c) of IIRIRA to
          waive a variety of federal environmental statutes with respect
          to the planned construction of border infrastructure in the
          relevant portions of the El Paso Sector and the Yuma Sector,
          as well as “all . . . state . . . laws, regulations, and legal
          requirements of, deriving from, or related to the subject of,”
          those federal laws. See 84 Fed. Reg. 17185, 17187 (Apr. 24,
          2019); 84 Fed. Reg. 17187, 17188 (Apr. 24, 2019).

              Subsequently, on May 9, 2019, the Acting Defense
          Secretary again invoked § 284, this time to approve DoD’s
          construction of similar border infrastructure to support DHS’s
          “El Centro Sector Project 1” in Imperial County, California,
          and DHS’s “Tucson Sector Projects 1, 2, and 3” in Pima and
          Cochise Counties in Arizona. Less than a week later, the
          Secretary of Homeland Security again invoked his authority
          under IIRIRA § 102(c) to waive federal and state
          environmental laws, this time with respect to the construction
          in the relevant sections of the El Centro Sector and the
          Tucson Sector. See 84 Fed. Reg. 21800, 21801 (May 15,
          2019); 84 Fed. Reg. 21798, 21799 (May 15, 2019).

              Although § 284 authorized the Acting Defense Secretary
          to provide this support, there were insufficient funds in the
          relevant DoD appropriation to do so. Specifically, for Fiscal
          Year 2019, Congress had appropriated for “Drug Interdiction
          and Counter-Drug Activities, Defense” a total of only
          $670,271,000 that could be used for counter-drug support.
          See DoD Appropriations Act, Title VI, 132 Stat. at 2997
          (appropriating, under Title governing “Other Department of
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          Defense Programs,” a total of “$881,525,000, of which
          $517,171,000 shall be for counter-narcotics support”); id.,
          Title IX, 132 Stat. at 3042 (appropriating $153,100,000 under
          the Title governing “Overseas Contingency Operations”).
          Accordingly, to support the El Paso Sector Project 1 and
          Yuma Sector Project 1, the Acting Secretary on March 25,
          2019 invoked his authority to transfer appropriations under
          § 8005 of the DoD Appropriations Act and ordered the
          transfer of $1 billion from “excess Army military personnel
          funds” into the “Drug Interdiction and Counter-Drug
          Activities, Defense” appropriation. That transfer was
          accomplished by moving $993,627,000 from the “Military
          Personnel, Army” appropriation and $6,373,000 from the
          “Reserve Personnel, Army” appropriation.

              To support the El Centro Sector Project 1 and Tucson
          Sector Projects 1, 2, and 3, the Acting Secretary on May 9,
          2019 again invoked his transfer authority to move an
          additional $1.5 billion into the “Drug Interdiction and
          Counter-Drug Activities, Defense” appropriation. Pursuant
          to § 8005 of the DoD Appropriations Act, DoD transferred a
          total of $818,465,000 from 12 different DoD appropriations
          into the “Drug Interdiction and Counter-Drug Activities,
          Defense” appropriation. Invoking the Secretary’s distinct but
          comparable authority under § 9002 to transfer funds
          appropriated under the separate Title governing “Overseas
          Contingency Operations,” DoD transferred $604,000,000
          from the “Afghanistan Security Forces Fund” appropriation
          and $77,535,000 from the “Operation and Maintenance,
          Defense-Wide” appropriation into the “Drug Interdiction and
          Counter-Drug Activities, Defense” appropriation.
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                                       B

              The complex procedural context of this case involves two
          parallel lawsuits and four appeals to this court, and it has
          already produced one published Ninth Circuit opinion that
          was promptly displaced by the Supreme Court.

                                       1

              The Organizations filed this action in the district court
          against the Acting Defense Secretary, DoD, and a variety of
          other federal officers and agencies. In their March 18, 2019
          First Amended Complaint, they sought to challenge, inter
          alia, any transfer of funds by the Acting Secretary under
          § 8005 or § 9002. California and New Mexico, joined by
          several other States, filed a similar action, and their March
          13, 2019 First Amended Complaint also sought to challenge
          any such transfers. Both sets of plaintiffs moved for
          preliminary injunctions in early April 2019. The portion of
          the States’ motion that was directed at the § 8005 transfers
          was asserted only on behalf of New Mexico and only with
          respect to the construction on New Mexico’s border (i.e., El
          Paso Sector Project 1). The Organizations’ motion was
          likewise directed at El Paso Sector Project 1, but it also
          challenged Yuma Sector Projects 1 and one other project
          (“Yuma Sector Project 2”).

              After concluding that the Organizations were likely to
          prevail on their claims that the transfers under § 8005 were
          unlawful and that these organizational plaintiffs had
          demonstrated a “likelihood of irreparable harm to their
          members’ aesthetic and recreational interests,” the district
          court on May 24, 2019 granted a preliminary injunction
          enjoining Defendants from using transferred funds for “Yuma
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          Sector Project 1 and El Paso Sector Project 1.”2 In a
          companion order, however, the district court denied
          preliminary injunctive relief to the States. Although the court
          held that New Mexico was likely to succeed on its claim that
          the transfers under § 8005 were unlawful, the court concluded
          that, in light of the grant of a preliminary injunction against
          El Paso Sector Project 1 to the Organizations, New Mexico
          would not suffer irreparable harm from the denial of its
          duplicative request for such relief. On May 29, 2019,
          Defendants appealed the preliminary injunction in favor of
          the Organizations, and after the district court refused to stay
          that injunction, Defendants moved in this court for an
          emergency stay on June 3, 2019. New Mexico did not appeal
          the district court’s denial of its duplicative request for a
          preliminary injunction.

                                               2

              While the Defendants’ emergency stay request was being
          briefed and considered in this court, the Organizations moved
          for partial summary judgment on June 12, 2019. The motion
          was limited to the issue of whether the transfers under § 8005
          and § 9002 were lawful, and it requested corresponding
          declaratory relief, as well as a permanent injunction against
          the use of transferred funds for all six projects (El Paso Sector
          Project 1, El Centro Sector Project 1, Yuma Sector Project 1,
          and Tucson Sector Projects 1, 2, and 3). California and New
          Mexico (but not the other States) filed a comparable summary
          judgment motion that same day, directed only at El Paso


               2
                By the time the district court ruled, DoD had decided not to use
          funds transferred under § 8005 for any construction in Yuma Sector
          Project 2, and so the request for a preliminary injunction as to that project
          was moot.
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          Sector Project 1 and El Centro Sector Project 1. Defendants
          filed cross-motions for summary judgment on the legality of
          the transfers under § 8005 and § 9002 with respect to the
          corresponding projects at issue in each case.

              On June 28, 2019, the district court granted partial
          summary judgment and declaratory relief to both sets of
          plaintiffs, concluding that the transfers under § 8005 and
          § 9002 were unlawful. The court granted permanent
          injunctive relief to the Organizations against all six projects,
          but it denied any such relief to California and New Mexico.
          The district court concluded that California and New Mexico
          had failed to prove a threat of future demonstrable
          environmental harm. The court expressed doubts about the
          States’ alternative theory that they had demonstrated injury to
          their sovereign interests, but the court ultimately concluded
          that it did not need to resolve that issue. As before, the
          district court instead held that California and New Mexico
          would not suffer any irreparable harm in light of the
          duplicative relief granted to the Organizations. The district
          court denied Defendants’ cross-motions for summary
          judgment in both cases. Invoking its authority under Federal
          Rule of Civil Procedure 54(b), the district court entered
          partial judgments in favor of, respectively, the Sierra Club
          and SBCC, and California and New Mexico. The district
          court denied Defendants’ request to stay the permanent
          injunction pending appeal.

                                         3

              On June 29, 2019, Defendants timely appealed in both
          cases and asked this court to stay the permanent injunction
          based on the same briefing and argument that had been
          presented in the preliminary injunction appeal. California
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          and New Mexico timely cross-appealed nine days later. On
          July 3, 2019, this court consolidated Defendants’ appeal of
          the judgment and permanent injunction with Defendants’
          pending appeal of the preliminary injunction.3 That same
          day, a motions panel of this court issued a 2–1 published
          decision denying Defendants’ motion for a stay of the
          permanent injunction (which had overtaken the preliminary
          injunction). See Sierra Club v. Trump, 929 F.3d 670 (9th Cir.
          2019).

              Defendants then applied to the Supreme Court for a stay
          of the permanent injunction pending appeal, which the Court
          granted on July 26, 2019. See Trump v. Sierra Club, 140 S.
          Ct. 1 (2019). That stay remains in effect “pending disposition
          of the Government’s appeal in the United States Court of
          Appeals for the Ninth Circuit and disposition of the
          Government’s petition for a writ of certiorari, if such writ is
          timely sought.” Id. at 1. In granting the stay, the Court
          concluded that “the Government has made a sufficient
          showing at this stage that [the Sierra Club and SBCC] have
          no cause of action to obtain review of the Acting Secretary’s
          compliance with Section 8005.” Id.

                                           II

              Defendants have not contested the Article III standing of
          the Sierra Club and SBCC on appeal, but as the majority
          notes, “‘the court has an independent obligation to assure that
          standing exists, regardless of whether it is challenged by any
          of the parties.’” See Maj. Opin. at 17 n.9 (quoting Summers
          v. Earth Island Inst., 555 U.S. 488, 499 (2009)). As “an

               3
                This court later consolidated the appeal and cross-appeal in the
          States’ case with the already-consolidated appeals in this case.
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          indispensable part of the plaintiff’s case, each element” of
          Article III standing “must be supported in the same way as
          any other matter on which the plaintiff bears the burden of
          proof, i.e., with the manner and degree of evidence required
          at the successive stages of the litigation.” Lujan v. Defenders
          of Wildlife (Lujan v. Defenders), 504 U.S. 555, 561 (1992).
          Thus, although well-pleaded allegations are enough at the
          motion-to-dismiss stage, they are insufficient to establish
          standing at the summary-judgment stage. Id. “In response to
          a summary judgment motion, . . . the plaintiff can no longer
          rest on such mere allegations, but must set forth by affidavit
          or other evidence specific facts, which for purposes of the
          summary judgment motion will be taken to be true.” Id.
          (simplified).

               In reviewing standing sua sponte in the context of cross-
          motions for summary judgment, it is appropriate to apply the
          more lenient standard that takes the plaintiffs’ evidence as
          true and then asks whether a reasonable trier of fact could
          find Article III standing. Lujan v. Defenders, 504 U.S. at 563
          (applying this standard in evaluating whether Government’s
          cross-motion for summary judgment should have been
          granted). In their briefs below concerning the parties’ cross-
          motions, the Sierra Club and SBCC each asserted that
          Defendants’ allegedly unlawful conduct caused harm to their
          members’ recreational, aesthetic, and environmental interests.
          Accepting the Organizations’ evidence as true, and drawing
          all reasonable inferences in their favor, a reasonable trier of
          fact could conclude that at least the Sierra Club has
          associational standing under Hunt v. Washington State Apple
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          Advert. Comm’n, 432 U.S. 333 (1977).4 Under the Hunt test,
          an association has standing if “(a) its members would
          otherwise have standing to sue in their own right; (b) the
          interests it seeks to protect are germane to the organization’s
          purpose; and (c) neither the claim asserted nor the relief
          requested requires the participation of individual members in
          the lawsuit.” Id. at 343. The Sierra Club has presented
          sufficient evidence as to each of these three requirements.

              To establish that its members would suffer irreparable
          harm absent a permanent injunction, the Sierra Club
          presented declarations from members who regularly visit the
          respective project areas. These members described how the
          construction and the resulting border barriers would interfere
          with their enjoyment of the surrounding landscape and would
          impede their ability to fish, to hunt, to monitor and document
          wildlife and vegetation for educational purposes, and to
          participate in other activities near the project sites. These
          injuries to the members’ recreational, aesthetic, and
          environmental interests are sufficient to constitute an injury-
          in-fact for Article III purposes. See Lujan v. Defenders,
          504 U.S. at 562–63 (“Of course, the desire to use or observe
          an animal species, even for purely esthetic purposes, is
          undeniably a cognizable interest for purpose of standing.”).
          Moreover, these injuries are fairly traceable to the
          construction, and an injunction blocking the transfers would
          redress those injuries by effectively stopping that


               4
                The district court explicitly addressed Article III standing only in
          connection with the preliminary injunction motion. Although Article III
          standing was not revisited when the Organizations subsequently moved
          for summary judgment and a permanent injunction, the Organizations’
          showing of injury in support of a permanent injunction provides a
          sufficient basis for evaluating their Article III standing.
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          construction. See id. at 560–61. This evidence is therefore
          sufficient to establish that these members would have Article
          III standing to sue in their own right.

              The other Hunt requirements are also satisfied. These
          members’ interests are clearly germane to the Sierra Club’s
          mission to protect the natural environment and local wildlife
          and plant life. And in seeking declaratory and injunctive
          relief, the lawsuit does not require the participation of
          individual members. See Hunt, 432 U.S. at 343.

              Because the Sierra Club satisfies the applicable standing
          requirements as to all of the challenged projects, we may
          proceed to the merits without having to address SBCC’s
          standing. See Secretary of the Interior v. California, 464 U.S.
          312, 319 n.3 (1984) (“Since the State of California clearly
          does have standing, we need not address the standing of the
          other [plaintiffs], whose position here is identical to the
          State’s.”). And given my view that the Organizations’ legal
          challenges fail, I perceive no obstacle to entering judgment
          against both the Sierra Club and SBCC without determining
          whether the latter has standing. See Steel Co. v. Citizens for
          a Better Environment, 523 U.S. 83, 98 (1998).

                                       III

              After examining the Article III standing of the
          Organizations, the majority then proceeds straight to the
          merits of whether the transfers were unlawful. See Maj.
          Opin. at 23. But we ought not address that issue unless we
          have first determined that the Organizations have asserted a
          viable cause of action that properly brings that issue before
          us. See Air Courier Conf. v. American Postal Workers Union
          AFL-CIO, 498 U.S. 517, 530–31 (1991). The majority
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          belatedly gets to that question in Section V of its opinion,
          holding that the Organizations have two viable causes of
          action: an equitable cause of action under the Constitution
          and an ultra vires cause of action. See Maj. Opin. at 25. I
          disagree with that conclusion, and I also disagree with the
          Organizations’ alternative argument that they have a valid
          cause of action under the Administrative Procedure Act
          (“APA”). See Trump v. Sierra Club, 140 S. Ct. at 1 (“[T]he
          Government has made a sufficient showing at this stage that
          the plaintiffs have no cause of action to obtain review of the
          Acting Secretary’s compliance with Section 8005.”).5




               5
                 In its merits analysis, the majority scarcely cites the motions panel’s
          published decision, which addressed the Organizations’ likelihood of
          success on the merits of many of the same issues before us. I agree with
          the majority’s implicit rejection of the Organizations’ contention that the
          motions panel’s opinion bars this merits panel from examining these
          issues afresh. Although the motions panel decision is a precedent, it
          remains subject to reconsideration by this court until we issue our
          mandate. See United States v. Houser, 804 F.2d 565, 567–68 (9th Cir.
          1986) (distinguishing, on this point, between reconsideration of a prior
          panel’s decision “during the course of a single appeal” and a decision “on
          a prior appeal”); cf. Gonzalez v. Arizona, 677 F.3d 383, 389 n.4 (9th Cir.
          2012) (en banc) (three-judge panel lacks authority to overrule a decision
          in a prior appeal in the same case). To the extent that Lair v. Bullock, 798
          F.3d 736, 747 (9th Cir. 2015), suggests otherwise, that suggestion is dicta
          and directly contrary to our decision in Houser. See East Bay Sanctuary
          Covenant v. Trump, 950 F.3d 1242, 1261–65 (9th Cir. 2020). In all
          events, the precedential force of the motions panel’s opinion was largely,
          if not entirely, vitiated by the Supreme Court’s subsequent decision to
          grant the very stay that the motions panel’s opinion denied. I do not
          agree, however, with the majority’s disregard of the Supreme Court’s
          order in this case—a disregard that hardly befits the “wary and humble”
          attitude the majority professes. See Maj. Opin. at 25–26.
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                                             A

              Although the Organizations invoke the APA only as a
          fallback to their preferred non-statutory claims, I think it is
          appropriate to first consider whether they have a statutory
          cause of action under the APA. Cf. Chamber of Commerce
          v. Reich, 74 F.3d 1322, 1326–27 (D.C. Cir. 1996) (suggesting
          that, if a plaintiff relies on both the APA and non-statutory-
          review claims, the APA claim should be considered first).
          Even assuming arguendo that the APA does not displace
          reliance upon alternative non-statutory causes of action, see
          infra at 69, the contours of any express cause of action under
          the APA certainly provide appropriate context for the
          consideration of any non-statutory claim.

              In authorizing suit by any person “adversely affected or
          aggrieved by agency action within the meaning of a relevant
          statute,” 5 U.S.C. § 702, the APA incorporates the familiar
          zone-of-interests test, which reflects a background principle
          of law that always “applies unless it is expressly negated,”
          Bennett v. Spear, 520 U.S. 154, 163 (1997); see also Lexmark
          Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118,
          129 (2014).6 That test requires a plaintiff to “establish that
          the injury he complains of (his aggrievement, or the adverse
          effect upon him) falls within the ‘zone of interests’ sought to
          be protected by the statutory provision whose violation forms
          the legal basis for his complaint.” Lujan v. NWF, 497 U.S. at

              6
                The Supreme Court has not squarely addressed whether the zone-of-
          interests test applies to a plaintiff who claims to have “suffer[ed] legal
          wrong because of agency action,” which is the other class of persons
          authorized to sue under the APA, 5 U.S.C. § 702. See Lujan v. National
          Wildlife Fed. (Lujan v. NWF), 497 U.S. 871, 882–83 (1990). The
          Organizations have not invoked any such theory here, so I have no
          occasion to address it.
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          883 (quoting Clarke v. Securities Indus. Ass’n, 479 U.S. 388,
          396–97 (1987)). This test “is not meant to be especially
          demanding.” Clarke, 479 U.S. at 399. Because the APA was
          intended to confer “generous review” of agency action, the
          zone-of-interests test is more flexibly applied under that
          statute than elsewhere, and it requires only a showing that the
          plaintiff is “arguably within the zone of interests to be
          protected or regulated by the statute or constitutional
          guarantee in question.” Association of Data Processing Serv.
          Orgs., Inc. v. Camp (Data Processing), 397 U.S. 150, 153,
          156 (1970) (emphasis added); see also Bennett, 520 U.S.
          at 163 (“what comes within the zone of interests of a statute
          for purposes of obtaining judicial review of administrative
          action under the generous review provisions of the APA may
          not do so for other purposes”) (simplified). Because an APA
          plaintiff need only show that its interests are “arguably”
          within the relevant zone of interests, “the benefit of any doubt
          goes to the plaintiff.” Match-E-Be-Nash-She-Wish Band of
          Pottawatomi Indians v. Patchak, 567 U.S. 209, 225 (2012).
          Although these standards are generous, the Organizations
          have failed to satisfy them.

                                         1

              In applying the zone-of-interests test, we must first
          identify the “statutory provision whose violation forms the
          legal basis for [the] complaint” or the “gravamen of the
          complaint.” Lujan v. NWF, 497 U.S. at 883, 886; see also Air
          Courier Conf., 498 U.S. at 529. That question is easy here.
          The Organizations’ complaint alleges that the challenged
          transfers are not authorized by § 8005 and § 9002 because
          “[t]he diversion of funding to build a border wall or fence is
          not based on unforeseen military requirements”; “the building
          of a permanent border wall is not a ‘military requirement’”;
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          and “Congress has denied funding for Defendants’ planned
          wall construction, thus barring the Department of Defense
          from using transfers to fund it.”7 The Organizations allege
          that, because Congress thus “has not authorized the
          Department of Defense to transfer additional Defense funds
          into the Drug Interdiction and Counter-Narcotics Activities
          account for the purpose of supporting another agency, rather
          than for military requirements,” the Appropriations Clause
          bars the transfers and “Defendants are acting ultra vires in
          seeking to transfer funds into the Drug Interdiction and
          Counter-Narcotics Activities account for the purpose of
          building a permanent border wall.” Given that the case turns
          on whether the transfers met the criteria in § 8005, that statute
          is plainly the “gravamen of the complaint,” and it therefore
          defines the applicable zone of interests. Lujan v. NWF,
          497 U.S. at 886.

              Although the Organizations invoke the Appropriations
          Clause and the constitutional separation of powers in
          contending that Defendants’ actions are unlawful, any such
          constitutional violations here can be said to have occurred
          only if the transfers violated the limitations set forth in
          § 8005: if Congress authorized DoD to transfer the
          appropriated funds from one account to another, and to spend
          them accordingly, then the money has been spent “in
          Consequence of Appropriations made by Law,” U.S. CONST.
          art. I, § 9, cl. 7, and the Executive has not otherwise




              7
                 Because the limitations on transfers set forth in § 8005 also apply to
          transfers under § 9002, see 132 Stat. at 3042, the parties use “§ 8005” to
          refer to both provisions, and I will generally do so as well.
                                                                                         (62 of 86)
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          transgressed the separation of powers.8           All of the
          Organizations’ theories for challenging the transfers—
          whether styled as constitutional claims or as statutory
          claims—thus rise or fall based on whether DoD has
          transgressed the limitations on transfers set forth in § 8005.
          As a result, § 8005 is obviously the “statute whose violation
          is the gravamen of the complaint.” Lujan v. NWF, 497 U.S.
          at 886. To maintain a claim under the APA, therefore, the
          Organizations must establish that they are within the zone of
          interests of § 8005.9


               8
                The only possible exception is the Organizations’ argument that
          § 8005 itself violates the Presentment Clause. As explained below, that
          contention is frivolous. See infra at 71–72.
               9
                 The Organizations briefly contend that DoD has exceeded its
          authority under § 284 and has violated the National Environmental Policy
          Act (“NEPA”), but even assuming arguendo that the Organizations have
          a cause of action to raise any such challenges, they are patently without
          merit. The Organizations note that § 284 contains a special reporting
          requirement for “small scale construction” projects, which are defined as
          projects costing $750,000 or less, 10 U.S.C. § 284(h)(1)(B), (i)(3), and
          they argue that this shows that Congress did not authorize projects on the
          scale at issue here. The inference is a non sequitur: the fact that Congress
          requires special reporting of these smaller projects does not mean that they
          are the only projects authorized. Congress may have imposed such a
          unique reporting requirement in order to capture the sort of smaller-scale
          activities that might otherwise have escaped its notice. And the fact that
          past expenditures under § 284 have happened to be for more modest
          projects is irrelevant, because nothing in the text of § 284 imposes any
          such size limits on the projects authorized by that statute. The
          Organizations’ reliance on NEPA is likewise meritless. We have upheld
          DHS’s waiver of NEPA under § 102(c) of IIRIRA, see In re Border
          Infrastructure Envtl. Litig., 915 F.3d 1213, 1225 (9th Cir. 2019), and the
          district court correctly concluded that the waiver applies to construction
          that DoD undertakes under § 284 to “provide support” to DHS at DHS’s
          “request[],” 10 U.S.C. § 284. See Sierra Club v. Trump, 379 F. Supp. 3d
          883, 922–23 (N.D. Cal. 2019).
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                                             2

              Having identified the relevant statute, our next task is to
          “discern the interests arguably to be protected by the statutory
          provision at issue” and then to “inquire whether the plaintiff’s
          interests affected by the agency action in question are among
          them.” National Credit Union Admin. v. First Nat’l Bank &
          Trust Co. (NCUA), 522 U.S. 479, 492 (1998) (simplified).
          Identifying the interests protected by § 8005 is not difficult,
          and here the Organizations’ asserted interests are not among
          them.

               Section 8005 is a grant of general transfer authority that
          allows the Secretary of Defense, if he determines “that such
          action is necessary in the national interest” and if the Office
          of Management and Budget approves, to transfer from one
          DoD “appropriation” into another up to $4 billion of the
          funds that have been appropriated under the DoD
          Appropriations Act “for military functions (except military
          construction).” See 132 Stat. at 2999. Section 8005 contains
          five provisos that further regulate this transfer authority, and
          the only limitations on the Secretary’s authority that the
          Organizations claim were violated here are all contained in
          the first such proviso. That proviso states that “such authority
          to transfer may not be used unless for higher priority items,
          based on unforeseen military requirements, than those for
          which originally appropriated and in no case where the item
          for which funds are requested has been denied by the
          Congress.” Id.10 The remaining provisos require prompt
          notice to Congress “of all transfers made pursuant to this


              10
                 Similar language has been codified into permanent law. See
          10 U.S.C. § 2214(b). No party contends that § 2214(b) alters the relevant
          analysis under the comparably worded provision in § 8005.
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          authority or any other authority in this Act”; proscribe the use
          of funds to make requests to the Committees on
          Appropriations for reprogrammings that are inconsistent with
          the restrictions described in the first proviso; set a time limit
          for making requests for multiple reprogrammings; and
          exempt “transfers among military personnel appropriations”
          from counting towards the $4 billion limit. Id.

              Focusing on “the particular provision of law upon which
          the plaintiff relies,” Bennett, 520 U.S. at 175–76, makes clear
          that § 8005 as a whole, and its first proviso in particular,
          are aimed at tightening congressional control over the
          appropriations process.         The first proviso’s general
          prohibition on transferring funds for any item that “has been
          denied by the Congress” is, on its face, a prohibition on using
          the transfer authority to effectively reverse Congress’s
          specific decision to deny funds to DoD for that item.
          132 Stat. at 2999. The second major limitation imposed by
          the first proviso states that the transfer authority is not to be
          used unless, considering the items “for which [the funds
          were] originally appropriated,” there are “higher priority
          items” for which the funds should now be used in light of
          “military requirements” that were “unforeseen” in DoD’s
          request for Fiscal Year 2019 appropriations. Id. The obvious
          focus of this restriction is likewise to protect congressional
          judgments about appropriations by (1) restricting DoD’s
          ability to reprioritize the use of funds differently from how
          Congress decided to do so and (2) precluding DoD from
          transferring funds appropriated by Congress for “military
          functions” for purposes that do not reflect “military
          requirements.” The remaining provisos, including the
          congressional reporting requirement, all similarly aim to
          maintain congressional control over appropriations. And all
          of the operative restrictions in § 8005 that the Organizations
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          invoke here are focused solely on limiting DoD’s ability to
          use the transfer authority to reverse the congressional
          judgments reflected in DoD’s appropriations.

              In addition to preserving congressional control over
          DoD’s appropriations, § 8005 also aims to give DoD some
          measure of flexibility to make necessary changes. Notably,
          in authorizing the Secretary to make transfers among
          appropriations, § 8005’s first proviso specifies only one
          criterion that he must consider in exercising that discretion:
          he must determine whether the item for which the funds will
          be used is a “higher priority item[]” in light of “unforeseen
          military requirements.” 132 Stat. at 2999 (emphasis added).
          Under the statute, he need not consider any other factor
          concerning either the original use for which the funds were
          appropriated or the new use to which they will now be put.

              In light of these features of § 8005, the “interests” that the
          Organizations claim are “affected by the agency action in
          question” are not “among” the “interests arguably to be
          protected” by § 8005. NCUA, 522 U.S. at 492 (simplified).
          In particular, the Organizations’ asserted recreational,
          aesthetic, and environmental interests clearly lie outside the
          zone of interests protected by § 8005. The statute does not
          mention recreational, aesthetic, and environmental interests,
          nor does it require the Secretary to consider such interests.
          On the contrary, the statute requires him only to consider
          whether an item is a “higher priority” in light of “military
          requirements,” and it is otherwise entirely neutral as to the
          uses to which the funds will be put. Indeed, that neutrality is
          reflected on the face of the statute, which says that, once the
          transfer is made, the funds are “merged with and . . . available
          for the same purposes, and for the same time period, as the
          appropriation or fund to which transferred.” 132 Stat.
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          at 2999 (emphasis added). Because the alleged recreational,
          aesthetic, and environmental harms that the Organizations
          assert here play no role in the analysis that § 8005 requires
          the Secretary to conduct, and are not among the harms that
          § 8005’s limitations seek to address or protect, the
          Organizations’ interests in avoiding these harms are not
          within § 8005’s zone of interests.

               Moreover, focusing on the specific interests for which the
          Organizations have presented sufficient evidentiary support
          at the summary-judgment stage, see Lujan v. NWF, 497 U.S.
          at 884–85, further confirms that, in deciding whether to
          redirect excess military personnel funds under § 8005 to
          assist DHS by building fencing to stop international drug
          smuggling, the Acting Secretary of Defense did not have to
          give even the slightest consideration to whether that
          reprogramming of funds would disrupt views of the desert
          landscape or affect local flora and fauna. Put simply, the
          Organizations’ recreational, aesthetic, and environmental
          interests are “‘so marginally related to . . . the purposes
          implicit in the statute that it cannot reasonably be assumed
          that Congress intended to permit the suit.’” Patchak,
          567 U.S. at 225 (quoting Clarke, 479 U.S. at 399).

                                        3

              The Organizations nonetheless claim that they fall within
          § 8005’s zone of interests because § 8005 was “aimed at
          tightening congressional control over executive spending,”
          and the Organizations’ interests do not “meaningfully diverge
          from Congress’s interests in enacting the statute.” This
          contention fails. As the Supreme Court made clear in Lujan
          v. NWF, the zone-of-interests test requires the plaintiff to
          make a factual showing that the plaintiff itself, or someone
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          else whose interests the plaintiff may properly assert, has a
          cognizable interest that falls within the relevant statute’s zone
          of interests. 497 U.S. at 885–99 (addressing whether the
          interests of NWF—or of any of its members, whose interests
          NWF could validly assert under Hunt’s associational standing
          doctrine—had been shown to be within the relevant zone of
          interests). I am aware of no precedent that would support the
          view that these Organizations can represent the interests of
          Congress (akin to NWF’s representation of the interests of its
          members), much less that they can do so merely because they
          are sympathetic to Congress’s perceived policy objectives.11
          But the Organizations do not actually rely on such a novel
          theory. Instead, the Organizations suggest that, merely
          because their overall litigation objectives here do not diverge
          from those of Congress, they have thereby satisfied the zone-
          of-interests test with respect to their own interests. This
          theory is clearly wrong.

              The critical flaw in the Organizations’ analysis is that it
          rests, not on the interests they are asserting (preservation of
          landscape, flora, fauna, etc.), but on the legal theory that the
          Organizations invoke to protect those interests here. But the
          zone-of-interests test focuses on the former and not the latter.
          See Lujan v. NWF, 497 U.S. at 885–89. Indeed, if the
          Organizations were correct, that would effectively eliminate


              11
                 Even if the Organizations could assert Congress’s interests in some
          representational capacity, they could do so only if the injury to Congress’s
          interests satisfied the requirements of Article III standing. See Air Courier
          Conf., 498 U.S. at 523–24 (zone-of-interests test is applied to those
          injuries-in-fact that meet Article III requirements). I express no view on
          that question. Cf. U.S. House of Reps. v. Mnuchin, 379 F. Supp. 3d 8
          (D.D.C. 2019) (holding that House lacks Article III standing to challenge
          the transfers at issue here), appeal ordered heard en banc, 2020 WL
          1228477 (D.C. Cir. 2020).
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          the zone-of-interests test. By definition, anyone who alleges
          a violation of a particular statute has thereby invoked a legal
          theory that does not “meaningfully diverge” from the
          interests of those other persons or entities who are within that
          statute’s zone-of-interests. Such a tautological congruence
          between the Organizations’ legal theory and Congress’s
          institutional interests is not sufficient to satisfy the zone-of-
          interests test here.

               The Organizations suggest that their approach is
          supported by the D.C. Circuit’s decision in Scheduled
          Airlines Traffic Offices, Inc. v. Department of Defense,
          87 F.3d 1356 (D.C. Cir. 1996), but that is wrong. As the
          opinion in that case makes clear, the D.C. Circuit was relying
          on the same traditional zone-of-interests test, under which a
          plaintiff’s interests are “outside the statute’s ‘zone of
          interests’ only ‘if the plaintiff’s interests are so marginally
          related to or inconsistent with the purposes implicit in the
          statute that it cannot reasonably be assumed that Congress
          intended to permit the suit.’” 87 F.3d at 1360 (quoting
          Clarke, 479 U.S. at 399). The court mentioned “congruence”
          in the course of explaining why the plaintiff’s interests in that
          case were “not more likely to frustrate than to further
          statutory objectives,” i.e., why those interests were not
          inconsistent with the purposes implicit in the statute. Id.
          (simplified). It did not thereby suggest—and could not
          properly have suggested—that the mere lack of any such
          inconsistency is alone sufficient under the zone-of-interests
          test. Here, the problem is not that the Organizations’ interests
          are inconsistent with the purposes of § 8005, but rather that
          they are too “marginally related” to those purposes. See
          supra at 66.
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              The Organizations also suggest that we must apply the
          zone-of-interests test broadly here, because—given
          Congress’s inability to enforce the limitations of § 8005
          directly—the agency’s transfers would otherwise be
          effectively “unreviewable.” The assumption that no one will
          ever be able to sue for any violation of § 8005 seems
          doubtful, cf. Sierra Club v. Trump, 929 F.3d at 715 (N.R.
          Smith, J., dissenting) (suggesting that “those who would have
          been entitled to the funds as originally appropriated” may be
          within the zone of interests of § 8005), but in any event, we
          are not entitled to bend the otherwise applicable—and already
          lenient—standards to ensure that someone will be able to sue
          in this case or others like it.

                                             B

              As noted earlier, the Organizations only invoke the APA
          as a fallback option, and they instead insist that they may
          assert claims under the Constitution, as well as an equitable
          cause of action to enjoin “ultra vires” conduct. The
          Organizations do not have a cause of action under either of
          these theories.

                                             1

              The Organizations contend that they are not required to
          satisfy any zone-of-interests test to the extent that they assert
          non-APA causes of action to enjoin Executive officials from
          taking unconstitutional action.12 Even assuming that an


              12
                 It is not entirely clear that the Organizations are alternatively
          contending that APA claims to enjoin unconstitutional conduct, see 5
          U.S.C. § 706(2)(B), are exempt from the zone-of-interests test. To the
          extent that they are so contending, the point seems doubtful. See Data
                                                                                      (70 of 86)
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          equitable cause of action to enjoin unconstitutional conduct
          exists alongside the APA’s cause of action, see Juliana v.
          United States, 947 F.3d 1159, 1167–68 (9th Cir. 2020);
          Navajo Nation v. Department of the Interior, 876 F.3d 1144,
          1172 (9th Cir. 2017); but see Sierra Club v. Trump, 929 F.3d
          at 715–17 (N.R. Smith, J., dissenting), it avails the
          Organizations nothing here. The Organizations have failed
          to allege the sort of constitutional claim that might give rise
          to such an equitable action, because their “constitutional”
          claim is effectively the very same § 8005-based claim dressed
          up in constitutional garb. And even if this claim counted as
          a “constitutional” one, it would still be governed by the same
          zone of interests defined by the relevant limitations in § 8005.

                                             a

              The Organizations assert three constitutional claims in
          their operative complaint: (1) that Defendants have violated
          the constitutional separation of powers by “usurp[ing]
          Congress’s legislative authority”; (2) that Defendants have
          violated the Presentment Clause by “modify[ing] or
          repeal[ing] Congress’s appropriations legislation by executive
          proclamation, rather than by law”; and (3) that Defendants
          have violated the Appropriations Clause by “allocat[ing]
          money from the Department of the Treasury by executive
          proclamation, rather than by law, and in contravention of
          restrictions contained in Congress’s appropriations’ laws.”


          Processing, 397 U.S. at 153 (zone-of-interests test requires APA claimant
          to show that its interest “is arguably within the zone of interests to be
          protected or regulated by the statute or constitutional guarantee in
          question”). But in all events, any such APA-based claim to enjoin
          unconstitutional conduct would fail for the same reasons as the
          Organizations’ purported free-standing equitable claim to enjoin such
          conduct.
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          As clarified in their subsequent briefing, the Organizations
          assert both what I will call a “strong” form of these
          constitutional arguments and a more “limited” form. In its
          strong form, the Organizations’ argument is that, even if
          § 8005 authorized the transfers in question here, those
          transfers nonetheless violated the Presentment Clause. In its
          more limited form, the Organizations’ argument is that the
          transfers violated the separation of powers, the Presentment
          Clause, and the Appropriations Clause because the transfers
          were not authorized by § 8005.

               I need not address whether the Organizations have an
          equitable cause of action to assert the strong form of their
          constitutional argument, because in my view that argument
          on the merits is so “wholly insubstantial and frivolous” that
          it would not even give rise to federal jurisdiction. Bell v.
          Hood, 327 U.S. 678, 682–83 (1946); see also Steel Co.,
          523 U.S. at 89. If § 8005 allowed the transfers here, then that
          necessarily means that the Executive has properly spent funds
          that Congress, by statute, has appropriated and allowed to be
          spent for that purpose. Cf. Lincoln v. Vigil, 508 U.S. 182,
          192 (1993) (“allocation of funds from a lump-sum
          appropriation is another administrative decision traditionally
          regarded as committed to agency discretion”).               By
          transferring funds after finding that the statutory conditions
          for doing so are met, an agency thereby “execut[es] the policy
          that Congress had embodied in the statute” and does not
          unilaterally alter or repeal any law in violation of the
          Presentment Clause or the separation of powers. See Clinton
          v. City of New York, 524 U.S. 417, 444 (1998). If anything,
          it is the Organizations’ theory—that the federal courts must
          give effect to an alleged broader congressional judgment
          against border funding regardless of whether that judgment
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          is embodied in binding statutory language—that would
          offend separation-of-powers principles.

              That leaves only the more limited form of the
          Organizations’ argument, which is that, if § 8005 did not
          authorize the transfers, then the expenditures violated the
          Appropriations Clause, the Presentment Clause, and the
          separation of powers. Under Dalton v. Specter, 511 U.S. 462
          (1994), this theory—despite its constitutional garb—is
          properly classified as “a statutory one,” id. at 474. It
          therefore does not fall within the scope of the asserted non-
          APA equitable cause of action to enjoin unconstitutional
          conduct.13

              In Dalton, the Court addressed a non-APA claim to enjoin
          Executive officials from implementing an allegedly
          unconstitutional Presidential decision to close certain military
          bases under the Defense Base Closure and Realignment Act
          of 1990. 511 U.S. at 471.14 But the claim in Dalton was not
          that the President had directly transgressed an applicable
          constitutional limitation; rather, the claim was that, because
          Executive officials “violated the procedural requirements” of
          the statute on which the President’s decision ultimately
          rested, the President thereby “act[ed] in excess of his
          statutory authority” and therefore “violate[d] the


               13
                  There remains the Organizations’ claim that statutory violations
          may be enjoined under a non-APA ultra vires cause of action for equitable
          relief, but that also fails for the reasons discussed below. See infra at
          79–80.
               14
                 The plaintiffs in Dalton also asserted a claim under the APA itself,
          but that claim failed for the separate reason that the challenged final action
          was taken by the President personally, and the President is not an
          “agency” for purposes of the APA. See 511 U.S. at 469.
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          constitutional separation-of-powers doctrine.” Id. at 471–72.
          The Supreme Court rejected this effort to “eviscerat[e]” the
          well-established “distinction between claims that an official
          exceeded his statutory authority, on the one hand, and claims
          that he acted in violation of the Constitution, on the other.”
          Id. at 474 (emphasis added). As the Court explained, its
          “cases do not support the proposition that every action by the
          President, or by another executive official, in excess of his
          statutory authority is ipso facto in violation of the
          Constitution.” Id. at 472. The Court distinguished
          Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579
          (1952), on the ground that there “the Government disclaimed
          any statutory authority for the President’s seizure of steel
          mills,” and as a result the Constitution itself supplied the rule
          of decision for determining the legality of the President’s
          actions. Dalton, 511 U.S. at 473. Because the “only basis of
          authority asserted was the President’s inherent constitutional
          power as the Executive and the Commander in Chief of the
          Armed Forces,” Youngstown thus “necessarily turned on
          whether the Constitution authorized the President’s actions.”
          Id. (emphasis added). By contrast, given that the claim in
          Dalton was that the President had violated the Constitution
          because Executive officials had “violated the terms of the
          1990 Act,” the terms of that statute provided the applicable
          rule of decision and the claim was therefore “a statutory one.”
          Id. at 474. And because those claims sought to enjoin
          conduct on the grounds that it violated statutory
          requirements, it was subject to the “longstanding” limitation
          that non-APA “review is not available when the statute in
          question commits the decision to the discretion of the
          President.” Id.

             Under Dalton, the Organizations’ purported
          “constitutional” claims—at least in their more limited
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          version—are properly classified as statutory claims that do
          not fall within any non-APA cause of action to enjoin
          unconstitutional conduct. 511 U.S. at 474. Here, as in
          Dalton, Defendants have “claimed” the “statutory authority”
          of § 8005, and any asserted violation of the Constitution
          would occur only if, and only because, Defendants’ conduct
          is assertedly not authorized by § 8005. Id. at 473. The rule
          of decision for this dispute is thus not supplied, as in
          Youngstown, by the Constitution; rather, it is supplied only by
          § 8005. Id. at 473–74. Because these claims by the
          Organizations are thus “statutory” under Dalton, they may
          only proceed, if at all, under an equitable cause of action to
          enjoin ultra vires conduct, and they would be subject to any
          limitations applicable to such claims. Id. at 474. The
          Organizations do assert such a fallback claim here, but it fails
          for the reasons I explain below. See infra at 79–80.

                                         b

              But even if the Organizations’ claims may properly be
          classified as constitutional ones for purposes of the particular
          equitable cause of action they invoke here, those claims
          would still fail.

              To the extent that the Organizations argue that the
          Constitution itself grants a cause of action allowing any
          plaintiff with an Article III injury to sue to enjoin an alleged
          violation of the Appropriations Clause, the Presentment
          Clause, or the separation of powers, there is no support for
          such a theory. None of the cases cited by the Organizations
          involved putative plaintiffs, such as the Organizations here,
          who are near the outer perimeter of Article III standing. On
          the contrary, these cases involved either allegedly
          unconstitutional agency actions directly targeting the
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          claimants, see Bond v. United States, 564 U.S. 211, 225–26
          (2011) (criminal defendant challenged statute under which
          she was convicted on federalism and separation-of-powers
          grounds); United States v. McIntosh, 833 F.3d 1163, 1174–75
          (9th Cir. 2016) (criminal defendants sought to enjoin, based
          on an appropriations rider and the Appropriations Clause, the
          Justice Department’s expenditure of funds to prosecute them),
          or they involved a suit based on an express statutory cause of
          action, see Clinton v. City of New York, 524 U.S. at 428
          (noting that right of action was expressly conferred by
          2 U.S.C. § 692(a)(1) (1996 ed.)).

              Moreover, the majority’s novel contention that the
          Constitution requires recognizing, in this context, an
          equitable cause of action that extends to the outer limits of
          Article III cannot be squared with the Supreme Court’s
          decision in Armstrong v. Exceptional Child Ctr., Inc.,
          575 U.S. 320 (2015). There, the Court rejected the view that
          the Supremacy Clause itself created a private right of action
          for equitable relief against preempted statutes, and instead
          held that any such equitable claim rested on “judge-made”
          remedies that are subject to “express and implied statutory
          limitations.” Id. at 325–27. The Supremacy Clause provides
          a particularly apt analogy here, because (like the
          Appropriations Clause) the asserted “unconstitutionality” of
          the challenged action generally depends upon whether it falls
          within or outside the terms of a federal statute: a state statute
          is “unconstitutional under the Supremacy Clause” only if it is
          “contrary to federal law,” Burbank-Glendale-Pasadena
          Airport Auth. v. City of Burbank, 136 F.3d 1360, 1361–62
          (9th Cir. 1998), and here, the transfers violated the
          Appropriations Clause only if they were barred by the
          limitations in § 8005. And just as the Supremacy Clause
          protects Congress’s “broad discretion with regard to the
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          enactment of laws,” Armstrong, 575 U.S. at 325–26, so too
          the Appropriations Clause protects “congressional control
          over funds in the Treasury,” McIntosh, 833 F.3d at 1175. It
          is “unlikely that the Constitution gave Congress such broad
          discretion” to enact appropriations laws only to
          simultaneously “require[] Congress to permit the
          enforcement of its laws” by any “private actor[]” with even
          minimal Article III standing, thereby “limit[ing] Congress’s
          power” to decide how “to enforce” the spending limitations
          it enacts. Armstrong, 575 U.S. at 325–26.15

              The Appropriations Clause thus does not itself create a
          constitutionally required cause of action that extends to the
          limits of Article III. On the contrary, any equitable cause of
          action to enforce that clause would rest on a “judge-made”
          remedy: as Armstrong observed, “[t]he ability to sue to enjoin
          unconstitutional actions by state and federal officers is the
          creation of courts of equity, and reflects a long history of
          judicial review of illegal executive action, tracing back to
          England.” 575 U.S. at 327. At least where, as here, the
          contours of the applicable constitutional line (under the

               15
                  The majority asserts that Armstrong is distinguishable on the
          grounds that the Appropriations Clause is supposedly more protective of
          individual liberty than the Supremacy Clause. See Maj. Opin. at 30–31.
          Nothing is cited to support this comparative assertion, which seems highly
          doubtful: there is no reason to think that Congress’s ability, in the exercise
          of its enumerated powers, to preempt potentially oppressive state laws is
          any less protective of individual liberty than is Congress’s ability to insert
          riders in appropriations bills. Moreover, to the extent that these clauses
          protect individual liberty, they both do so only as a consequence of
          protecting congressional authority within our overall constitutional
          structure. Armstrong’s core point—that it would be “strange indeed” to
          construe a clause that protects congressional power as simultaneously
          saddling Congress with a particular enforcement method—remains
          equally applicable to both. 575 U.S. at 326.
                                                                                           (77 of 86)
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          Appropriations Clause) are defined by and parallel a statutory
          line (under § 8005), any such judge-made equitable cause of
          action would be subject to “express and implied statutory
          limitations,” as well as traditional limitations governing such
          equitable claims. Id.

              One long-established “‘judicially self-imposed limit[] on
          the exercise of federal jurisdiction’”—including federal
          equitable jurisdiction—is the requirement “that a plaintiff’s
          grievance must arguably fall within the zone of interests
          protected or regulated by the statutory provision or
          constitutional guarantee invoked in the suit.” Bennett,
          520 U.S. at 162 (quoting Allen v. Wright, 468 U.S. 737, 751
          (1984)). This limitation is not confined to the APA, but
          rather reflects a “prudential standing requirement[] of general
          application” that always “applies unless it is expressly
          negated” by Congress. Id. at 163.16 Because Congress has
          not expressly negated that test in any relevant respect, the
          Organizations’ equitable cause of action to enforce the
          Appropriations Clause here remains subject to the zone-of-
          interests test. Cf. Thompson v. North American Stainless, LP,

              16
                 The majority wrongly contends that, by quoting this language from
          Bennett, and stating that the zone-of-interests test therefore “applies to all
          statutorily created causes of action,” Lexmark, 572 U.S. at 129 (emphasis
          added), the Court in Lexmark thereby intended to signal that the test only
          applies to statutory claims and not to non-statutory equitable claims. See
          Maj. Opin. at 36–37. Nothing in Lexmark actually suggests any such
          negative pregnant; instead, the Court’s reference to “statutorily created
          causes of action” reflects nothing more than the fact that only statutory
          claims were before the Court in that case. See 572 U.S. at 129. Moreover,
          Lexmark notes that the zone-of-interests test’s roots lie in the common
          law, id. at 130 n.5, and Bennett (upon which Lexmark relied) states that
          the test reflects a “prudential standing requirement[] of general
          application” that applies to any “exercise of federal jurisdiction,” 520 U.S.
          at 162–63.
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          562 U.S. 170, 176–77 (2011) (construing a cause of action as
          extending to “any person injured in the Article III sense”
          would often produce “absurd consequences” and is for that
          reason rarely done). And given the unique nature of an
          Appropriations Clause claim, as just discussed, the line
          between constitutional and unconstitutional conduct here is
          defined entirely by the limitations in § 8005, and therefore
          the relevant zone of interests for the Organizations’
          Appropriations-Clause-based equitable claim remains defined
          by those limitations. Thus, contrary to the majority’s
          conclusion, see Maj. Opin. at 39–40, the Organizations are
          outside the applicable zone of interests for this claim as well.

              In arguing for a contrary view, the Organizations rely
          heavily on United States v. McIntosh, asserting that there
          we granted non-APA injunctive relief based on the
          Appropriations Clause without inquiring whether the
          claimants were within the zone of interests of the underlying
          appropriations statute. McIntosh cannot bear the considerable
          weight that the Organizations place on it.

              In McIntosh, we asserted interlocutory jurisdiction over
          the district courts’ refusal to enjoin the expenditure of funds
          to prosecute the defendants—an expenditure that allegedly
          violated an appropriations rider barring the Justice
          Department from spending funds to prevent certain States
          from “‘implementing their own laws that authorize the use,
          distribution, possession, or cultivation of medical
          marijuana.’” 833 F.3d at 1175; see also id. at 1172–73. We
          held that the defendants had Article III standing and that, if
          the Department was in fact “spending money in violation” of
          that rider in prosecuting the defendants, that would produce
          a violation of the Appropriations Clause that could be raised
          by the defendants in challenging their prosecutions. Id.
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          at 1175. After construing the meaning of the rider, we then
          remanded the matter for a determination whether the rider
          was being violated. Id. at 1179. Contrary to the
          Organizations’ dog-that-didn’t-bark theory, nothing can be
          gleaned from the fact that the zone-of-interests test was never
          discussed in McIntosh. See Cooper Indus., Inc. v. Aviall
          Servs, Inc., 543 U.S. 157, 170 (2004) (“‘Questions which
          merely lurk in the record, neither brought to the attention of
          the court nor ruled upon, are not to be considered as having
          been so decided as to constitute precedents.’”) (quoting
          Webster v. Fall, 266 U.S. 507, 511 (1925)). Moreover, any
          such silence seems more likely to have been due to the fact
          that it was so overwhelmingly obvious that the defendants
          were within the rider’s zone of interests that the point was
          incontestable and uncontested. An asserted interest in not
          going to prison for complying with state medical-marijuana
          laws seems well within the zone of interests of a statute
          prohibiting interference with the implementation of such state
          laws.

                                        2

              The only remaining question is whether the Organizations
          may evade the APA’s zone-of-interests test by asserting a
          non-APA claim for ultra vires conduct in excess of statutory
          authority. Even assuming that such a cause of action exists
          alongside the APA, cf. Trudeau v. Federal Trade Comm’n,
          456 F.3d 178, 189–90 (D.C. Cir. 2006), I conclude that it
          would be subject to the same zone-of-interests limitations as
          the Organizations’ APA claims and therefore likewise fails.

              For the same reasons discussed above, any such equitable
          cause of action rests on a judge-made remedy that is subject
          to the zone-of-interests test. See supra at 74–79. The
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          Organizations identify no case from the Supreme Court or
          this court affirmatively holding that the zone-of-interests test
          does not apply to a non-APA equitable cause of action to
          enjoin conduct allegedly in excess of express statutory
          limitations on statutory authority, and I am aware of none.
          Indeed, it makes little sense, when evaluating a claim that
          Executive officials exceeded the limitations in a federal
          statute, not to ask whether the plaintiff is within the zone of
          interests protected by those statutory limitations. Cf. Haitian
          Refugee Ctr. v. Gracey, 809 F.2d 794, 811 n.14 (D.C. Cir.
          1987) (although plaintiff asserting ultra vires claim may not
          need to show that its interests “fall within the zones of
          interests of the constitutional and statutory powers invoked”
          by Executive officials, when “a particular constitutional or
          statutory provision was intended to protect persons like the
          litigant by limiting the authority conferred,” then “the
          litigant’s interest may be said to fall within the zone protected
          by the limitation”) (emphasis added).17 Here, those
          limitations are supplied by § 8005, and the Organizations are
          not within the zone of interests of that statute. 18


               17
                 The majority thus relies on the wrong portion of Judge Bork’s
          opinion in Haitian Refugee Center. See Maj. Opin. at 37–39. This case
          turns on a “statutory provision” that “limit[s] the authority conferred.”
          809 F.2d at 811 n.14. If the Executive had contended that it had power to
          transfer the funds regardless of § 8005, then this case would look more
          like Youngstown, but no such extravagant claim has been pressed in this
          case. On the contrary, Defendants concede that, if the requirements of
          § 8005 were not met, then the transfers were unlawful.
               18
                Even if the Organizations were correct that the zone-of-interests test
          does not apply to a non-APA equitable cause of action, that would not
          necessarily mean that such equitable jurisdiction extends, as the
          Organizations suggest, to the outer limits of Article III. Declining to apply
          the APA’s generous zone-of-interests test might arguably render
          applicable the sort of narrower review of agency action that preceded the
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                                       *    *    *

               Given that each of the Organizations’ asserted theories
          fail, the Organizations lack any cause of action to challenge
          the DoD’s transfer of funds under § 8005.

                                           IV

              Alternatively, even if the Organizations had a cause of
          action, their claims would fail on the merits, because the
          challenged transfers did not violate § 8005 or § 9002. In the
          companion appeal, California v. Trump, the majority
          concluded that § 8005 and § 9002 did not authorize the
          transfers at issue, and I concluded that these provisions did
          authorize the transfers. Just as the majority “reaffirm[s] this
          holding here and conclude[s] that Section 8005 did not
          authorize the transfer of funds,” Maj. Opin. at 24, I reaffirm
          my previous conclusion that § 8005 and § 9002 authorized
          the transfers.

                                            V

              Based on the foregoing, I conclude that at least the Sierra
          Club has Article III standing, but that the Organizations lack
          any cause of action to challenge these § 8005 and § 9002
          transfers. Alternatively, if the Organizations did have a cause
          of action, their claims fail on the merits as a matter of law
          because the transfers complied with the limitations in § 8005
          and § 9002. I therefore would reverse the district court’s
          partial grant of summary judgment to the Organizations and
          would remand the matter with instructions to grant


          APA standards articulated in Data Processing, 397 U.S. at 153. See also
          Clarke, 479 U.S. at 400 n.16.
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          Defendants’ motion for summary judgment on this set of
          claims. Because the majority concludes otherwise, I
          respectfully dissent.
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                     United States Court of Appeals for the Ninth Circuit

                                      Office of the Clerk
                                       95 Seventh Street
                                    San Francisco, CA 94103

            Information Regarding Judgment and Post-Judgment Proceedings

Judgment
     •   This Court has filed and entered the attached judgment in your case.
         Fed. R. App. P. 36. Please note the filed date on the attached
         decision because all of the dates described below run from that date,
         not from the date you receive this notice.

Mandate (Fed. R. App. P. 41; 9th Cir. R. 41-1 & -2)
    •     The mandate will issue 7 days after the expiration of the time for
          filing a petition for rehearing or 7 days from the denial of a petition
          for rehearing, unless the Court directs otherwise. To file a motion to
          stay the mandate, file it electronically via the appellate ECF system
          or, if you are a pro se litigant or an attorney with an exemption from
          using appellate ECF, file one original motion on paper.

Petition for Panel Rehearing (Fed. R. App. P. 40; 9th Cir. R. 40-1)
Petition for Rehearing En Banc (Fed. R. App. P. 35; 9th Cir. R. 35-1 to -3)

(1)     A.      Purpose (Panel Rehearing):
        •       A party should seek panel rehearing only if one or more of the following
                grounds exist:
                ►    A material point of fact or law was overlooked in the decision;
                ►    A change in the law occurred after the case was submitted which
                      appears to have been overlooked by the panel; or
                ►    An apparent conflict with another decision of the Court was not
                      addressed in the opinion.
        •       Do not file a petition for panel rehearing merely to reargue the case.

        B.      Purpose (Rehearing En Banc)
        •       A party should seek en banc rehearing only if one or more of the following
                grounds exist:



Post Judgment Form - Rev. 12/2018                                                            1
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          Case    19-16102, 06/26/2020, ID: 11734529,
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                ►        Consideration by the full Court is necessary to secure or maintain
                         uniformity of the Court’s decisions; or
                ►        The proceeding involves a question of exceptional importance; or
                ►        The opinion directly conflicts with an existing opinion by another
                         court of appeals or the Supreme Court and substantially affects a
                         rule of national application in which there is an overriding need for
                         national uniformity.

(2)     Deadlines for Filing:
        •    A petition for rehearing may be filed within 14 days after entry of
             judgment. Fed. R. App. P. 40(a)(1).
        •    If the United States or an agency or officer thereof is a party in a civil case,
             the time for filing a petition for rehearing is 45 days after entry of judgment.
             Fed. R. App. P. 40(a)(1).
        •    If the mandate has issued, the petition for rehearing should be
             accompanied by a motion to recall the mandate.
        •    See Advisory Note to 9th Cir. R. 40-1 (petitions must be received on the
             due date).
        •    An order to publish a previously unpublished memorandum disposition
             extends the time to file a petition for rehearing to 14 days after the date of
             the order of publication or, in all civil cases in which the United States or an
             agency or officer thereof is a party, 45 days after the date of the order of
             publication. 9th Cir. R. 40-2.

(3)     Statement of Counsel
        •     A petition should contain an introduction stating that, in counsel’s
              judgment, one or more of the situations described in the “purpose” section
              above exist. The points to be raised must be stated clearly.

(4)     Form & Number of Copies (9th Cir. R. 40-1; Fed. R. App. P. 32(c)(2))
        •    The petition shall not exceed 15 pages unless it complies with the
             alternative length limitations of 4,200 words or 390 lines of text.
        •    The petition must be accompanied by a copy of the panel’s decision being
             challenged.
        •    An answer, when ordered by the Court, shall comply with the same length
             limitations as the petition.
        •    If a pro se litigant elects to file a form brief pursuant to Circuit Rule 28-1, a
             petition for panel rehearing or for rehearing en banc need not comply with
             Fed. R. App. P. 32.


Post Judgment Form - Rev. 12/2018                                                                 2
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      •       The petition or answer must be accompanied by a Certificate of Compliance
              found at Form 11, available on our website at www.ca9.uscourts.gov under
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              additional paper copies are required unless the Court orders otherwise.

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       •     See Form 10 for additional information, available on our website at
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       •     Please refer to the Rules of the United States Supreme Court at
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           within 10 days to:
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            ►     and electronically file a copy of the letter via the appellate ECF system by using
                  “File Correspondence to Court,” or if you are an attorney exempted from using
                  the appellate ECF system, mail the Court one copy of the letter.




       Post Judgment Form - Rev. 12/2018                                                       3
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                         UNITED STATES COURT OF APPEALS
                              FOR THE NINTH CIRCUIT
                                 Form 10. Bill of Costs
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                   EXHIBIT 5
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Case 1:19-cv-00408-TNM      ID: 11734538,
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                           FOR PUBLICATION

             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT


           STATE OF CALIFORNIA; STATE OF          No. 19-16299
           COLORADO; STATE OF
           CONNECTICUT; STATE OF                     D.C. No.
           DELAWARE; STATE OF HAWAII;             4:19-cv-00872-
           STATE OF MAINE; STATE OF                    HSG
           MINNESOTA; STATE OF NEW JERSEY;
           STATE OF NEW MEXICO; STATE OF
           NEVADA; STATE OF NEW YORK;
           STATE OF OREGON;
           COMMONWEALTH OF VIRGINIA;
           STATE OF ILLINOIS; STATE OF
           MARYLAND; DANA NESSEL,
           ATTORNEY GENERAL, ON BEHALF OF
           THE PEOPLE OF MICHIGAN; STATE OF
           WISCONSIN; STATE OF
           MASSACHUSETTS; STATE OF
           VERMONT; STATE OF RHODE ISLAND,
                          Plaintiffs-Appellees,

                            v.

           DONALD J. TRUMP, in his official
           capacity as President of the United
           States of America; UNITED STATES
           OF AMERICA; UNITED STATES
           DEPARTMENT OF DEFENSE; MARK T.
           ESPER, in his official capacity as
           Acting Secretary of Defense; RYAN
           D. MCCARTHY, senior official
Case: 19-16299, 06/26/2020,
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          2            STATE OF CALIFORNIA V. TRUMP

           performing the duties of the
           Secretary of the Army; RICHARD V.
           SPENCER, in his official capacity as
           Secretary of the Navy; HEATHER
           WILSON, in her official capacity as
           Secretary of the Air Force; UNITED
           STATES DEPARTMENT OF THE
           TREASURY; STEVEN TERNER
           MNUCHIN, in his official capacity as
           Secretary of the Department of the
           Treasury; U.S. DEPARTMENT OF THE
           INTERIOR; DAVID BERNHARDT, in his
           official capacity as Secretary of the
           Interior; U.S. DEPARTMENT OF
           HOMELAND SECURITY; CHAD F.
           WOLF, in his official capacity as
           Acting Secretary of Homeland
           Security,
                          Defendants-Appellants.
Case: 19-16299, 06/26/2020,
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                       STATE OF CALIFORNIA V. TRUMP                 3

           STATE OF CALIFORNIA; STATE OF           No. 19-16336
           NEW MEXICO,
                         Plaintiffs-Appellants,       D.C. No.
                                                   4:19-cv-00872-
                            v.                          HSG

           DONALD J. TRUMP, in his official
           capacity as President of the United       OPINION
           States of America; UNITED STATES
           OF AMERICA; UNITED STATES
           DEPARTMENT OF DEFENSE; MARK T.
           ESPER, in his official capacity as
           Acting Secretary of Defense; RYAN
           D. MCCARTHY, senior official
           performing the duties of the
           Secretary of the Army; RICHARD V.
           SPENCER, in his official capacity as
           Secretary of the Navy; HEATHER
           WILSON, in her official capacity as
           Secretary of the Air Force; UNITED
           STATES DEPARTMENT OF THE
           TREASURY; STEVEN TERNER
           MNUCHIN, in his official capacity as
           Secretary of the Department of the
           Treasury; U.S. DEPARTMENT OF THE
           INTERIOR; DAVID BERNHARDT, in his
           official capacity as Secretary of the
           Interior; U.S. DEPARTMENT OF
           HOMELAND SECURITY; CHAD F.
           WOLF, in his official capacity as
           Acting Secretary of Homeland
           Security,
                           Defendants-Appellees.
Case: 19-16299, 06/26/2020,
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          4           STATE OF CALIFORNIA V. TRUMP

                Appeal from the United States District Court
                  for the Northern District of California
              Haywood S. Gilliam, Jr., District Judge, Presiding

                 Argued and Submitted November 12, 2019
                         San Francisco, California

                             Filed June 26, 2020

          Before: Sidney R. Thomas, Chief Judge, and Kim McLane
               Wardlaw and Daniel P. Collins, Circuit Judges.

                 Opinion by Chief Judge Sidney R. Thomas;
                         Dissent by Judge Collins
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                          STATE OF CALIFORNIA V. TRUMP                           5

                                     SUMMARY*


                                    Appropriations

              The panel affirmed the district court’s judgment holding
          that budgetary transfers of funds for the construction of a wall
          on the southern border of the United States in California and
          New Mexico were not authorized under the Department of
          Defense Appropriations Act of 2019.

              Section 8005 and Section 9002 of the Act (collectively
          “Section 8005”) was invoked to transfer $2.5 billion of
          Department of Defense funds appropriated for other purposes
          to fund border wall construction. Sixteen states, including
          California and New Mexico, filed suit challenging the
          Executive Branch’s funding of the border wall. The district
          court granted California and New Mexico’s motion for partial
          summary judgment, and issued declaratory relief, holding the
          Section 8005 transfer of funds as to the El Centro and El Paso
          sectors unlawful.

              The panel held that California and New Mexico
          established the requisite Article III standing to challenge the
          federal defendants’ actions.

              Concerning the injury in fact element of standing, the
          panel held that California and New Mexico alleged that the
          actions of the federal defendants will cause particularized and
          concrete injuries in fact to the environment and wildlife of
          their respective states as well as to their sovereign interests in

              *
               This summary constitutes no part of the opinion of the court. It has
          been prepared by court staff for the convenience of the reader.
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          enforcing their environmental laws. First, the panel held that
          California and New Mexico each provided sufficient
          evidence, if taken as true, that would allow a reasonable fact-
          finder to conclude that both states would suffer injuries in
          fact to their environmental interests, and in particular, to
          protect endangered species within their borders. Second, the
          panel also held that California and New Mexico demonstrated
          that border wall construction injured their quasi-sovereign
          interests by preventing them from enforcing their
          environmental laws.

              Concerning the causation element for standing, the panel
          held that California alleged environmental and sovereign
          injuries that were fairly traceable to the federal defendants’
          conduct. The panel held that with respect to most of the
          environmental injuries, causation was apparent. The panel
          also concluded that the causation requirement was likewise
          satisfied for the injuries to California’s and New Mexico’s
          quasi-sovereign interests.

              Concerning the redressability element of standing, the
          panel held that a ruling in California and New Mexico’s favor
          would redress their harms. Without the Section 8005 funds,
          the Department of Defense would have inadequate funding to
          finance construction of the projects, and this would prevent
          both the alleged and environmental and sovereign injuries.

              The panel held that California and New Mexico had the
          right to challenge the transfer of funds under the
          Administrative Procedure Act (“APA”). Specifically, the
          panel held that Section 8005 imposed certain obligations
          upon the Department of Defense, which it did not satisfy.
          The panel further held that California and New Mexico, as
          aggrieved parties, could pursue a remedy under the APA, as
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          long as they fell within Section 8005’s zone of interests. The
          panel held that California and New Mexico were suitable
          challengers because their interests were congruent with those
          of Congress and were not inconsistent with the purposes
          implicit in the statute. The panel concluded that California
          and New Mexico easily fell within the zone of interests of
          Section 8005.

              The panel held that Section 8005 did not authorize the
          Department of Defense’s budgetary transfer to fund
          construction of the El Paso and El Centro Sectors.
          Specifically, the panel concluded that the district court
          correctly determined that the border wall was not an
          unforeseen military requirement, and that funding for the wall
          had been denied by Congress. Absent such statutory
          authority, the Executive Branch lacked independent
          constitutional authority to transfer the funds at issue here.
          The panel concluded that the transfer of funds was unlawful,
          and affirmed the district court’s declaratory judgment to
          California and New Mexico.

              Finally, the panel declined to reverse the district court’s
          denial of California and New Mexico’s request for permanent
          injunctive relief, without prejudice to renewal.

              Judge Collins dissented. He agreed that at least California
          established Article III standing, but would hold that the States
          lacked any cause of action to challenge the transfer of funds
          under the APA or otherwise. Even assuming that they had a
          cause of action, Judge Collins would conclude that the
          transfers were lawful and reverse the district court’s partial
          judgment for the States and remand for entry of partial
          summary judgment in favor of the defendants.
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Case  19-16299, 06/26/2020, ID: 11734538,
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Case: 19-16299, 06/26/2020,
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Case: 19-16299, 06/26/2020,
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                         STATE OF CALIFORNIA V. TRUMP                       11

                                      OPINION

          THOMAS, Chief Judge:

               This appeal presents the question of whether the
          Department of Defense Appropriations Act of 2019
          authorized the Department of Defense (“DoD”) to make
          budgetary transfers from funds appropriated by Congress to
          it for other purposes in order to fund the construction of a
          wall on the southern border of the United States in California
          and New Mexico. We conclude that the transfers were not
          authorized by the terms of the Act, and we affirm the
          judgment of the district court.1

                                            I

             The President has long supported the construction of a
          border wall on the southern border between the United States
          and Mexico. Since the President took office in 2017,
          however, Congress has repeatedly declined to provide the
          amount of funding requested by the President.

              The debate over border wall funding came to a head in
          December of 2018. During negotiations to pass an
          appropriations bill for the remainder of the fiscal year, the
          President announced that he would not sign any legislation
          that did not allocate substantial funds to border wall
          construction. On January 6, 2019, the White House requested
          $5.7 billion to fund the construction of approximately



              1
                There are companion appeals concerning some of the same issues
          in Sierra Club, et. al. v. Trump et. al., Nos. 19-16102 and 19-16300.
          Those appeals will be the subject of a separate opinion.
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          234 miles of new physical barrier.2 Budget negotiations
          concerning border wall funding reached an impasse,
          triggering the longest partial government shutdown in United
          States history.

              After 35 days, the government shutdown ended without
          an agreement to provide increased border wall funding in the
          amount requested by the President. On February 14, 2019,
          Congress passed the Consolidated Appropriations Act of
          2019 (“CAA”), which included the Department of Homeland
          Security Appropriations Act for Fiscal Year 2019, Pub. L.
          No. 116-6, div. A, 133 Stat. 13 (2019). The CAA
          appropriated only $1.375 billion for border wall construction,
          specifying that the funding was for “the construction of
          primary pedestrian fencing . . . in the Rio Grande Valley
          Sector.” Id. § 230(a)(1). The President signed the CAA into
          law the following day.

              The President concurrently issued a proclamation under
          the National Emergencies Act, 50 U.S.C. §§ 1601–1651,
          “declar[ing] that a national emergency exists at the southern
          border of the United States.” Proclamation No. 9844, 84 Fed.
          Reg. 4949 (Feb. 15, 2019).3 An accompanying White House
          Fact Sheet explained that the President was “using his legal
          authority to take Executive action to secure additional
          resources” to build a border wall, and it specified that “the

               2
                Some form of a physical barrier already exists at the site of some of
          the construction projects. In those places, construction would reinforce or
          rebuild the existing portions.
               3
                Subsequently, Congress adopted two joint resolutions terminating
          the President’s emergency declaration pursuant to its authority under
          50 U.S.C. § 1622(a)(1). The President vetoed each resolution, and
          Congress failed to override these vetoes.
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          Administration [had] so far identified up to $8.1 billion that
          [would] be available to build the border wall once a national
          emergency [was] declared and additional funds [were]
          reprogrammed.” The Fact Sheet identified several funding
          sources, including $2.5 billion of Department of Defense
          (“DoD”) funds that could be transferred to provide support
          for counterdrug activities of other federal government
          agencies under 10 U.S.C. § 284 (“Section 284”).4 Executive
          Branch agencies began using the funds identified by the Fact
          Sheet to fund border wall construction. On February 25, the
          Department of Homeland Security (“DHS”) submitted to
          DoD a request for Section 284 assistance to block drug
          smuggling corridors. In particular, it requested that DoD
          fund “approximately 218 miles” of wall using this authority,
          comprised of numerous projects, including the El Centro
          Sector Project 1 in California and the El Paso Sector Project
          1 in New Mexico, as relevant to this case. On March 25,
          Acting Secretary of Defense Patrick Shanahan approved three
          border wall construction projects: Yuma Sector Projects 1 and
          2 in Arizona and El Paso Sector Project 1 in New Mexico.
          On May 9, Shanahan approved four more border wall
          construction projects: El Centro Sector Project 1 in California
          and Tucson Sector Projects 1–3 in Arizona.



              4
                Section 284 authorizes the Secretary of Defense to “provide support
          for the counterdrug activities . . . of any other department or agency of the
          Federal Government” if it receives a request from “the official who has
          responsibility for the counterdrug activities.” 10 U.S.C. §§ 284(a),
          284(a)(1)(A). The statute permits, among other things, support for
          “[c]onstruction of roads and fences and installation of lighting to block
          drug smuggling corridors across international boundaries of the United
          States.” Id. § 284(b)(7). DoD’s provision of support for other agencies
          pursuant to Section 284 does not require the declaration of a national
          emergency.
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              Because these projects were undertaken to construct
          barriers and roads in furtherance of border security, Acting
          Secretary of Homeland Security Kevin McAleenan invoked
          the authority granted to him by Section 102(c) of the Illegal
          Immigration Reform and Immigrant Responsibility Act of
          1996 (“IIRIRA”), Pub. L. No. 104-208, Div. C, § 102(c),
          110 Stat. 3009-546, 3009-554 (1996) (codified as amended as
          a note to 8 U.S.C. § 1103), to “waive all legal requirements”
          that would otherwise apply to the border wall construction
          projects “to ensure . . . expeditious construction.” 84 Fed.
          Reg. 17185-01 (April 24, 2019). On April 24, with respect to
          the El Paso Sector, he “waive[d] in their entirety, with respect
          to the construction of physical barriers and roads” a long list
          of statutes, “including all federal, state, or other laws,
          regulations, and legal requirements of, deriving from, or
          related to the subject of” “[t]he National Environmental
          Policy Act” “(42 U.S.C. 4321 et seq.),” “the Endangered
          Species Act” “(16 U.S.C. 1531 et seq.),” “the Federal Water
          Pollution Control Act (commonly referred to as the Clean
          Water Act (33 U.S.C. 1251 et seq.)),” and “the Clean Air Act
          (42 U.S.C. 7401 et seq.).” Id. He executed a similar Section
          102(c) waiver with respect to the El Centro Sector on
          May 15. 84 Fed. Reg. 21800-01 (May 15, 2019).

              At the time Shanahan authorized these border wall
          construction projects, the counter-narcotics support account
          contained only $238,306,000 in unobligated funds, or less
          than one tenth of the $2.5 billion needed to complete those
          projects. To provide the support requested, Shanahan
          invoked the budgetary transfer authority found in Section
          8005 of the 2019 DoD Appropriations Act to transfer funds
          from other DoD appropriations accounts into the Section 284
          Drug Interdiction and Counter-Drug Activities-Defense
          appropriations account.
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              For the first set of projects, Shanahan transferred
          $1 billion from Army personnel funds. For the second set of
          projects, Shanahan transferred $1.5 billion from “various
          excess appropriations,” which contained funds originally
          appropriated for purposes such as modification of in-service
          missiles and support for U.S. allies in Afghanistan.

             As authority for the transfers, DoD specifically relied on
          Section 8005 and Section 9002 of the Department of Defense
          Appropriations Act of 2019, Pub. L. No. 115-245, 132 Stat.
          2981 (2018) (“Section 8005”).5

              Section 8005 provides, in relevant part, that:

                   Upon determination by the Secretary of
                   Defense that such action is necessary in the
                   national interest, he may, with the approval of
                   the Office of Management and Budget,
                   transfer not to exceed $4,000,000,000 of
                   working capital funds of the Department of
                   Defense or funds made available in this Act to
                   the Department of Defense for military
                   functions (except military construction)
                   between such appropriations or funds or any
                   subdivision thereof, to be merged with and to
                   be available for the same purposes, and for the




               5
                 For simplicity, because the transfer authorities are both subject to
          Section 8005’s substantive requirements, this opinion refers to these
          authorities collectively as Section 8005, as did the district court and the
          motions panel. Our holding in this case therefore extends to both the
          transfer of funds pursuant to Section 8005 and Section 9002.
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                   same time period, as the appropriation or fund
                   to which transferred.6

              Section 8005 also explicitly limits when its authority can
          be invoked: “Provided, That such authority to transfer may
          not be used unless for higher priority items, based on
          unforeseen military requirements, than those for which
          originally appropriated and in no case where the item for
          which funds are requested has been denied by the Congress.”

              Although Section 8005 does not require formal
          congressional approval of transfers, historically DoD had
          adhered to a “gentleman’s agreement,” by which it sought
          approval from the relevant congressional committees before
          transferring the funds. DoD deviated from this practice
          here—it did not request congressional approval before
          authorizing the transfer. Further, the House Committee on
          Armed Services and the House Committee on Appropriations
          both wrote letters to DoD formally disapproving of the
          reprogramming action after the fact. Moreover, with respect
          to the second transfer, Shanahan expressly directed that the
          transfer of funds was to occur “without regard to comity-



               6
                 Section 9002 provides that: “Upon the determination of the
          Secretary of Defense that such action is necessary in the national interest,
          the Secretary may, with the approval of the Office of Management and
          Budget, transfer up to $2,000,000,000 between the appropriations or funds
          made available to the Department of Defense in this title: Provided, That
          the Secretary shall notify the Congress promptly of each transfer made
          pursuant to the authority in this section: Provided further, That the
          authority provided in this section is in addition to any other transfer
          authority available to the Department of Defense and is subject to the
          same terms and conditions as the authority provided in section 8005 of
          this Act.”
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          based policies that require prior approval from congressional
          committees.”

              In the end, Section 8005 was invoked to transfer
          $2.5 billion of DoD funds appropriated for other purposes to
          fund border wall construction.

                                               II

              On February 18, 2019, sixteen states,7 including
          California and New Mexico, filed a lawsuit challenging the
          Executive Branch’s funding of the border wall. The States
          pled theories of violation of the constitutional separation of
          powers, violation of the Appropriations Clause, ultra vires
          action, violations of the Administrative Procedure Act
          (“APA”), and violations of the National Environmental
          Policy Act (“NEPA”). The next day, Sierra Club and the
          Southern Border Communities Coalition filed a separate
          action challenging the same border wall funding.8



              7
                Specifically, the action was filed by the following states: California,
          Colorado, Connecticut, Delaware, Hawai’i, Illinois, Maine, Maryland,
          Minnesota, Nevada, New Jersey, New Mexico, New York, Oregon, the
          Commonwealth of Virginia, and Attorney General Dana Nessel on behalf
          of the People of Michigan. The complaint was later amended to add the
          following states: Rhode Island, Vermont, Wisconsin, and the
          Commonwealth of Massachusetts. State parties are collectively
          referenced as “the States.”
              8
                Both lawsuits named as defendants Donald J. Trump, President of
          the United States, Patrick M. Shanahan, former Acting Secretary of
          Defense, Kirstjen M. Nielsen, former Secretary of Homeland Security, and
          Steven Mnuchin, Secretary of the Treasury in their official capacities,
          along with numerous other Executive Branch officials (collectively
          referenced as “the Federal Defendants”).
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              The States subsequently filed a motion requesting a
          preliminary injunction to enjoin the transfer of funds to
          construct a border wall in New Mexico’s El Paso Sector. The
          district court held that New Mexico had standing, but it
          denied without prejudice the preliminary injunction motion.
          The court based part of its reasoning on the fact that it had
          already imposed a preliminary injunction in the Sierra Club
          action such that the grant of a preliminary injunction in favor
          of the States would be duplicative. California subsequently
          filed another motion requesting a preliminary injunction to
          enjoin the transfer of funds to construct a border wall in
          California’s El Centro Sector.

              California and New Mexico then moved for partial
          summary judgment on their declaratory judgment action as to
          the El Centro and El Paso Sectors, and additionally moved for
          a permanent injunction to enjoin funding the construction of
          these sectors. The Federal Defendants filed a cross-motion
          for summary judgment on all claims. The district court
          granted California and New Mexico’s motion for partial
          summary judgment, and issued declaratory relief, holding the
          Section 8005 transfer of funds as to the El Centro and El Paso
          sectors unlawful. The district court denied the Federal
          Defendants’ motion for summary judgment.

              The court also denied California and New Mexico’s
          motion for a permanent injunction, this time basing its
          reasoning, in part, on the permanent injunction ordered by the
          district court in the companion Sierra Club case.9



               9
                The Supreme Court subsequently granted a stay of the district
          court’s permanent injunction in the separate companion case, Trump v.
          Sierra Club, 140 S. Ct. 1 (2019) (mem.).
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              The Federal Defendants requested that the district court
          certify its order as a final judgment for immediate appeal
          pursuant to Fed. R. Civ. P. 54(b). In response, the district
          court considered the appropriate factors, made appropriate
          findings, and certified the order as final pursuant to Rule
          54(b). See Pakootas v. Teck Cominco Metals, Ltd., 905 F.3d
          565, 574 (9th Cir. 2018) (listing factors). The Federal
          Defendants timely appealed the district court’s judgment, and
          the States timely cross-appealed the district court’s denial of
          injunctive relief. The district court’s Rule 54(b) certification
          was proper; therefore, we have jurisdiction under 28 U.S.C.
          § 1291. See Durfey v. E.I. DuPont De Nemours & Co.,
          59 F.3d 121, 124 (9th Cir. 1995) (appeal is proper upon
          certification as a final judgment pursuant to Rule 54(b)).

              We review the existence of Article III standing de novo.
          See California v. U.S. Dep’t of Health & Human Servs.,
          941 F.3d 410, 420 (9th Cir. 2019). We review questions of
          statutory interpretation de novo. See United States v. Kelly,
          874 F.3d 1037, 1046 (9th Cir. 2017).

                                            III

              California and New Mexico have Article III standing to
          pursue their claims. In order to establish Article III standing,
          a plaintiff must have (1) suffered an injury in fact, (2) that is
          fairly traceable to the challenged conduct of the defendant,
          and (3) that is likely to be redressed by a favorable judicial
          decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61
          (1992).10 At summary judgment, a plaintiff cannot rest on


              10
                The Federal Defendants do not challenge California’s and New
          Mexico’s Article III standing in these appeals. However, “the court has
          an independent obligation to assure that standing exists, regardless of
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          mere allegations, but “must set forth by affidavit or other
          evidence specific facts.” Clapper v. Amnesty Int’l USA,
          568 U.S. 398, 412 (2013) (internal quotations and citations
          omitted). These specific facts, set forth “for purposes of the
          summary judgment motion[,] will be taken to be true.”
          Lujan, 504 U.S. at 561.

              States are “entitled to special solicitude in our standing
          analysis.” Massachusetts v. EPA, 549 U.S. 497, 520 (2007).
          As a quasi-sovereign, a state “has an interest independent of
          and behind the titles of its citizens, in all the earth and air
          within its domain.” Georgia v. Tenn. Copper Co., 206 U.S.
          230, 237 (1907). Thus, a state may sue to assert its “quasi-
          sovereign interests in the health and well-being—both
          physical and economic—of its residents in general.” Alfred
          L. Snapp & Son, Inc. v. Puerto Rico, 458 U.S. 592, 607
          (1982). In addition, “[d]istinct from but related to the general
          well-being of its residents, the State has an interest in
          securing observance of the terms under which it participates
          in the federal system.” Id. at 607–08.

                                              A

              Here, California and New Mexico have alleged that the
          actions of the Federal Defendants will cause particularized
          and concrete injuries in fact to the environment and wildlife



          whether it is challenged by any of the parties.” Summers v. Earth Island
          Inst., 555 U.S. 488, 499 (2009).

               The Federal Defendants challenged New Mexico’s standing before
          the district court, but conflated its challenge with the APA “zone of
          interest” requirement, which we will discuss later. The district court held
          that New Mexico had established Article III standing.
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          of their respective states as well as to their sovereign interests
          in enforcing their environmental laws.

                                                1

              The El Centro Sector Project 1 involves the Jacumba
          Wilderness area. California contends that this area is home
          to a large number of sensitive plant and animal species that
          are listed as “endangered,” “threatened,” or “rare” under the
          federal Endangered Species Act of 1973, 16 U.S.C. § 1531 et
          seq., or the California Endangered Species Act, Cal. Fish &
          Game Code § 2050 et seq. California alleges that “[t]he
          construction of border barriers within or near the Jacumba
          Wilderness Area . . . will have significant adverse effects on
          environmental resources, including direct and indirect
          impacts to endangered or threatened wildlife.” One such
          species is the federally and state-endangered peninsular desert
          bighorn sheep. Another is the flat-tailed horned lizard, a
          California species of special concern.11




              11
                 A species of special concern is “a species, subspecies, or distinct
          population of an animal native to California that currently satisfies one or
          more of the following (but not necessarily mutually exclusive) criteria: is
          extirpated from the State . . .; is listed as Federally-, but not State-,
          threatened or endangered; meets the State definition of threatened or
          endangered but has not formally been listed; is experiencing, or formerly
          experienced, serious (noncyclical) population declines or range retractions
          (not reversed) that, if continued or resumed, could qualify it for State
          threatened or endangered status; has naturally small populations exhibiting
          high susceptibility of to risk from any factor(s), that if realized, could lead
          to declines that would qualify it for State threatened or endangered status.”
          CAL. DEPT. OF FISH AND WILDLIFE, SPECIES OF SPECIES CONCERN,
          https://wildlife.ca.gov/Conservation/SSC#394871324-what-is-the-
          relationship-between-sscs-and-the-california-wildlife-action-plan.
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              California has adequately set forth facts and other
          evidence, which taken as true, support these allegations for
          the purpose of Article III standing. According to the
          California Department of Fish and Wildlife 2018 annual
          report addressing sheep monitoring in the Jacumba
          Wilderness area, “[t]he Jacumba ewe group is dependent on
          resources both within the US and Mexico. A fence along the
          US-Mexico border would prohibit movement to, and use of,
          prelambing and lamb-rearing habitat and summer water
          sources,” and the development of energy projects adjacent to
          the Jacumba Mountains “combined with disturbance by
          border security activities” “will have significant adverse
          impacts on this ewe group.” California contends that road
          construction; grading and construction of equipment storage
          and parking areas; and off road movement of vehicle and
          equipment involved in construction will alter the normal
          behavior of peninsular bighorn sheep, with the most
          significant effect on the endangered peninsular bighorn sheep
          being the permanent reduction of its north-south movement
          across the U.S.-Mexico border. California further avers that
          the effects of a border wall will place additional pressure on
          the survival and recovery of the bighorn sheep because the
          unimpeded movement of the peninsular bighorn sheep
          between the United States and Mexico is important for
          increasing and maintaining their genetic diversity. It
          contends that as the number of animals that move between
          these two countries declines or ceases, the species will begin
          to suffer the deleterious effects of inbreeding and reduced
          genetic diversity.

              Likewise, California asserts that the flat-tailed horned
          lizard lives within the project footprint and surrounding area,
          and that the extensive trenching, construction of roads, and
          staging of materials proposed in the area will harm or kill
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          lizards that are either active or in underground burrows within
          the project footprint. It claims that the construction of the
          border wall will also greatly increase the predation rate of
          lizards adjacent to the wall by providing a perch for birds of
          prey and will effectively sever the linkage that currently
          exists between populations on both sides of the border.

              New Mexico alleges that “[t]he construction of a border
          wall in the El Paso Sector along New Mexico’s southern
          border will have adverse effects on the State’s environmental
          resources, including direct and indirect impacts to endangered
          or threatened wildlife.” Such harm “would include the
          blocking of wildlife migration, flooding, and habitat loss.” It
          notes that the Chihuahuan desert is bisected by the New
          Mexico-Mexico border, and this “bootheel” region is the
          most biologically diverse desert in the Western Hemisphere,
          containing numerous endangered or threatened species. Such
          species include the Mexican gray wolf and the jaguar, both of
          which coexist in this region along the U.S.-Mexico border.

              New Mexico has adequately set forth facts and other
          evidence, which taken as true, support these allegations for
          the purpose of Article III standing. It contends that the
          construction of El Paso Sector Project 1 may have a number
          of adverse effects on the Mexican wolf, including injury,
          death, harm, and harassment due to construction and related
          activities, as well as abandonment of the area for essential
          behaviors such as feeding, resting, and mating due to night
          lighting and the elimination of food sources and habitat in the
          area. Moreover, New Mexico avers that the construction of
          El Paso Sector Project 1 would interrupt the movement of the
          Mexican wolf across the U.S.-Mexico border, putting
          additional pressure on the species’ survival and recovery in
          the wild because the unimpeded movement of Mexican
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          wolves between the United States and Mexico is important
          for increasing and maintaining their genetic diversity. New
          Mexico notes that the documented movement of a radio-
          collared Mexican wolf across the border in the areas where
          border wall construction is planned demonstrates that
          construction will indeed cause such an interruption.

              Additionally, the jaguar is considered endangered by the
          U.S. Fish and Wildlife Service (“USFWS”). New Mexico
          avers that jaguars were formerly widespread in the southwest
          United States, but were extirpated by hunting. It claims that,
          in recent decades, small numbers of individuals have
          dispersed north from breeding populations in northern
          Mexico, with some reaching the mountains in southwestern
          New Mexico west of Luna County. New Mexico contends
          that, if further long-term recolonization of jaguars continues,
          areas in Doña Ana and Luna counties include suitable habitat,
          but construction of El Paso Sector Project 1 would stop jaguar
          movement through the region, potentially limiting
          recolonization.

              For these reasons, we conclude that California and New
          Mexico have each provided sufficient evidence which, if
          taken as true, would allow a reasonable fact-finder to
          conclude that both states will suffer injuries in fact to their
          environmental interests, and in particular, to protected species
          within their borders.

                                         2

              In addition, California and New Mexico have alleged that
          the Federal Defendants’ actions have interfered with their
          respective abilities to enforce their environmental laws, thus
          interfering with the terms under which they participate in the
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          federal system. They alleged that they have suffered, and will
          continue to suffer, injuries to their concrete, quasi-sovereign
          interests relating to the preservation of wildlife resources
          within their boundaries, including but not limited to wildlife
          on state properties.

              California and New Mexico have adequately set forth
          facts and other evidence, which taken as true, support these
          allegations for the purpose of Article III standing. They have
          demonstrated that border wall construction injures their
          quasi-sovereign interests by preventing them from enforcing
          their environmental laws.

              Under California law, the California Water Resources
          Control Board and nine regional boards establish water
          quality objectives and standards, and for construction projects
          like El Centro Sector Project 1, where dredge and fill
          activities are expected to occur, a regional board must
          ordinarily certify compliance with water quality standards.
          The record indicates that, absent the Secretary of Homeland
          Security’s Section 102(c) IIRIRA waiver of the Clean Water
          Act requirements for the project, El Centro Project 1 could
          not proceed without completing certification issued by a
          regional water board because the El Centro Project 1 will
          occur within or near the Pinto Wash and will traverse at least
          six ephemeral washes that have been identified as waters of
          the United States. The record further indicates that, due to
          the nature and location of construction, El Centro Project 1
          would also require enrollment in the State Water Board’s
          statewide National Pollutant Discharge Elimination General
          Permit for Storm Water Discharges Associated with
          Construction and Land Disturbance Activities.
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               Likewise, the Section 102(c) waiver of the Clean Air
          Act’s requirements undermines California’s enforcement of
          its air quality standards for complying with the Clean Air Act
          as set forth in California’s State Implementation Plan (“SIP”).
          In particular, but for the waiver, in order to move forward
          with El Centro Project 1, the Federal Defendants “would be
          obligated to comply with Rule 801 [of the SIP], which
          requires the development and implementation of a dust-
          control plan for construction projects to prevent, reduce, and
          mitigate [fine particulate matter] emissions.”

              Moreover, the Section 102(c) waiver exempts the Federal
          Defendants from complying with laws designed to protect
          endangered or threatened species. For instance, it exempts
          the Federal Defendants from consulting with the USFWS to
          ensure that El Centro Sector Project 1 “is not likely to
          jeopardize the continued existence of any endangered species
          or threatened species or result in the destruction or adverse
          modification of habitat of such species” that are identified as
          endangered under California and federal law. 16 U.S.C.
          § 1536(a)(2). As we have noted, California contends that the
          El Centro Sector Project 1 is likely to harm federal and
          California endangered species such as the peninsular bighorn
          sheep and the flat-tailed horned lizard. The presence of these
          species led the USFWS, Bureau of Land Management
          (“BLM”), California Department of Fish and Wildlife, and
          California State Parks to develop and implement the “Flat-
          Tailed Horned Lizard Rangewide Management Strategy,”
          which imposes restrictions on projects resulting in large-scale
          soil disturbances in the project area and prohibits activities
          that restrict the lizards’ interchange with lizard populations
          across the border. Without the Section 102(c) waiver, this
          management strategy would impose certain restrictions and
          mitigation measures on the border wall construction projects.
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              Under New Mexico law, the Federal Defendants, absent
          the Section 102(c) waiver of the Clean Air Act’s
          requirements, would normally be required to comply with
          New Mexico’s fugitive dust control rule and High Wind
          Fugitive Dust Mitigation Plan that New Mexico adopted
          under the Clean Air Act. See N.M. Admin. Code
          §§ 20.2.23.109–.112 (mandating that “[n]o person . . . shall
          cause or allow visible emissions from fugitive dust sources
          that: pose a threat to public health; interfere with public
          welfare, including animal or plant injury or damage, visibility
          or the reasonable use of property” and “[e]very person subject
          to this part shall utilize one or more control measures . . . as
          necessary to meet the requirements of [this section]”). The
          waiver, however, prevents New Mexico from enforcing these
          air quality rules.

              New Mexico further contends that, absent the Section
          102(c) waiver, the Federal Defendants would also normally
          be required to consult with the USFWS to protect species
          such as the Mexican wolf that are endangered under both
          federal and New Mexico Law. Moreover, the USFWS’s
          management plan for the species—the “Mexican Wolf
          Recovery Plan-First Revision”—which is designed to
          “facilitate the wolf’s revival,” “calls for a minimum of
          320 wolves in the United States and 200 in Mexico to meet
          recovery goals.” The “binational recovery strategy” of this
          plan was developed by the USFWS “in coordination with
          federal agencies in Mexico and state, federal, and Tribal
          agencies in the United States,” and “[e]ffective recovery
          requires participation by multiple parties within Federal,
          state, and local governments.” USFWS, MEXICAN WOLF
          RECOVERY PLAN-FIRST REVISION at 10, 16 (2017).
          Construction undermines this plan because it inhibits the
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          “utilization of habitat” and does not promote “meta-
          population connectivity.”

             The Section 102(c) waiver likewise prevents New Mexico
          from enforcing its Wildlife Corridors Act. Portions of El
          Paso Project 1 cross New Mexico State Trust Lands, and New
          Mexico contends that the planned pedestrian fencing disrupts
          habitat corridors in New Mexico—contravening to the
          Wildlife Corridors Act. The Act “requires New Mexico state
          agencies to create a ‘wildlife corridors action plan’ to protect
          species’ habitat.” New Mexico further avers that New
          Mexico’s State Trust Lands in and around the El Paso Project
          1 site form an important wildlife corridor for numerous
          species such as mule deer, javelina, pronghorn, bighorn
          sheep, mountain lion, bobcat, coyote, bats, quail, and other
          small game like rabbits.

              In sum, we conclude that California and New Mexico
          have each provided sufficient evidence which, if taken as
          true, would allow a reasonable fact-finder to conclude that
          they have both suffered injuries in fact to their sovereign
          interests.

                                         B

              Turning to the causation requirement, we conclude that
          California has alleged environmental and sovereign injuries
          “fairly traceable” to the Federal Defendants’ conduct. To
          satisfy this requirement, California and New Mexico “need
          not show that [Section 8005 is] ‘the very last step in the chain
          of causation.’” Ass’n of Pub. Agency Customers v.
          Bonneville Power Admin., 733 F.3d 939, 953 (9th Cir. 2013)
          (quoting Bennett v. Spear, 520 U.S. 154, 169 (1997)). “A
          causal chain does not fail simply because it has several
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          ‘links,’ provided those links are ‘not hypothetical or tenuous’
          and remain ‘plausib[le].’” Maya v. Centex Corp., 658 F.3d
          1060, 1070 (9th Cir. 2011) (quoting Nat’l Audubon Soc., Inc.
          v. Davis, 307 F.3d 835, 849 (9th Cir. 2002)).

             With respect to most of the environmental injuries,
          causation is apparent—for instance, as explained above, the
          construction and presence of the border wall will separate the
          peninsular bighorn sheep and Mexican wolf populations,
          decreasing biodiversity, and harming these species.

              Although slightly more attenuated, we also conclude that
          the causation requirement is likewise satisfied for the injuries
          to California’s and New Mexico’s quasi-sovereign interests.
          It makes no difference that the Section 102(c) waiver is most
          directly responsible for these injuries because without Section
          8005, there is no waiver. That is, without the Section 8005
          funding to construct El Centro Sector Project 1 and El Paso
          Sector Project 1, there would be no basis to invoke Section
          102(c), and therefore, no resulting harm to California’s and
          New Mexico’s sovereign interests. Thus, we conclude that
          these injuries too are fairly traceable to the Section 8005
          transfers of funds.

                                         C

              A ruling in California and New Mexico’s favor would
          redress their harms. Without the Section 8005 funds, DoD
          had inadequate funding to finance construction of these
          projects; presumably, without this funding, construction of El
          Centro Sector Project 1 and El Paso Sector Project 1 would
          cease. This would prevent both the environmental injuries
          and the sovereign injuries alleged.
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              Thus, these facts would allow a reasonable fact-finder to
          conclude that, if funds are diverted to construct border wall
          projects in the El Centro and El Paso Sectors, California and
          New Mexico will each suffer environmental and quasi-
          sovereign injuries in fact that are fairly traceable to the
          challenged conduct of the Federal Defendants and likely to be
          redressed by a favorable judicial decision. California and
          New Mexico have established the requisite Article III
          standing to challenge the Federal Defendants’ actions.

                                             IV

              The Federal Defendants argue that California and New
          Mexico lack the right to challenge the transfer of funds under
          the APA. We disagree.12

              The APA provides for judicial review of “final agency
          action for which there is no other adequate remedy in a
          court.” 5 U.S.C. § 704. Where a statute imposes obligations
          on a federal agency but the obligations do not “give rise to a
          ‘private’ right of action against the federal government[,] [a]n
          aggrieved party may pursue its remedy under the APA.” San
          Carlos Apache Tribe v. United States, 417 F.3d 1091, 1099
          (9th Cir. 2005). California and New Mexico must, however,
          establish that they fall within the zone of interests of the
          relevant statute to bring an APA claim. See Match-E-Be-
          Nash-She-Wish Band of Pottawatomi Indians v. Patchak,


               12
                 The States argue that they have both an equitable ultra vires cause
          of action and a cause of action under the APA. Although each of the
          claims can proceed separately, see Navajo Nation v. Dep’t of the Interior,
          876 F.3d 1144, 1170 (9th Cir. 2017), we do not need to address the ultra
          vires claims here. The States seek the same scope of relief under both
          causes of action and they prevail under the APA.
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          567 U.S. 209, 224 (2012) (“This Court has long held that a
          person suing under the APA must satisfy not only Article
          III’s standing requirements, but an additional test: The
          interest he asserts must be ‘arguably within the zone of
          interests to be protected or regulated by the statute’ that he
          says was violated.” (quoting Ass’n of Data Processing Serv.
          Org., Inc. v. Camp, 397 U.S. 150, 153 (1970))).

              Section 8005 does not confer a private right of action.
          Instead, it delegates a narrow slice of Congress’s
          appropriation power to DoD to allow the agency to respond
          flexibly to unforeseen circumstances implicating the national
          interest. In doing so, the statute imposes certain obligations
          upon DoD—i.e., DoD cannot invoke Section 8005 unless
          there is an unforeseen military requirement and unless
          Congress did not previously deny the item requested.
          California and New Mexico argue that DoD did not satisfy
          these obligations. We agree. Therefore, as aggrieved parties,
          California and New Mexico may pursue a remedy under the
          APA, so long as they fall within Section 8005’s zone of
          interests.

              As a threshold matter, Section 8005 is the relevant statute
          for the zone of interests test. “Whether a plaintiff’s interest
          is ‘arguably . . . protected . . . by the statute’ within the
          meaning of the zone-of-interests test is to be determined not
          by reference to the overall purpose of the Act in question . . .
          but by reference to the particular provision of law upon
          which the plaintiff relies.” Bennett, 520 U.S. at 175–76
          (emphasis added). Here, for purposes of their APA claim,
          California and New Mexico rely on Section 8005’s
          limitations. Thus, Section 8005 is the relevant statute for the
          zone of interests test.
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               The Supreme Court has clarified that, in the APA context,
          the zone of interests test does “not require any ‘indication of
          congressional purpose to benefit the would-be plaintiff.’”
          Patchak, 567 U.S. at 225 (quoting Clarke v. Sec. Indus. Ass’n,
          479 U.S. 388, 399–400 (1987)). It has repeatedly emphasized
          that the zone of interests test is “not ‘especially demanding’”
          in the APA context. Lexmark Int’l, Inc. v. Static Control
          Components, Inc., 572 U.S. 118, 130 (2014) (quoting
          Patchak, 567 U.S. at 225). Instead, for APA challenges, a
          plaintiff can satisfy the test in either one of two ways: (1) “if
          it is among those [who] Congress expressly or directly
          indicated were the intended beneficiaries of a statute,” or
          (2) “if it is a suitable challenger to enforce the statute—that
          is, if its interests are sufficiently congruent with those of the
          intended beneficiaries that the litigants are not more likely to
          frustrate than to further . . . statutory objectives.” Scheduled
          Airlines Traffic Offices, Inc. v. Dep’t of Def., 87 F.3d 1356,
          1359 (D.C. Cir. 1996) (alterations in original) (quotations and
          citations omitted). “The test forecloses suit only when a
          plaintiff’s ‘interests are so marginally related to or
          inconsistent with the purposes implicit in the statute that it
          cannot reasonably be assumed that Congress intended to
          permit the suit.’” Patchak, 567 U.S. at 225 (quoting Clarke,
          479 U.S. at 399). “We apply the test in keeping with
          Congress’s ‘evident intent’ . . . ‘to make agency action
          presumptively reviewable[,]’” and note that “the benefit of
          any doubt goes to the plaintiff.” Id. (quoting Clarke,
          479 U.S. at 399).

              In enacting Section 8005, Congress primarily intended to
          benefit itself and its constitutional power to manage
          appropriations. The obligations imposed by the section limit
          the scope of the authority delegated to DoD, reserving to
          Congress in most instances the power to appropriate funds to
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          particular DoD accounts for specific purposes. This
          conclusion is reinforced by the legislative history. Congress
          first imposed limits on DoD’s transfer authority in order to
          “tighten congressional control of the reprogramming
          process.” H.R. Rep. No. 93-662, at 16 (1973).

              The field of suitable challengers must be construed
          broadly in this context because, although Section 8005’s
          obligations were intended to protect Congress, restrictions on
          congressional standing make it difficult for Congress to
          enforce these obligations itself. See Goldwater v. Carter,
          617 F.2d 697, 702 (D.C. Cir. 1979), vacated and remanded
          on other grounds, 44 U.S. 996 (1979) (explaining that a
          member of Congress has standing only if “the alleged
          diminution in congressional influence . . . amount[s] to a
          disenfranchisement, a complete nullification or withdrawal of
          a voting opportunity”). Indeed, the House of Representatives
          filed its own lawsuit in the U.S. District Court for the District
          of Columbia challenging this same transfer of funds, but the
          court held that the House lacked standing to sue. See U.S.
          House of Reps. v. Mnuchin, 379 F. Supp. 3d 8, 11 (D.D.C.
          2019) (“And while the Constitution bestows upon Members
          of the House many powers, it does not grant them standing to
          hale the Executive Branch into court claiming a dilution of
          Congress’s legislative authority.”).

              California and New Mexico are suitable challengers
          because their interests are congruent with those of Congress
          and are not “inconsistent with the purposes implicit in the
          statute.” Patchak, 567 U.S. at 225. First, this challenge
          actively furthers Congress’s intent to “tighten congressional
          control of the reprogramming process.” H.R. Rep. No. 93-
          662, at 16 (1973). In particular, this challenge furthers this
          intent because, even though Section 8005 does not require
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          formal congressional approval to reprogram funds, the
          congressional committees expressly disapproved of DoD’s
          use of the authority here.

               Second, California and New Mexico’s challenge strives
          to reinforce the same structural constitutional principle
          Congress sought to protect through Section 8005:
          congressional power over appropriations. See U.S. Const. art.
          I, § 9, cl. 7 (“No Money shall be drawn from the Treasury,
          but in Consequence of Appropriations made by Law . . . .”);
          see also Office of Pers. Mgmt. v. Richmond, 496 U.S. 414,
          424 (1990) (explaining that this “straightforward and explicit
          command” “‘means simply that no money can be paid out of
          the Treasury unless it has been appropriated by an act of
          Congress’” (quoting Cincinnati Soap Co. v. United States,
          301 U.S. 308, 321 (1937))). California and New Mexico’s
          interest in reinforcing these structural separation of powers
          principles is unique but aligned with that of Congress because
          just as those principles are intended “to protect each branch
          of [the federal] government from incursion by the others,” the
          “allocation of powers in our federal system [also] preserves
          the integrity, dignity, and residual sovereignty of the States,”
          because “[f]ederalism has more than one dynamic.” Bond v.
          United States, 564 U.S. 211, 221–22 (2011). This interest
          applies with particular force here because the use of Section
          8005 here impacts California’s and New Mexico’s ability to
          enforce their state environmental laws. See Massachusetts v.
          EPA, 549 U.S. at 518–19 (“‘[T]he State has an interest
          independent of and behind the titles of its citizens, in all the
          earth and air within its domain. It has the last word as to
          whether its mountains shall be stripped of their forests and its
          inhabitants shall breathe pure air.’” (quoting Tenn. Copper
          Co., 206 U.S. at 237)); see also Maine v. Taylor, 477 U.S.
          131, 151 (1986) (“[A state] retains broad regulatory authority
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          to protect the health and safety of its citizens and the integrity
          of its natural resources.”). Here, the use of Section 8005
          allows the government to invoke Section 102(c) of IIRIRA to
          waive state environmental law requirements for purposes of
          building the border wall.13 Thus, Section 8005’s limitations
          protect California’s and New Mexico’s sovereign interests,
          just as they protect Congress’s constitutional interests,
          because they ensure that, ordinarily, Executive action cannot
          override these interests without congressional approval and
          funding. Therefore, just as Section 8005’s limitations serve
          Congress to preserve the “equilibrium the Constitution sought
          to establish—so that ‘a gradual concentration of the several
          powers in the same department,’ can effectively be resisted,”
          they likewise serve California and New Mexico as well.
          Morrison v. Olson, 487 U.S. 654, 699 (1988) (Scalia, J.,
          dissenting) (quoting Federalist No. 51, p. 321 (J. Madison)).

              Moreover, that the states regularly benefit from DoD’s
          use of Section 8005 reinforces that California and New
          Mexico’s interests are not “so marginally related” that “it
          can[] reasonably be assumed that Congress intended to permit
          suit.” Patchak, 567 U.S. at 225. For instance, in 2004 DoD
          invoked Section 8005 to transfer funds to pay for storm
          damages incurred by airforce bases across Florida during
          Hurricane Charley. Office of the Under Sec’y of Def.
          (Comptroller), FY 04-37 PA, Reprogramming Action (2004).
          Likewise, in 2008 DoD invoked Section 8005 to finance costs
          incurred by the National Guard in responding to Hurricane


               13
                  As we explained with respect to Article III standing, California and
          New Mexico have provided sufficient evidence by declaration to establish
          that they have suffered cognizable injuries to their sovereign interests and
          that this injury is fairly traceable to the Federal Defendants’ use of Section
          8005.
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          Gustav in Louisiana, Texas, Mississippi, and Alabama, as
          well as operations related to Hurricane Ike in Texas and
          Louisiana. Office of the Under Sec’y of Def. (Comptroller),
          FY 08-43 PA, Reprogramming Action (2008). The historical
          use of Section 8005 supports that states are “reasonable” and
          “predictable” challengers to its use, and this instance is no
          anomaly. Patchak, 567 U.S. at 227.

              For these reasons, California and New Mexico easily fall
          within the zone of interests of Section 8005 and are suitable
          challengers to enforce its obligations. We therefore affirm
          the grant of summary judgment to the States. To conclude
          otherwise would effectively hold that no entity could fall
          within Section 8005’s zone of interests, and that no agency
          action taken pursuant to Section 8005 could ever be
          challenged under the APA. Such a conclusion is not tenable,
          and a result Congress surely did not intend.

                                         V

              The district court correctly held that Section 8005 did not
          authorize DoD’s budgetary transfer to fund construction of
          the El Paso and El Centro Sectors.

              In construing a statute, we begin, as always, with the
          language of the statute. UMG Recordings, Inc. v. Shelter
          Capital Partners LLC, 718 F.3d 1006, 1026 (9th Cir. 2013).
          “When terms are not defined within a statute, they are
          accorded their plain and ordinary meaning, which can be
          deduced through reference sources such as general usage
          dictionaries.” Id. Of course, “[s]tatutory language must
          always be read in its proper context,” id. (quotations and
          citation omitted), as courts must look to the “design of the
          statute as a whole and to its object and policy,” id. (quotations
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          and citation omitted), and “the words of a statute must be read
          in their context and with a view to their place in the overall
          statutory scheme,” Home Depot U.S.A., Inc. v. Jackson,
          139 S. Ct. 1743, 1748 (2019) (quotations and citation
          omitted).

              Section 8005’s transfer authority cannot be invoked
          “unless for higher priority items, based on unforeseen
          military requirements, than those for which originally
          appropriated and in no case where the item for which funds
          are requested has been denied by the Congress.” Two
          limitations are important to our analysis: (1) that the transfer
          must be “based on unforeseen military requirements,” and
          (2) that the transfer authority cannot be invoked if the “item
          for which funds are requested ha[d] been denied by the
          Congress.” We conclude that the district court correctly
          determined that the border wall was not an unforeseen
          military requirement, that funding for the wall had been
          denied by Congress, and therefore, that the transfer authority
          granted by Section 8005 was not permissibly invoked.

                                         A

              Section 8005 authorizes the transfer of funds only in
          response to an “unforeseen military requirement.” The
          district court properly concluded that the need for a border
          wall was not unforeseen. We also conclude that the need was
          unrelated to a military requirement.

                                         1

             Section 8005 does not define “unforeseen.” Therefore,
          we start by considering the ordinary meaning of the word.
          Something is unforeseen when it is “not anticipated or
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          expected.”      Unforeseen, MERRIAM-WEBSTER ONLINE
          DICTIONARY (2020). By contrast, to foresee is “to see
          (something, such as a development) beforehand.” Foresee,
          MERRIAM-WEBSTER ONLINE DICTIONARY (2020) (emphasis
          added). Prior use of this authority confirms this meaning.
          Previously, DoD has invoked its Section 8005 authority to
          transfer funds to repair hurricane and typhoon damage to
          military bases—natural disasters that inflict damage that may
          not be anticipated or expected ahead of time. We conclude
          that an unforeseen requirement is one that DoD did not
          anticipate or expect.

              Neither the problem, nor the President’s purported
          solution, was unanticipated or unexpected here. The
          smuggling of drugs into the United States at the southern
          border is a longstanding problem. U.S. CUSTOMS AND
          B ORDER P ATROL , B ORDER P ATROL H I STORY ,
          https://www.cbp.gov/border-security/along-us-borders/history
          (last visited June 16, 2020) (“By [the early 1960’s]
          the business of alien smuggling began to involve drug
          smuggling also. The Border Patrol assisted other agencies in
          intercepting illegal drugs from Mexico.”); United States v.
          Flores-Montano, 541 U.S. 149, 153 (2004) (“That interest in
          protecting the borders is illustrated in this case by the
          evidence that smugglers frequently attempt to penetrate our
          borders with contraband secreted in their automobiles’ fuel
          tank. Over the past 5 1/2 fiscal years, there have been
          18,788 vehicle drug seizures at the southern California
          ports of entry.”). Indeed, the federal Drug Enforcement
          Administration was created over four decades ago in 1974 in
          large part to address the smuggling of illegal drugs into the
          United States. See Reorganization Plan No. 2 of 1973, 87
          Stat. 1091, as amended Pub. L. 93-253, §1, 88 Stat. 50
          (1974).
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             Congress’s joint resolution terminating the President’s
          declaration of a national emergency only reinforces this
          point: there was no unanticipated crisis at the border.
          Nothing prevented Congress from funding solutions to this
          problem through the ordinary appropriations process—
          Congress simply chose not to fund this particular solution.

               The long, well-documented history of the President’s
          efforts to build a border wall demonstrates that he considered
          the wall to be a priority from the earliest days of his
          campaign in 2015. See, e.g., Here’s Donald Trump’s
          Presidential Announcement Speech, TIME (June 16, 2015) (“I
          would build a great wall . . . I will build a great, great wall on
          our southern border.”); Transcript of Donald Trump’s
          Immigration Speech, NEW YORK TIMES (Sept. 1, 2016) (“On
          day one, we will begin working on an impenetrable, physical,
          tall, power, beautiful southern border wall.”). Moreover, his
          repeated pronouncements on the subject made clear that
          federal agencies like DoD might be tasked with the wall’s
          funding and construction. Congress’s repeated denials of
          funding only drew national attention to the issue and put
          agencies on notice that they might be asked to finance
          construction. See Securing America’s Future Act of 2018,
          H.R. 4760, 115th Cong. § 1111 (2018); Border Security and
          Immigration Reform Act of 2018, H.R. 6136, 115th Cong.
          § 5101 (2018); American Border Act, H.R. 6415, 115th
          Cong. § 4101 (2018); Fund and Complete the Border Wall
          Act, H.R. 6657, 115th Cong. § 2 (2018); Build the Wall,
          Enforce the Law Act of 2018, H.R. 7059, 115th Cong. § 9
          (2018); 50 Votes for the Wall Act, H.R. 7073, 115th Cong.
          § 2 (2018); WALL Act of 2018, S. 3713, 115th Cong. § 2
          (2018). In short, neither the conditions at the border nor the
          President’s position that a wall was needed to address those
          conditions was unanticipated or unexpected by DoD.
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              The Federal Defendants’ arguments to the contrary are
          unpersuasive. They assert that “an agency’s request” “will be
          foreseen” only “when it is received by DoD in time to include
          in the submission to Congress [for the yearly budget],” and
          that therefore, the transfer at issue here complied with the text
          of the statute. (emphasis added). There are two problems
          with the Federal Defendants’ position.

              First, Section 8005 permits transfers based only on
          unforeseen military requirements—not unforeseen budgetary
          requests. A requirement that gives rise to a funding request
          is distinct from the request itself. Here, the requirement that
          gave rise to the Section 284 requests is a border wall. Thus,
          to invoke the statute, the need for a border wall must have
          been unforeseen. To hold otherwise—i.e., to conclude that
          transfers are permitted under Section 8005 if they are based
          on unforeseen budgetary requests—would undermine the
          narrowness of the statute and potentially encourage DoD and
          other agencies to submit budgetary requests after DoD has
          submitted its final budget to Congress in order to skirt the
          congressional appropriations process.           This result is
          inconsistent with the purpose of Section 8005: to “tighten
          congressional control of the reprogramming process.” H.R.
          Rep. No. 93-662, at 16 (1973). If this interpretation
          prevailed, the exception would swallow the rule and
          undermine Congress’s constitutional appropriations power.

              Second, even if we were to accept the government’s
          definition of “requirement” as equivalent to “request,” DHS’s
          specific Section 284 requests were both anticipated and
          expected, even within the confines of the appropriations
          context. Nearly six months before the enactment of the 2019
          DoD Appropriations Act, the President wrote the following
          in a memorandum to the Secretary of Defense, the Attorney
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          General, and the Secretary of Homeland Security: “The
          Secretary of Defense shall support the Department of
          Homeland Security in securing the southern border and taking
          other necessary actions to stop the flow of deadly drugs and
          other contraband . . . into this country.” Further, in a
          response to a request for information from the House Armed
          Services Committee, DoD wrote that the “DoD Comptroller
          with[held] over 84% ($947 million) of [counter-drug]
          appropriated funds for distribution until the 4th Quarter for
          possible use in supporting Southwest Border construction last
          fiscal year.” As explained by the Staff Director of the House
          Armed Services Committee, this “suggests that DoD was
          considering using its counter-drug authority under 10 U.S.C.
          § 284 for southern border construction in early 2018.”
          Further still, because Section 284 only allows DoD to provide
          support that is requested by other agencies, DoD’s retention
          of funds suggests it likely anticipated such a request. See
          10 U.S.C. § 284(a)(1) (“The Secretary of Defense may
          provide support . . . if . . . such support is requested.”).

               The Federal Defendants also unpersuasively equate
          “foreseen” with “known.” “[T]o know” means “to perceive
          directly: have direct cognition of.” Know, MERRIAM-
          WEBSTER ONLINE DICTIONARY (2020). This interpretation
          effectively eliminates any element of anticipation or
          expectation. “‘Congress’ choice of words is presumed to be
          deliberate’ and deserving of judicial respect.” SAS Inst., Inc.
          v. Iancu, 138 S. Ct. 1348, 1355 (2018) (quoting Univ. of Tex.
          Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 353 (2013)). Thus,
          we must presume that Congress’s use of the word
          “unforeseen” is deliberate. Congress could have easily
          specified that a transfer is permitted only when based on
          “unknown” requirements, but it did not. Instead, Congress
          specified that Section 8005 permits a transfer only where a
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          requirement was unforeseen—i.e., unanticipated or
          unexpected. We decline to read into the text a lower standard
          based on actual knowledge.14

              In sum, both the requirement to build a wall on the
          southern border as well as the DHS request to DoD to build
          that wall were anticipated and expected. Thus, neither was
          “unforeseen” within the meaning of Section 8005.

                                             2

              Section 8005 not only mandates that the requirement be
          unforeseen, but also that it be a military requirement. Under
          relevant definitions, the construction of El Centro and El Paso
          projects does not satisfy any definition of a “military
          requirement.”

              The 2019 Appropriations Act does not define “military.”
          Therefore, we start by considering its ordinary meaning: “of
          or relating to soldiers, arms, or war.” Military, MERRIAM-
          WEBSTER ONLINE DICTIONARY (2020). The border wall
          construction projects here plainly fail to satisfy this definition
          because the Federal Defendants have argued neither that the
          border wall construction projects are related to the use of
          soldiers or arms, nor that there is a war on the southern
          border.



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                 Indeed, in DoD parlance, the possibility that border funding from
          the DoD budget might be requested was a “known unknown,” as opposed
          to “unforeseeable,” which would be an “unknown unknown,” a category
          which former Secretary of Defense Rumsfeld described as including a
          “genuine surprise.” DONALD RUMSFELD, KNOWN AND UNKNOWN: A
          MEMOIR, p. xiv. (2011).
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              The administrative record underscores this point, and
          supports that the border wall construction projects are not
          military ones. The record demonstrates that the diverted
          funding is primarily intended to support DHS—a civilian
          agency entirely separate from any branch of the armed forces.
          The Assistant Secretary of Defense stated that the funds were
          transferred “to provide assistance to DHS to construct fencing
          to block drug-smuggling corridors in three project areas along
          the southern border of the United States.” He also explained
          that the purpose of the transfer was to “support DHS’s efforts
          to secure the southern border.” By contrast, the transfer of
          funds for border wall construction does little to assist DoD
          with any of its operations. Even to the extent it might, it does
          so only insofar as it helps DoD assist DHS: as summarized by
          the Chairman of the Joint Chiefs of Staff and DHS, border
          wall projects “allow DoD to provide support to DHS more
          efficiently and effectively.” (emphasis added). In short, the
          fact that construction is intended to support a civilian agency,
          as opposed to DoD itself or any branch of the armed forces,
          emphasizes that the transfer fails to meet the plain meaning
          of “military.”

              The border wall construction projects do not even satisfy
          a statutory definition specifically invoked by the Federal
          Defendants. See also WILLIAM N. ESKRIDGE ET AL.,
          LEGISLATION AND STATUTORY INTERPRETATION 273 (2d ed.
          2006) (“A word or clause that is ambiguous at first glance
          might be clarified if ‘the same terminology is used elsewhere
          in a context that makes its meaning clear’” and such
          coherence arguments may be invoked “across as well as
          within statutes” (quoting United Savings Ass’n of Tex. v.
          Timbers of Inwood Forest Assocs., Ltd., 484 U.S. 365, 371
          (1988))).
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              The Federal Defendants have also invoked 10 U.S.C.
          § 2808 (“Section 2808”) to fund other border wall
          construction projects on the southern border. Section 2808
          incorporates the definition of “military construction”
          provided by 10 U.S.C. § 2801(a): it defines “military
          construction” as construction associated with a “military
          installation” or “defense access road.” Section 2801(c)(4)
          further defines “military installation” as “a base, camp, post,
          station, yard, center, or other activity under the jurisdiction of
          the Secretary of a military department.”15

              The border wall construction projects at issue in this
          appeal are not carried out with respect to a “military
          installation.” The projects themselves are not a base, camp,
          station, yard, or center, and unlike the projects considered by
          the Federal Defendants’ related Section 2808 appeal, the

               15
                  To be sure, Section 8005 states that it applies only to transfers
          between appropriations for “military functions,” as opposed to the phrase
          “military construction” used in Section 2808. However, the statutes
          address similar subject matter, and it is of some significance that the
          Federal Defendants have invoked Section 2808 for functionally identical
          projects, claiming that such projects constitute “military construction”
          within the meaning of that statute, while also asserting that such projects
          satisfy the term “military” within the meaning of Section 8005. And, as
          we know, “‘statutes addressing the same subject matter’ should be
          construed in pari materia.” Fed. Trade Comm’n v. AMG Capital Mgmt.,
          LLC, 910 F.3d 417, 433 n.2 (9th Cir. 2018) (O’Scannlain, J., concurring)
          (quoting Wachovia Bank v. Schmidt, 546 U.S. 303, 315 (2006)). Under
          that doctrine, related statutes should “be construed as if they were one
          law.” Erlenbaugh v. United States, 409 U.S. 239, 243 (1972) (quotations
          and citation omitted). Further, even apart from in pari materia
          considerations, the Supreme Court “has previously compared
          nonanalogous statutes to aid its interpretation of them.” Nat’l Fed’n of
          Fed. Emps., Local 1309 v. Dep’t of Interior, 526 U.S. 86, 105 (1999)
          (O’Connor, J., dissenting) (citing Overstreet v. North Shore Corp.,
          318 U.S. 125, 131–32 (1943)).
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          projects at issue in this appeal have not been brought under
          military jurisdiction. Moreover, there are no military
          installations in the El Centro or El Paso project areas, nor any
          claim of a requirement for a defense access road; instead, as
          we have noted, the projects affect open wilderness areas—the
          El Centro Sector project involves the Jacumba Wilderness
          areas, and the El Paso Sector project involves the Chihuahuan
          desert. The fact that the construction projects fail to meet
          Section 2808’s definition of military construction supports
          that these projects fail to satisfy any meaningful definition of
          “military.”

              Even if we were to afford some consideration to the
          subchapter title for Section 284 authorizing “Military Support
          for Civilian Law Enforcement Agencies,” there is a
          distinction to be drawn between “military support,” and what
          the statute requires: a “military requirement.” Requirement
          ordinarily means “something wanted or needed,” or
          “something essential to the existence or occurrence of
          something else.” Requirement, MERRIAM-WEBSTER ONLINE
          DICTIONARY (2020). The border wall construction projects
          are not something needed or essential to the armed forces,
          soldiers, arms, or any sort of war effort. Rather, as explained
          above, they are designed to “provide assistance” and
          “support” to DHS, a civilian agency. While providing such
          support may be appropriate under Section 284, a request for
          this support without connection to any military function fails
          to rise to the level of a military requirement for purposes of
          Section 8005. Simply because a civilian agency requests
          support in furtherance of a particular objective, even when
          such support is authorized by statute, does not mean that the
          military itself requires that objective.
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              To conclude that supporting projects unconnected to any
          military purpose or installation satisfies the meaning of
          “military requirement” would effectively write the term out
          of Section 8005. Therefore, we conclude that the transfers at
          issue here do not satisfy Section 8005’s military purpose
          requirement.

                                         B

              In addition, Section 8005 authorizes the transfer of funds
          only when “the item for which funds are requested has [not]
          been denied by the Congress.” The question here is whether
          by declining to provide sufficient funding for the border wall,
          Congress denied the item for which funds were requested
          within the meaning of the statute.

              As we have explained, Congress declined to fund the
          border wall numerous times in a variety of ways. Congress
          failed to pass seven different bills, see supra at 37–38, that
          were proposed specifically to fund the wall. Congress also
          refused to appropriate the $5.7 billion requested by the White
          House in the CAA; instead, Congress appropriated
          $1.375 billion, less than a quarter of the funds requested, for
          “the construction of primary pedestrian fencing . . . in the Rio
          Grande Valley Sector.” CAA at § 230(a)(1).

              The Federal Defendants assert that the Section 8005
          transfer would be invalid only if Congress had denied a
          Section 284 budgetary line item request to fund the border
          wall. But “[i]n common usage, a general denial of something
          requested can, and in this case does, encompass more specific
          or narrower forms of that request.” Sierra Club v. Trump,
          929 F.3d 670, 691 (9th Cir. 2019). Here, Congress refused to
          provide the funding requested by the President for border
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          wall construction: a general denial. This general denial
          necessarily encompasses narrower forms of denial—such as
          the denial of a Section 284 budgetary line item request. We
          decline to impose upon Congress an obligation to deny every
          possible source of funding when it refuses to fund a particular
          project—surely when Congress withheld additional funding
          for the border wall, it intended to withhold additional funding
          for the wall, regardless of its source. “No” means no.

              To hold that Congress did not previously deny the
          Executive Branch’s request for funding to construct a border
          wall would be to “find secreted in the interstices of legislation
          the very grant of power which Congress consciously
          withheld.” Youngstown Sheet & Tube Co. v. Sawyer,
          343 U.S. 579, 609 (1952) (Frankfurter, J., concurring).
          Regardless of how specific a denial may be in some
          circumstances, Congress’s broad and resounding denial
          resulting in a 35-day partial government shutdown must
          constitute a previous denial for purposes of Section 8005.
          This history precludes the use of Section 8005’s transfer
          authority.

                                         C

              In sum, Section 8005 did not authorize the transfer of
          funds challenged by California and New Mexico. Absent
          such statutory authority, the Executive Branch lacked
          independent constitutional authority to transfer the funds at
          issue here. See City and Cty. of San Francisco v. Trump,
          897 F.3d 1225, 1233–34 (9th Cir. 2018) (“[W]hen it comes to
          spending, the President has none of ‘his own constitutional
          powers’ to ‘rely’ upon.” (quoting Youngstown, 343 U.S.
          at 637 (Jackson, J., concurring))). Therefore, the transfer of
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          funds at issue here was unlawful. We affirm the district
          court’s declaratory judgment to California and New Mexico.

                                        VI

              Finally, we consider the district court’s denial of
          California and New Mexico’s request for injunctive relief, a
          decision we review for an abuse of discretion. See Midgett v.
          Tri-Cty. Metro. Transp. Dist. of Or., 254 F.3d 846, 849 (9th
          Cir. 2001). The district court denied the States’ request for a
          permanent injunction primarily because the relief sought was
          duplicative of the relief the district court had already granted
          in the Sierra Club matter. That decision, which is the only
          one before us in this appeal, was certainly not an abuse of
          discretion. As we have noted, however, subsequent to the
          district court’s decision, the Supreme Court stayed the Sierra
          Club permanent injunction. See Sierra Club, 140 S. Ct. at 1.

              Nevertheless, given the totality of the considerations at
          issue in this case, we continue to see no abuse of discretion in
          the district court’s order, even though at this moment, the
          injunction in Sierra Club no longer affords the States
          protection. We emphasize, however, that depending on
          further developments in these cases, the States are free to
          seek further remedies in the district court or this Court.

                                        VII

               In sum, we affirm the district court. We conclude that
          California and New Mexico have Article III standing to file
          their claims, that California and New Mexico are sufficiently
          within Section 8005’s zone of interests to assert an APA
          claim, and that the Federal Defendants violated Section 8005
          in transferring DoD appropriations to fund the El Centro and
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          El Paso Sectors of the proposed border wall. We also decline
          to reverse the district court’s decision against imposing a
          permanent injunction, without prejudice to renewal. Given
          our resolution of this case founded upon the violations of
          Section 8005, we need not—and do not—reach the merits of
          any other theory asserted by the States, nor reach any other
          issues presented by the parties.

              AFFIRMED.



          COLLINS, Circuit Judge, dissenting:

              In the judgment under review, the district court granted
          summary judgment and declaratory relief to California and
          New Mexico on their claims challenging the Acting Secretary
          of Defense’s invocation of § 8005 and § 9002 of the
          Department of Defense Appropriations Act, 2019 (“DoD
          Appropriations Act”), Pub. L. No. 115-245, Div. A, 132 Stat.
          2981, 2999, 3042 (2018), to transfer $2.5 billion in funds that
          Congress had appropriated for other purposes into a different
          Department of Defense (“DoD”) appropriation that could
          then be used by DoD for construction of border fencing and
          accompanying roads and lighting. The States allege that the
          transfers were not authorized under § 8005 and § 9002 and
          that, as a result of the construction activities made possible by
          the unlawful transfers, the States have suffered injuries to
          their sovereign and environmental interests. The majority
          concludes that the States have Article III standing; that they
          have a cause of action to challenge the transfers under the
          Administrative Procedure Act (“APA”); that the transfers
          were unlawful; and that the district court properly determined
          that the States are not entitled to any relief beyond a
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          declaratory judgment. I agree that at least California has
          established Article III standing, but in my view the States
          lack any cause of action to challenge the transfers, under the
          APA or otherwise. And even assuming that they had a cause
          of action, I conclude that the transfers were lawful.
          Accordingly, I would reverse the district court’s partial
          judgment for the States and remand for entry of partial
          summary judgment in favor of the Defendants. I respectfully
          dissent.

                                        I

              The parties’ dispute over DoD’s funding transfers comes
          to us against the backdrop of a complex statutory framework
          and an equally complicated procedural history. Before
          turning to the merits, I will briefly review both that
          framework and that history.

                                        A

              Upon request from another federal department, the
          Secretary of Defense is authorized to “provide support for the
          counterdrug activities” of that department by undertaking the
          “[c]onstruction of roads and fences and installation of
          lighting to block drug smuggling corridors across
          international boundaries of the United States.” 10 U.S.C.
          § 284(a), (b)(7). On February 25, 2019, the Department of
          Homeland Security (“DHS”) made a formal request to DoD
          for such assistance. Noting that its counterdrug activities
          included the construction of border infrastructure, see Illegal
          Immigration Reform and Immigrant Responsibility Act of
          1996 (“IIRIRA”), Pub. L. No. 104-208, Div. C, § 102(a),
          110 Stat. 3009-546, 3009-554 (1996) (codified as amended as
          a note to 8 U.S.C. § 1103), DHS requested that “DoD,
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          pursuant to its authority under 10 U.S.C. § 284(b)(7), assist
          with the construction of fences[,] roads, and lighting” in
          several specified “Project Areas” in order “to block drug-
          smuggling corridors across the international boundary
          between the United States and Mexico.”

              On March 25, 2019, the Acting Defense Secretary
          invoked § 284 and approved the provision of support for,
          inter alia, DHS’s “El Paso Sector Project 1,” which would
          involve DoD construction of border fencing, roads, and
          lighting in Luna and Doña Ana Counties in New Mexico.
          Thereafter, the Secretary of Homeland Security invoked his
          authority under § 102(c) of IIRIRA to waive a variety of
          federal environmental statutes with respect to the planned
          construction of border infrastructure in the El Paso Sector, as
          well as “all . . . state . . . laws, regulations, and legal
          requirements of, deriving from, or related to the subject of,”
          those federal laws. See 84 Fed. Reg. 17185, 17187 (Apr. 24,
          2019).

              Subsequently, on May 9, 2019, the Acting Defense
          Secretary again invoked § 284, this time to approve DoD’s
          construction of similar border infrastructure to support, inter
          alia, DHS’s “El Centro Sector Project 1” in Imperial County,
          California. Less than a week later, the Secretary of
          Homeland Security again invoked his authority under IIRIRA
          § 102(c) to waive federal and state environmental laws, this
          time with respect to the construction in the relevant section of
          the El Centro Sector. See 84 Fed. Reg. 21800, 21801 (May
          15, 2019).

              Although § 284 authorized the Acting Defense Secretary
          to provide this support, there were insufficient funds in the
          relevant DoD appropriation to do so. Specifically, for Fiscal
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          Year 2019, Congress had appropriated for “Drug Interdiction
          and Counter-Drug Activities, Defense” a total of only
          $670,271,000 that could be used for counter-drug support.
          See DoD Appropriations Act, Title VI, 132 Stat. at 2997
          (appropriating, under Title governing “Other Department of
          Defense Programs,” a total of “$881,525,000, of which
          $517,171,000 shall be for counter-narcotics support”); id.,
          Title IX, 132 Stat. at 3042 (appropriating $153,100,000 under
          the Title governing “Overseas Contingency Operations”).
          Accordingly, to support the El Paso Sector Project 1, the
          Acting Secretary on March 25, 2019 invoked his authority to
          transfer appropriations under § 8005 of the DoD
          Appropriations Act and ordered the transfer of $1 billion
          from “excess Army military personnel funds” into the “Drug
          Interdiction and Counter-Drug Activities, Defense”
          appropriation. That transfer was accomplished by moving
          $993,627,000 from the “Military Personnel, Army”
          appropriation and $6,373,000 from the “Reserve Personnel,
          Army” appropriation.

              To support the El Centro Sector Project 1, the Acting
          Secretary on May 9, 2019 again invoked his transfer authority
          to move an additional $1.5 billion into the “Drug Interdiction
          and Counter-Drug Activities, Defense” appropriation.
          Pursuant to § 8005 of the DoD Appropriations Act, DoD
          transferred a total of $818,465,000 from 12 different DoD
          appropriations into the “Drug Interdiction and Counter-Drug
          Activities, Defense” appropriation. Invoking the Secretary’s
          distinct but comparable authority under § 9002 to transfer
          funds appropriated under the separate Title governing
          “Overseas Contingency Operations,” DoD transferred
          $604,000,000 from the “Afghanistan Security Forces Fund”
          appropriation and $77,535,000 from the “Operation and
          Maintenance, Defense-Wide” appropriation into the “Drug
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          Interdiction and      Counter-Drug       Activities,   Defense”
          appropriation.

                                          B

              The complex procedural context of this case involves two
          parallel lawsuits and four appeals to this court, and it has
          already produced one published Ninth Circuit opinion that
          was promptly displaced by the Supreme Court.

                                          1

              California and New Mexico, joined by several other
          States, filed this action in the district court against the Acting
          Defense Secretary, DoD, and a variety of other federal
          officers and agencies. In their March 13, 2019 First
          Amended Complaint, they sought to challenge, inter alia, any
          transfer of funds by the Acting Secretary under § 8005 or
          § 9002. The Sierra Club and the Southern Border
          Communities Coalition (“SBCC”) filed a similar action, and
          their March 18, 2019 First Amended Complaint also sought
          to challenge any such transfers. Both sets of plaintiffs moved
          for preliminary injunctions in early April 2019. The portion
          of the States’ motion that was directed at the § 8005 transfers
          was asserted only on behalf of New Mexico and only with
          respect to the construction on New Mexico’s border (i.e., El
          Paso Sector Project 1). The Sierra Club motion was likewise
          directed at El Paso Sector Project 1, but it also challenged two
          other projects in Arizona (“Yuma Sector Projects 1 and 2”).

              After concluding that the Sierra Club and SBCC were
          likely to prevail on their claims that the transfers under
          § 8005 were unlawful and that these organizational plaintiffs
          had demonstrated a “likelihood of irreparable harm to their
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          members’ aesthetic and recreational interests,” the district
          court on May 24, 2019 granted a preliminary injunction
          enjoining Defendants from using transferred funds for “Yuma
          Sector Project 1 and El Paso Sector Project 1.”1 In a
          companion order, however, the district court denied
          preliminary injunctive relief to the States. Although the court
          held that New Mexico was likely to succeed on its claim that
          the transfers under § 8005 were unlawful, the court concluded
          that, in light of the grant of a preliminary injunction against
          El Paso Sector Project 1 to the Sierra Club and SBCC, New
          Mexico would not suffer irreparable harm from the denial of
          its duplicative request for such relief. On May 29, 2019,
          Defendants appealed the preliminary injunction in favor of
          the Sierra Club and SBCC, and after the district court refused
          to stay that injunction, Defendants moved in this court for an
          emergency stay on June 3, 2019. New Mexico did not appeal
          the district court’s denial of its duplicative request for a
          preliminary injunction.

                                               2

              While the Defendants’ emergency stay request was being
          briefed and considered in this court, California and New
          Mexico (but not the other States) moved for partial summary
          judgment on June 12, 2019. The motion was limited to the
          issue of whether the transfers under § 8005 and § 9002 were
          lawful, and it requested corresponding declaratory relief, as
          well as a permanent injunction against the use of transferred
          funds for El Paso Sector Project 1 and El Centro Sector


               1
                By the time the district court ruled, DoD had decided not to use
          funds transferred under § 8005 for any construction in Yuma Sector
          Project 2, and so the request for a preliminary injunction as to that project
          was moot.
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          Project 1. The Sierra Club and SBCC filed a comparable
          summary judgment motion that same day, directed at those
          two projects, as well as at Yuma Sector Project 1 and three
          other Arizona projects (“Tucson Projects 1, 2, and 3”).
          Defendants filed cross-motions for summary judgment on the
          legality of the transfers under § 8005 and § 9002 with respect
          to the corresponding projects at issue in each case.

              On June 28, 2019, the district court granted partial
          summary judgment and declaratory relief to both sets of
          plaintiffs, concluding that the transfers under § 8005 and
          § 9002 were unlawful. The court granted permanent
          injunctive relief to the Sierra Club and SBCC against all six
          projects, but it denied any such relief to California and New
          Mexico. The district court concluded that California and
          New Mexico had failed to prove a threat of future
          demonstrable environmental harm. The court expressed
          doubts about the States’ alternative theory that they had
          demonstrated injury to their sovereign interests, but the court
          ultimately concluded that it did not need to resolve that issue.
          As before, the district court instead held that California and
          New Mexico would not suffer any irreparable harm in light
          of the duplicative relief granted to the Sierra Club and SBCC.
          The district court denied Defendants’ cross-motions for
          summary judgment in both cases. Invoking its authority
          under Federal Rule of Civil Procedure 54(b), the district court
          entered partial judgments in favor of, respectively, the Sierra
          Club and SBCC, and California and New Mexico. The
          district court denied Defendants’ request to stay the
          permanent injunction pending appeal.
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                                              3

              On June 29, 2019, Defendants timely appealed in both
          cases and asked this court to stay the permanent injunction in
          the Sierra Club case based on the same briefing and argument
          that had been presented in the preliminary injunction appeal
          in that case. California and New Mexico timely cross-
          appealed nine days later. On July 3, 2019, this court
          consolidated Defendants’ appeal of the judgment and
          permanent injunction in the Sierra Club case with
          Defendants’ pending appeal of the preliminary injunction.2
          That same day, a motions panel of this court issued a 2–1
          published decision denying Defendants’ motion for a stay of
          the permanent injunction (which had overtaken the
          preliminary injunction). See Sierra Club v. Trump, 929 F.3d
          670 (9th Cir. 2019).

              Defendants then applied to the Supreme Court for a stay
          of the permanent injunction pending appeal, which the Court
          granted on July 26, 2019. See Trump v. Sierra Club, 140 S.
          Ct. 1 (2019). That stay remains in effect “pending disposition
          of the Government’s appeal in the United States Court of
          Appeals for the Ninth Circuit and disposition of the
          Government’s petition for a writ of certiorari, if such writ is
          timely sought.” Id. at 1. In granting the stay, the Court
          concluded that “the Government has made a sufficient
          showing at this stage that [the Sierra Club and SBCC] have
          no cause of action to obtain review of the Acting Secretary’s
          compliance with Section 8005.” Id.




               2
                This court later consolidated the appeal and cross-appeal in the
          States’ case with the already-consolidated appeals in the Sierra Club case.
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                                              II

               The Government has not contested the Article III standing
          of California and New Mexico on appeal, but as the majority
          notes, “‘the court has an independent obligation to assure that
          standing exists, regardless of whether it is challenged by any
          of the parties.’” See Maj. Opin. at 19 n.10 (quoting Summers
          v. Earth Island Inst., 555 U.S. 488, 499 (2009)). As “an
          indispensable part of the plaintiff’s case, each element” of
          Article III standing “must be supported in the same way as
          any other matter on which the plaintiff bears the burden of
          proof, i.e., with the manner and degree of evidence required
          at the successive stages of the litigation.” Lujan v. Defenders
          of Wildlife (Lujan v. Defenders), 504 U.S. 555, 561 (1992).
          Thus, although well-pleaded allegations are enough at the
          motion-to-dismiss stage, they are insufficient to establish
          standing at the summary-judgment stage. Id. “In response to
          a summary judgment motion, . . . the plaintiff can no longer
          rest on such mere allegations, but must set forth by affidavit
          or other evidence specific facts, which for purposes of the
          summary judgment motion will be taken to be true.” Id.
          (simplified).3

             In reviewing standing sua sponte in the context of cross-
          motions for summary judgment, it is appropriate to apply the


              3
                I favor the general practice of reciting the language of the quoted
          source as if that source were stating those exact words for the first time,
          thereby disregarding any indicia of quotations within quotations (such as
          brackets, ellipses, and multiple layers of quotation marks). Going
          forward, I will use the word “simplified” rather than “cleaned up,”
          because it seems less colloquial and it avoids suggesting that the more
          precise quotation format needed “cleaning.” Of course, if I make any
          changes to the simplified quotation, then those would be shown with
          brackets or ellipses.
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          more lenient standard that takes the plaintiffs’ evidence as
          true and then asks whether a reasonable trier of fact could
          find Article III standing. Lujan v. Defenders, 504 U.S. at 563
          (applying this standard in evaluating whether Government’s
          cross-motion for summary judgment should have been
          granted). In their briefs below concerning the parties’ cross-
          motions, California and New Mexico asserted that
          Defendants’ allegedly unlawful conduct caused both harm to
          the States’ sovereign interests in enforcing their
          environmental laws as well as actual environmental harm to
          animals and plants within the States. I agree that at least the
          second of these two asserted injuries—the threatened
          occurrence of actual environmental harm—is sufficient to
          establish Article III standing in this case, at least as to
          California.4 Although the district court correctly recognized
          that the States’ evidence of injury was very thin, see infra
          note 6, California’s evidence is sufficient to establish
          standing at the summary-judgment stage.

              Even assuming arguendo that the States must show a
          threat of injury to a protected species within their borders,
          rather than merely injury to individual animals or plants




               4
                As the majority notes, see Maj. Opin. at 19 n.10, the district court
          explicitly addressed Article III standing to challenge the transfers only in
          the context of New Mexico’s request for a preliminary injunction.
          Although Article III standing was not revisited when both California and
          New Mexico subsequently moved for summary judgment and a permanent
          injunction, the States’ showing of injury in support of a permanent
          injunction provides a sufficient basis for evaluating their Article III
          standing.
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          belonging to such a species,5 I think that California has made
          a sufficient showing. Accepting the States’ evidence as true,
          and drawing all reasonable inferences in their favor, a
          reasonable trier of fact could conclude that the construction
          activities associated with El Centro Sector Project 1 in
          California could materially adversely affect the local
          population of flat-tailed horned lizards, which California has
          classified as a “Species of Special Concern.” Specifically,
          California presented declarations from two biologists
          explaining how DoD’s construction activities, and the
          resulting border barrier, would materially harm the lizard
          population by increasing opportunities for natural predators
          to catch lizards, by creating a “genetic break” between the
          populations within the species’ small range area on either side
          of the barrier, and by accidentally killing a potentially
          significant number of lizards during the construction itself.
          This evidence is sufficient to establish an injury-in-fact to
          California’s environmental interests. Cf. Massachusetts v.
          EPA, 549 U.S. 497, 521 (2007) (significant harm to
          ecosystem is an injury to the State for Article III standing
          purposes).6

               5
                 There are aspects to the States’ arguments below—and of the
          majority opinion here—that seem implicitly to rest on the expansive view
          that the States would suffer cognizable injury-in-fact if there is harm to a
          single protected animal or to any of the plants in the construction area.
          Such theories push the outermost limits of plausible injury-in-fact, cf.
          Lujan v. Defenders, 504 U.S. at 566–67, but it is unnecessary to rely on
          them here.
              6
                 At the permanent-injunction stage, the district court found
          unpersuasive California’s evidence of potential harm to this lizard species,
          especially when weighed against the Government’s countervailing
          evidence of mitigation efforts. I do not necessarily disagree with that
          weighing of the competing evidence, but it addresses the injury issue in a
          different posture under different standards. The district court’s denial of
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               California’s showing of a material risk to a “Species of
          Special Concern” is fairly traceable to the challenged funding
          transfers and would be redressed by a favorable decision.
          Lujan v. Defenders, 504 U.S. at 560–61. It therefore suffices
          to give us Article III jurisdiction to address the merits of the
          States’ causes of action. We thus may proceed to do so
          without having to address New Mexico’s standing. See
          Secretary of the Interior v. California, 464 U.S. 312, 319 n.3
          (1984) (“Since the State of California clearly does have
          standing, we need not address the standing of the other
          [plaintiffs], whose position here is identical to the State’s.”).
          And given my view that the States’ legal challenges fail, I
          perceive no obstacle to entering judgment against both
          California and New Mexico without determining whether the
          latter has standing. See Steel Co. v. Citizens for a Better
          Environment, 523 U.S. 83, 98 (1998).7


          permanent injunctive relief reflected an exercise of remedial discretion
          after the court had found the transfers invalid as a matter of law.
          Accordingly, in weighing the States’ evidence of injury in deciding how
          to exercise that discretion, the district court was not required to, and did
          not, evaluate the States’ evidence of injury in the light most favorable to
          them (as we must do as to the standing issue here). See Continental
          Airlines, Inc. v. Intra Brokers, Inc., 24 F.3d 1099, 1102 (9th Cir. 1994)
          (where district court granted summary judgment and permanent
          injunction, power to issue injunction was reviewed de novo, but “the
          district court’s exercise of that power” was reviewed “for abuse of
          discretion”).
               7
                By contrast, New Mexico’s standing is relevant to the scope of relief
          that can be afforded if, as the majority concludes, the § 8005 and § 9002
          transfers are invalid. California suffers no injury from the construction
          activities concerning the El Paso Sector Project 1, and so California lacks
          standing to request or obtain relief that extends to that separate project.
          Lewis v. Casey, 518 U.S. 343, 357 (1996) (“The remedy must of course
          be limited to the inadequacy that produced the injury in fact that the
          plaintiff has established.”). Accordingly, before affirming the district
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                                              III

              Our first task is to determine whether the States have
          asserted a viable cause of action that properly brings the
          lawfulness of the transfers before us. See Air Courier Conf.
          v. American Postal Workers Union AFL-CIO, 498 U.S. 517,
          530–31 (1991). The majority holds that California and New
          Mexico have a valid cause of action under the APA. See Maj.
          Opin. at 30. I disagree with that conclusion, and I also
          disagree with the States’ alternative arguments that they may
          assert either an equitable cause of action under the
          Constitution or an “ultra vires” cause of action. 8


          court’s declaratory judgment that the use of funds transferred under
          § 8005 and § 9002 “for El Paso Sector Project 1 . . . is unlawful,” the
          majority properly examines New Mexico’s standing. I express no view
          as to whether the majority is correct in concluding that New Mexico’s
          evidence of environmental harm was sufficient, notwithstanding the
          district court’s conclusion that this evidence rested largely on unsupported
          speculation. See Maj. Opin. at 23–24; cf. California v. Trump, 2019 WL
          2715421, at *4 (N.D. Cal. June 28, 2019) (“New Mexico’s speculation
          that a border barrier might prevent interbreeding, which might hamper
          genetic diversity, which might render Mexican wolves more susceptible
          to diseases falls far short of the necessary demonstrable evidence of harm
          to a protected species”). However, for the reasons expressed below, I
          disagree with the majority’s conclusion that New Mexico and California
          have standing based on their inability to enforce their environmental laws.
          Maj. Opin. at 24–28. Given that this asserted injury is due to the Secretary
          of Homeland Security’s waiver under § 102 of IIRIRA, and not to the
          funding transfers, it would not be redressed by an injunction aimed only
          at the transfers. See infra at 68–70.
              8
                In its merits analysis, the majority scarcely cites the motions panel’s
          published decision, which addressed the Sierra Club’s and SBCC’s
          likelihood of success on the merits of many of the same issues before us.
          I agree with the majority’s implicit conclusion that the motions panel’s
          opinion does not prevent this merits panel from examining these issues
          afresh. Although the motions panel decision is a precedent, it remains
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                                              A

              In authorizing suit by any person “adversely affected or
          aggrieved by agency action within the meaning of a relevant
          statute,” 5 U.S.C. § 702, the APA incorporates the familiar
          zone-of-interests test, which reflects a background principle
          of law that always “applies unless it is expressly negated,”
          Bennett v. Spear, 520 U.S. 154, 163 (1997); see also Lexmark
          Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118,
          129 (2014).9 That test requires a plaintiff to “establish that
          the injury he complains of (his aggrievement, or the adverse
          effect upon him) falls within the ‘zone of interests’ sought to
          be protected by the statutory provision whose violation forms
          the legal basis for his complaint.” Lujan v. NWF, 497 U.S.
          at 883 (quoting Clarke v. Securities Indus. Ass’n, 479 U.S.


          subject to reconsideration by this court until we issue our mandate. See
          United States v. Houser, 804 F.2d 565, 567–68 (9th Cir. 1986)
          (distinguishing, on this point, between reconsideration of a prior panel’s
          decision “during the course of a single appeal” and a decision “on a prior
          appeal”); cf. Gonzalez v. Arizona, 677 F.3d 383, 389 n.4 (9th Cir. 2012)
          (en banc) (three-judge panel lacks authority to overrule a decision in a
          prior appeal in the same case). To the extent that Lair v. Bullock, 798 F.3d
          736, 747 (9th Cir. 2015), suggests otherwise, that suggestion is dicta and
          directly contrary to our decision in Houser. See East Bay Sanctuary
          Covenant v. Trump, 950 F.3d 1242, 1261–65 (9th Cir. 2020). In all
          events, the precedential force of the motions panel’s opinion was largely,
          if not entirely, vitiated by the Supreme Court’s subsequent decision to
          grant the very stay that the motions panel’s opinion denied.
               9
                The Supreme Court has not squarely addressed whether the zone-of-
          interests test applies to a plaintiff who claims to have “suffer[ed] legal
          wrong because of agency action,” which is the other class of persons
          authorized to sue under the APA, 5 U.S.C. § 702. See Lujan v. National
          Wildlife Fed. (Lujan v. NWF), 497 U.S. 871, 882–83 (1990). The States
          have not invoked any such theory here, so I have no occasion to address
          it.
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          388, 396–97 (1987)). This test “is not meant to be especially
          demanding.” Clarke, 479 U.S. at 399. Because the APA was
          intended to confer “generous review” of agency action, the
          zone-of-interests test is more flexibly applied under that
          statute than elsewhere, and it requires only a showing that the
          plaintiff is “arguably within the zone of interests to be
          protected or regulated by the statute or constitutional
          guarantee in question.” Association of Data Processing Serv.
          Orgs., Inc. v. Camp (Data Processing), 397 U.S. 150, 153,
          156 (1970) (emphasis added); see also Bennett, 520 U.S.
          at 163 (“what comes within the zone of interests of a statute
          for purposes of obtaining judicial review of administrative
          action under the generous review provisions of the APA may
          not do so for other purposes”) (simplified). Because an APA
          plaintiff need only show that its interests are “arguably”
          within the relevant zone of interests, “the benefit of any doubt
          goes to the plaintiff.” Match-E-Be-Nash-She-Wish Band of
          Pottawatomi Indians v. Patchak, 567 U.S. 209, 225 (2012).
          Although these standards are generous, the States have failed
          to satisfy them.

                                         1

              In applying the zone-of-interests test, we must first
          identify the “statutory provision whose violation forms the
          legal basis for [the] complaint” or the “gravamen of the
          complaint.” Lujan v. NWF, 497 U.S. at 883, 886; see also Air
          Courier Conf., 498 U.S. at 529. That question is easy here.
          The States’ complaint alleges that the transfers made by DoD
          “do not satisfy the criteria under section 8005”; that
          Defendants therefore “have acted ultra vires in seeking to
          transfer funding pursuant to section 8005”; that DoD
          consequently “acted unconstitutionally and in excess of [its]
          statutory authority in diverting federal funds” pursuant to
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          § 8005; and that therefore “these actions are unlawful and
          should be set aside under 5 U.S.C. section 706.”10 Section
          8005 is plainly the “gravamen of the complaint,” and it
          therefore defines the applicable zone of interests. Lujan v.
          NWF, 497 U.S. at 886.

               Although the States invoke the Appropriations Clause and
          the constitutional separation of powers in contending that
          Defendants’ actions are “unlawful” within the meaning of the
          APA, any such constitutional violations here can be said to
          have occurred only if the transfers violated the limitations set
          forth in § 8005: if Congress authorized DoD to transfer the
          appropriated funds from one account to another, and to spend
          them accordingly, then the money has been spent “in
          Consequence of Appropriations made by Law,” U.S. CONST.
          art. I, § 9, cl. 7, and the Executive has not otherwise
          transgressed the separation of powers.11 All of California’s
          theories for challenging the transfers under the APA—
          whether styled as constitutional claims or as statutory
          claims—thus rise or fall based on whether DoD has
          transgressed the limitations on transfers set forth in § 8005.
          As a result, § 8005 is obviously the “statute whose violation
          is the gravamen of the complaint.” Lujan v. NWF, 497 U.S.
          at 886. To maintain a claim under the APA, therefore,
          California must establish that it is within the zone of interests



               10
                 Because the limitations on transfers set forth in § 8005 also apply
          to transfers under § 9002, see 132 Stat. at 3042, the parties use “§ 8005”
          to refer to both provisions, and I will generally do so as well.
               11
                  The only possible exception is the States’ argument that § 8005
          itself violates the Appropriations Clause and the constitutional separation
          of powers. As explained below, that contention is frivolous. See infra
          at 76–77.
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          of § 8005. On this point, the majority and I are in apparent
          agreement. See Maj. Opin. at 30–31.12

                                              2

              Having identified the relevant statute, our next task is to
          “discern the interests arguably to be protected by the statutory
          provision at issue” and then to “inquire whether the plaintiff’s
          interests affected by the agency action in question are among
          them.” National Credit Union Admin. v. First Nat’l Bank &
          Trust Co. (NCUA), 522 U.S. 479, 492 (1998) (simplified).
          Identifying the interests protected by § 8005 is not difficult,
          and here the States’ asserted interests are not among them.

              Section 8005 is a grant of general transfer authority that
          allows the Secretary of Defense, if he determines “that such
          action is necessary in the national interest” and if the Office
          of Management and Budget approves, to transfer from one
          DoD “appropriation” into another up to $4 billion of the
          funds that have been appropriated under the DoD
          Appropriations Act “for military functions (except military
          construction).” See 132 Stat. at 2999. Section 8005 contains


              12
                  The States briefly contend that DoD has exceeded its authority
          under § 284, but even assuming arguendo that the States have a cause of
          action to raise such a challenge, it is patently without merit. The States
          note that § 284 contains a special reporting requirement for “small scale
          construction” projects, which are defined as projects costing $750,000 or
          less, 10 U.S.C. § 284(h)(1)(B), (i)(3), and they argue that this shows that
          Congress did not authorize projects on the scale at issue here. The
          inference is a non sequitur: the fact that Congress requires special
          reporting of these smaller projects does not mean that they are the only
          projects authorized. Congress may have imposed such a unique reporting
          requirement in order to capture the sort of smaller-scale activities that
          might otherwise have escaped its notice.
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          five provisos that further regulate this transfer authority, and
          the only limitations on the Secretary’s authority that the
          States claim were violated here are all contained in the first
          such proviso. That proviso states that “such authority to
          transfer may not be used unless for higher priority items,
          based on unforeseen military requirements, than those for
          which originally appropriated and in no case where the item
          for which funds are requested has been denied by the
          Congress.” Id.13 The remaining provisos require prompt
          notice to Congress “of all transfers made pursuant to this
          authority or any other authority in this Act”; proscribe the use
          of funds to make requests to the Committees on
          Appropriations for reprogrammings that are inconsistent
          with the restrictions described in the first proviso; set a time
          limit for making requests for multiple reprogrammings; and
          exempt “transfers among military personnel appropriations”
          from counting towards the $4 billion limit. Id.

              Focusing on “the particular provision of law upon which
          the plaintiff relies,” Bennett, 520 U.S. at 175–76, makes clear
          that § 8005 as a whole, and its first proviso in particular, are
          aimed at tightening congressional control over the
          appropriations process.          The first proviso’s general
          prohibition on transferring funds for any item that “has been
          denied by the Congress” is, on its face, a prohibition on using
          the transfer authority to effectively reverse Congress’s
          specific decision to deny funds to DoD for that item.
          132 Stat. at 2999. The second major limitation imposed by
          the first proviso states that the transfer authority is not to be
          used unless, considering the items “for which [the funds


               13
                 Similar language has been codified into permanent law. See
          10 U.S.C. § 2214(b). No party contends that § 2214(b) alters the relevant
          analysis under the comparably worded provision in § 8005.
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          were] originally appropriated,” there are “higher priority
          items” for which the funds should now be used in light of
          “military requirements” that were “unforeseen” in DoD’s
          request for Fiscal Year 2019 appropriations. Id. The obvious
          focus of this restriction is likewise to protect congressional
          judgments about appropriations by (1) restricting DoD’s
          ability to reprioritize the use of funds differently from how
          Congress decided to do so and (2) precluding DoD from
          transferring funds appropriated by Congress for “military
          functions” for purposes that do not reflect “military
          requirements.” The remaining provisos, including the
          congressional reporting requirement, all similarly aim to
          maintain congressional control over appropriations. And all
          of the operative restrictions in § 8005 that the States invoke
          here are focused solely on limiting DoD’s ability to use the
          transfer authority to reverse the congressional judgments
          reflected in DoD’s appropriations.

              In addition to preserving congressional control over
          DoD’s appropriations, § 8005 also aims to give DoD some
          measure of flexibility to make necessary changes. Notably,
          in authorizing the Secretary to make transfers among
          appropriations, § 8005’s first proviso specifies only one
          criterion that he must consider in exercising that discretion:
          he must determine whether the item for which the funds will
          be used is a “higher priority item[]” in light of “unforeseen
          military requirements.” 132 Stat. at 2999 (emphasis added).
          Under the statute, he need not consider any other factor
          concerning either the original use for which the funds were
          appropriated or the new use to which they will now be put.

              In light of these features of § 8005, the “interests” that the
          States claim are “affected by the agency action in question”
          are not “among” the “interests arguably to be protected” by
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          § 8005. NCUA, 522 U.S. at 492 (simplified). In particular,
          the States’ asserted environmental interests clearly lie outside
          the zone of interests protected by § 8005. The statute does
          not mention environmental interests, nor does it require the
          Secretary to consider such interests. On the contrary, the
          statute requires him only to consider whether an item is a
          “higher priority” in light of “military requirements,” and it is
          otherwise entirely neutral as to the uses to which the funds
          will be put. Indeed, that neutrality is reflected on the face of
          the statute, which says that, once the transfer is made, the
          funds are “merged with and . . . available for the same
          purposes, and for the same time period, as the appropriation
          or fund to which transferred.” 132 Stat. at 2999 (emphasis
          added). Because the alleged environmental harms that the
          States assert here play no role in the analysis that § 8005
          requires the Secretary to conduct, and are not among the
          harms that § 8005’s limitations seek to address or protect, the
          States’ interests in avoiding these harms are not within
          § 8005’s zone of interests.

               Moreover, focusing on the specific interests for which the
          States have presented sufficient evidentiary support at the
          summary-judgment stage, see Lujan v. NWF, 497 U.S.
          at 884–85, further confirms that, in deciding whether to
          redirect excess military personnel funds under § 8005 to
          assist DHS by building fencing to stop international drug
          smuggling, the Acting Secretary of Defense did not have to
          give even the slightest consideration to whether that
          reprogramming of funds would result in the death of more
          flat-tailed horned lizards.14     Put simply, the States’


               14
                It is unnecessary to exhaustively review whether California or New
          Mexico has provided the requisite factual support with respect to their
          claims of potential harms to other species of animals or plants, see supra
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          environmental interests are “‘so marginally related to . . . the
          purposes implicit in the statute that it cannot reasonably be
          assumed that Congress intended to permit the suit.’”
          Patchak, 567 U.S. at 225 (quoting Clarke, 479 U.S. at 399).

               For similar reasons, the States’ invocation of their
          sovereign interests is also insufficient. The majority finds
          that these interests “app[ly] with particular force” because the
          Secretary’s transfer of funds ultimately had an effect on
          “California’s and New Mexico’s ability to enforce their state
          environmental laws,” see Maj. Opin. at 34, but that
          consideration plays no role—not even indirectly—in the
          analysis that § 8005 requires. Section 8005 authorizes the
          Secretary to move funds from one appropriation to another if
          (1) that transfer is consistent with the appropriations-process-
          based constraints discussed earlier; and (2) the transfer is for
          items that the Secretary deems to be “higher priority” in light
          of “military requirements.” 132 Stat. at 2999. The statute
          does not itself mention or contemplate the displacement of
          state laws as a result of the transfer, nor does it require that
          any such derogation from state sovereignty be considered in
          evaluating the proposed transfer. Moreover, here the ultimate
          preemption of state law occurred, not as a result of § 8005,
          but rather as a result of DHS’s separate determination, under
          a completely separate statute (viz., IIRIRA § 102(c)), that
          state (and federal) environmental laws would be waived. The
          States might perhaps be within the zone of interests with
          respect to that statute, but they do not challenge the validity
          of that waiver under § 102(c) in this case, and in any event,
          California has already brought (and lost) a challenge to an
          earlier § 102(c) waiver with respect to a similar border


          note 7, because there is no basis in law or logic for concluding that it
          would make any difference to the zone-of-interests analysis under § 8005.
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          fencing project. See In re Border Infrastructure Envtl. Litig.,
          915 F.3d 1213 (9th Cir. 2019).

              The States nonetheless insist that they are within § 8005’s
          zone of interests because the actual activities that are taking
          place under the valid waiver, in derogation of their
          sovereignty, are only occurring because the § 8005 transfer
          was approved. This argument fails. Once a valid § 102(c)
          waiver has been issued, the States’ laws have been
          definitively set aside as a de jure matter under the Supremacy
          Clause, and halting construction will not bring those laws
          back into force or redress that injury to the States’
          sovereignty. The residual interest on which the States rely,
          therefore, is not an injury to their sovereignty, but merely the
          interest in ensuring that activities that the States consider
          undesirable do not occur. But the Supreme Court has
          consistently held that “assertion of a right to a particular kind
          of Government conduct, which the Government has violated
          by acting differently, cannot alone satisfy the requirements of
          Art. III without draining those requirements of meaning,”
          Lujan v. Defenders, 504 U.S. at 576 (simplified), and an
          interest that is not cognizable for Article III purposes is
          irrelevant for zone-of-interests purposes as well, Sierra Club
          v. Morton, 405 U.S. 727, 733 (1972). Similarly, to the extent
          that the States rely on an interest in “hav[ing] the Government
          act in accordance with law” such as § 8005, see Lujan v.
          Defenders, 504 U.S. at 575, such an interest is not cognizable
          under Article III and cannot satisfy the zone-of-interests test
          here.
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                                         3

              The majority makes two main arguments as to why the
          States nonetheless fall within § 8005’s zone of interests, but
          neither has merit.

              First, the majority contends that “the states regularly
          benefit from DoD’s use of Section 8005,” and it cites several
          past examples in which the statute was used to transfer funds
          that allowed the military to assist in addressing storm damage
          from hurricanes that occurred in various States. See Maj.
          Opin. at 35–36. This argument is foreclosed by the Supreme
          Court’s decision in Lujan v. NWF. The Court in that case
          held that, because satisfaction of the zone-of-interests test is
          an element of the cause of action that the plaintiff seeks to
          invoke, the plaintiff at the summary-judgment stage has the
          burden “to set forth specific facts (even though they may be
          controverted by the Government) showing that he has
          satisfied its terms,” i.e., that “the injury he complains of (his
          aggrievement, or the adverse effect upon him)” falls within
          the relevant statute’s zone of interests. 497 U.S. at 883–84.
          Here, in opposing summary judgment, California and New
          Mexico made no showing whatsoever that, in the absence of
          these transfers to the “Drug Interdiction and Counter-Drug
          Activities, Defense” appropriation, the funds in question
          would otherwise have been transferred for the direct benefit
          of either State. Absent such an evidentiary showing, the
          States have failed to show that they satisfy the zone-of-
          interests test under such a theory. Id. at 882–99 (exhaustively
          analyzing the evidence presented at summary judgment and
          concluding that the plaintiffs had failed to carry their burden
          under the zone-of-interests test).
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              Second, the majority asserts that California and New
          Mexico fall within § 8005’s zone of interests because § 8005
          was “primarily intended to benefit [Congress] and its
          constitutional power to manage appropriations,” and the
          States’ “interests are congruent with those of Congress.” See
          Maj. Opin. at 32–33 (emphasis added). This theory also fails.
          As the Supreme Court made clear in Lujan v. NWF, the zone-
          of-interests test requires the plaintiff to make a factual
          showing that the plaintiff itself, or someone else whose
          interests the plaintiff may properly assert, has a cognizable
          interest that falls within the relevant statute’s zone of
          interests. 497 U.S. at 885–99 (addressing whether the
          interests of NWF—or of any of its members, whose interests
          NWF could validly assert under the associational standing
          doctrine of Hunt v. Washington State Apple Advert. Comm’n,
          432 U.S. 333 (1977)—had been shown to be within the
          relevant zone of interests). I am aware of no precedent that
          would support the view that California and New Mexico can
          represent the interests of Congress (akin to NWF’s
          representation of the interests of its members), much less that
          the States can do so merely because they are sympathetic to
          Congress’s perceived policy objectives.15 But I do not read
          the majority opinion as actually relying on such a novel
          theory. Instead, the majority suggests that, merely because
          the States’ overall litigation objectives here are sufficiently


               15
                  Even if the States could assert Congress’s interests in some
          representational capacity, they could do so only if the injury to Congress’s
          interests satisfied the requirements of Article III standing. See Air Courier
          Conf., 498 U.S. at 523–24 (zone-of-interests test is applied to those
          injuries-in-fact that meet Article III requirements). I express no view on
          that question. Cf. U.S. House of Reps. v. Mnuchin, 379 F. Supp. 3d 8
          (D.D.C. 2019) (holding that House lacks Article III standing to challenge
          the transfers at issue here), appeal ordered heard en banc, 2020 WL
          1228477 (D.C. Cir. 2020).
Case: 19-16299, 06/26/2020,
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          congruent with those of Congress, the States have thereby
          satisfied the zone-of-interests test with respect to the States’
          own interests. This contention is clearly wrong.

               The critical flaw in the majority’s analysis is that it rests,
          not on the interests asserted by the States (preservation of the
          flat-tailed horned lizard, etc.), but on the legal theory that the
          States invoke to protect those interests here. But the zone-of-
          interests test focuses on the former and not the latter. See
          Lujan v. NWF, 497 U.S. at 885–89. Indeed, if the majority
          were correct, that would effectively eliminate the zone-of-
          interests test. By definition, anyone who alleges a violation
          of a particular statute has thereby invoked a legal theory that
          is “congruent” with the interests of those other persons or
          entities who are within that statute’s zone-of-interests. Such
          a tautological congruence between the States’ legal theory
          and Congress’s institutional interests is not sufficient to
          satisfy the zone-of-interests test here.

               The majority suggests that its approach is supported by
          the D.C. Circuit’s decision in Scheduled Airlines Traffic
          Offices, Inc. v. Department of Defense, 87 F.3d 1356 (D.C.
          Cir. 1996), see Maj. Opin. at 32, but that is wrong. As the
          opinion in that case makes clear, the D.C. Circuit was relying
          on the same traditional zone-of-interests test, under which a
          plaintiff’s interests are “outside the statute’s ‘zone of
          interests’ only ‘if the plaintiff’s interests are so marginally
          related to or inconsistent with the purposes implicit in the
          statute that it cannot reasonably be assumed that Congress
          intended to permit the suit.’” 87 F.3d at 1360 (quoting
          Clarke, 479 U.S. at 399). The court mentioned “congruence”
          in the course of explaining why the plaintiff’s interests in that
          case were “not more likely to frustrate than to further
          statutory objectives,” i.e., why those interests were not
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          inconsistent with the purposes implicit in the statute. Id.
          (simplified). It did not thereby suggest—and could not
          properly have suggested—that the mere lack of any such
          inconsistency is alone sufficient under the zone-of-interests
          test. Here, the problem is not that the States’ interests are
          inconsistent with the purposes of § 8005, but rather that they
          are too “marginally related” to those purposes. See supra
          at 68–69.

              Lastly, the majority suggests that we must apply the zone-
          of-interests test “broadly in this context,” because—given the
          difficulties that congressional plaintiffs have in establishing
          Article III standing—otherwise “no agency action taken
          pursuant to Section 8005 could ever be challenged under the
          APA.” See Maj. Opin. at 33, 36. The assumption that no one
          will ever be able to sue for any violation of § 8005 seems
          doubtful, cf. Sierra Club v. Trump, 929 F.3d at 715 (N.R.
          Smith, J., dissenting) (suggesting that “those who would have
          been entitled to the funds as originally appropriated” may be
          within the zone of interests of § 8005), but in any event, we
          are not entitled to bend the otherwise applicable—and already
          lenient—standards to ensure that someone will be able to sue
          in this case or others like it.

                                        B

              In addition to asserting claims under the APA, California
          and New Mexico also purport to assert claims under the
          Constitution, as well as an equitable cause of action to enjoin
          “ultra vires” conduct. The States do not have a cause of
          action under either of these theories.
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                                               1

              The States contend that they are not required to satisfy
          any zone-of-interests test to the extent that they assert non-
          APA causes of action to enjoin Executive officials from
          taking unconstitutional action.16 Even assuming that an
          equitable cause of action to enjoin unconstitutional conduct
          exists alongside the APA’s cause of action, see Juliana v.
          United States, 947 F.3d 1159, 1167–68 (9th Cir. 2020);
          Navajo Nation v. Department of the Interior, 876 F.3d 1144,
          1172 (9th Cir. 2017); but see Sierra Club v. Trump, 929 F.3d
          at 715–17 (N.R. Smith, J., dissenting), it avails the States
          nothing here. The States have failed to allege the sort of
          constitutional claim that might give rise to such an equitable
          action, because their “constitutional” claim is effectively the
          very same § 8005-based claim dressed up in constitutional
          garb. And even if this claim counted as a “constitutional”
          one, it would still be governed by the same zone of interests
          defined by the relevant limitations in § 8005.

                                               a

             The States assert two constitutional claims in their
          operative complaint: (1) that Defendants have violated the


              16
                 It is not entirely clear that the States are contending that their APA
          claims to enjoin unconstitutional conduct, see 5 U.S.C. § 706(2)(B), are
          exempt from the zone-of-interests test. To the extent that they are so
          contending, the point seems doubtful. See Data Processing, 397 U.S.
          at 153 (zone-of-interests test requires APA claimant to show that its
          interest “is arguably within the zone of interests to be protected or
          regulated by the statute or constitutional guarantee in question”). But in
          all events, any such APA-based claim to enjoin unconstitutional conduct
          would fail for the same reasons as the States’ purported free-standing
          equitable claim to enjoin such conduct.
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          Presentment Clause, and the constitutional separation of
          powers more generally, by “unilaterally diverting funding that
          Congress already appropriated for other purposes to fund a
          border wall for which Congress has provided no
          appropriations”; and (2) that Defendants have violated the
          Appropriations Clause “by funding construction of the border
          wall with funds that were not appropriated for that purpose.”
          As clarified in their subsequent briefing, the States assert both
          what I will call a “strong” form of these constitutional
          arguments and a more “limited” form. In its strong form, the
          States’ argument is that, even if § 8005 authorized the
          transfers in question here, those transfers nonetheless
          violated the separation of powers, the Presentment Clause,
          and the Appropriations Clause. In its more limited form, the
          States’ argument is that the transfers violated the separation
          of powers, the Presentment Clause, and the Appropriations
          Clause because the transfers were not authorized by § 8005.

              I need not address whether the States have an equitable
          cause of action to assert the strong form of their constitutional
          argument, because in my view that argument on the merits is
          so “wholly insubstantial and frivolous” that it would not even
          give rise to federal jurisdiction. Bell v. Hood, 327 U.S. 678,
          682–83 (1946); see also Steel Co., 523 U.S. at 89. If § 8005
          allowed the transfers here, then that necessarily means that
          the Executive has properly spent funds that Congress, by
          statute, has appropriated and allowed to be spent for that
          purpose. The States cite no authority for the extraordinary
          proposition that the Appropriations Clause itself constrains
          Congress’s ability to give agencies latitude in how to spend
          appropriated funds, and I am aware of no such authority. Cf.
          Lincoln v. Vigil, 508 U.S. 182, 192 (1993) (“allocation of
          funds from a lump-sum appropriation is another
          administrative decision traditionally regarded as committed
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          to agency discretion”). And by transferring funds after
          finding that the statutory conditions for doing so are met, an
          agency thereby “execut[es] the policy that Congress had
          embodied in the statute” and does not unilaterally alter or
          repeal any law in violation of the Presentment Clause or the
          separation of powers. See Clinton v. City of New York,
          524 U.S. 417, 444 (1998). If anything, it is the States’
          theory—that the federal courts must give effect to an alleged
          broader congressional judgment against border funding
          regardless of whether that judgment is embodied in binding
          statutory language—that would offend separation-of-powers
          principles.

              That leaves only the more limited form of the States’
          argument, which is that, if § 8005 did not authorize the
          transfers, then the expenditures violated the Appropriations
          Clause, the Presentment Clause, and the separation of powers.
          Under Dalton v. Specter, 511 U.S. 462 (1994), this
          theory—despite its constitutional garb—is properly classified
          as “a statutory one,” id. at 474. It therefore does not fall
          within the scope of the asserted non-APA equitable cause of
          action to enjoin unconstitutional conduct.17

             In Dalton, the Court addressed a non-APA claim to enjoin
          Executive officials from implementing an allegedly
          unconstitutional Presidential decision to close certain military
          bases under the Defense Base Closure and Realignment Act




              17
                 There remains the States’ claim that statutory violations may be
          enjoined under a non-APA ultra vires cause of action for equitable relief,
          but that also fails for the reasons discussed below. See infra at 84–85.
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          of 1990. 511 U.S. at 471.18 But the claim in Dalton was not
          that the President had directly transgressed an applicable
          constitutional limitation; rather, the claim was that, because
          Executive officials “violated the procedural requirements” of
          the statute on which the President’s decision ultimately
          rested, the President thereby “act[ed] in excess of his
          statutory authority” and therefore “violate[d] the
          constitutional separation-of-powers doctrine.” Id. at 471–72.
          The Supreme Court rejected this effort to “eviscerat[e]” the
          well-established “distinction between claims that an official
          exceeded his statutory authority, on the one hand, and claims
          that he acted in violation of the Constitution, on the other.”
          Id. at 474 (emphasis added). As the Court explained, its
          “cases do not support the proposition that every action by the
          President, or by another executive official, in excess of his
          statutory authority is ipso facto in violation of the
          Constitution.” Id. at 472. The Court distinguished
          Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579
          (1952), on the ground that there “the Government disclaimed
          any statutory authority for the President’s seizure of steel
          mills,” and as a result the Constitution itself supplied the rule
          of decision for determining the legality of the President’s
          actions. Dalton, 511 U.S. at 473. Because the “only basis of
          authority asserted was the President’s inherent constitutional
          power as the Executive and the Commander in Chief of the
          Armed Forces,” Youngstown thus “necessarily turned on
          whether the Constitution authorized the President’s actions.”
          Id. (emphasis added). By contrast, given that the claim in
          Dalton was that the President had violated the Constitution


               18
                 The plaintiffs in Dalton also asserted a claim under the APA itself,
          but that claim failed for the separate reason that the challenged final action
          was taken by the President personally, and the President is not an
          “agency” for purposes of the APA. See 511 U.S. at 469.
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          because Executive officials had “violated the terms of the
          1990 Act,” the terms of that statute provided the applicable
          rule of decision and the claim was therefore “a statutory one.”
          Id. at 474. And because those claims sought to enjoin
          conduct on the grounds that it violated statutory
          requirements, it was subject to the “longstanding” limitation
          that non-APA “review is not available when the statute in
          question commits the decision to the discretion of the
          President.” Id.

              Under Dalton, the States’ purported “constitutional”
          claims—at least in their more limited version—are properly
          classified as statutory claims that do not fall within any non-
          APA cause of action to enjoin unconstitutional conduct.
          511 U.S. at 474. Here, as in Dalton, Defendants have
          “claimed” the “statutory authority” of § 8005, and any
          asserted violation of the Constitution would occur only if, and
          only because, Defendants’ conduct is assertedly not
          authorized by § 8005. Id. at 473. The rule of decision for
          this dispute is thus not supplied, as in Youngstown, by the
          Constitution; rather, it is supplied only by § 8005. Id.
          at 473–74. Because these claims by the States are thus
          “statutory” under Dalton, they may only proceed, if at all,
          under an equitable cause of action to enjoin ultra vires
          conduct, and they would be subject to any limitations
          applicable to such claims. Id. at 474. The States do assert
          such a fallback claim here, but it fails for the reasons I
          explain below. See infra at 84–85.

                                         b

              But even if the States’ claims may properly be classified
          as constitutional ones for purposes of the particular equitable
          cause of action they invoke here, those claims would still fail.
Case: 19-16299, 06/26/2020,
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              To the extent that the States argue that the Constitution
          itself grants a cause of action allowing any plaintiff with an
          Article III injury to sue to enjoin an alleged violation of the
          Appropriations Clause, the Presentment Clause, or the
          separation of powers, there is no support for such a theory.
          None of the cases cited by the States involved putative
          plaintiffs, such as the States here, who are near the outer
          perimeter of Article III standing. On the contrary, these cases
          involved either allegedly unconstitutional agency actions
          directly targeting the claimants, see Bond v. United States,
          564 U.S. 211, 225–26 (2011) (criminal defendant challenged
          statute under which she was convicted on federalism and
          separation-of-powers grounds); United States v. McIntosh,
          833 F.3d 1163, 1174–75 (9th Cir. 2016) (criminal defendants
          sought to enjoin, based on an appropriations rider and the
          Appropriations Clause, the Justice Department’s expenditure
          of funds to prosecute them), or they involved a suit based on
          an express statutory cause of action, see Clinton v. City of
          New York, 524 U.S. at 428 (noting that right of action was
          expressly conferred by 2 U.S.C. § 692(a)(1) (1996 ed.)).

              Moreover, any claim that the Constitution requires
          recognizing, in this context, an equitable cause of action that
          extends to the outer limits of Article III seems difficult to
          square with the Supreme Court’s decision in Armstrong v.
          Exceptional Child Ctr., Inc., 575 U.S. 320 (2015). There, the
          Court rejected the view that the Supremacy Clause itself
          created a private right of action for equitable relief against
          preempted statutes, and instead held that any such equitable
          claim rested on “judge-made” remedies that are subject to
          “express and implied statutory limitations.” Id. at 325–27.
          The Supremacy Clause provides a particularly apt analogy
          here, because (like the Appropriations Clause) the asserted
          “unconstitutionality” of the challenged action generally
Case: 19-16299, 06/26/2020,
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          depends upon whether it falls within or outside the terms of
          a federal statute: a state statute is “unconstitutional under the
          Supremacy Clause” only if it is “contrary to federal law,”
          Burbank-Glendale-Pasadena Airport Auth. v. City of
          Burbank, 136 F.3d 1360, 1361–62 (9th Cir. 1998), and here,
          the transfers violated the Appropriations Clause only if they
          were barred by the limitations in § 8005. And just as the
          Supremacy Clause protects Congress’s “broad discretion with
          regard to the enactment of laws,” Armstrong, 575 U.S.
          at 325–26, so too the Appropriations Clause protects
          “congressional control over funds in the Treasury,” McIntosh,
          833 F.3d at 1175. It is “unlikely that the Constitution gave
          Congress such broad discretion” to enact appropriations laws
          only to simultaneously “require[] Congress to permit the
          enforcement of its laws” by any “private actor[]” with even
          minimal Article III standing, thereby “limit[ing] Congress’s
          power” to decide how “to enforce” the spending limitations
          it enacts. Armstrong, 575 U.S. at 325–26.

              The Appropriations Clause thus does not itself create a
          constitutionally required cause of action that extends to the
          limits of Article III. On the contrary, any equitable cause of
          action to enforce that clause would rest on a “judge-made”
          remedy: as Armstrong observed, “[t]he ability to sue to enjoin
          unconstitutional actions by state and federal officers is the
          creation of courts of equity, and reflects a long history of
          judicial review of illegal executive action, tracing back to
          England.” 575 U.S. at 327. At least where, as here, the
          contours of the applicable constitutional line (under the
          Appropriations Clause) are defined by and parallel a statutory
          line (under § 8005), any such judge-made equitable cause of
          action would be subject to “express and implied statutory
          limitations,” as well as traditional limitations governing such
          equitable claims. Id.
Case: 19-16299, 06/26/2020,
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              One long-established “‘judicially self-imposed limit[] on
          the exercise of federal jurisdiction’”—including federal
          equitable jurisdiction—is the requirement “that a plaintiff’s
          grievance must arguably fall within the zone of interests
          protected or regulated by the statutory provision or
          constitutional guarantee invoked in the suit.” Bennett,
          520 U.S. at 162 (quoting Allen v. Wright, 468 U.S. 737, 751
          (1984)). This limitation is not confined to the APA, but
          rather reflects a “prudential standing requirement[] of general
          application” that always “applies unless it is expressly
          negated” by Congress. Id. at 163.19 Because Congress has
          not expressly negated that test in any relevant respect, the
          States’ equitable cause of action to enforce the
          Appropriations Clause here remains subject to the zone-of-
          interests test. Cf. Thompson v. North American Stainless, LP,
          562 U.S. 170, 176–77 (2011) (construing a cause of action as
          extending to “any person injured in the Article III sense”
          would often produce “absurd consequences” and is for that
          reason rarely done). And given the unique nature of an
          Appropriations Clause claim, as just discussed, the line
          between constitutional and unconstitutional conduct here is
          defined entirely by the limitations in § 8005, and therefore the

               19
                  The States wrongly contend that, by quoting this language from
          Bennett, and stating that the zone-of-interests test therefore “applies to all
          statutorily created causes of action,” Lexmark, 572 U.S. at 129 (emphasis
          added), the Court in Lexmark thereby intended to signal that the test only
          applies to statutory claims and not to non-statutory equitable claims.
          Nothing in Lexmark actually suggests any such negative pregnant; instead,
          the Court’s reference to “statutorily created causes of action” reflects
          nothing more than the fact that only statutory claims were before the Court
          in that case. See id. at 129. Moreover, Lexmark notes that the zone-of-
          interests test’s roots lie in the common law, id. at 130 n.5, and Bennett
          (upon which Lexmark relied) states that the test reflects a “prudential
          standing requirement[] of general application” that applies to any
          “exercise of federal jurisdiction,” 520 U.S. at 162–63.
Case: 19-16299, 06/26/2020,
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          relevant zone of interests for the States’ Appropriations-
          Clause-based equitable claim remains defined by those
          limitations. The States are thus outside the applicable zone
          of interests for this claim as well.

              In arguing for a contrary view, the States rely heavily on
          United States v. McIntosh, asserting that there we granted
          non-APA injunctive relief based on the Appropriations
          Clause without inquiring whether the claimants were within
          the zone of interests of the underlying appropriations statute.
          McIntosh cannot bear the considerable weight that the States
          place on it.

              In McIntosh, we asserted interlocutory jurisdiction over
          the district courts’ refusal to enjoin the expenditure of funds
          to prosecute the defendants—an expenditure that allegedly
          violated an appropriations rider barring the Justice
          Department from spending funds to prevent certain States
          from “‘implementing their own laws that authorize the use,
          distribution, possession, or cultivation of medical
          marijuana.’” 833 F.3d at 1175; see also id. at 1172–73. We
          held that the defendants had Article III standing and that, if
          the Department was in fact “spending money in violation” of
          that rider in prosecuting the defendants, that would produce
          a violation of the Appropriations Clause that could be raised
          by the defendants in challenging their prosecutions. Id.
          at 1175. After construing the meaning of the rider, we then
          remanded the matter for a determination whether the rider
          was being violated. Id. at 1179. Contrary to the States’ dog-
          that-didn’t-bark theory, nothing can be gleaned from the fact
          that the zone-of-interests test was never discussed in
          McIntosh. See Cooper Indus., Inc. v. Aviall Servs, Inc.,
          543 U.S. 157, 170 (2004) (“‘Questions which merely lurk in
          the record, neither brought to the attention of the court nor
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          ruled upon, are not to be considered as having been so
          decided as to constitute precedents.’”) (quoting Webster v.
          Fall, 266 U.S. 507, 511 (1925)). Moreover, any such silence
          seems more likely to have been due to the fact that it was so
          overwhelmingly obvious that the defendants were within the
          rider’s zone of interests that the point was incontestable and
          uncontested. An asserted interest in not going to prison for
          complying with state medical-marijuana laws seems well
          within the zone of interests of a statute prohibiting
          interference with the implementation of such state laws.

                                        2

              The only remaining question is whether the States may
          evade the APA’s zone-of-interests test by asserting a non-
          APA claim for ultra vires conduct in excess of statutory
          authority. Even assuming that such a cause of action exists
          alongside the APA, cf. Trudeau v. Federal Trade Comm’n,
          456 F.3d 178, 189–90 (D.C. Cir. 2006), I conclude that it
          would be subject to the same zone-of-interests limitations as
          the States’ APA claims and therefore likewise fails.

               For the same reasons discussed above, any such equitable
          cause of action rests on a judge-made remedy that is subject
          to the zone-of-interests test. See supra at 79–84. The States
          identify no case from this court affirmatively holding that the
          zone-of-interests test does not apply to a non-APA equitable
          cause of action to enjoin conduct allegedly in excess of
          statutory authority, and I am aware of none. Indeed, it makes
          little sense, when evaluating a claim that Executive officials
          exceeded the limitations in a federal statute, not to ask
          whether the plaintiff is within the zone of interests protected
          by those statutory limitations. Cf. Haitian Refugee Ctr. v.
          Gracey, 809 F.2d 794, 811 n.14 (D.C. Cir. 1987) (although
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          plaintiff asserting ultra vires claim may not need to show that
          its interests “fall within the zones of interests of the
          constitutional and statutory powers invoked” by Executive
          officials, when “a particular constitutional or statutory
          provision was intended to protect persons like the litigant by
          limiting the authority conferred,” then “the litigant’s interest
          may be said to fall within the zone protected by the
          limitation”) (emphasis added).20

                                     *        *         *

              Given that each of the States’ asserted theories fail, the
          States lack any cause of action to challenge the DoD’s
          transfer of funds under § 8005.

                                             IV

              Alternatively, even if the States had a cause of action,
          their claims would fail on the merits, because the challenged
          transfers did not violate § 8005 or § 9002. The States argue
          that the transfers violated the first proviso of § 8005, which
          states that the transfer authority granted by that section “may
          not be used unless for higher priority items, based on
          unforeseen military requirements, than those for which
          originally appropriated and in no case where the item for
          which funds are requested has been denied by the Congress.”

              20
                 Even if the States were correct that the zone-of-interests test does
          not apply to a non-APA equitable cause of action, that would not
          necessarily mean that such equitable jurisdiction extends, as the States
          suggest, to the outer limits of Article III. Declining to apply the APA’s
          generous zone-of-interests test might arguably render applicable the sort
          of narrower review of agency action that preceded the APA standards
          articulated in Data Processing, 397 U.S. at 153. See also Clarke,
          479 U.S. at 400 n.16.
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          132 Stat. at 2999. The requirements of this proviso likewise
          limit the transfer authority under § 9002. See id. at 3042
          (stating that the transfer authority in § 9002 is in addition to
          that specified in § 8005, but “is subject to the same terms and
          conditions as the authority provided in section 8005 of this
          Act”). The States argue, and the majority agrees, that two of
          the requirements in this proviso are not met, because (1) the
          transfers were for an item for which Congress has denied
          funding; and (2) they were not for “unforeseen military
          requirements.” See Maj. Opin. at 37–47. I disagree.

                                         A

              The proviso states that the Secretary may not transfer
          funds for an admittedly “higher priority item[] . . . than those
          for which originally appropriated” if “the item for which
          funds are requested has been denied by the Congress.”
          132 Stat. at 2999. In my view, the Secretary’s transfers did
          not violate this condition.

              Determining whether Congress “denied” the relevant
          “item” at issue here turns on the meaning of the phrase “the
          item for which funds are requested.” According to the States,
          the relevant “item” should be broadly defined to include any
          “border barrier construction,” and Congress should be held to
          have “denied” that item except to the extent that it
          appropriated funds for “primary pedestrian fencing” in
          § 230(a)(1) of the Department of Homeland Security
          Appropriations Act, 2019, see Pub. L. No. 116-6, Div. A,
          § 230(a)(1), 133 Stat. 13, 28 (2019). The States’ reading is
          implausible, because it ignores the context of the
          appropriations process that § 8005 addresses.
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              As a provision designed to preserve Congress’s authority
          over the appropriations process, § 8005’s restriction on
          transfers can only be understood against the backdrop of that
          process and of the role of transfers and reprogrammings in it.
          Home Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1743, 1748
          (2019) (“It is a fundamental canon of statutory construction
          that the words of a statute must be read in their context and
          with a view to their place in the overall statutory scheme.”)
          (simplified). That process is usefully set forth in Chapter 2 of
          the GAO’s authoritative Principles of Federal Appropriations
          Law, otherwise known as the “Red Book,” and I borrow
          heavily from that treatise in setting forth that relevant context.
          See Lincoln, 508 U.S. at 192 (citing Red Book in addressing
          suit challenging reallocation of funds).

              While Congress ordinarily appropriates funds annually for
          agencies to use in specified amounts for enumerated
          purposes, Congress has also recognized that “a certain
          amount of flexibility” is sometimes warranted. See 2 U.S.
          GOV’T ACCOUNTABILITY OFF. (“GAO”), PRINCIPLES OF
          FEDERAL APPROPRIATIONS LAW (4th ed. 2016 rev.) (“RED
          BOOK”), pt. B, § 7, 2016 WL 1275442, at *1. Two ways in
          which such flexibility may be achieved are through “transfer
          and reprogramming.” Id. A “transfer”—which is the specific
          subject of § 8005—refers to “the shifting of funds between
          appropriations,” and it is generally prohibited in the absence
          of specific statutory authority. Id.; see also 31 U.S.C. § 1532.
          By contrast, a “reprogramming shifts funds within a single
          appropriation,” and in the absence of specific statutory
          limitations on reprogramming, agencies have broad discretion
          to do so “as long as the resulting obligations and expenditures
          are consistent with the purpose restrictions applicable to the
          appropriation.” See RED BOOK, 2016 WL 1275442, at *6
          (emphasis added) (citing Lincoln, 508 U.S. at 192). In
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          contrast to a transfer—which is easy to identify, because it
          shifts funds between separate appropriations that are “well-
          defined and delineated with specific language in an
          appropriations act”—it is more difficult to identify what
          counts as a reprogramming within an appropriation, because
          the appropriations act itself “does not set forth the
          subdivisions that are relevant to determine whether an agency
          has reprogrammed funds.” See id. at *6. There is only a need
          to identify a “reprogramming” when Congress has sought to
          place limits on an agency’s ability to do so. See, e.g., Pub. L.
          No. 111-80, § 712, 123 Stat. 2090, 2120–21 (2009) (requiring
          15-days advance notice to Congress before certain
          “reprogramming[s] of funds” may be made by various
          agriculture-related agencies). In such cases, whether a shift
          of funds within an appropriation counts as a reprogramming
          is ordinarily determined by considering how the reallocation
          of funds compares to the allocation of funds that was
          contemplated during the appropriations process: “Typically,
          the itemizations and categorizations in the agency’s budget
          documents as well as statements in committee reports and the
          President’s budget submission, contain the subdivisions
          within an agency’s appropriation that are relevant to
          determine whether an agency has reprogrammed funds.” RED
          BOOK, 2016 WL 1275442, at *7 (emphasis added). GAO’s
          Red Book illustrates the point with an example, drawn from
          a prior opinion letter:

                 For instance, for FY 2012, the Commodity
                 Futures Trading Commission (CFTC)
                 received a single lump-sum appropriation. Id.
                 CFTC’s FY 2012 budget request included an
                 item within that lump sum to fund an Office
                 of Proceedings. A reprogramming would
                 occur if CFTC shifted amounts that it had
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                 previously designated to carry out the
                 functions of the Office of Proceedings to carry
                 out different functions.

          Id. (citing GAO, B-323792, Commodity Futures Trading
          Commission—Reprogramming Notification (Jan. 23, 2013))
          (emphasis added).

              Against this backdrop, the import of § 8005’s first proviso
          is clear. In evaluating a transfer from one appropriation to
          another, the Secretary must justify the transfer, not at the
          broad level of each overall appropriation itself (i.e., not by
          comparing the statutory appropriation category for “Drug
          Interdiction and Counter-Drug Activities, Defense” versus
          that for “Military Personnel, Army”), but rather at the same
          “item” level at which the Secretary would have to justify a
          reprogramming within an appropriation. See Pub. L. No.
          115-245, Div. A, § 8005, 132 Stat. at 2999 (requiring
          Secretary to compare whether the item to which the
          transferred funds will be directed is a “higher priority” than
          the items “for which originally appropriated”). The point of
          reference for determining whether the destination “item”
          justifies the transfer is therefore, as with a reprogramming,
          “the itemizations and categorizations in the agency’s budget
          documents as well as statements in committee reports and the
          President’s budget submission.” RED BOOK, 2016 WL
          1275442, at *7.

              Several features of the language of § 8005 confirm this
          reading. The statutory reference to “those [items] for which
          originally appropriated,” 132 Stat. at 2999 (emphasis added),
          is unmistakably a reference to the familiar concept of the
          itemizations contained within the current appropriation, as set
          forth in the already existing budgetary documents exchanged
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          and generated during the appropriations process for DoD. Air
          Wisconsin Airlines Corp. v. Hoeper, 571 U.S. 237, 248
          (2014) (“It is a cardinal rule of statutory construction that,
          when Congress employs a term of art, it presumably knows
          and adopts the cluster of ideas that were attached to each
          borrowed word in the body of learning from which it is
          taken.”) (simplified). And because those “original[]” items
          are to be compared with the new “items” for which the
          transfer authority is to “be used,” 132 Stat. at 2999, these
          latter “items” must likewise be understood as a reference to
          the destination items within the transferee DoD appropriation.
          Law v. Siegel, 571 U.S. 415, 422 (2014) (“[W]ords repeated
          in different parts of the same statute generally have the same
          meaning”).

               The destination item is also referred to in the statute as
          “the item for which funds are requested,” which is an unusual
          way to refer to a transfer that an agency approves on its own.
          132 Stat. at 2999 (emphasis added). But the use of that term
          makes perfect sense when the language is again construed
          against the background of the appropriations process, because
          it is a common practice for agencies—despite the decision in
          INS v. Chadha, 462 U.S. 919 (1983)—to “request” the
          appropriations committees’ approval for transfers and
          reprogrammings as a matter of comity. See Lincoln, 508 U.S.
          at 193 (“[W]e hardly need to note that an agency’s decision
          to ignore congressional expectations [concerning the use of
          appropriations] may expose it to grave political
          consequences”). That reading is confirmed by § 8005’s third
          proviso, which enforces the exclusivity of the first proviso by
          barring DoD from using any appropriated funds to “prepare
          or present a request to the Committees on Appropriations for
          reprogramming of funds,” unless it meets the requirements of
          the first proviso. 132 Stat. at 2999 (emphasis added). This
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          language also confirms what is already otherwise apparent,
          which is that any transfer under § 8005 is to be analyzed, and
          papered, as a request for “reprogramming of funds.” Id.
          (emphasis added). Indeed, although DoD made a conscious
          decision to depart from the comity-based practice of making
          a request in this case, the House Committee on
          Appropriations nonetheless proceeded to construe DoD’s
          notification of the transfer as a “requested reprogramming
          action” and “denie[d] the request.” See House Comm. on
          Appropriations, Press Release: Visclosky Denies Request to
          Use Defense Funds for Unauthorized Border Wall (Mar. 27,
          2019), https://appropriations.house.gov/news/press-
          releases/visclosky-denies-request-to-use-defense-funds-for-
          unauthorized-border-wall.

              For all of these reasons, the “items” at issue under § 8005
          must be understood against the backdrop of the sort of
          familiar item-level analysis required in a budgetary
          reprogramming, and the benchmark for evaluating the
          proposed destination item is therefore, as with any
          reprogramming, the original allocation among items that is
          reflected in the records of the DoD appropriations process.
          Accordingly, when § 8005 requires a consideration of
          whether “the item for which funds are requested has been
          denied by the Congress,” it is referring to whether Congress,
          during DoD’s appropriations process, denied an “item” that
          corresponds to the “item for which funds are requested.”
          Under that standard, this case is easy. The States do not
          contend (and could not contend) that Congress ever “denied”
          such an item to DoD during DoD’s appropriations process.

              Instead, the States argue that a grant of funds to another
          agency (DHS) in its appropriations, in an amount less than
          that agency requested, should be construed as a denial of an
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          analogous item to DoD under its entirely separate authorities
          and appropriations. This disregards the appropriations-law
          context against which § 8005 must be construed, which
          makes clear that the relevant clause refers only to denials that
          are applicable to DoD within the context of its appropriations
          process. Taking into account the broader context of the
          political struggle between the President and the Congress
          over DHS’s requests for border-barrier funding, the majority
          concludes that Congress thereby issued a “general denial” of
          “border wall” funding, which should be construed as
          “necessarily encompass[ing] narrower forms of denial—such
          as the denial of a Section 284 budgetary line item request.”
          See Maj. Opin. at 46–47. But § 8005’s proviso only applies
          if, during the DoD appropriations process, such an item “has
          been denied by the Congress,” 132 Stat. at 2999, and that
          manifestly did not occur here, given that (1) no such request
          was presented and denied during that process; and (2) indeed,
          that process ended several months before the ultimate
          “denial” that the majority claims we should now retroactively
          apply to DoD’s transfer authority.

              More fundamentally, the majority is quite wrong in
          positing that § 8005 assigns to us the task of discerning the
          contours of the larger political struggle between the President
          and the Congress over border-barrier funding (including by
          reviewing campaign speeches and the like), see Maj. Opin.
          at 39, and then giving legal effect to what we think, based on
          that review, is “Congress’s broad and resounding denial
          resulting in a 35-day partial government shutdown,” id. at 47.
          Our job under § 8005 is the more modest one of determining
          whether a proposed item of DoD spending was presented to
          Congress, and “denied” by it, during DoD’s appropriations
          process, and all agree that that did not occur here. Any action
          that Congress took in the separate appropriations process
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          concerning DHS would create a “denial” as to DoD only if
          there is some language in the DHS Appropriations Act that
          somehow extends that Act’s denial vis-à-vis DHS to other
          agencies.21 But the only relevant limitation in that Act that
          even arguably extends beyond DHS is a prohibition on the
          construction of “pedestrian fencing” in five designated parks
          and refuge areas, see Pub. L. No. 116-6, Div. A, § 231, 133
          Stat. at 28 (“None of the funds made available by this Act or
          prior Acts are available” for such construction) (emphasis
          added), but no one contends that this limitation is being
          violated here. Beyond that, it is not our role under § 8005 to
          give effect to a perceived big-picture “denial” that we think
          is implicit in the “real-world events in the months and years
          leading up to the 2019 appropriations bills.” Sierra Club v.
          Trump, 929 F.3d at 691.

                                            B

              The majority alternatively holds that, even if Congress did
          not deny the “item” in question, the transfers were still
          unlawful because the requirements invoked by the Secretary
          here to justify the transfers were neither “military” in nature
          nor “unforeseen.” See Maj. Opin. at 37–46. The majority is
          wrong on both counts.




              21
                 Nor is this a situation in which DoD is invoking the transfer
          authority to move funds into DHS’s appropriations. The destination item
          here involves the authority under § 284 for DoD to undertake
          “[c]onstruction of roads and fences” along the border. 10 U.S.C.
          § 284(b)(7). Indeed, § 8045(a) of the DoD Appropriations Act
          specifically forbids DoD from “transferr[ing] to any other department”
          any funds available to it for “counter-drug activities,” except “as
          specifically provided in an appropriations law.” 132 Stat. at 3012.
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                                              1

              The DoD’s provision of support for counterdrug activities
          under § 284 is plainly a “military” requirement within the
          meaning of § 8005. As the majority notes, § 8005 does not
          define the term “military,” see Maj. Opin. at 42, and so the
          word should be given its ordinary meaning. Asgrow Seed Co.
          v. Winterboer, 513 U.S. 179, 187 (1995). In common
          parlance, the word “military” simply means “[o]f, relating to,
          or involving the armed forces.” Military, BLACK’S LAW
          DICTIONARY (11th ed. 2019); see also Military, AMERICAN
          HERITAGE DICTIONARY (5th ed. 2018) (“Of, relating to, or
          characteristic of members of the armed forces”; “Performed
          or supported by the armed forces”); Military, WEBSTER’S
          T HIRD N EW I NTERNATIONAL D ICTIONARY (1961)
          (“WEBSTER’S THIRD”) (“of or relating to soldiers, arms, or
          war”; “performed or made by armed forces”). Because
          Congress, by statute, has formally assigned to DoD the task
          of providing “support for the counterdrug activities” of other
          departments through the “[c]onstruction of roads and fences
          and installation of lighting to block drug smuggling corridors
          across international boundaries of the United States,”
          10 U.S.C. § 284(a), (b)(7), that task “relat[es] to” and
          “involv[es] the armed forces,” and is “[p]erformed or
          supported by the armed forces.” As such, it is a “military”
          task.22

               22
                 The majority is wrong in suggesting that the Government has never
          argued that the construction projects “are related to the use of soldiers.”
          See Maj. Opin. at 42. The Government affirmatively argues in its brief
          that “the military may be, and here is, required to assist in combatting”
          drug trafficking under § 284 (emphasis added). Moreover, the evidence
          submitted to the district court showed that the construction was to be
          carried out by the U.S. Army Corps of Engineers. Even granting that most
          of that agency’s employees are civilians, the agency remains within the
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               Two other textual clues support this conclusion. First, the
          chapter heading for the chapter of Title 10 that includes § 284
          is entitled, “Military Support for Civilian Law Enforcement
          Agencies,” thereby further confirming that the support
          authorized to be provided under § 284 counts as military
          support. See Henderson v. Shinseki, 562 U.S. 428, 439
          (2011) (title of subchapter aided in resolving ambiguity
          concerning provision in that subchapter). Second, the DoD
          Appropriations Act itself classifies the activities carried out
          under § 284 as “military” activities. The Act recognizes, on
          its face, that funds appropriated for “Drug Interdiction and
          Counter-Drug Activities, Defense,” may be transferred out of
          that appropriation under § 8005. See DoD Appropriations
          Act, § 8007(b)(6), 132 Stat. at 3000 (exempting transfers of
          funds out of this appropriation from an otherwise applicable
          prohibition on transferring funds under § 8005). Given that
          the transfer authority granted by § 8005 applies only to “funds
          made available in this Act to the Department of Defense for
          military functions (except military construction),” 132 Stat.
          at 2999 (emphasis added), the Act necessarily deems funds in
          the “Drug Interdiction and Counter-Drug Activities, Defense”
          appropriation to be for “military functions.” The majority’s
          insistence that such counter-drug functions are not “military”
          activities thus flatly contradicts the statute itself.

              The majority is also wrong in relying on the distinctive
          definition given in 10 U.S.C. § 2801 for the phrase “military
          construction.” See Maj. Opin. at 44–45. At the outset, this
          makes little sense, because § 8005 states on its face that it
          applies only to transfers between appropriations for “military
          functions” and not for “military construction.” 132 Stat.


          Department of the Army and is led by a military officer. See 10 U.S.C.
          §§ 7011, 7036, 7063.
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          at 2999 (emphasis added). Indeed, Congress has long
          handled appropriations for “military construction” separately
          from those for military functions, and it did so again for
          Fiscal Year 2019: appropriations for “military construction”
          were made in a separate appropriations statute enacted one
          week before the DoD Appropriations Act. See Pub. L. No.
          115-244, Div. C, Title I, 132 Stat. 2897, 2946 (2018). Of all
          the terms to consider in construing “military” for purposes of
          the DoD Appropriations Act, “military construction” may be
          the least appropriate.

              Moreover, the majority fails to recognize that “military
          construction” is a term of art, with its own unique definition,
          and it therefore provides an inapt guide for trying to discern
          the meaning of “military” in a different phrase in a different
          context. Absent a special definition, one would have thought
          that the phrase “military construction” embraces any
          “construction” that is performed by or for the “military.” See
          supra at 94 (quoting definitions of “military”). But § 2801
          more narrowly defines “military construction” as generally
          referring only to “construction . . . carried out with respect to
          a military installation . . . or any acquisition of land or
          construction of a defense access road,” and it defines a
          “military installation” as a “base, camp, post, station, yard,
          center, or other activity under the jurisdiction of the Secretary
          of a military department.” 10 U.S.C. § 2801(a), (c)(4).
          Nothing about this distinctive definition of “military
          construction” creates or reflects a general gloss on the word
          “military,” much less does it suggest that the ordinary
          meaning of “military” in other contexts carries all of this
          baggage with it. The majority’s effort to import the specific
          features of this term of art (“military construction”) into one
          of the component words of that phrase makes neither
          linguistic nor logical sense, and it is therefore irrelevant
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          whether or not the § 284 activities at issue here meet that
          definition.23

               The majority also contends that, even if the activities
          involved here are “military” ones, they still did not involve
          “military requirements.” See Maj. Opin. at 45–45 (emphasis
          added). That is wrong. The term “requirement” is not
          limited to those tasks that DoD is compelled to undertake, nor
          is it limited to those actions that DoD undertakes for itself.
          The term also includes “something that is wanted or needed”
          or “something called for or demanded,” see Requirement,
          WEBSTER’S THIRD; see also Requirement, BLACK’S LAW
          DICTIONARY (11th ed. 2019) (listing, as an alternative
          definition, “[s]omething that someone needs or asks for”),
          and that readily applies to the request for assistance that was
          made to DoD in this case under § 284. We should be

               23
                  The majority notes that the phrase “military construction” is used
          in 10 U.S.C. § 2808, which “[t]he Federal Defendants have also invoked
          . . . to fund other border wall construction projects on the southern
          border.” Maj. Opin. at 44. But that statute was invoked only with respect
          to a different set of funds to be used for activities that Defendants contend
          do qualify as “military construction” for purposes of DoD’s additional
          construction authority after a declaration of a national emergency. See
          10 U.S.C. § 2808(a). The States also challenged the use of that separate
          set of funds in their suit below, but these challenges form no part of the
          Rule 54(b) partial judgment now before us, and any issue concerning them
          has no bearing on the distinct questions presented here. Relatedly, the
          President’s proclamation declaring such an emergency is relevant only to
          that other set of funds and has no legal bearing on the Secretary’s transfers
          here. Cf. Maj. Opin. at 12–13, 39 (discussing the declaration). And
          Congress’s joint resolutions attempting to terminate the emergency
          declaration, see id. at 39, are irrelevant for the further reason that they
          were vetoed and never became law. See id. at 12 n.3; see also 50 U.S.C.
          § 1622(a)(1) (congressional termination requires “enact[ing] into law a
          joint resolution terminating the emergency”); Chadha, 462 U.S. at
          946–48.
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          cautious before adopting an unduly crabbed reading of what
          constitutes a military “requirement,” especially when
          Congress has explicitly assigned a task to the military, as it
          did in § 284. Cf. Winter v. Natural Res. Def. Council,
          555 U.S. 7, 24 (2008) (“great deference” is generally given to
          the military’s judgment of the importance of a military
          interest).

              Accordingly, DoD’s provision of support to DHS under
          § 284 involves a “military requirement[]” within the meaning
          of § 8005. The majority errs in concluding otherwise.

                                         2

             The majority is likewise wrong in contending that DoD’s
          need to provide assistance to DHS for these projects under
          § 284 was not “unforeseen” within the meaning of § 8005.
          See Maj. Opin. at 37–42.

               Once again, the majority fails to construe § 8005 against
          the backdrop of the appropriations process. In ordinary
          usage, “foresee” means “to see (as a future occurrence or
          development) as certain or unavoidable: look forward to with
          assurance.” Foresee, WEBSTER’S THIRD (emphasis added).
          In the context of the appropriations process, an “item” has
          been seen as certain or unavoidable only if it is reflected in
          DoD’s budgetary submissions or in Congress’s review and
          revision of those submissions. Conversely, it is “unforeseen”
          if it is not reflected as an item in any of those materials. The
          Red Book confirms this understanding. In explaining the
          need for reprogramming, it quotes the Deputy Defense
          Secretary’s statement that reprogramming allows agencies to
          respond to “unforeseen changes” that are not reflected in the
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           “budget estimates” on which the final appropriations are
           based:

                  “The defense budget does not exist in a
                  vacuum. There are forces at work to play
                  havoc with even the best of budget estimates.
                  The economy may vary in terms of inflation;
                  political realities may bring external forces to
                  bear; fact-of-life or programmatic changes
                  may occur. The very nature of the lengthy
                  and overlapping cycles of the budget process
                  poses continual threats to the integrity of
                  budget estimates. Reprogramming procedures
                  permit us to respond to these unforeseen
                  changes and still meet our defense
                  requirements.”

           RED BOOK, 2016 WL 1275442, at *5 (citation omitted). As
           the GAO has explained, the question is not whether a
           particular item “was unforeseen in general”; “[r]ather, the
           question under section 8005 is whether it was unforeseen at
           the time of the budget request and enactment of
           appropriations.” U.S. GAO, B-330862, Department of
           Defense—Availability of Appropriations for Border Fence
           Construction at 7–8 (Sept. 5, 2019) (emphasis added),
           https://www.gao.gov/assets/710/701176.pdf. Under this
           standard, the items at issue here were “unforeseen”; indeed,
           the States do not contend that funding for the DoD assistance
           at issue here was ever requested, proposed, or considered
           during DoD’s appropriations process.

               In reaching a contrary conclusion, the majority makes two
           legal errors. First, it makes precisely the mistake the GAO
           identified, namely, it examines whether the “problem” (drug
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           smuggling) and the “solution” (a border barrier) were
           foreseen in general, rather than whether they were foreseen
           within the appropriations process. See Maj. Opin. at 40–41.
           Thus, in concluding that DoD’s need to provide assistance
           under § 284 was not “unforeseen,” the majority relies on the
           general premises that “the conditions at the border” have been
           known to be a problem since at least the 1960s and that “the
           President’s position that a wall was needed to address those
           conditions” was publicly known well before he took office.
           Id. at 35, 37. Second, by rejecting the view that “foreseen” is
           equivalent to “known” or that it requires “actual knowledge,”
           id. at 39–40, the majority effectively rewrites the statute as if
           it said “foreseeable” rather than “foreseen.” Contrary to the
           majority’s view that requiring foreknowledge would
           “effectively eliminate[] any element of anticipation or
           expectation,” see id. at 39, “foreseen” is commonly
           understood to be interchangeable with “foreknown.” See,
           e.g., Foresee, WEBSTER’S THIRD (listing “foreknow” as a
           synonym). By wrongly shifting the focus away from whether
           a current need matches up with the assumptions on which the
           budget and appropriations were based, the majority’s errors
           would preclude DoD from making transfers based on any
           factors that were anticipated within the larger society and, as
           a result, would essentially reduce the transfer power in § 8005
           to a nullity.

                                          3

               DoD’s transfers here were thus based on “military”
           “requirements” that were “unforeseen” within the meaning of
           § 8005. The States do not otherwise contest the Secretary’s
           determination that the items in question were “higher
           priority” items than “those for which originally
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           appropriated.” This element of § 8005’s first proviso was
           therefore also satisfied here.

                                         C

               The States contend that, even if the transfers complied
           with the conditions in § 8005, the particular transfer that was
           made under § 9002, see supra at 52–53, did not satisfy that
           section’s additional requirement that transfers under that
           section be made only “between the appropriations or funds
           made available to the Department of Defense in this title.”
           132 Stat. at 3042 (emphasis added). According to the States,
           the appropriations under that title are only for “Overseas
           Contingency Operations,” and the transferee appropriation
           does not count. This argument is plainly incorrect. The
           separate title in the DoD Appropriations Act that is entitled
           “Overseas Contingency Operations” contains within it a
           specific appropriation for “Drug Interdiction and Counter-
           Drug Activities, Defense,” 132 Stat. at 3042, which is the
           appropriation to which the funds were transferred. The fact
           that the amounts in that fund are designated as funds for
           “Overseas Contingency Operations/Global War on
           Terrorism” for purposes of calculating budgetary caps under
           § 251(b)(2)(A)(ii) of the Balanced Budget and Emergency
           Deficit Control Act of 1985, 2 U.S.C. § 901(b)(2)(A)(ii), does
           not thereby impose an additional limitation on the purposes
           for which such funds may be expended.

                                         V

               Based on the foregoing, I conclude that at least California
           has Article III standing, but that the States lack any cause of
           action to challenge these § 8005 and § 9002 transfers.
           Alternatively, if the States did have a cause of action, their
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           claims fail on the merits as a matter of law because the
           transfers complied with the limitations in § 8005 and § 9002.
           I therefore would reverse the district court’s partial grant of
           summary judgment to the States and would remand the matter
           with instructions to grant the Government’s motion for
           summary judgment on this set of claims. Because the
           majority concludes otherwise, I respectfully dissent.
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        Home          Conservation           SSC




        Species of Special Concern

               What is a "Species of Special Concern"?

               A Species of Special Concern (SSC) is a species, subspecies, or distinct population of an animal*
               native to California that currently satisfies one or more of the following (not necessarily mutually
               exclusive) criteria**:
                                                                                                                p
                                                                                   v . Trum
                       is extirpated from the State or, in the case of birds, is extirpated in its primary season or
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                       breeding role;
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                       is listed as Federally-, but not State-, o
                                                                        f           ne 2 meets the State definition
                                                                    Cali ornendangered;
                                                                threatened
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                                                             e not formally      Ju
                       of threatened or endangeredSbut
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                                            ited experienced,
                       is experiencing, orcformerly
                                                                   h
                                                             arc serious (noncyclical) population declines or range
                                                     62 9 9
                                         o  . 19-1that, if continued or resumed, could qualify it for State
                       retractions (not reversed)
                       threatened or N endangered status;
                       has naturally small populations exhibiting high susceptibility to risk from any factor(s), that
                       if realized, could lead to declines that would qualify it for State threatened or endangered
                       status.

               *for the purposes of this discussion, "animal" means fish, amphibian, reptile, bird and mammal
               **criteria for fishes are similar except that Federally listed taxa are not defined as SSCs


               What important factors contribute to a species being designated as an SSC?

               How does the Department use the SSC designation?

               How are SSCs addressed under the California Environmental Quality Act?

               Who is responsible for developing and maintaining SSC documents and lists?

               What procedures are used to designate SSCs?

               What elements are found in an SSC document?


https://wildlife.ca.gov/Conservation/SSC#394871316-what-is-a-species-of-special-concern[6/22/2020 5:23:31 PM]
Species of Special Concern
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               How does the Department add or remove animals from the SSC lists?

               What is the relationship between SSCs and the California Wildlife Action Plan?



                                                        Species Lists and Accounts


                         Mammals


                         Birds


                         Amphibians & Reptiles


                         Fishes                                           Trump
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                    Special Animals List (PDF)
                   California Natural Diversity Database




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           Budget                               Employment                           Contact CDFW                  Fish and Game
                                                                                                                  Commission
           Organizational                       Grants                               Law Enforcement
           Structure                                                                                               Wildlife
                                                Public Meetings and                  News Room
                                                                                                                  Conservation Board
              Strategic Vision                  Notices
                                                                                     Public Records Act
                                                                                                                  More related
           Tribal Affairs                       Vendors/Contractors                  Requests
                                                                                                                  organizations
                                                Volunteer                            Regions


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       Border
       Security
                                     Border Patrol History
          At Ports of                Since its inception in 1924, the U.S. Border Patrol has had a
          Entry                      proud history of service to our nation. Although enormous                        RELATED
                                     changes have affected nearly every aspect of its operations                      CONTENT:
        Along U.S.
        Borders                      from its earliest days, the basic values that helped shape                       The U.S. Border
                                                                                          T
                                     the Patrol in the early years; professionalism, honor,  rump
            Border
                                                                             fo rn ia v. 2, 2020                      Patrol’s Early
            Patrol
                                                                    of Calia shared
                                     integrity, respect for human life, and
                                                                                    Ju ne 2have
                                                                                      effort,                         Rank and Time-in-
            History                  remained.               tate           do   n                                    Service Insignia
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            Border
            Patrol
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                                                        9 Border Patrol
                                                                                                                      The Father of the
            Overview
                                        No.
                                     Mounted watchmen of the U.S. Immigration Service                                 U.S. Border Patrol
                                     patrolled the border in an effort to prevent illegal crossings
            Special
            Operations               as early as 1904, but their efforts were irregular and
                                     undertaken only when resources permitted. The
            Border
                                     inspectors, usually called Mounted Guards, operated out of                       Chiefs
            Patrol
                                     El Paso, Texas. Though they never totaled more than                              Chiefs of the U.S.
            Sectors
                                     seventy-five, they patrolled as far west as California trying                    Border Patrol -
            Strategy
                                     to restrict the flow of illegal Chinese immigration.                             Document is
            Border                                                                                                    currently being
            Wall                     In March 1915, Congress authorized a separate group of
                                                                                                                      updated. New
            System                   Mounted Guards, often referred to as Mounted Inspectors.
                                                                                                                      Version available
                                     Most rode on horseback, but a few operated cars and even
          From the Air                                                                                                soon.
                                     boats. Although these inspectors had broader arrest
          and Sea
                                     authority, they still largely pursued Chinese immigrants
          International              trying to avoid the Chinese exclusion laws. These
          Initiatives                patrolmen were Immigrant Inspectors, assigned to
          Canine                     inspection stations, and could not watch the border at all
                                                                                                                      Newton-Azrak

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         Program          times. Military troops along the southwest border
                          performed intermittent border patrolling, but this was                  The Story of
        Human
        Trafficking       secondary   to "the more  serious work   of military training."         Theodore L.
                          Aliens encountered illegally in the U.S. by the military were           Newton, Jr. and
                          directed to the immigration inspection stations. Texas                  George F. Azrak
                          Rangers were also sporadically assigned to patrol duties by
                          the state, and their efforts were noted as "singularly                  About the
                          effective."                                                             Newton-Azrak
                                                                                                  Award
                                                     Always referred to as "the first
                                                     Immigration Border Patrolman",               Newton-Azrak
                                                     Jeff Milton (left) poses outside the         50th Anniversary
                                                     Birdcage Theatre in Tombstone,
                                                     Arizona. Milton became a Texas
                                                     Ranger in 1879 and later joined
                                                     the U.S. Immigration Service,
                                                     retiring in 1932. Milton died at his
                                                     home in 1947 and according to
                                                     his wishes, his ashes were
                                                     scattered in the Arizona      ru mp
                                                                                desert.
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                                   Customs violations and intercepting
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                                   "the enemy" seemed
                                                    in Stotabe   c h ive d concern   than
                                             ite d          9 a r
                                   enforcingcimmigration
                                                9 -1  629regulations   in the early years of the
                                               1
                                         No.century. Agencies charged with inspecting
                                   twentieth
                                   people and goods entering and leaving the U.S. noticed
                                   that their efforts were totally ineffective without border
                                   enforcement between inspection stations. After 1917, a
                                   higher head tax and literacy requirement imposed for
                                   entry prompted more people to try to enter illegally.

                                   In 1918, Supervising Inspector Frank W. Berkshire wrote to
                                   the Commissioner-General of Immigration expressing his
                                   concerns about the lack of a coordinated, adequate effort
                                   to enforce immigration and customs laws along the border
                                   with Mexico.

                                   Prohibition and Border Control
                                   The Eighteenth Amendment
                                   to the United States
                                   Constitution, prohibiting the
                                   importation, transport,


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                                   manufacture or sale of
                                   alcoholic beverages went
                                   into effect at midnight on
                                   January 16, 1920. With the passage of this constitutional
                                   amendment and the numerical limits placed on
                                   immigration to the United States by the Immigration Acts
                                   of 1921 and 1924, border enforcement received renewed
                                   attention from the government. The numerical limitations
                                   resulted in people from around the world to try illegal
                                   entry if attempts to enter legally failed. Therefore, the
                                   mission of the Border Patrol became more important to
                                   the U.S. Government.

                                   These events set the wheels of change into motion. On May
                                   28, 1924, Congress passed the Labor Appropriation Act of
                                   1924, officially establishing the U.S. Border Patrol for
                                                                                        T r u mp
                                                                                            the
                                   purpose of securing the borders between fo rn  ia v. 2, 2020
                                                                                inspection
                                                                      Cali ntoJpatrol     2
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                                   stations. In 1925 its duties were
                                                                  o f expanded      u
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                                   seacoast. ed in S              rc h iv
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                                        o. 19 Years
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                                   Officers were quickly recruited for the new positions. The
                                   Border Patrol expanded to 450 officers. Many of the early
                                   agents were recruited from organizations such as the
                                   Texas Rangers, local sheriffs and deputies, and appointees
                                   from the Civil Service Register of Railroad Mail Clerks.

                                   The government initially provided the agents a badge and
                                   revolver. Recruits furnished their own horse and saddle,
                                   but Washington supplied oats and hay for the horses and a
                                   $1,680 annual salary for the agents. The agents did not
                                   have uniforms until 1928.


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                                   In 1932 the Border Patrol
                                   was placed under the
                                   authority of two directors,
                                   one in charge of the
                                   Mexican border office in El
                                   Paso, the other in charge
                                   of the Canadian border office in Detroit. Liquor smuggling
                                   was a major concern because it too often accompanied
                                   alien smuggling. The majority of the Border Patrol was
                                   assigned to the Canadian border. Smuggling was
                                   commonplace along the Mexican border also. Whiskey
                                   bootleggers avoided the bridges and slipped their
                                   forbidden cargo across the Rio Grande by way of pack
                                   mules along the Southern border.

                                                                     President Franklin D.
                                                                     Roosevelt combined the
                                                                     Bureau of Immigration
                                                                     and the Bureau of
                                                                                      T ru mp
                                                                     Naturalization . the 2020
                                                                               ia vinto
                                                                        lifor n         22,
                                                                    CImmigration
                                                                      a           and
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                                                                 of Naturalization
                                                     in S archive
                                              itedBorder29Patrol
                                   1933. Thecfirst          9 Academy opened as a training
                                                   -1  6
                                            o. 19 Chigas, El Paso, in December 1934. Thirty-
                                   school at Camp
                                         N
                                   four trainees attended classes in marksmanship and
                                   horsemanship.

                                   Although horses remained the
                                   transportation of choice for
                                   many years, by 1935, the
                                   Border Patrol began using
                                   motorized vehicles with
                                   radios. Rugged terrain and the
                                   need for quick, quiet transportation guaranteed that
                                   horses would remain essential transportation to the Patrol
                                   even to the present day.

                                   The War Years
                                                                             The workload and
                                                                             accomplishments of the
                                                                             Patrol remained fairly


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                                                                     constant until 1940, when
                                                                     the Immigration Service
                                                                     was moved from the
                                                                     Department of Labor to
                                   the Department of Justice. An additional 712 agents and 57
                                   auxiliary personnel brought the force to 1,531 officers.
                                   Over 1,400 people were employed by the Border Patrol in
                                   law enforcement and civilian positions by the end of WWII.
                                   During the war, the Patrol provided tighter control of the
                                   border, manned alien detention camps, guarded
                                   diplomats, and assisted the U.S. Coast Guard in searching
                                   for Axis saboteurs. Aircraft proved extremely effective and
                                   became an integral part of operations.

                                   Border Patrol Role Expands
                                   Legislation in 1952 codified and carried forward the ump
                                   essential elements of the 1917 and 1924 racts.     v
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                                                                              o n ia         2 , 2
                                   year, Border Patrol agents were    C
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                                                     in State
                                   and search a conveyance    for illegal
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                                            c States.
                                   in the United
                                                    1     99the first time, illegal entrants
                                                       62For
                                                 9 -
                                             . 1 the country were subject to arrest.
                                   traveling
                                         Nowithin
                                   As illegal immigration continued along the Mexican border,
                                   sixty-two Canadian border units were transferred south for
                                   a large-scale repatriation effort. In 1952, the government
                                   airlifted 52,000 illegal immigrants back to the Mexican
                                   interior. The program was terminated after it ran out of
                                   funds during its first year. The Mexican government offered
                                   train rides into the Mexican interior for nationals being
                                   returned from the San Antonio and Los Angeles districts,
                                   but this program was halted after only five months.
                                   Throughout the early 1950s, a special taskforce of 800
                                   Border Patrol agents was assigned by the United States
                                   Attorney General to round up and ship home thousands of
                                   illegal immigrants in southern California. The task force
                                   moved to the lower Rio Grande valley, then to Chicago and
                                   other interior cities. The Border Patrol began expelling
                                   adult Mexican males by boatlift from Port Isabel, Texas, to


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                               Vera Cruz in September 1954. The project was
                               discontinued two years later after nearly 50,000 illegal
                               aliens had been returned home. Various other flights, train
                               trips, and bus trips originated along the border and
                               terminated in the Mexican interior. In spite of the major
                               successes in repatriation, many deportees simply turned
                               around and recrossed the seriously undermanned border.
                               Repatriation programs proved extremely expensive and
                               were phased out primarily because of cost.

                                                                        Significant numbers of
                                                                        illegal aliens began
                                                                        entering the U.S. on
                                                                        private aircraft in the late
                                                                        1950s. In cooperation
                                                                        with other federal
                                                                        services, the Border
                                   Patrol began tracking suspect flights. During the Cuban
                                   missile crisis of the early 1960s, Cuban defectors living in
                                   Florida flew aircraft out over the ocean in an effort   T r
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                                                                                    iagovernment , 2 020
                                   harass their former homeland. TheaAmericanfo  r             2
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                                   made this harassmenttillegal,
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                                             cited unauthorized
                                   Patrol to prevent
                                                        62 9 9  ar flights. The Patrol added
                                            o .   9-1discharged
                                   155 officers,1but              122 of them when the crisis
                                         N
                                   ended in 1963.

                                   The early 1960s also witnessed aircraft-hijacking attempts
                                   and President John F. Kennedy ordered Border Patrol
                                   agents to accompany domestic flights to prevent
                                   takeovers. The Miami Sector of the Border Patrol
                                   coordinated the effort. By that time the business of alien
                                   smuggling began to involve drug smuggling also. The
                                   Border Patrol assisted other agencies in intercepting illegal
                                   drugs from Mexico.

                                   Today's Border Patrol
                                   The 1980s and 1990s saw a tremendous increase of illegal
                                   migration to America. The Border Patrol responded with
                                   increases in manpower and the implementation of modern
                                   technology. Infrared night-vision scopes, seismic sensors,
                                   and a modern computer processing system helped the



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Border Patrol History | U.S. Customs and Border Protection
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                                Patrol locate, apprehend, and process those crossing into
                                the U.S. illegally.

                                   In an effort to bring a level of control to the border,
                                   Operation "Hold the Line" was established in 1993 in El
                                   Paso, and proved an immediate success. Agents and
                                   technology were concentrated in specific areas, providing
                                   a "show of force" to potential illegal border crossers. The
                                   drastic reduction in apprehensions prompted the Border
                                   Patrol to undertake a full-scale effort in San Diego,
                                   California, which accounted for more than half of illegal
                                   entries. Operation "Gatekeeper" was implemented in 1994,
                                   and reduced illegal entries in San Diego by more than 75%
                                   over the next few years. A defined national strategic plan
                                   was introduced alongside Operation Gatekeeper and set
                                   out a plan of action for the Border Patrol into the future.
                                   With illegal entries at a more manageable level, the Patrol
                                   was able to concentrate on other areas, such as
                                   establishing anti-smuggling units and search and rescue
                                   teams such as BORSTAR. The Border Safety Initiative     Tru  mp
                                                                                              (BSI)
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                                                                                     a vBorder
                                                                                   ithe           2 020
                                   was created in 1998 with a commitment     fo rn
                                                                                by             2,
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                                   Patrol and the promised     e
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                                       No. security became a primary concern of the
                                   Homeland
                                   nation after the terrorist attacks of September 11, 2001.
                                   Border security became a topic of increased interest in
                                   Washington. Funding requests and enforcement proposals
                                   were reconsidered as lawmakers began reassessing how
                                   our nation's borders must be monitored and protected. On
                                   March 1, 2003, the Department of Homeland Security
                                   (DHS) was established, and the U.S. Border Patrol became
                                   part of U.S. Customs and Border Protection, a component
                                   of DHS.

                                   The U.S. Border Patrol continues its efforts to control our
                                   nation's borders. The 21st century promises to provide
                                   enormous leaps in technology that can be applied to
                                   border enforcement. The modernization of the Patrol
                                   advances at a dizzying rate as new generations of agents
                                   develop innovative ways to integrate the contemporary
                                   technology into field operations. New and specialized


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Border Patrol History | U.S. Customs and Border Protection
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                                technology is being created within the Border Patrol that
                                holds increasing potential to assist agents in fulfilling the
                                mission of the Patrol. Additionally, cooperation with
                                neighboring countries increases border safety and law
                                enforcement efforts. The future of the U.S. Border Patrol
                                promises to be as exciting and interesting as its past, and
                                will continue to echo the motto that agents have lived by
                                since 1924.

                                   Honor First.


                                   Last modified: October 5, 2018
                                   Tags: U.S. Border Patrol, History


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Visclosky Denies Request to Use Defense Funds for Unauthorized Border Wall | House Committee on Appropriations
                                       Case:1:19-cv-00408-TNM
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      Visclosky Denies Request to Use Defense
      Funds for Unauthorized Border Wall
      March 27, 2019 | Press Release

      WASHINGTON – House Defense Appropriations Subcommittee Chairman Pete Visclosky
      (D-IN) today denied the Department of Defense’s request to use Defense funds for an
      unauthorized wall on the southern border of the United States.

      The U.S. Constitution gives Congress the power to appropriate funds for designated and
      authorized purposes, and the reprogramming process has been historically utilized to
      allow Congress to maintain this Constitutional responsibility and oversight of Executive
      Branch requests to adjust funds to meet operational needs.

      However, the Department of Defense has indicated that – for the first time ever – it
      intends to move forward with the reprogramming action despite the Appropriations
                                                                                             T rump
      Committee opposing the reprogramming.
                                                                                  fo rn ia v. 2, 2020
      “This unprecedented action will clearly be a consideration as theC
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                                                                           Committee
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      the entirety of the Department’s budget request, includingtateits current     o n
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      authority,” Visclosky said.


      below. A PDF is available here.         o . 19 1 David L. Norquist is available
      The full text of the letter to Under Secretary of -Defense
                                           N
      Dear Mr. Secretary:

      The Committee has received and reviewed the requested reprogramming action, FY 19-
      01RA, submitted to the Committee on March 25, 2019, which proposes the transfer of
      $1 billion from fiscal year 2019 Military Personnel, Army and Army Reserve accounts to
      the Drug Interdiction and Counter Drug Activities account for the purposes of erecting a
      wall on the U.S. southern border.

      The Committee denies the request.

      The Defense Appropriations Act of 2019 was enacted on September 28, 2018, and
      inherent in the enactment is the specific allocation of appropriations and the execution
      of funds as called for under the Constitution between the Congress and the Executive
      Branch. Article 1 states, “No Money shall be drawn from the Treasury, but in
      Consequence of Appropriations made by Law”. The reprogramming transmitted by the
      Department denies the Congress and the Committee on Appropriations those stated
      Constitutional prerogatives; these funds were neither requested nor appropriated for
      the activities described in the reprogramming. With this unilateral action, the historic
      and unprecedented comity that has existed between the Committee and the
      Department has been breached.

      Sincerely,

      /s/

      Peter J. Visclosky


https://appropriations.house.gov/news/press-releases/visclosky-denies-request-to-use-defense-funds-for-unauthorized-border-wall[6/22/2020 5:27:16 PM]
Visclosky Denies Request to Use Defense Funds for Unauthorized Border Wall | House Committee on Appropriations
                                       Case:1:19-cv-00408-TNM
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      Chairman

      Defense Subcommittee



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      Subcommittees:
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441 G St. N.W.
Washington, DC 20548



          B-330862

          September 5, 2019

          Congressional Requesters

          Subject: Department of Defense—Availability of Appropriations for Border Fence
                   Construction

          This responds to your request for our legal opinion on whether the Department of
          Defense (DOD) may transfer and use its fiscal year 2019 appropriations for the
          purpose of constructing fences at the southern border of the United States. 1
          Specifically, you asked (1) whether DOD’s transfer of amounts to its Drug
          Interdiction and Counter-Drug Activities, Defense, account for border fence
          construction was consistent with DOD’s transfer authority; (2)      p whether DOD’s use of
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          its Drug Interdiction and Counter-Drug Activities, Defense,        account
                                                                               0 2 0   for border fence

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          construction was consistent with appropriations
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                                                                      principles   light of amounts
          previously appropriated to DOD’s
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          account for installing fences;
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                                                   iveits authority to waive
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          Homeland Security     (DHS)
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                                            exercise                          certain laws requiring
                                   6to facilitate DOD border fence construction was consistent
                            19-1 on the use of DOD’s fiscal year 2019 appropriations.
          environmental studies
          with a certain
                      N o .
                         prohibition

          As discussed below, we conclude that DOD’s transfer of amounts into its Drug
          Interdiction and Counter-Drug Activities, Defense, account for border fence
          construction was consistent with DOD’s statutorily enacted transfer authority, and
          that use of these amounts for the purpose of border fence construction was
          permissible under various statutory provisions. We also conclude that DHS waivers
          of legal requirements did not violate a prohibition on use of DOD’s appropriations.
          Our opinion applies the legal provisions to the facts before us and does not address
          or draw conclusions regarding border fencing as a policy matter.


          1
           Letter from Patrick Leahy, Vice Chairman, Committee on Appropriations, United
          States Senate; Richard J. Durbin, Vice Chairman, Subcommittee on Defense,
          Committee on Appropriations, United States Senate; and Brian Schatz, Ranking
          Member, Subcommittee on Military Construction, Veterans Affairs, and Related
          Agencies, Committee on Appropriations, United States Senate, to the Comptroller
          General (March 11, 2019).
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 Consistent with our practice for legal opinions, we requested and received from DOD
 pertinent factual information and its legal views on this matter. GAO, Procedures
 and Practices for Legal Decisions and Opinions, GAO-06-1064SP (Washington,
 D.C.: Sept. 2006), available at www.gao.gov/products/GAO-06-1064SP; Letter from
 Managing Associate General Counsel, GAO, to General Counsel, DOD (June 10,
 2019); Letter from Deputy General Counsel, Fiscal, DOD, to Managing Associate
 General Counsel, GAO (July 3, 2019) (Response Letter). 2

 BACKGROUND

 Statutory authority for border fence construction

 DHS has statutory authority to control and guard the borders of the United States.
 8 U.S.C. § 1103(a)(5). Specifically, the Illegal Immigration Reform and Immigrant
 Responsibility Act of 1996 (IIRIRA), as amended, requires DHS to take necessary
 actions to install physical barriers and roads in the vicinity of the border of the United
 States to deter illegal crossings in areas of high illegal entry. Pub. L. No. 104-208,
 div. C, title I, § 102(a), 110 Stat. 3009, 3009-546, 3009-554 (Sept. 30, 1996), as
 amended by Department of Homeland Security Appropriations Act, 2008, Pub. L.
 No. 110-161, div. E, title V, § 564, 121 Stat. 1844, 2042, 2090 (Dec. 26, 2007). The
 REAL ID Act of 2005 amended IIRIRA by expanding the authority
                                                            T ru mp        of the Secretary of
 DHS to waive all legal requirements determined
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 construction of barriers and roads along   lif o
                                               ther border. e 2 2
                                                             Pub.  L. No. 109-13, div. B, title
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 I, § 102, 119 Stat. 231, 302, t306
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                    d in       arsecure the borders to the Customs and Border
                cite authority
 DHS has delegated       29 9  to
 Protection’s (CBP)
                 .   -16 Patrol. 6 U.S.C. § 211(e)(3). Border Patrol divides
                   19Border
               o
           N for border security geographically among nine sectors along the
 responsibility
 southern border as follows: San Diego; El Centro; Yuma; Tucson; El Paso; Big
 Bend; Del Rio; Laredo; and Rio Grande Valley. GAO, CBP Is Evaluating Designs
 and Locations for Border Barriers But Is Proceeding Without Key Information, GAO-
 18-614 (Washington, D.C.: July 2018), at 8. CBP receives an annual appropriation
 for its construction activities, among other purposes, in its Procurement,
 Construction, and Improvements account. See, e.g., Department of Homeland
 2
   Of the three questions addressed herein, one of the questions—that is, whether
 DOD’s transfer of amounts to its Drug Interdiction and Counter-Drug Activities,
 Defense, account for border fence construction was consistent with DOD’s transfer
 authority—is the subject of ongoing litigation in federal courts. See, e.g., Donald J.
 Trump, et al. v. Sierra Club, et al., 588 U.S.    (2019) (granting application to stay a
 permanent injunction ordered by the District Court). In response to our request to
 DOD for factual information and its legal views on the three questions asked of the
 Comptroller General, DOD stated that the government’s pleadings in Sierra Club
 reflect DOD’s legal views, and provided us with copies of the government’s
 pleadings, administrative records, and declarations filed in Sierra Club.




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 Security Appropriations Act, 2019, Pub. L. No. 116-6, div. A, title II, 133 Stat. 13, 15,
 18 (Feb. 15, 2019).

 DOD has statutory authority to provide support to civilian law enforcement agencies,
 such as DHS. See subtitle A, part I, chapter 15 of title 10 of the United States Code
 (Military Support for Civilian Law Enforcement Agencies). For example, DOD may
 train federal civilian law enforcement officials and make military equipment available
 to them. 10 U.S.C. §§ 272, 273.

 DOD also has authority under section 284 of title 10 of the United States Code
 (section 284) to provide support for the counter-drug activities of another department
 of the federal government if that support is requested by the official who has
 responsibility for the counter-drug activities. 10 U.S.C. § 284(a)(1)(A). One of the
 “purposes for which [DOD] may provide support” includes “[c]onstruction of . . .
 fences . . . to block drug smuggling corridors across international boundaries of the
 United States.” 10 U.S.C. § 284(b)(7).

 DOD receives an annual appropriation for its counter-drug activities in its Drug
 Interdiction and Counter-Drug Activities, Defense, account. See, e.g., Department of
 Defense Appropriations Act, 2019, Pub. L. No. 115-245, div. A, title VI, 132 Stat.
 2981, 2982, 2997 (Sept. 28, 2018). In fiscal years 2006 and
                                                          T ru mp2008, DOD received
                                                        .
                                                  ia vEmergency
 line-item appropriations in its Operation and Maintenance,       020
                                                                 Defense-Wide,
                                                                 2             account
                                             forn             2,
 for support to DHS, including “installing
                                     f    ali WarJon
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                                                       nTerror,    Supplemental
 Appropriations Act for Defense,   o
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 2006, Pub. L. No. 109-234,
                       i                iv  d o 418, 480 (June 15, 2006); Department
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                                   rc Pub. L. No. 110-116, div. A, title II, 121 Stat.
               cited 629Act,
 of Defense Appropriations    9 a2008,
 1295, 1299 (Nov.    -12007).
                  1913,
            No.
 Executive Order, Appropriations for Fiscal Year 2019, and National Emergency

 On January 25, 2017, the President ordered executive departments and agencies
 “to deploy all lawful means to secure the Nation’s southern border.” Exec. Order No.
 13767, Border Security and Immigration Enforcement Improvements, 82 Fed. Reg.
 8793 (Jan. 25, 2017). The President also declared it the policy of the executive
 branch to secure the southern border through “immediate construction of a physical
 wall,” and defined “wall” as “a contiguous, physical wall or other similarly secure,
 contiguous, and impassable physical barrier.” Id. at 8793–8794.

 Consistent with the executive order, the President’s Budget for Fiscal Year 2019,
 transmitted in February 2018, requested $1.8 billion in appropriations for CBP
 Procurement, Construction, and Improvements, with $1.6 billion of that budgeted for
 border security assets and infrastructure. Appendix, Budget of the United States
 Government for Fiscal Year 2019, (Feb. 2018), at 496–497, available at
 https://www.whitehouse.gov/wp-content/uploads/2018/02/appendix-fy2019.pdf (last
 visited Aug. 5, 2019). On January 6, 2019, the Office of Management and Budget
 notified members of the House and Senate Appropriations Committees that the



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 President was requesting a total of $5.7 billion in fiscal year 2019 amounts for CBP
 to construct a steel barrier for the southwest border. See, e.g., Letter from Acting
 Director, Office of Management and Budget, to the Chairman of the Committee on
 Appropriations, United States Senate (Jan. 6, 2019) (OMB Letter), at 1. CBP was
 ultimately appropriated $2.5 billion for Procurement, Construction, and
 Improvements. Pub. L. No. 116-6, 133 Stat. at 18. Of the total amount available for
 CBP Procurement, Construction, and Improvements, $1.375 billion was “for the
 construction of primary pedestrian fencing, including levee pedestrian fencing, in the
 Rio Grande Valley Sector.” Id. § 230(a)(1).

 With respect to DOD activities, the President’s Budget did not specifically request
 anything for construction of fences at the border, but requested $787.5 million for
 Drug Interdiction and Counter-Drug Activities, Defense. Appendix, Budget for Fiscal
 Year 2019, at 236. In September 2018, Congress appropriated to DOD for fiscal
 year 2019 $881.5 million for Drug Interdiction and Counter-Drug Activities, Defense.
 Pub. L. No. 115-245, 132 Stat. at 2997. In the same appropriations act, Congress in
 section 8005 granted DOD authority to transfer up to $4 billion between its
 appropriations, on the condition that “ . . . such authority to transfer may not be used
 unless for higher priority items, based on unforeseen military requirements, than
 those for which originally appropriated and in no case where the item . . . has been
 denied by the Congress . . . .” Id. § 8005 (section 8005). mp
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 After appropriations were enacted, onaFebruary
                                                        n e  22,the President officially
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 declared that a national emergency
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                ite  d            ar  hive a National Emergency Concerning the
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                                  States, 84 Fed. Reg. 4949 (Feb. 15, 2019). A fact
                                         announced plans for DOD to provide support to
           No.
 DHS by constructing     fences to block drug smuggling corridors pursuant to DOD’s
 authority under section 284. 3 White House, Fact Sheets: The Funds Available to
 Address the National Emergency at Our Border (Feb. 26, 2019), available at
 https://www.whitehouse.gov/briefings-statements/funds-available-address-national-
 emergency-border/ (last visited Aug. 5, 2019). To fund DOD’s efforts, the
 announcement stated that DOD would transfer up to $2.5 billion to DOD’s Drug
 Interdiction and Counter-Drug Activities, Defense, account from other DOD accounts
 using DOD’s transfer authority under section 8005. Id.

 Fiscal Year 2019 activities with respect to DOD border fence construction

 On February 25, 2019, DHS requested that DOD provide assistance to secure the
 southern border by, among other things, constructing fences to block drug-
 3
  As noted above, section 284 authorizes DOD to provide support for the counter-
 drug activities of another department including “[c]onstruction of . . . fences . . . to
 block drug smuggling corridors across international boundaries of the United States.”
 10 U.S.C. § 284(b)(7).




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 smuggling corridors across the international boundary between the United States
 and Mexico pursuant to DOD’s authority under section 284. Response Letter, Encl.
 1. DHS requested DOD’s assistance in four particular sectors: Yuma, El Paso, El
 Centro, and Tucson. Id.

 DOD agreed to provide support to DHS, and in March and May transferred $1.8
 billion into its Drug Interdiction and Counter-Drug Activities, Defense, account using
 its authority under section 8005. 4 Response Letter, Encl. 1. DOD awarded
 contracts for border fence construction for locations in the Yuma, El Paso, El Centro,
 and Tucson sectors. See, e.g., DOD, Contracts for April 9, 2019, Release No. CR-
 066-19, available at https://dod.defense.gov/News/Contracts/Contract-
 View/Article/1809986/ (last visited Aug. 5, 2019) (April Contracts); DOD, Contracts
 for May 15, 2019, Release No. CR-092-19, available at
 https://dod.defense.gov/News/Contracts/Contract-View/Article/1848882/ (last visited
 Aug. 5, 2019) (May Contracts).

 DHS published notices under IIRIRA, as amended, that it was installing physical
 barriers in the Yuma, El Paso, El Centro, and Tucson sectors, and that DOD was
 providing support by constructing fences, among other things, in those sectors.
 84 Fed. Reg. 17185 (Apr. 24, 2019); 84 Fed. Reg. 17187 (Apr. 24, 2019); 84 Fed.
 Reg. 21798 (May 15, 2019); 84 Fed. Reg. 21800 (May 15,     p
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   As noted above, section 8005 provides  a     orn nfore DOD
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                  the  1629 . . .” Pub. L. No. 115-245, § 8005. On March 25,
                      -Congress
              o
 2019, DODNtransferred    a total of $1 billion using authority under section 8005 from
 the Military Personnel, Army, and Reserve Personnel, Army accounts, made
 available in the DOD Appropriations Act, 2019. Response Letter, Encl. 1. On May
 9, 2019, DOD transferred a total of $818.5 million using authority under section
 8005 from the following accounts, made available in the DOD Appropriations Act,
 2019: Reserve Personnel, Army; National Guard Personnel, Army; Military
 Personnel, Navy; Military Personnel, Marine Corps; Reserve Personnel, Navy;
 Military Personnel, Air Force; Reserve Personnel, Air Force; National Guard
 Personnel, Air Force; Aircraft Procurement, Air Force; Missile Procurement, Air
 Force; Space Procurement, Air Force; and Chemical Agent and Munitions
 Destruction, Defense. Id. DOD also transferred $681.5 million on May 9, 2019 into
 its Drug Interdiction and Counter-Drug Activities, Defense, account to fund activities
 in support of DHS using authority under section 9002 of the DOD Appropriations Act,
 2019. Id. That transfer authority is not the subject of our opinion. We are aware
 that DOD announced plans this week to use unobligated military construction funds
 for projects along the southern border. Letter from Secretary, DOD, to the Chairman
 of the Committee on Armed Services, House of Representatives (Sept. 3, 2019).
 Use of military construction funds is not the subject of this opinion either.




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 DHS also stated that it was waiving several laws in their entirety, including the
 National Environmental Policy Act (NEPA), to ensure expeditious construction of
 barriers in these sectors. Pub. L. No. 109-13, § 102; see, e.g., 84 Fed. Reg. at
 17187.

 DISCUSSION

 At issue here is whether DOD’s transfer of amounts to its Drug Interdiction and
 Counter-Drug Activities, Defense, account for border fence construction was
 consistent with DOD’s transfer authority under section 8005, and whether DOD’s
 use of its Drug Interdiction and Counter-Drug Activities, Defense, account for the
 purpose of border fence construction was a permissible use of this appropriation
 account. We also address whether DHS’s waivers of legal requirements in order to
 expedite border fence construction was consistent with a certain prohibition on the
 use of DOD’s appropriations. We will address each of the three issues in turn.

 Transfer of DOD appropriations for border fence construction

 Agencies may transfer 5 funds only when expressly authorized by law. 31 U.S.C.
 § 1532. In that regard, section 8005 authorizes DOD to transfer funds between
 appropriations as follows:                              mp
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          “Upon determination by the Secretary
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                                                                       , such action is
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          necessary in the nationalt e    f
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                                             ive available in this Act . . . between
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                  i
                c          6299 for the same purposes, and for the same time
          such appropriations    or funds or any subdivision thereof, to be merged
          with and to 9-
                      be1 available
              Noas
          period,
                  . 1the appropriation or fund to which transferred: Provided,
          That such authority to transfer may not be used unless for higher
          priority items, based on unforeseen military requirements, than those
          for which originally appropriated and in no case where the item . . . has
          been denied by the Congress . . . .” Pub. L. No. 115-245, § 8005.

 In March and May of 2019, DOD transferred amounts made available in the DOD
 Appropriations Act, 2019, into its Drug Interdiction and Counter-Drug Activities,
 Defense, account in order to construct fences in four particular sectors at the
 southern border in support of DHS pursuant to DHS’s request and DOD’s authority
 under section 284. 6 Response Letter, Encl. 1. DOD relied on its authority under
 5
  A transfer is the shifting of budget authority between appropriations. GAO, A
 Glossary of Terms Used in the Federal Budget Process, GAO-05-734SP
 (Washington, D.C.: Sept. 2005), at 95.
 6
  DOD referred to this as a “reprogramming action.” Response Letter, Encl. 1. DOD
 uses the phrase “reprogramming action” generally to include both transfers (the
 shifting of funds from one appropriation account to another) and reprogrammings
                                                                         (continued...)


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 section 8005 for these transfers. Id. The issue is whether DOD’s transfers were
 consistent with DOD’s transfer authority under section 8005. Specifically at issue
 here are two of the conditions under section 8005 that must be satisfied. First, the
 item to which funds are transferred must be of “higher priority . . . based on
 unforeseen military requirements, than those for which originally appropriated.” Pub.
 L. No. 115-245, § 8005. Second, the item to which funds are transferred must not
 be one “denied by the Congress.” Id. We consider each of these statutory
 conditions in turn.

          (1) Higher priority based on unforeseen military requirements

 DOD asserts that the transferred funds were in support of higher priority items,
 based on unforeseen military requirements. Response Letter, Encl. 1. The first
 issue is whether DOD border fence construction in support of DHS under section
 284 was an unforeseen military requirement. The answer is determined by
 reference to section 284 and DOD’s internal guidance.

 DOD states that “unforeseen” under section 8005 means that DOD was not aware of
 the need at the time of the budget request and when Congress passed DOD’s
 appropriations. Response Letter, Encl. 8. We do not disagree with DOD’s
 interpretation of “unforeseen” under section 8005. For purposes
                                                               T  ru  mp of section 8005, the
 question is not whether border fencing was unforeseen
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                                                       iexplicitly  2 , 2020 Indeed, the
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 President campaigned for border fencing
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                                                            n e   2            amounts for
                                        f
                                      obudget. See,      Ju
 border fencing as part of DHS’s
                             S  tate 16,      e d   on Donald      Trump’s Presidential
 Announcement Speech,     in   (June     h iv
                                          2015),   available  at
               cited 6299 arc
 https://time.com/3923128/donald-trump-announcement-speech/                  (last visited Aug. 28,
 2019); OMB Letter,  9  -1
                        at  1.  Rather, the  question    under  section  8005   is whether it was
 unforeseenNat o.the1 time of the budget request and enactment of appropriations that
 DOD would fund and construct border fencing pursuant to DOD’s authority under
 section 284.

 Section 284 makes clear that DOD’s authority to construct fences in support of other
 departments is available only upon the request of another department and DOD’s
 acceptance of the request. 10 U.S.C. § 284(a)(1)(A) (DOD “may provide support . . .
 if . . . requested” by the official with responsibility for the counter-drug activities)
 (emphasis added). Here, the President’s Budget for Fiscal Year 2019 was
 submitted in February 2018, and while the President requested funds for border
 fencing as part of DHS’s budget, DOD had not yet been requested by an appropriate
 official to provide support to DHS by constructing fences under section 284, and
 DOD’s budget did not include amounts to provide support under section 284.

 (...continued)
 (the shifting of funds within an account). See DOD Financial Management
 Regulation 7000.14-R, vol. 3, ch. 6, Reprogramming of DOD Appropriated Funds
 (Sept. 2015); Glossary, at 85, 95.




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 Similarly, when DOD received its appropriations for fiscal year 2019 through its
 annual appropriations act enacted on September 28, 2018, there was not yet a
 request from DHS or an acceptance by DOD regarding support at the southern
 border pursuant to section 284.

 Rather, DOD’s authority to support DHS by constructing fences at the southern
 border under section 284 only materialized when DHS requested DOD’s assistance
 on February 25, 2019, and DOD accepted the request. (DOD accepted part of the
 work in March 2019 and the remainder of the work in May 2019). Response Letter,
 Encl. 1 (providing copies of DHS’s February 25, 2019 request letter and DOD’s
 March 2019 and May 2019 acceptance letters). Until the requisite request and
 acceptance for support took place, which was well into the second quarter of fiscal
 year 2019, DOD had no requirement to construct fences under section 284. Thus it
 was unforeseen at the time of DOD’s budget request and appropriations that DOD
 would fund and construct such border fences.

 DOD defines “military requirement” as “[a]n established need justifying the timely
 allocation of resources to achieve a capability to accomplish approved military
 objects, missions, or tasks.” CJCS Guide 3401D, CJCS Guide to the Chairman’s
 Readiness System, Appendix A, Glossary (Nov. 15, 2010, current as of Nov. 25,
 2013). Once DOD accepted DHS’s request, the provisionmofpsupport constituted a
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                                                 a vguidance.
 military requirement as defined in DOD’s internal
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                                      f indicates      n
                                                     u one of the reasons Congress
 The legislative history of section
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                                              d  on Jthat
                        n S awas
 enacted this transferiauthority
                                    c       e
                                       htoivprovide DOD with flexibility when changing
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               c H.R.6Rep.
 conditions occur.
                       1     99No. 93-662, at 16 (1973). While border fencing in
                           2was
                  1 9
 general was foreseen,-  it      not foreseen that DOD would fund and construct
            No.pursuant to DOD’s authority in section 284. The realization of a
 border fencing
 military requirement during the course of the fiscal year, as was the case here, is
 such a condition that the transfer authority permits DOD to address. DOD’s
 authority to construct fences in support of civilian agencies is dependent upon a
 request from such agency under section 284. That authority, and a corresponding
 military requirement for construction, did not materialize until after submission of the
 President’s Budget and enactment of DOD’s appropriations and thus was not
 forecast in DOD’s budget submission. We conclude that DOD’s fence construction
 projects constitute an unforeseen military requirement under section 8005.

 The next issue is whether construction of fences at the southern border in support of
 DHS constituted a “higher priority” military requirement than the activities from which
 funds were transferred. In light of the President’s order to executive departments
 and agencies to “deploy all lawful means to secure the Nation’s southern border . . .
 through the immediate construction of a physical wall,” 7 and declaration of national

 7
     82 Fed. Reg. at 8793.




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 emergency at the southern border, 8 DOD asserts that the transferred funds were in
 support of higher priority military requirements. We are in no position to disagree
 with DOD’s prioritization of military requirements. DOD asserts that funds were
 available from other accounts to transfer into its Drug Interdiction and Counter-Drug
 Activities, Defense, account for various reasons. Lower than expected agency
 contributions to the new Blended Retirement System due to fewer than planned opt-
 ins, a reduction to Army’s overall end strength target, and reduced projected costs
 gained by shortening schedules at chemical agent destruction plants meant that
 some funds were no longer needed for these purposes and could be transferred into
 the Drug Interdiction and Counter-Drug Activities, Defense, account. Response
 Letter, Encl. 1. We do not find legally objectionable DOD’s determination that
 construction of fences at the southern border in support of DHS was a higher priority
 than these activities from which funds were transferred.

 Based on the foregoing, we conclude that DOD satisfied the first condition of section
 8005 when it transferred funds into its Drug Interdiction and Counter-Drug Activities,
 Defense, account in order to construct fences at the southern border in support of
 DHS pursuant to DHS’s request and DOD’s authority under section 284. We now
 consider the second condition of section 8005.

          (2) Not denied by Congress
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 DOD asserts that “none of the items [to
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                                           which
                                                      n e  2       transferred] has
 previously been denied by the    o  f          n  J u
                          S ta teCongress.”
                                         e d  oResponse   Letter, Encl. 1. The “items”
                    d  in
 here are fences at four  sectors at
                                  rc  hi
                                     thevsouthern   border, and we consider whether
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               c denied  6299
 such fences were           by Congress for fiscal year 2019.
                  19 -1
            No. 8005 nor the DOD Appropriations Act, 2019, defines “denied by
 Neither section
 Congress.” So, we turn to the ordinary meaning of the term “deny” which is “to
 refuse to grant” or “to give a negative answer to.” Merriam-Webster Dictionary
 Online, Definition of deny, available at www.merriam-webster.com/dictionary/deny
 (last visited Aug. 5, 2019). GAO has recognized that when “Congress . . . intends to
 impose a legally binding restriction on an agency’s use of funds, it does so by means
 of explicit statutory language.” 55 Comp. Gen. 307, 318, Oct. 1, 1975. This
 principle, along with the ordinary definitions, suggest that to deny is to actively
 refuse.

 Here, the President’s Budget for Fiscal Year 2019 did not request any amounts for
 DOD with respect to construction of fences at the southern border, so there was
 nothing for Congress to deny with respect to DOD. Further, Congress did not
 include any restrictive language with regard to border fences in either the John S.
 McCain National Defense Authorization Act for Fiscal Year 2019 (NDAA, 2019),


 8
     84 Fed. Reg. at 4949.




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 Pub. L. No. 115-232, 132 Stat. 1636 (Aug. 13, 2018), or the DOD Appropriations
 Act, 2019, Pub. L. No. 115-245, 132 Stat. 2982.

 The appropriation to CBP for $1.375 billion for the construction of primary pedestrian
 fencing in the Rio Grande Valley sector does not constitute a “denial” of
 appropriations to DOD for its counter-drug activities in furtherance of DOD’s mission
 under section 284 to support other agencies’ activities. Additionally, although
 Congress ultimately appropriated less to CBP in its Procurement, Construction, and
 Improvements account than what the President requested, a reduction from the
 amount requested is not tantamount to a denial of the item by Congress, nor does a
 reduction from the amount requested negate the otherwise proper exercise of
 statutory transfer authority. DOD came to the same conclusion. Response Letter,
 Encl. 2.

 We have reached similar conclusions in prior opinions. For example, where
 Congress did not appropriate amounts requested for fiscal year 1979 for the
 President’s new Urban Crime Prevention Program, the agency put the program into
 effect anyway by using amounts budgeted for other related programs. B-195269,
 Oct. 15, 1979. We did not take issue with the agency’s actions since the agency’s
 appropriations were otherwise available for this purpose. Id. The fact that Congress
 did not appropriate the additional amount for the programm
                                                             ru     p not mean that
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 Congress intended to curtail, or deny, the initiative,
                                                                2,   020 did not enact
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 legislation imposing restrictions on theause
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                                                            for this purpose.     See id. As
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                                    o made $8         Ju
 another example, where Congress
                           St a teand       e d  onmillion available  for fiscal year 1963 for
                    d   in
 a certain National Aeronautics
                                   r c hiv
                                        Space    Administration  (NASA)     activity, as
                 ite
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                              9 million, we did not object to NASA’s transfer of $4.4
 opposed to the
                      -1   29$10
 million to increase9amounts   for the activity, on the grounds that the reduction by
                 . 1render inoperative
 Congress didNonot                        the exercise of NASA’s statutory transfer
 authority. B-151157, June 27, 1963.

 Here, there was no denial of fences at the southern border and, in fact, Congress
 provided affirmative authority for the same. Specifically, Congress provided DOD
 authority under section 284 to support the counter-drug activities of civilian law
 enforcement agencies (including the construction of fences), an appropriation for
 counter-drug activities, and authority to transfer amounts between its appropriations.
 10 U.S.C. § 284; Pub. L. No. 115-245, 132 Stat. at 2997; Pub. L. No. 115-245,
 § 8005. Congress provided DHS with direction to install physical barriers at the
 border, a lump-sum appropriation for CBP’s construction activities, and a line-item 9
 appropriation to be used for fencing in the Rio Grande Valley sector, one of the nine
 sectors at the southern border. Pub. L. No. 104-208, § 102(a), as amended by Pub.
 9
  A lump-sum appropriation is one that is made to cover a number of programs,
 projects, or items. In contrast, a line-item appropriation is available only for the
 specific object described. GAO, Principles of Federal Appropriations Law, Vol. 2,
 3rd ed., ch. 6, § B.1, GAO-06-382SP (Washington, D.C.: Feb. 2006).




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 L. No. 110-161, § 564; Pub. L. No. 116-6, 133 Stat. at 18; Pub. L. No. 116-6,
 § 230(a)(1).

 We do note that certain congressional committees expressed objection to the
 transfers and use of DOD amounts for this purpose. See Letter from Senate
 Committee on Appropriations, to the Acting Secretary of Defense (Mar. 25, 2019);
 Letter from House of Representatives Committee on Appropriations, to the Under
 Secretary of Defense, Comptroller (Mar. 26, 2019); Letter from House of
 Representatives Committee on Armed Services, to the Under Secretary of Defense
 Comptroller and Chief Financial Officer (Mar. 26, 2019). However, the Supreme
 Court has made clear that congressional exercise of legislative power requires
 bicameralism and presentment. 10

 Although prior committee approval is not binding as a matter of law, and the
 objection of the congressional committees in this case does not constitute a “denial
 by Congress” within the meaning of section 8005, we have cautioned that agencies
 “ignore such expressions of intent at the peril of strained relations with the
 Congress.” 55 Comp. Gen. 307, 325, Oct. 1, 1975. Indeed, the DOD Financial
 Management Regulation sets forth a process for DOD to obtain the prior approval of
 the Appropriations and Armed Services Committees of the House of

                                                         Tru mp amounts between
 Representatives and United States Senate prior to transferring

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 appropriations under section 8005. DOD-FMRa7000.14-R,
                                                              ,  023,0ch. 6. In this case,
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 there is no evidence that DOD obtained
                                     C  aliprior approval
                                                      n e 2       committees before the
                                  f               J u
 March or May transfers.     te o
                         Sta chived          on
                    d in         arand May transfers of funds into its Drug Interdiction
                ite DOD’s29
 Having foundcthat            9
                            March
 and Counter-Drug
                .    -16
                  19Activities, Defense, account for border fence construction was
 consistent No
            with the conditions under section 8005 for a higher priority item based on
 unforeseen military requirements, and not denied by Congress, we conclude that the
 transfers were a permissible use of DOD’s transfer authority. We now turn to
 consideration of whether the use of DOD appropriations for the purpose of border
 fence construction was permissible.

 Use of DOD appropriations for border fence construction

 The purpose statute, 31 U.S.C. § 1301(a), provides that “[a]ppropriations shall be
 applied only to the objects for which the appropriations were made . . . .” Given the
 size and breadth of the federal government, Congress may appropriate amounts for
 10
   See Immigration & Naturalization Service v. Chadha, 462 U.S. 919 (1983) (holding
 that a one-house veto provision is unconstitutional because it was an exercise of
 legislative power that circumvented the procedures of bicameralism and
 presentment); see also B-330330.1, Dec. 10, 2018; GAO, Principles of Federal
 Appropriations Law, 4th ed., 2016 rev., ch. 2, § B.7.a(4), GAO-16-464SP
 (Washington, D.C.: Mar. 2016).




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 a broad purpose and not enumerate each permissible expenditure. As such,
 application of the purpose statute requires an analysis of whether the expenditure in
 question is a “necessary expense” of the appropriation. This application involves a
 three-step analysis, known as the necessary expense rule: (1) the expenditure must
 bear a logical relationship to the appropriation; (2) the expenditure must not be
 prohibited by law; and (3) the expenditure must not be otherwise provided for. See,
 e.g., B-303170, Apr. 22, 2005; GAO, Principles of Federal Appropriations Law, 4th
 ed., 2017 rev., ch. 3, § B, GAO-17-787SP (Washington, D.C.: Mar. 2016). We
 address DOD’s use of its appropriations for the purpose of border fence construction
 in the context of this three-step analysis.

        (1) Step 1: logical relationship between the expenditure and the appropriation

 With regard to step one, the expenditure must contribute to accomplishing the
 purposes of the corresponding appropriation. In this regard, the language of the
 appropriation act is of paramount importance. See, e.g., B-303927, June 7, 2005.
 Other statutes, such as authorizing legislation, and the agency’s interpretation of its
 appropriations are also relevant considerations. B-323365, Aug. 6, 2014; B-223608,
 Dec. 19, 1988.

 In this case, following DOD’s transfer of amounts into its Drug
                                                           T ru mp Interdiction and
 Counter-Drug Activities, Defense, appropriation,
                                                 n      v. obligated
                                                       DOD
                                                   iathe        , 2    0 amounts by
                                                                    02those
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 awarding contracts for construction ofafencesfor in      e  2 2
                                                           Yuma,  El Paso, El Centro, and
                                      f C
                                    o DHS’sorequest. J u n
 Tucson sectors, in accordance
                             ta te with      d   n         Response Letter, Encl. 6, 7;
                         n S
 April Contracts; May iContracts.    The
                                     c hiv e
                                          question  is whether  DOD border fence
                 i ted            a r
                c         6299 and Counter-Drug Activities, Defense,
 construction undertaken    pursuant to section 284 contributes to accomplishing the
 purposes of the 1   9 -
                    Drug1Interdiction
            No.
 appropriation.

 We begin with the language of the appropriation and the provision permitting DOD to
 support the counter-drug activities of other agencies (section 284). The Drug
 Interdiction and Counter-Drug Activities, Defense, appropriation provides that it is
 available for, among other things, “counter-narcotics support.” Pub. L. No. 115-245,
 132 Stat. at 2997. Border fence construction with no connection to countering
 narcotics does not fall within the plain meaning of the appropriation. Here, DOD’s
 border fence construction was undertaken pursuant to section 284, which
 specifically authorizes “construction of . . . fences . . . to block drug smuggling
 corridors across international boundaries of the United States.” 10 U.S.C.
 § 284(b)(7).

 Based on the information before us, the fence construction requested by DHS meets
 the conditions of section 284. In its request to DOD for support, DHS asserted that
 the Yuma, El Paso, El Centro, and Tucson sectors are experiencing “large numbers
 of individuals and narcotics being smuggled into the country illegally” and are used
 “as drug smuggling corridors.” Response Letter, Encl. 1. DHS also asserted that
 “[t]he construction of border infrastructure within the [p]roject [a]reas will support



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 DHS’s ability to impede and deny illegal entry and drug smuggling activities within
 the [p]roject [a]reas.” Id. Construction of fences in order to block drug smuggling
 corridors is logically related to hindering, or countering, the movement of narcotics.
 Thus, DOD’s construction of fences in this case bears a logical relationship to the
 stated purpose of the Drug Interdiction and Counter-Drug Activities, Defense,
 appropriation, that is, for “counter-narcotics support.”

 Because border fence construction under the circumstances presented here has a
 logical relationship to the Drug Interdiction and Counter-Drug Activities, Defense,
 appropriation, we conclude that step one of the necessary expense rule is satisfied.

        (2) Step 2: expenditure not prohibited by law

 We now consider, under the second step of the necessary expense rule, whether
 there is a specific statutory prohibition on the use of appropriations for border fence
 construction undertaken pursuant to section 284. When a law specifies that an
 agency’s appropriation is not available for a designated purpose, obligations or
 expenditures for that purpose may violate the Antideficiency Act, 31 U.S.C.
 § 1341(a)(1), which provides that an agency may not obligate or expend in excess or
 in advance of an appropriation. For example, where an expenditure violated the

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 prohibition on publicity or propaganda of the relevant appropriations        act, and the
 agency had no appropriations available for thisapurpose,
                                                     n   v.
                                                      iHere,       ,  2 020 violated the
                                                                  the agency
 Antideficiency Act. B-302710, May 19,         lifo r
                                                2004.       e  2 2
                                                             neither   the NDAA, 2019, nor the
                                         f C a         Ju n
 DOD Appropriations Act, 2019,
                                 a      o
                                     e contains
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 construction of fences  inatS  t
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                                              border.  We  are  not  aware of any other law
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 that prohibits c
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                use of DOD’s      9appropriations for border fence construction. We
 conclude that step19  -1
                      two       the  necessary expense rule is satisfied.
            No.
        (3) Step 3: expenditure not otherwise provided for

 Having concluded that DOD’s obligation of funds for construction of fences at the
 southern border bears a logical relationship to the Drug Interdiction and Counter-
 Drug Activities, Defense, appropriation and that use of DOD’s appropriations for this
 purpose was not prohibited by law, we now turn to the final step: determining
 whether another appropriation other than the Drug Interdiction and Counter-Drug
 Activities, Defense, account provides for DOD border fence construction pursuant to
 section 284 in the Yuma, El Paso, El Centro, and Tucson sectors. If another
 appropriation provides for this activity, then use of the Drug Interdiction and Counter-
 Drug Activities, Defense, account for this activity would be impermissible under the
 purpose statute, 31 U.S.C. § 1301(a).

 With regard to step three, a more specific appropriation prevails over a general
 appropriation, including where another agency has the more specific appropriation.
 Compare B-139510, May 13, 1959 (concluding that the Navy’s Shipbuilding and
 Conversion, Navy, appropriation was not available to dredge a deeper channel for
 naval vessel transit because the Army Corps of Engineers had more specific



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 appropriations for this purpose) with B-184595, Mar. 10, 1976 (concluding that the
 Immigration and Naturalization Service’s (a precursor to Border Patrol)
 appropriations could be used to repair border fencing installed by other agencies
 because there was no other appropriation more specific in this regard that
 prevailed).

 Applying our case law to the issues here, we first consider whether DHS, the agency
 with statutory authority for controlling and guarding the borders, has an appropriation
 that specifically provides for the activity in question—border fence construction
 undertaken by DOD pursuant to section 284. DHS is required to install physical
 barriers at the border to deter illegal crossings in areas of high illegal entry. Pub. L.
 No. 104-208, § 102(a), as amended by Pub. L. No. 110-161, § 564. DHS was
 appropriated a lump-sum amount for CBP’s Procurement, Construction, and
 Improvements, which, based on the information before us, is available to fund DHS’s
 mandate to install physical barriers in the sectors located at the southern border.
 Pub. L. No. 116-6, 133 Stat. at 18. Of the lump sum, CBP was also appropriated a
 line-item amount available only for the construction of fencing in one particular
 sector—the Rio Grande Valley. Id. § 230(a)(1). Thus, DHS has amounts available
 for CBP’s fence construction activities, including an amount available only for
 fencing in the Rio Grande Valley sector.

                                                               T ru mp
 However, Congress has also long vested DODawith             . authority20to2construct
                                                      i thevrequest          0         fences as
 part of its counter-drug support activities lifo rn
                                                upon             2 2 , of another agency,  and
                                       f C a            J u n e
                             S ta te o
 has provided DOD with appropriations
                                            e d  onYear
                                             to cover    this activity. Specifically, in the
                     d  in
 National Defense Authorization      Act
                                     rc hiv
                                         for Fiscal          1991, Congress permitted DOD
                  ite
                 c for the
 to provide support              9 a
                              9counter-drug   activities of other agencies, including
                     9-
 construction of fences1  6to2block drug  smuggling      corridors, under what is now section
 284. Pub. N
                  .1
              L.oNo. 101-510, div. A, title X, § 1004, 104 Stat. 1485, 1629-1630 (Nov. 5,
 1990). DOD’s provision of support for the counter-drug activities of other agencies is
 not subject to reimbursement under section 284. While section 277(a) of title 10 of
 the United States Code provides that DOD shall require a law enforcement agency
 to which support is provided to reimburse DOD for that support, section 284(g)(1)
 provides that support provided under section 284 is not subject to other
 requirements of the chapter, which would include section 277(a). Congress
 established the Drug Interdiction, Defense (now the Drug Interdiction and Counter-
 Drug Activities, Defense), appropriation in the DOD Appropriations Act, 1989, to
 cover DOD’s costs under section 284. See Pub. L. No. 100-463, title VII, 102 Stat.
 2270, 2270-16 (Oct. 1, 1988).

 The fact that Congress appropriated line items in fiscal years 2006 and 2008 for
 “installing fences” has no legal consequence at this point in time. Specifically,
 Congress in 2006 appropriated $708 million as an additional amount for DOD
 Operation and Maintenance, Defense-Wide, for emergency support to DHS,
 including “installing fences and vehicle barriers.” Pub. L. No. 109-234, 120 Stat. at
 480. Then, in fiscal year 2008 Congress provided that $247 million of amounts
 provided for DOD Operation and Maintenance, Defense-Wide, shall be available for



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 support to DHS, including “installing fences and vehicle barriers.” Pub. L. No. 110-
 116, 121 Stat. at 1299. The 2006 and 2008 line-item appropriations expired on
 September 30, 2007 and September 30, 2008, respectively, which means they are
 no longer available to cover new obligations. GAO, Principles of Federal
 Appropriations Law, Vol. I, 3rd ed., ch. 5, § D.1, GAO-04-264SP (Washington, D.C.:
 Jan. 2004).

 Here, DOD’s authority to construct fences in support of the counter-drug activities of
 other agencies has been in place since fiscal year 1991, and DOD has received a
 lump sum appropriation for its counter-drug activities for each fiscal year starting
 with 1989. 11 Pub. L. No. 101-510, § 1004; Pub. L. No. 100-463, 102 Stat.at 2270-
 16. Thus, DOD’s authorities and appropriations for counter-drug support activities
 existed before and continue to exist after the line-item appropriations for 2006 and
 2008. With no currently available line-item appropriation for this purpose, and
 without a statutory means of reimbursement from DHS, DOD’s Drug Interdiction and
 Counter-Drug Activities, Defense, appropriation is the appropriate source of funds to
 cover DOD’s costs under section 284.

 In sum, DOD border fence construction pursuant to section 284 bears a logical
 relationship to the Drug Interdiction and Counter-Drug Activities, Defense,
 appropriation; there are no legal prohibitions on the use of
                                                             ru   p
                                                                mDOD’s  appropriations for
 border fence construction undertaken pursuantatovsection. T           0 the Drug
                                                                   02and
                                                                 284;
                                               fo rni appropriation
                                                               2, 2
 Interdiction and Counter-Drug Activities,
                                          C ali Defense,
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                                     o construction  Ju
 account to use for DOD border
                           S  ta te fence   e d  on that here, as no other account
 otherwise provides for
                    d   inthis  activity.
                                     r c hiv
                                          We  conclude       DOD border fence
                 ite
               c the6terms         a
                                9 of section 284 is a proper use of DOD’s Drug
                       1 29 Activities, Defense, appropriation and therefore
 construction under
 Interdiction and 1 9 -
                   Counter-Drug
 amounts wereNo.used for a permissible purpose, consistent with the purpose statute.
 DHS waivers and section 8113 of the DOD Appropriations Act, 2019

 You also asked whether the Secretary of DHS’s waivers of legal requirements in
 order to expedite construction of barriers at the southern border by DHS and DOD
 was consistent with section 8113 of the DOD Appropriations Act, 2019.

 In carrying out DHS’s border control mission, the Secretary of DHS exercised
 authority to waive legal requirements, such as NEPA, 12 to ensure expeditious
 11
   DOD has also received authority, like section 8005, annually since fiscal year
 1974 to transfer its appropriations. DOD Appropriations Act, 1974, Pub. L. No. 93-
 238, title VII, § 735, 87 Stat. 1026, 1044 (Jan. 2, 1974).
 12
   NEPA requires federal agencies to evaluate the likely environmental effects of
 projects they are proposing, generally by preparing either an environmental
 assessment or a more detailed environmental impact statement. 42 U.S.C.
 §§ 4321–4347.



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 construction of barriers along the southern border, including barriers constructed by
 DHS and barriers constructed by DOD in support of DHS under section 284. Pub. L.
 No. 109-13, § 102; 84 Fed. Reg. 17185 (Apr. 24, 2019); 84 Fed. Reg. 17187 (Apr.
 24, 2019); 84 Fed. Reg. 21798 (May 15, 2019); 84 Fed. Reg. 21800 (May 15, 2019).

 Section 8113 of the DOD Appropriations Act, 2019, prohibits use of DOD funds

        “to pay the salary of any officer or employee of any agency funded by this Act
        who approves or implements the transfer of administrative responsibilities . . .
        to the jurisdiction of another Federal agency not financed by this Act without
        the express authorization of Congress . . . .” Pub. L. No. 115-245, § 8113
        (section 8113).

 Here, while the Secretary of DHS exercised authority to waive legal requirements in
 order to expedite barrier construction by DHS and DOD, this does not constitute a
 transfer of DOD’s administrative responsibilities under section 8113 because DHS
 exercised its waiver authority with regard to projects for which DHS maintains overall
 responsibility. With regard to border fences constructed by DOD in support of DHS
 within the scope of DHS’s February 2019 request, DHS defined the requirements,
 will take custody of completed fences and operate them going forward, retained
 responsibility for securing any real estate interest required
                                                           r u   p project execution, and
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 remained responsible for applicable environmental
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 Response Letter, Encl. 1. We conclude
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 Secretary of DHS to expediteteDHS
                           Sta            e d  onbarrier construction at the southern
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 border was not a violation  of section
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 CONCLUSION 19-1
        No.
 Based on application of the relevant legal provisions to the facts before us, we
 conclude that DOD’s transfer of amounts into its Drug Interdiction and Counter-Drug
 Activities, Defense, appropriation to construct fences at the southern border of the
 United States pursuant to section 284 was consistent with DOD’s transfer authority
 under section 8005. We are in no position to disagree with DOD’s determination
 that construction of fences at the southern border pursuant to section 284 was a
 higher priority, and we conclude that this activity was based on unforeseen military
 requirements, as the requirement for DOD’s support did not materialize until well into
 the second quarter of fiscal year 2019. Congress has not explicitly denied either
 DHS or DOD from constructing border fences and, by contrast, has provided specific
 authorities for each agency to undertake this activity.

 Further, we conclude that DOD’s use of its appropriations for the purpose of border
 fence construction was consistent with the purpose statute, 31 U.S.C. § 1301(a).
 There is a logical relationship between construction of fences to block drug
 smuggling corridors and the counter-narcotics purpose of the Drug Interdiction and
 Counter-Drug Activities, Defense, appropriation; there are no legal prohibitions on
 the use of DOD appropriations for border fence construction under section 284; and



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 the Drug Interdiction and Counter-Drug Activities, Defense, appropriation is the
 proper account to charge for this activity, as CBP’s appropriations for construction,
 to include an amount for fence construction in the Rio Grande Valley sector, do not
 specifically provide for DOD’s construction of fences under section 284.

 In addition, we conclude that DHS’s waivers of legal requirements to expedite
 construction of fences at the southern border was not a violation of section 8113.
 DHS exercised its statutory waiver authority with respect to projects for which DHS
 is ultimately responsible and in furtherance of DHS’s border control mission, and
 those projects include fence construction undertaken by DOD at DHS’s request.

 Congress enacted authority for DOD to construct fences in support of other
 departments starting in fiscal year 1991 and Congress has enacted authority
 annually since fiscal year 1974 for DOD to transfer is appropriations. It is these
 authorities that enabled DOD to accept DHS’s request for support and fund
 construction of fences at the southern border. Although there was no statutory
 requirement to do so, DOD did not obtain the prior approval of congressional
 committees before transferring funds, contrary to provisions in its Financial
 Management Regulation. Nevertheless, DOD’s activities were affirmatively
 permitted by law under the various statutory provisions discussed herein. We
 express no opinion on the merits of a fence to impede drugmpsmuggling.
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                                              rn A.eJones,
                                         lifoShirley
 If you have any questions, please contact              22, Managing Associate
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                             a te  of or Omari
 General Counsel, at (202) 512-8156,         o n JNorman, Assistant General Counsel
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 Thomas H. Armstrong
 General Counsel




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 List of Requesters

 The Honorable Patrick Leahy
 Vice Chairman
 Committee on Appropriations
 United States Senate

 The Honorable Richard J. Durbin
 Vice Chairman
 Subcommittee on Defense
 Committee on Appropriations
 United States Senate

 The Honorable Brian Schatz
 Ranking Member
 Subcommittee on Military Construction, Veterans Affairs,
  and Related Agencies
 Committee on Appropriations
 United States Senate


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                     United States Court of Appeals for the Ninth Circuit

                                      Office of the Clerk
                                       95 Seventh Street
                                    San Francisco, CA 94103

             Information Regarding Judgment and Post-Judgment Proceedings

Judgment
     •   This Court has filed and entered the attached judgment in your case.
         Fed. R. App. P. 36. Please note the filed date on the attached
         decision because all of the dates described below run from that date,
         not from the date you receive this notice.

Mandate (Fed. R. App. P. 41; 9th Cir. R. 41-1 & -2)
    •     The mandate will issue 7 days after the expiration of the time for
          filing a petition for rehearing or 7 days from the denial of a petition
          for rehearing, unless the Court directs otherwise. To file a motion to
          stay the mandate, file it electronically via the appellate ECF system
          or, if you are a pro se litigant or an attorney with an exemption from
          using appellate ECF, file one original motion on paper.

Petition for Panel Rehearing (Fed. R. App. P. 40; 9th Cir. R. 40-1)
Petition for Rehearing En Banc (Fed. R. App. P. 35; 9th Cir. R. 35-1 to -3)

(1)     A.       Purpose (Panel Rehearing):
        •        A party should seek panel rehearing only if one or more of the following
                 grounds exist:
                 ►    A material point of fact or law was overlooked in the decision;
                 ►    A change in the law occurred after the case was submitted which
                       appears to have been overlooked by the panel; or
                 ►    An apparent conflict with another decision of the Court was not
                       addressed in the opinion.
        •        Do not file a petition for panel rehearing merely to reargue the case.

        B.       Purpose (Rehearing En Banc)
        •        A party should seek en banc rehearing only if one or more of the following
                 grounds exist:



Post Judgment Form - Rev. 12/2018                                                             1
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                ►        Consideration by the full Court is necessary to secure or maintain
                         uniformity of the Court’s decisions; or
                ►        The proceeding involves a question of exceptional importance; or
                ►        The opinion directly conflicts with an existing opinion by another
                         court of appeals or the Supreme Court and substantially affects a
                         rule of national application in which there is an overriding need for
                         national uniformity.

(2)     Deadlines for Filing:
        •    A petition for rehearing may be filed within 14 days after entry of
             judgment. Fed. R. App. P. 40(a)(1).
        •    If the United States or an agency or officer thereof is a party in a civil case,
             the time for filing a petition for rehearing is 45 days after entry of judgment.
             Fed. R. App. P. 40(a)(1).
        •    If the mandate has issued, the petition for rehearing should be
             accompanied by a motion to recall the mandate.
        •    See Advisory Note to 9th Cir. R. 40-1 (petitions must be received on the
             due date).
        •    An order to publish a previously unpublished memorandum disposition
             extends the time to file a petition for rehearing to 14 days after the date of
             the order of publication or, in all civil cases in which the United States or an
             agency or officer thereof is a party, 45 days after the date of the order of
             publication. 9th Cir. R. 40-2.

(3)     Statement of Counsel
        •     A petition should contain an introduction stating that, in counsel’s
              judgment, one or more of the situations described in the “purpose” section
              above exist. The points to be raised must be stated clearly.

(4)     Form & Number of Copies (9th Cir. R. 40-1; Fed. R. App. P. 32(c)(2))
        •    The petition shall not exceed 15 pages unless it complies with the
             alternative length limitations of 4,200 words or 390 lines of text.
        •    The petition must be accompanied by a copy of the panel’s decision being
             challenged.
        •    An answer, when ordered by the Court, shall comply with the same length
             limitations as the petition.
        •    If a pro se litigant elects to file a form brief pursuant to Circuit Rule 28-1, a
             petition for panel rehearing or for rehearing en banc need not comply with
             Fed. R. App. P. 32.


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      •       The petition or answer must be accompanied by a Certificate of Compliance
              found at Form 11, available on our website at www.ca9.uscourts.gov under
              Forms.
      •       You may file a petition electronically via the appellate ECF system. No paper copies are
              required unless the Court orders otherwise. If you are a pro se litigant or an attorney
              exempted from using the appellate ECF system, file one original petition on paper. No
              additional paper copies are required unless the Court orders otherwise.

Bill of Costs (Fed. R. App. P. 39, 9th Cir. R. 39-1)
       •     The Bill of Costs must be filed within 14 days after entry of judgment.
       •     See Form 10 for additional information, available on our website at
             www.ca9.uscourts.gov under Forms.

Attorneys Fees
     •     Ninth Circuit Rule 39-1 describes the content and due dates for attorneys fees
           applications.
     •     All relevant forms are available on our website at www.ca9.uscourts.gov under Forms
           or by telephoning (415) 355-7806.

Petition for a Writ of Certiorari
       •     Please refer to the Rules of the United States Supreme Court at
             www.supremecourt.gov

Counsel Listing in Published Opinions
     •     Please check counsel listing on the attached decision.
     •     If there are any errors in a published opinion, please send a letter in writing
           within 10 days to:
           ►      Thomson Reuters; 610 Opperman Drive; PO Box 64526; Eagan, MN 55123
                  (Attn: Jean Green, Senior Publications Coordinator);
            ►     and electronically file a copy of the letter via the appellate ECF system by using
                  “File Correspondence to Court,” or if you are an attorney exempted from using
                  the appellate ECF system, mail the Court one copy of the letter.




       Post Judgment Form - Rev. 12/2018                                                       3
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                         UNITED STATES COURT OF APPEALS
                              FOR THE NINTH CIRCUIT
                                 Form 10. Bill of Costs
      Instructions for this form: http://www.ca9.uscourts.gov/forms/form10instructions.pdf

9th Cir. Case Number(s)

Case Name
The Clerk is requested to award costs to (party name(s)):



I swear under penalty of perjury that the copies for which costs are requested were
actually and necessarily produced, and that the requested costs were actually
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Intervenor Brief)

Reply Brief / Cross-Appeal Reply Brief                                            $                 $


Supplemental Brief(s)                                                             $                 $


Petition for Review Docket Fee / Petition for Writ of Mandamus Docket Fee                           $


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Vol. 2 (250 pgs.) + Vol. 3 (240 pgs.)] as:
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Form 10                                                                                           Rev. 12/01/2018
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                  EXHIBIT 6
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



CENTER FOR BIOLOGICAL DIVERSITY;
DEFENDERS OF WILDLIFE; ANIMAL LEGAL
DEFENSE FUND,

                              Plaintiffs,
                                                          Civil Action No. 1:19-cv-00408 (TNM)
       v.

MARK ESPER, in his official capacity as Secretary
of Defense, et al.,
                           Defendants.


RIO GRANDE INTERNATIONAL STUDY
CENTER, et al.,

                              Plaintiffs,

       v.                                                 Civil Action No. 1:19-cv-00720 (TNM)

MARK ESPER, in his official capacity as Secretary
of Defense, et al.,

                              Defendants.

                         DECLARATION OF LOREN FLOSSMAN
I, Loren Flossman, declare as follows:

    1. I am the Acquisition Program Manager for the Wall Program Management Office (Wall

        PMO), U.S. Border Patrol Program Management Directorate, U.S. Customs and Border

        Protection (CBP), an agency of the Department of Homeland Security (DHS). The Wall

        PMO is responsible for border barrier projects.

    2. The statements in this declaration are based on my personal knowledge and information

        that I have received in my official capacity.
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3. CBP has previously executed declarations dated April 1, 2019 (ECF No. 34-1), May 31,

   2019 (ECF No. 34-6), July 11, 2019 (ECF Nos. 34-2, 34-7), August 27, 2019 (ECF No.

   47-2), and January 8, 2020 (ECF No. 68-1) in RGISC v. Trump, Case No. 19-CV-720-

   TNM, that explained CBP’s planned projects and funding for barrier construction along

   the southern border. This declaration addresses the funding that will be used by CBP for

   construction of border barriers in the Rio Grande Valley, Texas.

4. Between planned and on-going projects, CBP will construct approximately 110 miles of

   border wall system in the Rio Grande Valley in Cameron, Hidalgo, and Starr Counties,

   Texas.

5. The approximately 110 miles of border wall system that CBP will construct in the Rio

   Grande Valley, Texas, is funded exclusively by three sources: (1) CBP’s Fiscal Year

   2018 appropriation (Public Law No. 115-141, § 230); (2) CBP’s Fiscal Year 2019

   appropriation (Public Law No. 116-6, § 230); and the Treasury Forfeiture Fund (TFF).

   No other sources of funding or authority, including those authorities challenged in this

   action (10 U.S.C. § 284 and 10 U.S.C. § 2808), will be used to construct border wall

   system in the Rio Grande Valley, Texas.

6. The barrier project planned near the Jackson Ranch Church and Cemetery and Eli

   Jackson Cemetery will be constructed using only CBP’s Fiscal Year 2019 appropriation

   (Public Law No. 116-6, § 230) and the TFF. No other sources of funding or authority,

   including those authorities challenged in this action (10 U.S.C. § 284 and 10 U.S.C. §

   2808), will be used to construct this planned project.

7. DHS/CBP has never requested or recommended that the Department of Defense

   construct border barrier in the Rio Grande Valley pursuant to 10 U.S.C. § 284 or 10
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     U.S.C. § 2808. Further, the Secretary of Defense has not approved the construction of

     border barrier in the Rio Grande Valley pursuant 10 U.S.C. § 284 or 10 U.S.C. § 2808.

8.   Plaintiffs make the erroneous assertion that CBP does not have sufficient funding to

     complete its planned border barrier projects in the Rio Grande Valley and thus CBP will

     have to utilize funding made available to the Department of Defense for construction

     under 10 U.S.C. § 284 and 10 U.S.C. § 2808 to complete such projects (Pl. MSJ at pg.

     23-26). This assertion is incorrect. It is principally based on two unfounded allegations

     by plaintiffs. Plaintiffs allege that due to the cost of painting the barriers and because

     the “U.S. Army Corps of Engineers is anticipating a 10% cost overrun” on contracts,

     CBP cannot complete all of its planned barrier projects in the Rio Grande Valley using

     only funding from CBP’s Fiscal Year 2018 and 2019 appropriations and the TFF. To

     support their claim of an anticipated 10% cost overrun, however, plaintiffs cite to an

     October 15, 2019, letter to the Secretary of Defense from members of the United States

     Senate. (Id. at pg. 25 citing Pl. Ex. 18.) The October 15, 2019, letter cited by plaintiffs

     has nothing to do with the CBP-funded barrier projects in Rio Grande Valley. Rather, it

     concerns border barrier construction by the Department of Defense pursuant to 10

     U.S.C. § 284 and 10 U.S.C. § 2808. Further, as explained below, CBP will not rely on

     the challenged sources of funding or authority (10 U.S.C. § 284 and 10 U.S.C. § 2808)

     to cover the cost of painting or epoxy coating the planned border barriers in the Rio

     Grande Valley. Contrary to plaintiffs’ assertion, the 110 miles of border wall system

     that CBP will construct in the Rio Grande Valley is fully funded.

9. As a part of CBP’s Fiscal Year 2018 appropriation, Congress appropriated $445 million

     for the construction of primary pedestrian levee fencing in the Rio Grande Valley and
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   $196 million for the construction of primary pedestrian fencing in the Rio Grande

   Valley. Public Law No. 115-141, § 230(a)(1)&(2). With the $641 million in funding

   made available by Congress in fiscal year 2018, CBP will construct approximately 13

   miles of levee barrier in Hidalgo County, Texas, and approximately 12 miles of primary

   pedestrian barrier in Starr County, Texas. All of the planned miles are under contract,

   and approximately $622 million of the $641 million made available in CBP’s Fiscal

   Year 2018 appropriation for barrier construction has been obligated. The remaining $19

   million will be used for risk mitigation (including increased costs due to unforeseen site

   conditions or real estate), border wall system elements, real estate and environmental

   support and project management. CBP may apply an epoxy coating to the border barrier

   to extend its lifecycle. However, CBP will only add epoxy coating to the border barrier

   if funding is available from CBP’s Fiscal Year 2018 appropriation or the TFF once the

   construction is complete. In no event will CBP rely on the challenged sources of

   funding or authority (10 U.S.C. § 284 and 10 U.S.C. § 2808) to cover the cost of

   painting or epoxy coating the planned border barriers in the Rio Grande Valley.

10. As a part of CBP’s Fiscal Year 2019 appropriation, Congress appropriated $1.375

   billion for the construction of primary pedestrian fencing, including levee pedestrian

   fencing, in the Rio Grande Valley. Public Law No. 116-6, § 230(a)(1). In addition, as

   stated in my January 8, 2020, declaration, CBP will utilize up to $340 million in TFF

   funds for border barrier construction in the Rio Grande Valley. With the $1.715 billion

   in available funding, CBP will construct approximately 11 miles of levee barrier in

   Hidalgo County, Texas, and approximately 74 miles of pedestrian barrier in Hidalgo,

   Starr, and Cameron Counties, Texas. All of the planned barrier miles are under contract,
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   and approximately $1.384 billion of the $1.715 billion in available funding has been

   obligated. The remaining $331 million will be used for risk mitigation (including

   potential cost increases due to unforeseen site conditions or real estate), border wall

   system elements, real estate and environmental support and project management. The

   approximately $1.384 billion that has been obligated to date includes the cost to apply

   an epoxy coating to approximately 65 miles of barrier to extend its lifecycle. CBP will

   epoxy coat additional miles of barrier only if funding is available from CBP’s Fiscal

   Year 2019 appropriation or the TFF once the construction is complete. In no event will

   CBP rely on the challenged sources of funding or authority (10 U.S.C. § 284 and 10

   U.S.C. § 2808) to cover the cost of painting or epoxy coating the planned border barriers

   in the Rio Grande Valley.

11. In sum, CBP has sufficient funding available from its Fiscal Year 2018 and 2019

   appropriations and the TFF to construct the 110 miles of border wall system that CBP

   has planned for Rio Grande Valley. CBP also has approximately $350 million currently

   available to address potential cost increases. If actual construction or project costs were

   to exceed available funding from CBP’s Fiscal Year 2018 and 2019 appropriations and

   the TFF, CBP will make adjustments to the planned border barrier projects to ensure

   they can be executed with the funding that is available from those three funding sources,

   which could include, among other things, foregoing the construction of certain miles of

   border barrier or reducing or eliminating certain system elements of the border wall

   system. In no event will CBP rely on the challenged sources of funding or authority (10

   U.S.C. § 284 and 10 U.S.C. § 2808) to fund construction if actual construction of project

   costs exceed CBP’s available funding for Rio Grande Valley barrier projects.
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This declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury that

the foregoing is true and correct to the best of my current knowledge.

                                                           Executed on this __ day of June, 2020.

                                                                                Digitally signed by Loren
                                                                Loren           Flossman
                                                                                Date: 2020.06.24 18:18:00
                                                                Flossman        -04'00'

                                                                                 Loren Flossman
                                                                   Acquisition Program Manager
                                                             U.S. Customs and Border Protection
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY;
DEFENDERS OF WILDLIFE; ANIMAL LEGAL
DEFENSE FUND,

                             Plaintiffs,
                                                         Civil Action No. 1:19-cv-00408 (TNM)
       v.

MARK ESPER, in his official capacity as Secretary
of Defense, et al.,

                             Defendants.


RIO GRANDE INTERNATIONAL STUDY
CENTER, et al.,

                             Plaintiffs,

       v.                                                Civil Action No. 1:19-cv-00720 (TNM)

MARK ESPER, in his official capacity as Secretary
of Defense, et al.,


                             Defendants.

                                      [Proposed] ORDER

       Before this Court are the parties’ respective Motions for Summary Judgment addressing

the border barrier projects undertaken pursuant to 10 U.S.C. § 284 and 10 U.S.C. § 2808. For

the reasons set forth in Defendants’ Motion for Summary Judgment, and the entire record herein,

it is hereby ORDERED that:


       1.     Plaintiffs’ Motions for Summary Judgment are DENIED; and

       2.     Defendant’s Motions for Summary Judgment are GRANTED.
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       Accordingly, the Clerk is directed to enter FINAL JUDGMENT for Defendants with

respect to all claims related to the funding and construction of the border barrier projects

pursuant to 10 U.S.C. § 284 and U.S.C. § 2808.


IT IS SO ORDERED




DATED: _________, 2020                        ___________________________________
                                              TREVOR N. McFADDEN, U.S.D.J.




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